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MUTUAL INSURANCE COMPANY
IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEVADA
COUNTY OF CLARK, a political Case No: CV-S-02-1258-KJD-RJJ

subdivision of the State of Nevada, on
behalf of Clark County Department of ) FACTORY MUTUAL INSURANCE

Aviation, COMPANY’S NOTICE OF MOTION
— AND MOTION FOR _ SUMMARY
Plaintiff, JUDGMENT; SUPPORTING
MEMORANDUM OF POINTS AND
VS. AUTHORITIES
FACTORY MUTUAL INSURANCE ) [Statement of Uncontroverted Facts;
COMPANY, a Rhode Island Affidavit of Scott G. Johnson; an
Corporation, and DOES 1-10, Proposed Order filed concurrently
herewith]
Defendant.

 

TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

PLEASE TAKE NOTICE that Defendant FACTORY MUTUAL
INSURANCE COMPANY (“FM”) moves this Court, pursuant to Rule 56 of the
Federal Rules of Civil Procedure, for summary judgment on all claims asserted by
the Plaintiff COUNTY OF CLARK (“CCDOA”) against FM. _

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FM’s summary judgment motion is made on the grounds that there are no
genuine issues of material fact and that FM is entitled to judgment in its favor as a
matter of law because there is no coverage under FM’s policy for CCDOA’s alleged
loss.

This motion is based on the files, records and proceedings herein, the
Supporting Memorandum of Points and Authorities, the Statement of
Uncontroverted Facts, the Affidavit of Scott G. Johnson and Exhibits thereto, filed
concurrently herewith, and on such oral and documentary evidence as may be

presented at the hearing of this motion.

 
 
  

DATED: May 26, 2004 ROBINS, KAPLAN, MILLER & CIRESIL.L-P.

Scott G, Johnson
Attorneys for Defendant FACTORY MUTUAL
INSURANCE COMPANY

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Memorandum of Points and Authorities
A. Introduction

CCDOA seeks insurance coverage for business losses that it sustained after
the FAA issued orders grounding all aircraft and requiring airports to implement
new security measures after the September 11, 2001 terrorist attack. Specifically,
CCDOA claims that these orders prevented ingress to and egress from CCDOA’s
airports. But the FM policy provides coverage only when ingress to or egress from
an insured location has been prevented and only when that prevention is the direct
result of physical damage.

Here, the damage to the World Trade Center and Pentagon, located over 2,000
miles away, did not prevent ingress to and egress from CCDOA’s airports. Rather,
the alleged “prevention” of access was the direct result of the FAA’s orders. And
where access is not prevented by physical damage, but is instead prohibited by order
of civil authority, coverage, if any, is provided only under the FM policy’s Civil
Authority provision. But the Civil Authority coverage does not apply here because
the FAA orders were not the direct result of physical damage, and because there was
no physical damage at or within 1,000 feet of CCDOA’s airports as required for
coverage to apply.

Because CCDOA cannot meet its burden of proving coverage under the FM
policy, summary judgment must be granted.

B. Factual Background
I. CCDOA

CCDOA owns and operates McCarran International Airport, North Las Vegas
Airport, Henderson Executive Airport, Jean Sport Aviation Center, Overton-Perkins
Field, and Searchlight Airfield. (Uncontroverted Fact (“UF”) 1.)

2. The FM Insurance Coverage.

FM issued a first-party property insurance policy to CCDOA effective

October 1, 2000. (UF 2.) The FM policy provided coverage for both property

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damage and time element (i.c., business interruption and extra expense) losses,
subject to the policy’s terms, conditions, exclusions, and limitations. (UF 3.)

The property damage section of the policy generally provided coverage for
direct physical loss or damage to specified property of CCDOA caused by a non-
excluded risk. (UF 4.) For example, if a fire damaged the terminal at McCarran
International, the FM policy would provide coverage to repair the damage.

In contrast, the time element section of the FM policy provided coverage for
business income and extra expense losses that occur when CCDOA’s business
operations are interrupted as a direct result of physical loss or damage of the type
insured by the policy to specified property:

TIME ELEMENT - SECTION C
1. LOSS INSURED
A. _ This Policy insures TIME ELEMENT loss
as provided in the TIME ELEMENT

COVERAGES, directly resulting from

physical loss or damage of the type insured
y this Policy:

1) to property described elsewhere in
this Policy and not otherwise
excluded by this Policy or otherwise
limited in’ the TIME ELEMENT
COVERAGES below;

2) used by the Insured, or for which the
Insured has contracted use;

3) located at an Insured Location; and

4) during the Periods of Liability
described in this section.

(UF 5.)

As part of the “Gross Earnings” coverage, the FM policy provided coverage
for CCDOA’s time element losses when an order of civil authority——that is the
direct result of physical damage of the type insured against under FM policy at or

within 1,000 feet of an insured location—prohibited access to that location:

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2. TIME ELEMENT COVERAGES
A. GROSS EARNINGS

1) Measurement of Loss:

a) The recoverable GROSS
EARNINGS loss is the Actual
Loss Sustained by the Insured
of the following during the
PERIOD OF LIABILITY: ...

4, PERIOD OF LIABILITY

A. The PERIOD OF LIABILITY applying to
all TIME ELEMENT COVERAGES, except
LEASEHOLD INTEREST and as shown
below, or if otherwise Provided under the
TIME ELEMENT COVERAGE
EXTENSIONS, is as follows:

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8)  Ifan order of civil authority prohibits
access to the Insured Location and
provided such order is the direct
result of physical damage of the type

insured against under this Policy at

the Insured Location or within 1,000
feet of it, the period of time:

a) starting at the time of such
physical damage; but

b) not to exceed 30 consecutive days.
(UF 6, 7.) By way of example, the Civil Authority coverage would apply where
police or fire fighters issued an order prohibiting access to one of CCDOA’s airports
as a direct result of damage at or within |,000 feet of that airport.

Additionally, the FM policy included several time element coverage
extensions. The “Contingent Time Element” coverage is one such extension, and
it applies where CCDOA was unable to conduct business operations as a direct
result of physical loss or damage at a customer or supplier location:

3. TIME ELEMENT COVERAGE EXTENSIONS
A. CONTINGENT TIME ELEMENT
This Policy covers the Actual Loss

Sustained and EXTRA EXPENSES incurred

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by the Insured during the PERIOD OF
LIABILITY:

1) — directly resulting from physical loss
or damage of the type insured; and

2) to property of the type insured,

at any locations of direct suppliers or

ote Bolg within the TERRITORY
(UF 8.) This coverage would apply, for example, if the property of the supplier of
jet fuel (or any other product) to McCarran International was damaged and, as a
direct result, CCDOA’s business operations were interrupted.

Another time element coverage extension was the “Ingress/Egress” coverage.

This coverage applies where access to an insured location is prevented as a direct

result of physical loss or damage:

3. TIME ELEMENT COVERAGE EXTENSION

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C. INGRESS/EGRESS

This Policy covers the Actual Loss
Sustained and EXTRA EXPENSE incurred
by the Insured due to the. necessary
interruption of the Insured’s business due to
prevention of ingress to or egress from an
nsured Location, whether or not the
premises or property of the Insured | is
damaged, provided that such prevention is a
direct result of physical damage of the type.
insured by this Policy, to the kind of
property not excluded by this Policy.

(UF 9.) The Ingress/Egress coverage would apply, for instance, where a collapsed
building blocked the only roadway leading to an insured location and, as a direct
result, made it physically impossible to get in or out of that location.

Finally, the FM policy included a “Protection and Preservation of Property —
Time Element” coverage extension. This coverage applies where CCDOA’s
business operations were interrupted because it took reasonable measures to

temporarily protect its property from immediately impending insured physical loss

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or damage at such insured property:
3. TIME ELEMENT COVERAGE EXTENSION

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E. PROTECTION AND PRESERVATION
OF PROPERTY — TIME ELEMENT

The Policy covers the Actual Loss Sustained
by the Insured for a period of time not, to
exceed 48 hours prior to and 48 hours after
the Insured first taking reasonable action for
the temporary protection and preservation of
property insured by this Policy provided
such action is necessary to prevent
immediately impending physical loss or
damage insured by this Policy at such
insured property.
(UF 10.) If, for example, CCDOA’s business operations were interrupted because
it took reasonable measures to temporarily protect insured property and prevent
damage from an immediately impending flood, the policy would provide coverage.
3. The September 11, 2001 National Ground Stop Order.

Atapproximately 8:00 a.m.' on September 11, 2001, American Flight 1] took
off from Boston’s Logan airport for Los Angeles. (UF 12.) Approximately fourteen
minutes later, United Flight 175 also took off from Boston’s Logan airport for Los
Angeles. (UF 13.) At approximately 8:21 a.m., American Flight 77 took off from
Washington Dulles airport for Los Angeles. (UF 14.) Around 8:43 a.m., United
Flight 93 took off from Newark airport for San Francisco. (UF 15.)

Sometime before 8:46 a.m., American Flight 11 was hijacked. (UF 16.)
Shortly thereafter, FAA National Operations Manager Ben Sliney learned ofa radio
transmission from that plane to the effect that “we have more planes.” (UF 20.) As
National Operations Manager, Sliney’s mandate was to insure the safe and efficient
operation of the national airspace system, and, therefore, he had authority to issue

orders to insure the safe and efficient operation of that system. (UF 18, 19.)

 

Unless noted otherwise, all times are Eastern Daylight Time.

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At approximately 8:46 a.m. American Flight 11 crashed into the World Trade
Center’s north tower. (UF 21.) Approximately sixteen minutes later, at 9:02 a.m.,
United Flight 175 crashed into the south World Trade Center tower. (UF 22.)

Meanwhile, at the FAA National Operations headquarters, the FAA was
tracking all “suspicious” aircraft—aircraft that were not on their proper route or
were not communicating with the FAA—and recording them on a status board. (UF
23.) At one point, there were as many as 10-12 planes on the status board. (UF 24.)

After the second crash into the World Trade Center, FAA National Operations
Manager Sliney was concerned that hijacked aircraft were being used as guided
missiles-—i.e., that pilots were purposefully directing planes into buildings. (UF
27.) And when it became apparent that there were guided missiles flying around,
the FAA first decided to stop aircraft from taking off. (UF 25.) The FAA did this
in a series of “ground stop” orders, first in New York, then Boston, then Los
Angeles, then most of the East Coast, and finally, at 9:26 a.m., a national ground
stop. (UF 25, 28.)

A “ground stop is a traffic management tool.” (UF 29.) And National
Operations Manager Sliney issued the national ground stop order pursuant to his
authority to insure the safe and efficient operation of the national airspace system.
(UF 30.)

At approximately 9:40 a.m., American Flight 77 crashed into the Pentagon.
(UF 31.) Approximately five minutes later, FAA National Operations Manager
Sliney ordered all aircraft to land at the nearest airport as soon as practical. (UF
32.) Shortly thereafter, at approximately 10:07 a.m., United Flight 93 crashed in
Stony Creek Township, Pennsylvania. (UF 33.)

Next, and at 10:39 am., the FAA, reaffirming its earlier orders, issued a
Notice to Airmen (NOTAM) that prohibited takeoffs and landings at all airports:

FDC SPECIAL NOTICE. DUE TO EXTRAORDINARY
CIRCUMSTANCES AND FOR REASONS OF
SAFETY, ATTENTION ALL AIRCRAFT

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OPERATORS, BY ORDER OF THE FEDERAL
AVIATION COMMAND CENTER ALL
AIRPORTS/AIRDROMES ARE NOT AUTHORIZED
FOR LANDING AND TAKEOFF, ALL TRAFFIC
INCLUDING AIRBORNE AIRCRAFT ARE
ENCOURAGED TO LAND SHORTLY. . ..

(UF 34.)

As the NOTAM “reaffirming” the earlier orders makes clear, safety was the
reason for the orders. In fact, in his September 20, 2001 Congressional testimony,
Secretary of Transportation Norman Mineta confirmed that the FAA’s orders were
issued to prevent additional aircraft from being used as a terrorist weapon:

On the morning of September 11th, on the first word of
the attack, I moved directly to the Presidential Emergency
Operations Center in the White House. As soon as I was
aware of the nature and scale of the attack, I called from
the White House to order the air traffic system to land all
aircraft, immediately and without exception. That was an
unprecedented step. But with the risk of additional flights
that might be used as terrorist weapons, I believe that it

was the right and necessary step to take.
(UF 35.)

Similarly, FAA Administrator Jane F, Garvey testified before Congress that
the air operations were shut down because of the risk of additional hijackings:

On the morning of September 11th, there were 4,873
instrument flight rule (IFR) flights operating in U.S.
airspace. As soon as Secretary Mineta was aware of the
nature and scale of the terrorist attack on New York and
Washington—that we were faced with, not one, but four
possible hijackings, and several other rumors of missing
or unidentified aircraft-the Secretary ordered the air
traffic system shut down for all civil operations.

(UF 36.)
4. The FAA Issues Safety-Related Security Directives to CCDOA on

September 11, 2001.
No CCDOA property was damaged on September 11, 2001. (UF 38.)

Similarly, there was no immediately impending physical loss or damage at any of
CCDOA’s airports. (UF 39.)

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During the morning of September 11, the FAA issued several security
directives to CCDOA. (UF 41.) The security directives contain “security-sensitive
information” and cannot be disclosed. (UF 42.) But in general terms, these security
directives required CCDOA to go through a “sterilization and a recertification”
process. (UF 42.) The “sterilization” required CCDOA to “clear everybody and
every unidentified object out.” (UF 43.) The recertification required CCDOA to
fulfill all of the measures of the airport’s security plan and implement any new

security measures. (UF 44.)

5. The National Ground Stop Was Extended While New Security Measures
Designed to Reduce the Likelihood of Additional Terrorist Attacks Were

Implemented.
On September 12, 2001, Secretary of Transportation Norman Mineta

announced that the FAA was temporarily extending the ground stop order while
additional security measures were being completed. (UF 48.) Secretary Mineta said
that “Safety is always of paramount importance, and in these extraordinary times we
intend to be vigilant.” (UF 48.)

The FAA adopted several new security measures and then ordered all airports
to implement these security measures before they would be certified to reopen. (UF
44,47.) These new security measures included: establishment of a 300-foot
perimeter for parked vehicles; suspension of curbside check-ins; more frequent
searches of carry-on baggage; increased presence of uniformed and plainclothes
security personnel; and allowing only passengers with a flight ticket and
identification past the security gates. (UF 46.)

These new security measures—like the other FAA orders—were intended to
reduce the likelihood of aircraft being hijacked and used in a terrorist attack. (UF
47.) Indeed, as FAA National Operations Manager Sliney put it, the FAA was going
to permit only those aircraft that it “deemed to be secure enough not to become a

guided missile” to “fly in the national air space system” (UF 47.)

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Transportation Secretary Mineta ordered the national airspace reopened to
commercial aviation at 11:00 a.m. on September 13, 2001. (UF 49.) By then,
McCarran International had already been certified by the FAA to be in compliance
with all current security directives. (UF 55.)

6. Nothing Prevented Airplanes From Taking Off or Landing Between

September 11, 2001 and September 13, 2001.

The FAA prohibitedaircraft from taking offand landing between the issuance
of the September 11 ground stop order and the September 13 reopening of the
national air space. But absolutely nothing prevented airplanes from taking off or
landing at the nation’s airports during that time.

For example, a FAA controller cleared a Federal Express airplane for take off
from an airport in Great Falls, Montana after the FAA groundstop order was issued.
(UF 53.) Additionally, the FAA specifically allowed certain aircraft to take off and
land after issuance of the FAA ground stop order and before the September 13
reopening of the nation’s airspace, including aircraft carrying medical supplies and
Federal Reserve checks. (UF 53.) And on September 12—during the time that
CCDOA claims that ingress to or egress from its airports was “prevented” —aircraft
that were diverted on September 11 were allowed to continue to their original
destinations. (UF 48.) There were two or three such aircraft that took off or landed
at CCDOA’s McCarran airport on September 12. (UF 54.)

7. CCDOA Submits Claim to FM.

On November 7, 2001, CCDOA notified FM of a claim for “Business
interruption loss due to terrorist attack in New York and Washington, DC.” (UF
56.) CCDOA claimed that there was coverage under the FM policy’s
Ingress/Egress, Contingent Time Element, and Protection and Preservation of
Property coverage extensions. (UF 57.)

On April 16,2002, and after conducting a full and complete investigation, FM

denied CCDOA’s claim for the following reasons, among others:

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° There was no coverage under the Civil Authority coverage because the
FAA orders grounding all aircraft did not directly result from physical
damage at or within 1,000 feet of any CCDOA airport as required by
the policy;

° There was no coverage under the Ingress/Egress provision because
ingress to or egress from CCDOA airports was not prevented as a
direct result of physical damage of the type insured against as required
by the policy;

. There was no coverage under the FM policy’s Contingent Time
Element coverage because there was no physical loss or damage at any
direct supplier or customer location as required by the policy; and

° There was no coverage under the Protection and Preservation of
Property — Time Element coverage because there was no immediately
impending physical loss or damage at any CCDOA airport as required
by the policy.

(UF 58.)
8. CCDOA Sues FM.
On August 30, 2002, CCDOA sued FM for declaratory relief, breach of
contract, Unfair Claims Settlement Practices, and bad faith. (UF 59.)
9. A Federal District Court In Illinois Granted Summary Judgment to FM

on the City of Chicago’s Identical September 11 Airport Claim.
Like CCDOA here, the City of Chicago—the owner of O’ Hare International

Airport, Meigs Field, and Chicago Midway Airport—submitted a claim to FM for
business interruption losses caused by the FAA’s September 11, 2001 ground stop
order. See City of Chicago v. Factory Mut. Ins. Co., 2004 U.S. Dist. LEXIS 4266,
No, 02 C 7023 (N.D. Ill. March 11, 2004) (notice of appeal filed). Also as here, FM
denied the claim. /d. at *3-4. On March 11, 2004, the Court granted FM summary

judgment, finding no coverage for the City’s claim. /d. at *13.

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Construing a similar Ingress/Egress coverage provision, the Court found no
coverage as a matter of law. Indeed, the Court found that the direct cause of the
City’s loss was the FAA’s ground stop order:

More precisely the direct_ cause of the business

interruption suffered by the City was the FAA ground

stop order, which was an order of civil authority.
Id. at *10. Like the FM policy here, the policy issued to the City provided coverage
for the loss of access caused by an order of civil authority only if the order was “the
direct result of physical damage of the type insured against under this policy at the
described location or within 1,000 feet of it.” /d. at *11. The Court found that this
limitation defeated coverage because the claimed damage was in New York and
Washington D.C. Id.

The Court further found that the FAA ground stop order was imposed to

prevent further terrorist attacks:
The ground stop order was ultimatel imposed to protect
against any further terrorist attacks like those that
damaged and/or destroyed the World Trade Center and
the Pentagon.
Id. at *12. The Court concluded that the damage to the World Trade Center and the
Pentagon was only an indirect cause of the FAA ground stop order and the
policy—like the FM policy here—did not cover “indirect or remote loss or damage”:
Thus, although ingress to and egress from the airport(s|
were prevented by the FAA’s order and were indirectly
caused by terrorist-inflicted damage, this damage is one
of the Wypes of damage excluded by this policy in that it
was indirect and remote damage inflicted upon the World
Trade Center and the Pentagon.
Id. at *7-8.

Lastly, the Court rejected the City’s claim that there was coverage under the
FM policy’s Protection and Preservation of Property coverage provision, which like
the one in FM’s policy here, is limited to business interruption caused by temporary
actions “to prevent immediately impending physical loss or damage insured by this

policy.” /d. at *12. The Court found “no evidence that the FAA’s ground stop was

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in any way imposed in order to protect Midway, O’Hare, or Meigs Field from
immediately impending physical loss or damage.” Jd.

C. Argument
1. Summary Judgment Is Appropriate Where, as Here, There Is No

Genuine Issue of Material Fact, and the Moving Party Is Entitled to

Judgment as a Matter of Law.

Under Rule 56(c), summary judgment is appropriate if there is no genuine
issue as to any material fact and the moving party is entitled to a judgment as a
matter of law. Fed. R. Civ. P. 56(c).

FM, as the moving party, has the initial burden of demonstrating that
summary judgment is proper. Celotex v. Catrett, 477 U.S. 317, 323 (1986). The
burden then shifts to the non-moving party to set forth specific facts demonstrating
a genuine issue for trial. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 250 (1986).
Summary judgment shall be entered “against a party who fails to make a showing
sufficient to establish the existence of an element essential to that party’s case, and
on which that party will bear the burden of proof at trial.” Celotex, at 322.

As the insured, CCDOA bears the burden of proving at trial that its alleged
loss falls within the terms of the various provisions under which it seeks coverage.
See, e.g., Lucini-Parish Ins., Inc. v. Buck, 836 P.2d 627, 629 (Nev. 1992). See
generally 17 Lee R. Russ, Couch on Insurance 3d § 254,11, at 254-27 (2001) (“The
principle that the insured has the burden of proving that its claimed loss falls within
the coverage of the insurance policy is sufficiently established to be described as

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‘hornbook law.’”). But as will be seen, CCDOA cannot meet its burden and cannot
present evidence that there remain genuine issues for trial.

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2. The FM Policy’s Civil Authority Coverage Does Not Apply Because
There Was No Physical Loss or Damage At or Within 1,000 Feet of Any

CCDOA Airport.

Where a governmental authority prohibits access to the insured’s premises,

 

coverage, if any, potentially exists only under the FM Policy’s Civil Authority

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coverage.

(UF 6, 7.)

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2. TIME ELEMENT COVERAGES
A. GROSS EARNINGS

... Actual Loss Sustained by the Insured of the
following during the PERIOD OF LIABILITY: . .

4. PERIOD OF LIABILITY
* OK OK
If an order of civil authority prohibits access to the
Insured Location and provided such order is the
direct result of physical damage of the type insured

against under this Policy at the Insured Location or
within 1,000 feet of it, the period of time:

a) starting at the time of such physical damage; but
b) not to exceed 30 consecutive days.

Here, CCDOA’s Rule 30(b)(6) designee and Director of Aviation Randall
Walker, testified that CCDOA’s claimed loss of access was the direct result of the

FAA’s orders—orders of civil authority:

Q. _Let’s move on to subject matter 2 in Exhibit 1 [the
Rule 30(b)(6) deposition notice]: “The manner by which
CCDOA claims that ingress to or caress from its airports
was prevented on September [1th through the 13th,
2001” Can you describe the manner in which CCDOA
claims that ingress to or egress from its airports was
prevented on September 11, 2001?

A. First off, all airplanes were prohibited by federal
order from flying, so no airplanes could arrive at our
airport or leave from our airport under federal order.
In_addition to that, the terminal needed to be
vacated for security reasons, so the terminal was closed to
all nonbadged individuals, and the roadways into the

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fo have control of the airport ina sterile enjronment and

be able to do its security checks in accordance with the

FAA directives.
(UF 50.) Mr. Walker further testified that the prevention of ingress and egress
began “[a]s soon as the FAA grounded all the aircraft” and ended “[w]hen the FAA
authorized aircraft to begin operations into McCarran once again.” (UF 51.)

Thus, any lack of access was the direct result of orders of civil authority. But
there is no coverage here because FM’s Civil Authority provision requires that the
order of civil authority be the direct result of physical damage at or within 1,000 feet
of an insured location, which indisputably did not occur. (UF 7, 38.)

That is precisely what the court found in the City of Chicago’s identical 9/11]
airport claim:

Inierruption suvfered by the City, was the FAA ground

stop order, which was an order of civil authority.
City of Chicago, 2004 U.S. Dist. LEXIS 4266, at *10. In City of Chicago, the court
granted FM summary judgment, reasoning that the policy’s Civil Authority
provision applied only when the governmental order prohibiting access is the direct
result of physical damage of the type insured at or within 1,000 feet of an insured
location—something which obviously did not occur. /d. at *10-11.

As in City of Chicago, the FM policy’s Civil Authority provision provides
coverage only when the governmental order prohibiting access is the direct result
of physical damage of the type insured at or within 1,000 feet of an insured location.
Thus, and just asin City of Chicago, the requirements of FM’s Civil Authority
provision have not been met.

3. The FM Policy’s Ingress/Egress Coverage Does Not Apply Because

Ingress To or Egress From the CCDOA Airports Was Not Prevented As

a Direct Result of Physical Damage of the Type Insured.

The FM Policy’s Ingress/Egress coverage extension applies only where

ingress to or egress from an insured location was prevented “as a direct result” of

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certain physical damage:
C. INGRESS/EGRESS

This Policy covers the Actual Loss Sustained and
EXTRA EXPENSE incurred by the Insured due to
the necessary interruption of the Insured’s business
due to prevention of ingress to or egress from an
Insured Location, whether or not the premises or
property of the Insured is damaged, provided that
such prevention is a direct result of physical
damage of the type insured by this Policy, to the
kind of property not excluded by this Policy.

(UF 9.) As explained below, CCDOA cannot meet the prerequisites of coverage.

a. The Damage to the World Trade Center and Pentagon Did Not

Prevent Ingress to or Egress From CCDOA’s Airports.

An insurance “policy must be read as a whole in order to give a reasonable
and harmonious meaning and effect to all its provisions.” Nat’! Union Fire Ins. Co.
v. Reno's Exec. Air, Inc., 682 P.2d 1380, 1383 (Nev. 1984). Where, as here, contract
language is unambiguous, a court cannot, under the guise of interpretation, distort
the plain meaning of the contract. Watson v. Watson, 596 P.2d 507, 508 (Nev.
1979).

The Ingress/Egress coverage requires that the “prevention” of ingress to or
egress from an insured location be “a direct result of physical damage of the type
insured.’” A “direct” result is one “[m]arked by absence of an intervening agency,
instrumentality, or influence ....” Webster's Third New International Dictionary
640 (1993). In contrast, an “indirect” result is one “not resulting directly from an
action or cause.” /d. at 1151.

Here, the alleged “prevention” of ingress to and egress from CCDOA’s
airports did not result directly from the damage to the World Trade Center and
Pentagon. Thus, the alleged “prevention” was not the “direct result” of any physical

damage. Rather, and as conceded by CCDOA’s Rule 30(b)(6) designee, CCDOA’s

 

; “Ingress” means “the act of entering,” and “egress” means “the act or right

of going or coming out.” Webster ’s Third New International Dictionary 727, 1162 (1993).

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claimed loss of access to its airports was the “direct result” of the FAA’s orders.
(UF 40, 50.) Accordingly, there 1s no coverage.

b. “Prevention” Requires a Physical Prevention of Ingress or Egress.

“Prevent” means “to keep from happening or existing . .. make impossible
through advance provisions .. . to hold or keep back (one about to act): HINDER,
STOP ... to make something impossible . .. PREVENT implies an insurmountable
obstacle or impediment.” Webster’s Third New International Dictionary 1798
(1993), “Prevention” similarly means “the act of preventing or hindering:
obstruction or thwarting of action, access, or approach.” /d.

Hence, for coverage to exist, there must be some “obstruction” or “thwarting
of... access” that occurs “as a direct result of physical damage of the type insured.”
It follows that there must be a physical prevention of ingress or egress.

Indeed, had “prevention” in the Ingress/Egress coverage meant to include an
order of civil authority forbidding access, the word “prohibited,” would have been
used—just as it is used in the Civil Authority coverage. The word “prohibit” means
“to forbid by authority or command.” Zd. at 1813. Notably, CCDOA’s Rule
30(b)(6) designee used the word “prohibited” to describe the effect of the FAA
orders on access to CCDOA’s airports:

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prevented on September 11, 2001?

A, First off, all airplanes were prohibited by federal

order from flying, so no airplanes could arrive at our
(UF 50.) airport or leave from our airport under federal order. ...

0. What prevented a plane from taking off from any of
the CCDOA airports on September 11 after the order?

A, It was in violation of federal directives.

Q. There was nothing wrong with the runways at any
of the airports, right?

A. No, runways all functioned fine.

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Q. But there was an order from the FAA that said planes could not
take off, right?

A. _ Planes were prohibited from being in the air space,
so therefore they couldn’t take off or land.

(UF 52.)

The fact remains that the FM policy draws a distinction between “prevention”
and “prohibits” when used to describe a lack of access. And this confirms that the
Civil Authority and Ingress/Egress coverage provisions are mutually exclusive and
apply in different situations. Specifically, the Civil Authority coverage applies only
where access is prohibited by an order of civil authority. In contrast, the
Ingress/Egress coverage applies only where there is a physical prevention of access.

To summarize, the word “prevention” as used in the FM Policy’s
Ingress/Egress provision means physical prevention and not a governmental order
prohibiting access. While the FAA’s September 11 orders may have prohibited
planes from taking off and landing, they did not prevent them from doing so. An
airplane could take off or land. And that in fact occurred: a FAA controller cleared
a Federal Express airplane for take off from an airport in Great Falls, Montana after
the FAA groundstop order was issued. (UF 53.)

Similarly, the FAA specifically allowed certain aircraft to take off and land
after issuance of the FAA ground stop order and before the September 13 reopening
of the nation’s airspace, including aircraft carrying medical supplies and Federal
Reserve checks. (UF 53.) And on September 12—during the time that CCDOA
claims that ingress to or egress from its airports was “prevented”—aircraft that were
diverted on September 11 were allowed to continue to their original destinations.
(UF 48.) There were two or three such aircraft that took off or landed at CCDOA’s
McCarran airport on September 12. (UF 54.)

In short, there was no “prevention” of ingress to or egress from CCDOA’s

airports. Summary judgment must be granted.

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4, CCDOA’s Interpretation of the Ingress/Egress Coverage Improperly

Contradicts Well-Settled Principles of Construction that Contracts

Should Be Construed So As to Avoid Rendering Portions of Them

Superfluous.
Because CCDOA cannot establish coverage under the Civil Authority

provision (because the FAA orders were not issued as a direct result of physical
damage at or within 1,000 feet of its airports), CCDOA now interprets the
Ingress/Egress coverage to apply where an order of civil authority prohibits access
to an insured location. But as discussed below, this interpretation improperly
renders the entire Civil Authority coverage meaningless, which is contrary to settled
Nevada law.

In Nevada, an insurance “policy must be read as a whole in order to give a
reasonable and harmonious meaning and effect to all its provisions.” Nat'l Union
Fire Ins. Co. v. Reno’s Exec. Air, Inc., 682 P.2d 1380, 1383 (Nev. 1984). Thus, a
“basic rule of contract interpretation is that ‘[e]very word must be given effect if at
all possible.’” Musser v. Bank of Am., 964 P.2d 51, 54 (Nev. 1998) (quoting in part
Royal Indem. Co. v. Special Serv., 413 P.2d 500, 502 (Nev. 1966)). “A court should
not interpret a contract so as to make meaningless its provisions.” Phillips v.
Mercer, 579 P.2d 174, 176 (Nev. 1978).

As demonstrated above, the Civil Authority and Ingress/Egress coverages are
two separate, distinct, and mutually exclusive coverages that apply in different
situations: the Civil Authority coverage applies only where access is prohibited by
an order of civil authority, while the Ingress/Egress coverage applies only where
there is a physical prevention of access.

This distinction has been recognized by courts and commentators. As one
commentator explained:

° Civil Authority Coverage. This coverage insures
the policyholder against lost business income and

expenses resulting when a governmental authority denies
access to the policyholder’s premises. This coverage may

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require that damage has been sustained to other property.
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e _ Ingress/Egress Coverage. This coverage protects
against lost business income and extra expense when the
policyholder’s premises are inaccessible for a reason
other than governmental action or authority.

See Lorelie S. Masters, Terrorism Insurance, Legal Times, Apr. 15, 2002, at 31,
available at LEXIS, News & Business Library, Legal Times File.

Thus, Civil Authority coverage applies where a governmental authority
prohibits access to the insured premises. See, e.g., Sloan v. Phoenix of Hartford Ins.
Co., 207 N.W.2d 434 (Mich. Ct. App. 1973) (governor ordered curfew and closure
of places of amusement after widespread rioting which prohibited access to
insured’s movie theaters). In contrast, Ingress/Egress coverage applies where a
reason other than an order of civil authority—namely physical loss or
damage—prevents access to the insured’s premises. See, e.g., Fountain Powerboat
Indus., Inc. v. Reliance Ins. Co., 119 F. Supp. 2d 552 (E.D.N.C. 2000) (flood
blocked access roads).

If, as CCDOA now claims, the Ingress/Egress provision also applies when an
order of civil authority (allegedly issued as direct result of physical damage)
“prevented” ingress or egress to the insured premises, there would never be a need
to resort to the Civil Authority coverage because such coverage is already available
under the Ingress/Egress provision. Additionally, applying the Ingress/Egress
provision to provide coverage where an order prohibiting access is not the result of
physical damage at or within 1,000 feet of the insured location would render that
limitation in the Civil Authority provision meaningless. In short, CCDOA’s
interpretation renders superfluous the entire Civil Authority provision. But that
“interpretation contradicts the principle discussed above, that contracts should be
construed so as to avoid rendering portions of them superfluous.” Musser v. Bank
of Am., 964 P.2d 51, 54 (Nev, 1998).

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Accordingly, CCDOA’s attempt to create a second civil authority coverage

provision—but one without limits under the Ingress/Egress provision—must be

rejected,
5. The FAA Orders Were Not Issued as the Direct Result of Physical
Damage.

CCDOA argues that there is Ingress/Egress coverage because the FAA orders
were issued as a direct result of physical damage to the World Trade Center and
Pentagon. This argument, however, is irrelevant and fails for at least three reasons:
(1) CCDOA’s claimed prevention of ingress and egress was caused by orders of
civil authority, and the Civil Authority coverage does not apply because the FAA
orders were not issued as a direct result of physical loss or damage at or within
1,000 feet of any CCDOA airport; (2) there was no physical prevention of access as
required by the Ingress/Egress provision; and (3) CCDOA’s interpretation of the
Ingress/Egress provision improperly renders superfluous the policy’s Civil

Authority coverage. But in addition, CCDOA is just wrong.
a. The FAA’s Ground Stop Order Was Issued For Reasons of Safety.
The ground stop order—a traffic management tool—-was issued by FAA

National Operations Manager Ben Sliney. (UF 25, 29.) As National Operations
Manager, Sliney’s mandate was to insure the safe and efficient operation of the

national airspace system and, thus, he had authority to issue orders to insure the safe

 

and efficient operation of the national airspace system. (UF 18, 19.) Thus, safety
and efficiency were what concerned Mr. Sliney.

And safety was the reason for the ground stop order. Indeed, after American
Flight 11 was hijacked, Mr. Sliney learned of a radio transmission from that plane
to the effect that “we have more planes.” (UF 20.) Consequently, the FAA was
concerned that additional planes had been hijacked. In fact, the FAA was tracking
all “suspicious” aircraft and recording them on a status board. (UF 23.) At one

point, there were as many as 10-12 planes on this status board. (UF 24.)

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After the second crash into the World Trade Center, Mr. Sliney was
concerned that hijacked aircraft were being used as guided missiles. (UF 27.) And
when it became apparent that there were guided missiles flying around, the FAA
decided to stop aircraft from taking off, first in New York, then Boston, then Los
Angeles, then most of the East Coast, and finally, at 9:26 a.m., a national ground
stop. (UF 25, 28.) Mr. Sliney issued the national ground stop order pursuant to his
mandate to insure the safe and efficient operation of the national airspace system.
(UF 30.)

Furthermore, “safety” was cited as the reason for the order in the FAA’s
NOTAAM , which “reaffirmed” its earlier orders:

FDC SPECIAL NOTICE, DUE TO EXTRAORDINARY
CIRCUMSTANCES AND FOR REASONS OF
SAFETY, ATTENTION ALL AIRCRAFT
OPERATORS, BY ORDER OF THE FEDERAL
AVIATION COMMAND CENTER ALL
AIRPORTS/AIRDROMES ARE NOT AUTHORIZED
FOR LANDING AND TAKEOFF. ALL TRAFFIC
INCLUDING AIRBORNE AIRCRAFT ARE
ENCOURAGED TO LAND SHORTLY. ...

(UF 34.)

As the NOTAM “reaffirming” the earlier orders makes clear, safety was the
reason for the orders. This NOTAM says nothing about the damage to the World
Trade Center or Pentagon and instead expressly references “for reasons of safety.”

This safety-related concern was cited again by Secretary of Transportation
Norman Mineta in his September 20, 2001 Congressional testimony:

On the morning of September 11th, on the first word of
the attack, I moved directly to the Presidential Emergency
Operations Center in the White House. As soon as I was
aware of the nature and scale of the attack, I called from
the White House to order the air traffic system to land all
aircraft, immediately and without exception. That was an
unprecedented step. But with the risk of additional flights
that might be used as terrorist weapons, I believe that it

was the right and necessary step to take.
(UF 35.) 6 YEP

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Similarly, FAA Administrator Jane F. Garvey testified before Congress that
the air operations were shut down because of the risk of additional hyackings:
On the morning of September 11th, there were 4,873
instrument flight rule (IFR) ights operating in U.S.
airspace. As soon as Secretary Mineta was aware of the
nature and scale of the terrorist attack on New York and
Washington-that we were faced with, not one, but four
possible hijackings, and several other rumors of missing

or unidentified aircraft-the Secretary ordered the air
traffic system shut down for all civil operations.

(UF 36.)
In sum, the ground stop order was issued for reasons of safety not because of
damage to the World Trade Center or Pentagon. That is precisely what the Court
in City of Chicago found:
The ground stop order was ultimately imposed to protect
Amaged and/or destroyed the World Trade Center and
the Pentagon.

City of Chicago, 2004 U.S. Dist. LEXIS 4266, at *12.

To be sure, the damage to the World Trade Center and Pentagon had already
occurred and there would be no rational safety reason to stop all take offs and
landings across the United States because of that already-existing damage. But there
was a valid safety-related concern that other aircraft may be hyacked and used ina
terrorist act. And this safety-related concern about possible additional hijackings
and terrorist acts was indisputably the reason for the FAA’s order.

b. The FAA Order to Comply With New Security Directives Was

Issued For Reasons of Safety.

CCDOA’s Rule 30(b)(6) designee also claimed that ingress to and egress from
CCDOA airports was “prevented” because “the terminal needed to be vacated for
security reasons, so the terminal was closed to all nonbadged individuals, and the
roadways into the airport were blocked and — to allow the airport to be able to have

control of the airport in a sterile environment and be able to do its security checks
in accordance with the FAA directives.” (UF 50.) Again, CCDOA—which bears

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the burden of proof—can proffer no evidence that this FAA order was the direct
result of any physical damage.

Indeed, CCDOA’s Deputy Director of Aviation Rosemary Vassiliadis testified
that these measures were undertaken to “assure the best that we could that there
wasn’t an act of terrorism being planned for that location.” (UF 45.) In other
words, this FAA order was issued for reasons of safety.

c. The Ground Stop Order Was Extended For Reasons of Safety.

On September 12, 2001, the FAA temporarily extended the ground stop order
imposed on September 11. Again, CCDOA can proffer no evidence whatsoever that
this order was the “direct result” of the damage to the World Trade Center or
Pentagon. Like the other FAA orders, the ground stop was extended for reasons of
safety. To be sure, Transportation Secretary Mineta extended the ground stop order
“while additional security measures are being completed.” (UF 48.) These
additional security measures included: establishment of a 300-foot perimeter for
parked vehicles; suspension of curbside check-ins; more frequent searches of carry-
on baggage; increased presence of uniformed and plainclothes security personne};
and allowing only passengers with a flight ticket and identification past the security
gates. (UF 46.)

These additional security measures were intended to reduce the likelihood of
aircraft being hijacked and used in a terrorist attack. (UF 47.) In fact, when he
announced the order extending the ground stop, Secretary Mineta said that “Safety
is always of paramount importance, and in these extraordinary times we intend to
be vigilant.” (UF 48.) And as FAA National Operations Manager Ben Sliney put
it, the FAA was going to permit only those aircraft that it “deemed to be secure
enough not to become a guided missile” to “fly in the national air space system”
(UF 47.)

In short, there is no evidence that the order extending the September 11

ground stop was issued as a “direct result” of any physical damage.

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6. The Contingent Time Element Coverage Does Not Apply Because

CCDOA Did Not Sustain Any Business Interruption Loss Directly
Resulting From Physical Damage to Property at a Direct Customer or

Supplier Location.

CCDOA also seeks coverage under the Contingent Time Element coverage:
A. CONTINGENT TIME ELEMENT
This Policy covers the Actual Loss Sustained and
EXTRA EXPENSES incurred by the Insured
during the PERIOD OF LIABILITY:

1) directly resulting from physical loss or
damage of the type insured; and

2) to property. of the type insured, at any
locations of direct suppliers or customers
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For Contingent Time Element coverage to apply, CCDOA must prove that its
alleged business income and extra expense losses were the direct result of physical
loss or damage of the type insured to property of the type insured at locations of
CCDOA’s direct suppliers or customers.

To that end, CCDOA relies on damage to a Delta Airlines ticket office and
several travel agencies located in the World Trade Center. (UF 40.)’ But as
CCDOA concedes, its airports were not closed because of the damage to the Delta
ticket office and travel agencies, but rather “because of the orders from the Federal
Aviation Administration that shut down the national air system.” (UF 40.)

Hence, The Contingent Time Element coverage does not apply because
CCDOA did not sustain any business interruption loss directly resulting from

physical damage to property at a direct customer or supplier location.

 

; FM does not concede that the Delta ticket office and travel agencies are
“direct suppliers or customers” within the meaning of the Contingent Time Element
coverage.

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7. The Protection and Preservation of Property Provision Does Not Apply
Because There Was No Immediately Impending Physical Damage at

CCDOA’s Airports.
CCDOA also seeks coverage under the FM policy’s “Protection and

Preservation of Property — Time Element” provision:

E. PROTECTION AND PRESERVATION OF
PROPERTY — TIME ELEMENT

This policy covers the Actual Loss Sustained by the
Insured for a period of time not to exceed 48 hours prior
to and 48 hours after the Insured first taking reasonable
action for the temporary protection and preservation of
property insured by this olicy provided such action is
necessary to prevent immediately impending physical loss
or damage insured by this Policy at such insured property.
(UF 10.)

Thus, this coverage applies only where the insured’s business operations were
interrupted because the insured took reasonable measures to temporarily protect its
property from immediately impending physical loss or damage. But CCDOA
concedes that there was no immediately impending physical loss or damage to any
CCDOA property. (UF 39.) Therefore, there is no coverage.

8. CCDOA’s Claims are Barred by the FM Policy’s Remote and Indirect

Loss Exclusion.

The FM policy excludes coverage for any indirect or remote loss:

5. EXCLUSIONS

The following exclusions apply unless specifically
stated elsewhere in this Policy.

A. _ This Policy excludes:
1. indirect or remote loss or damage.
(UF 11.)
“Indirect” loss is one “not resulting directly from an action or cause.”
Webster's Third New International Dictionary 1151 (1993). Similarly, a “remote”

loss is one that does “not aris[e] from the effect of that which is primary or

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proximate in its action.” /d. at 1921.

CCDOA’s alleged loss—which it claims was caused by physical damage to
the World Trade Center and Pentagon located more than 2,000 miles away from its
airports—is a classic indirect and remote loss. In fact, the court in the City of
Chicago matter reached that very conclusion:

An examination of the listed damage exclusions reveals
that ‘indirect or remote loss or damage’ is excluded by the
olicy. Ud. at 29.) Thus, although ingress to and egress
rom the airport[s] were prevented by the FAA’s order
and were indirectly caused by terrorist-inflicted damage,
this damage is one of the types of damage excluded by
this policy in that it was indirect and remote damage
inflicted upon the World Trade Center and the Pentagon.
City of Chicago, 2004 U.S. Dist. LEXIS 4266, at *7-8. Thus, CCDOA’s claims are
excluded.
9. Summary Judgment is Appropriate on CCDOA’s Unfair Claims

Settlement Practices and Bad Faith Claims.

CCDOA’s third and fourth claims for relief are for unfair claim settlement
practices under Nevada Revised Statute section 686A.310 and bad faith.

Nevada recognizes the existence of an implied covenant of good faith and fair
dealing in every insurance contract. See, e.g., Pemberton v. Farmers Ins. Exch., 858
P.2d 380, 382 (Nev. 1993). But to prevail on a bad faith claim, an insured must
prove not only that the insurer’s denial was without any reasonable basis but that
“an actual or implied awareness of the absence of a reasonable basis for denying
benefits of the policy.” Am. Excess Ins. Co. v. MGM Grand Hotels, Inc., 729 P.2d
1352, 1354-55 (Nev. 1986).

Where an insurer had a reasonable basis to deny the insured’s claim, that
insurer cannot be found liable for either violating the Unfair Claims Settlement
Practices statute or bad faith as a matter of law. See, e.g., Hummel v. Cont'l Cas.
Ins. Co., 254 F. Supp. 2d 1183, 1192 (D. Nev. 2003) (Hicks, J.).

In Hummel, for example, the insured sought life insurance benefits after her

daughter died after overdosing on prescription pain killers. Continental, however,

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denied coverage based on an exclusion “for any loss caused by or resulting from

... (8) alcoholic intoxication or influence of drugs unless taken as prescribed by a

physician.” /d. at 1185. Hummel sued for breach of contract, bad faith, and for

violations of the Unfair Claims Settlement Practices statute. /d. The Court found
the exclusion to be ambiguous and contrary to required statutory language. /d. at

1188-90. Nevertheless, the Court granted summary judgment to Continental on

Hummel’s bad faith and Unfair Claims Settlement Practices statute claims because

Continental’s interpretation of its policy was reasonable. /d. at 1191-92.

Here, FM’s interpretation of its policy was not only reasonable, it is also
correct. Accordingly, summary judgment is appropriate on the unfair claim
settlement practices and bad faith claims.

10. Summary Judgment Must Be Granted on CCDOA’s Punitive Damages
Claim Because There is No Evidence of Any Oppression, Fraud, or
Malice.

Finally, CCDOA asserts a claim for punitive damages. Punitive damages
require more than “bad faith.” United States Fid. & Guar. Co. v. Peterson, 540 P.2d
1070, 1072 (Nev. 1975) (merely prevailing on a bad faith claim does not entail a
showing of sufficient abuse for the awarding of punitive damages). Instead,
punitive damages are available only where “it is proven by clear and convincing
evidence that the defendant has been guilty of oppression, fraud, or malice.” Nev.
Rev. Stat. § 42.005, subd. (1).

Here, and as demonstrated above, CCDOA cannot survive summary Judgment
on its bad faith claim. Obviously, “a plaintiff who is not able to survive summary
judgment on an insurance bad faith claim, is also unable to survive summary
judgment on a related claim for punitive damages.” Adams v. Allstate Ins. Co., 187
F, Supp. 2d 1207, 1219 (C.D. Cal. 2002). In any event, there is no evidence, let
alone the required clear and convincing evidence, that FM is guilty of oppression,

fraud, or malice. Thus, summary judgment must be granted on this claim.

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D. Conclusion

As explained above, the Ingress/Egress coverage applies only when ingress
to or egress from an insured location has been prevented and only when that
prevention is the direct result of physical damage. Here, the damage to the World
Trade Center and Pentagon, located over 2,000 miles away, did not prevent ingress
to and egress from CCDOA’s airports. Instead, the alleged “prevention” of access
was admittedly the direct result of FAA orders. And where access is not prevented
by physical damage, but is instead prohibited by order of civil authority, coverage,
if any, is provided only under the Civil Authority provision. But this coverage does
not apply here because the orders of civil authority were not issued as a direct result
of physical damage and because there was no physical damage at or within 1,000
feet of the insured location as required by the policy. CCDOA’s contention that the
Ingress/Egress provision applies when an order of civil authority “prevented”
ingress or egress to the insured premises cannot be accepted because it improperly
renders the Civil Authority coverage superfluous.

Additionally, the Contingent Time Element coverage does not apply because
CCDOA did not sustain any business interruption loss directly resulting from
physical damage to property at a direct customer or supplier location. Similarly, the
Protection and Preservation of Property provision does not apply because there was
no immediately impending physical damage at CCDOA’s airports. Lastly,
CCDOA’s claims are barred by the policy’s Remote and Indirect Loss exclusion.

Because CCDOA cannot meet its burden of proving coverage under the FM

policy, summary judgment must be granted on all claims.

  

DATED: May 26, 2004 ROBINS, KAPLAN, MILLER & CIRESI L.L.P.

HC

By: ~~.

» scott G. Johnson
Attorneys for Defendant FACTORY MUTUAL
INSURANCE COMPANY

 

 

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Attorneys for Defendant FACTORY
MUTUAL INSURANCE COMPANY

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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEVADA

COUNTY OF CLARK, a political
subdivision of the State of Nevada, on
behalf of Clark County Department of
Aviation,

Plaintiff,
VS.

FACTORY MUTUAL INSURANCE
COMPANY, a Rhode [sland
Corporation, and DOES 1-10,

Defendant.

 

Case No: CV-S-02-1258-KJD-RJJ

FACTORY MUTUAL INSURANCE
COMPANY’S STATEMENT OF
UNCONTROVERTED FACTS _ IN
SUPPORT OF ITS MOTION FOR
SUMMARY JUDGMENT

Notice of Motion and Motion for
ummary Judgment and Supporting
Memorandum of Points and Authorities;
Affidavit of Scott G. Johnson; and
Proposed Order filed concurrently
herewith]

Pursuant to Local Rule 56-1, Defendant FACTORY MUTUAL INSURANCE
COMPANY (“FM”) submits the following statement of facts that are not genuinely

in issue along with the evidence upon which FM relies.

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A. CCDOA and the FM Insurance Coverage.

1. Plaintiff CLARK COUNTY DEPARTMENT OF AVIATION
(“CCDOA”) operates McCarran International Airport, North Las Vegas Airport,
Henderson Executive Airport, Jean Sport Aviation Center, Overton-Perkins Field,
and Searchlight Airfield.

{CCDOA Complaint at 7 5, attached as Exhibit “1” to
Affidavit of Scott G. Johnson.|

2. FACTORY MUTUAL INSURANCE COMPANY (“FM”) issued a

first-party property insurance policy to CCDOA effective October 1, 2000.
[CCDOA Complaint at { 9, attached as Exhibit “1” to
Affidavit of Scott G. Johnson.]

3. The FM policy provided coverage for both property damage and time
element (e.g., business interruption and extra expense) losses, subject to the policy’s
terms, conditions, exclusions, and limitations.

[FM Policy, attached as Exhibit “A” to CCDOA
Complaint .|

4. The property damage section of the policy generally provided coverage
for physical loss or damage to specified property of CCDOA caused by a non-
excluded risk.

[FM Policy at pp. 7-24 , attached as Exhibit “A” to
CCDOA Complaint.|
5, The FM policy included the following provision:
TIME ELEMENT - SECTION C
1. LOSS INSURED
A. This Policy insures TIME ELEMENT loss
as provided in the TIME ELEMENT
COVERAGES, directly resulting from

physical loss or damage of the type insured
y this Policy:

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2)

3)
4)

to property described elsewhere in
this Policy and not otherwise
excluded by this Policy or otherwise
limited in. the TIME ELEMENT
COVERAGES below;

used by the Insured, or for which the
Insured has contracted use;

located at an Insured Location; and

during the Periods of Liability
described in this section,

[FM Policy at p. 25, attached as Exhibit “A” to

 

CCDOA Complaint.]
6, The FM policy included the following provision:
2, TIME ELEMENT COVERAGES
A. GROSS EARNINGS

t)

Measurement of Loss:

a) The recoverable GROSS
EARNINGS loss is the Actual
Loss Sustained by the Insured
of the following during the
PERIOD OF LIABILITY:

(i) Gross Earnings;

(ii) less all charges and
expenses that donot
necessarily continue
during the interruption
of production. or
suspension of business
operations or services;

(ii) less ordinary payroll;

(iv) plus all other earnings
derived from the
operation of the
business.

[FM Policy at pp. 25-26 , attached as Exhibit “A” to
CCDOA Complaint.]

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7, The FM policy included the following provision:
4. PERIOD OF LIABILITY

A. The PERIOD OF LIABILITY applying to
all TIME ELEMENT COVERAGES, except
LEASEHOLD INTEREST and as shown
below, or if otherwise provided under the
TIME ELEMENT COVERAGE
EXTENSIONS, is as follows:

* Ok

8)  Ifan order of civil authority prohibits
access to the Insured Location and
provided such order is the direct
result of physical damage of the type

insured against under this Policy at

the Insured Location or within 1,000
feet of it, the period of time:

ay starting at the time of such
physical damage; but

b) not to exceed 30 consecutive days.
[FM Policy at pp. 33, 35 , attached as Exhibit “A to
CCDOA Complaint.]
8, The FM policy includes the following time element coverage

extensions:

3. TIME ELEMENT COVERAGE EXTENSIONS
A, CONTINGENT TIME ELEMENT
This Policy covers the Actual Loss
Sustained and EXTRA EXPENSES incurred
by the Insured during the PERIOD OF
LIABILITY:

1) — directly resulting from physical loss
or damage of the type insured; and

2) to property of the type insured,

at any locations of direct suppliers or
customers located within the TERRITORY
of this Policy.

The term “supplier or customer” does not
include any company supplying to or

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receiving from the Insured Location, as
described elsewhere in this Policy,
electricity, fuel, gas, water, steam,
refrigeration, sewage or
telecommunications.

[FM Policy at p. 30, attached as Exhibit “A” to
CCDOA Complaint.}
9. The FM policy included the following time element coverage

extensions:
3. TIME ELEMENT COVERAGE EXTENSIONS

RK

C. INGRESS/EGRESS

This Policy covers the Actual Loss
Sustained and EXTRA EXPENSE incurred
by the Insured due to the. necessary
interruption of the Insured’s business due to
revention of ingress to or egress from an
nsured Location, whether or not the
premises or property of the Insured | is
damaged, provided that such prevention is a
direct result of physical damage of the type
insured by this Policy, to the kind of
property not excluded by this Policy.

[FM Policy at p. 31, attached as Exhibit “A” to
CCDOA Complaint.]

10. The FM policy included the following time element coverage:
2. TIME ELEMENT COVERAGES

ke *

E. PROTECTION AND PRESERVATION
OF PROPERTY — TIME ELEMENT

The Policy covers the Actual Loss Sustained
by the Insured for a period of time not. to
exceed 48 hours prior to and 48 hours after
the Insured first taking reasonable action for
the temporary protection and preservation of
property insured by this Policy provided
such action 1s necessary to. prevent
immediately impending physical oss or
damage insured by this Policy at such
insured property.

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[FM Policy at p. 31, attached as Exhibit “A” to
CCDOA Complaint.|

11. The FM policy included the following provision:
5. EXCLUSIONS

The following exclusions apply unless specificall
stated elsewhere 1n this Policy. Pp *

A. — This Policy excludes:
1, indirect or remote loss or damage.
[FM Policy at p. 21, attached as Exhibit “A” to
CCDOA Complaint.]
B. The Events of September 11, 2001.

12. At approximately 8:00 a.m. EDT on September 11, 2001, American
Airlines Flight 11, a Boeing 767, took off from Boston’s Logan airport for Los
Angeles.

[The FAA Responds, attached as Exhibit “2” to
Affidavit of Scott G. Johnson. |

13. Atapproximately 8:14 a.m. EDT, United Airlines Flight 175, another

Boeing 767, also took off from Boston’s Logan airport for Los Angeles.
[The FAA Responds, attached as Exhibit “2” to
Affidavit of Scott G. Johnson.|

14. At approximately 8:21 am. EDT, American Airlines Flight 77, a

Boeing 757, took off from Washington Dulles airport for Los Angeles.
[The FAA Responds, attached as Exhibit “2” to
Affidavit of Scott G. Johnson.|

15. At approximately 8:41 a.m. EDT, United Airlines Flight 93, a Boeing
757, took off from Newark airport for San Francisco.

[The FAA Responds, attached as Exhibit “2” to
Affidavit of Scott G. Johnson.|

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16. Sometime before 8:46 a.m. EDT, American Airlines Flight 11 was
hijacked.
[The FAA Responds, attached as Exhibit “2” to
Affidavit of Scott G. Johnson.|
17. Benedict Sliney was one of five FAA National Operations Managers
and the one on duty on September 11, 2001.
[Deposition of Benedict Sliney at pp. 18:21 - 19:2,
attached as Exhibit “3” to Affidavit of Scott G.
Johnson.]|
18. FAA National Operations Manager Benedict Sliney testified as follows:
. _...1 believe you said as national operations manager, you had
complete authority over the entire air traffic system during your
assigned shift?
A. Yes, to ensure the safe and efficient operation of
that system, that was my charge and since September 1 |
they have added secure to that charge, the safe, secure and
efficient operation of the national air space system.
[Deposition of Benedict Sliney at p. 19:3-11, attached
as Exhibit “3” to Affidavit of Scott G. Johnson.|
19. FAA National Operations Manager Benedict Sliney testified as follows:

Q.  Asnational operations manager, during your shift,
were there any limits to your authority”

A. No, not with respect to a lawful order given to
ensure the safe and efficient operation of the
national air space system.
[Deposition of Benedict Sliney at p. 20:2-7, attached as
Exhibit “3” to Affidavit of Scott G. Johnson.|
20. After American Airlines Flight 11 was hijacked, FAA National
Operations Manager Benedict Sliney learned ofa radio transmission from that plane

to the effect that “we have more planes.”

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[Deposition of Benedict Sliney at pp. 59:14 - 60:14,
attached as Exhibit “3” to Affidavit of Scott G.
Johnson.|
21. Atapproximately 8:46 a.m. EDT, American Airlines Flight 11 crashed
into the north tower of the World Trade Center.
[CCDOA Complaint at { 20, attached as Exhibit “1”
to Affidavit of Scott G. Johnson.|
22. At approximately 9:02 a.m. EDT, United Airlines Flight 175 crashed
into the south tower of the World Trade Center.
[CCDOA Complaint at { 21, attached as Exhibit “1”
to Affidavit of Scott G. Johnson.|
23. OnSeptember 11, 2001 at the FAA National Operations headquarters,
the FAA was tracking all “suspicious” aircraft—aircraft that were not on their
proper route or were not communicating with the FAA—and recording them on a
status board.
[Deposition of Benedict Sliney at pp. 29:8-15, 58:2-13,
attached as Exhibit “3” to Affidavit of Scott G.
Johnson.]
24. At one point, there were as many as 10-12 planes on the status board.
[Deposition of Benedict Sliney at p. 44:1-7, attached as
Exhibit “3” to Affidavit of Scott G. Johnson.]
25. FAA National Operations Manager Benedict Sliney testified as
follows:

Q. Did anyone direct you to issue that national ground
stop or did you issue it on your own authority?

A. [don’t like those two choices. No one directed me
to issue that national ground stop, no one did.

Q. You issued it on your own?

A. _ lissued it on my own authority. That’s somewhat

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— the reason I said I didn’t like that choice is because I
listened to and I have available to me the accumulated
wisdom and advice of all those specialists. We regularly
met on that day to discuss alternatives and what we
should do. When it became apparent that there were
essentially missiles flying around, we decided to — we
stopped aircraft from taking off first. We did that in a
series of movements that are somewhat depicted here.
First, we stopped in New York. Then we stopped Boston.
Then we stopped — although I don’t see it here, we
stopped Los Angeles because of the connection with the
Los Angeles flights to be sure we stopped everything out
there. Then we stopped almost the whole east coast and
then the national ground stopped. ...

[Deposition of Benedict Sliney at pp. 40:16 - 41:15,
attached as Exhibit “3” to Affidavit of Scott G.
Johnson.|
26. FAA National Operations Manager Benedict Sliney testified as
follows:
. You had made another comment during your
testimony that you said when it was apparent that there
were missiles flying around you stopped aircraft first in

New York, Boston, Los Angeles, the east coast and the national ground
stop?

Yes.

A.
0. What did you mean when you said it was apparent
there were missiles flying around?

A. __ That they were purposefully directing planes into
buildings or structures or deliberately destroying them. It
seemed to me in my mind similar to a missile that we had
no control over.
[Deposition of Benedict Sliney at pp. 57:13 - 58:1,
attached as Exhibit “3” to Affidavit of Scott G.
Johnson.|
27. FAA National Operations Manager Benedict Sliney testified as
follows:
Q. You did have a concern there may be other planes

out there that would be used as guided missiles
effectively, right?

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civilian aircraft regardless of destination, was issued at approximately 9:26 a.m.

EDT on September 11, 2001.

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A. Not at that juncture. At that juncture, my concern
was what was the import of several high-jackings.

Q. After the World Trade Center had been struck not
once, but twice, you had a concern?

A. Absolutely. That was one of those many factors
that was in my mind that I alluded to earlier.

_ One of the many factors that fed into your decision
to issue the ground stop order, correct?

A. Correct.

Q. And the order to direct all planes at the nearest
airport, correct?

A. — Correct.

[Deposition of Benedict Sliney at p. 61:7-23, attached

as Exhibit “3” to Affidavit of Scott G. Johnson.|

The FAA’s national ground stop order, which banned takeoffs of all

[Deposition of Benedict Sliney at pp. 38:20 - 39:3,
attached as Exhibit “3” to Affidavit of Scott G.
Johnson.|
A “ground stop is a traffic management tool.”
[Deposition of Benedict Sliney at p. 39:14-15, attached
as Exhibit “3” to Affidavit of Scott G. Johnson.|
FAA National Operations Manager Benedict Sliney testified as follows:
. . Youmentioned that you had a mandate, I hope 1 am
stating this correctly. Ifnot, please correct me — to ensure
the safe and efficient operation of the air traffic system?
A. Of the national air space system.
Q. Then you were asked about what orders you could
give. You could give orders within that mandate, is that
what you said?

A. That is what I said.

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Q. Like the ground stop order being an example?
A, Yes.
[Deposition of Benedict Sliney at p. 57:1-12, attached
as Exhibit “3” to Affidavit of Scott G. Johnson.|
31. Atapproximately 9:40 a.m. EDT, American Airlines Flight 77 crashed
into the Pentagon.
[CCDOA Complaint at § 23, attached as Exhibit “1”
to Affidavit of Scott G. Johnson; Deposition of
Benedict Sliney at p. 44:11-17, attached as Exhibit “3”
to Johnson Affidavit.|
32. At approximately 9:45 a.m., FAA National Operations Manager
Benedict Sliney ordered all aircraft to land at the nearest airport as soon as
practical.
[Deposition of Benedict Sliney at p. 45:1-15, attached
as Exhibit “3” to Affidavit of Scott G. Johnson.]
33. Atapproximately 10:07 a.m., United Flight 93 crashed in Stony Creek
Township, Pennsylvania.
[CCDOA Complaint at J 25, attached as Exhibit “1”
to Affidavit of Scott G. Johnson.|
34. At 10:39 am. EDT, the FAA, reaffirming its earlier orders, issued a
Notice to Airmen (NOTAM) that read in part:

FDC SPECIAL NOTICE. DUE TO EXTRAORDINARY
CIRCUMSTANCES AND FOR REASONS OF
SAFETY, ATTENTION ALL AIRCRAFT
OPERATORS, BY ORDER OF THE FEDERAL
AVIATION COMMAND CENTER ALL
AIRPORTS/AIRDROMES ARE NOT AUTHORIZED
FOR LANDING AND TAKEOFF. ALL TRAFFIC
INCLUDING AIRBORNE AIRCRAFT ARE
ENCOURAGED TO LAND SHORTLY. . ..

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[CCDOA Complaint at { 22, attached as Exhibit “1”
to Affidavit of Scott G. Johnson; The FAA Responds,
attached as Exhibit “2” to Johnson Affidavit.]
35. Transportation Secretary Mineta provided the following testimony
before Congress on September 20, 2001:

On the morning of September | 1th, on the first word of
the attack, I moved directly to the Presidential Emergency
Operations Center in the White House. As soon as I was
aware of the nature and scale of the attack, I called from
the White House to order the air traffic system to land all
aircraft, immediately and without exception. That was an
unprecedented step. But with the risk of additional flights
that might be used as terrorist weapons, I believe that it
was the right and necessary step to take.

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Of course, as we move forward, we must dramatically
alter our approach. As President Bush has said: the world
has changed. I add: so too has the very nature of our
national transportation system.

The events of the past several days requires us to take
new steps to move people and commerce safely and
efficiently, despite the fact that the nature of the threat has
clearly changed. It is a mission we cannot afford to leave
for a later time.

This Administration is already moving to restore and
enhance our air transportation system. On September
13", [announced the gradual restoration of flights within
the national airspace system. We took immediate steps to
develop heightened security measures to ensure the safety
of airline passengers as well as people on the ground.

ok OK

Because safety is of paramount importance, I required
that heightened security measures be in place before any
air service resumed. A thorough search and security
check of all airplanes and airports took place_ before
passengers are allowed to enter and board aircraft.

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We now face a different security threat not only in
transportation, but in all aspects of American life. We
have to be willing to meet that changed threat with
additional counter-measures, and still find ways to keep
our transportation systems the efficient and _ vital

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circulation system of our economy. We must therefore

judge our security options in a different light than we

might have judged them in the past.

[Statement of Norman Y. Mineta, Secretary of
Transportation, Before the Senate Committee on
Commerce, Science, and Transportation at 1 (Sept. 20,

2001), attached as Exhibit “4” to Affidavit of Scott G.

Johnson).]

36. FAA Administrator Jane F. Garvey gave the following testimony before
Congress:

On the morning of September 11th, there were 4,873
instrument flight rule (IFR) flights operating in U.S.
airspace. As soon as Secretary Mineta was aware of the
nature and scale of the terrorist attack on New York and
Washington-that we were faced with, not one, but four
possible hijackings, and several other rumors of missing
or unidentified aircraft-the Secretary ordered the air
traffic system shut down for all civil operations. ...

In response to last week’s unprecedented attacks, the
FAA substantially increased the required security
measures for U.S. airports and U.S. air carriers and
foreign carriers with flights to the U.S. These measures

were implemented immediately. Some are visible to the
public, others are not.

[Statement of Jane F. Garvey, FAA Administrator,
Before the House Subcommittee on Aviation,
Committee on Transportation and Infrastructure, on
Aviation Security Following the Terrorist Attack on
September 11th at 2 (Sept. 21, 2001), attached as
Exhibit “5” to Affidavit of Scott G. Johnson).]

37. CCDOA’s Director of Aviation Randall H. Walker was designated to
testify on behalf of CCDOA in response to FM’s Rule 30(b)(6) deposition notice to
CCDOA on the following subject matters:

l. All orders on which CCDOA bases any claim for damages in this

litigation including, but not limited to, the date of each such order, the

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38.

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of CCDOA’s airports on September 11, 2001.

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agency issuing each such order, the identity of the recipient of each
such order, and the actions taken by CCDOA in response to each such
order;

The manner by which CCDOA claims that ingress to or egress from its
airports was prevented on September 11-13, 2001;

The existence of any physical loss or damage to property at any of
CCDOA’s airports on September 11, 2001;

The existence of any immediately impending physical loss or damage
to property at any of CCDOA’;s airports on September 11, 2001;

The existence of any physical loss or damage to property at locations
of CCDOA’s direct suppliers or customers on September 11, 2001;
The extent of any loss or damage to CCDOA caused by any physical
loss or damage to property at locations of CCDOA’s direct suppliers
or customers on September 11, 2001.

[Deposition of Randall H. Walker at p. 10:8-17,

attached as Exhibit “6” to Affidavit of Scott G.

Johnson; Rule 30(b)(6) Deposition Notice to CCDOA,

attached as Exhibit “7” to Johnson Affidavit.]

No CCDOA property was damaged on September 11, 2001.
[Deposition of Randall H. Walker at p. 30:1-10,

attached as Exhibit “6” to Affidavit of Scott G. Johnson.|

There was no immediately impending physical loss or damage at any

[Deposition of Randall H. Walker at p. 30:11-22,
attached as Exhibit “6” to Affidavit of Scott G.
Johnson; Deposition of Rosemary Vassiliadis at p.
27:20-23, attached as Exhibit “8” to Johnson
Affidavit.]

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40. CCDOA’s Rule 30(b)(6) designee and Director of Aviation Randall
Walker testified as follows:

Q. _Let’s move on to subject No. 5 in Exhibit | [the
Rule 30(b)(6) deposition notice]. That’s “The existence
of physical loss or damage to property at locations of
C A’s direct suppliers or customers on September
11th, 2001.” Was there any. ph sical loss or damage at
the locations of any of C OAs direct suppliers or
customers on September 11?

A. __Certainly airlines are our customers; they had
significant damage.

Q. What was their damage?

A. _ L know some of them had offices in the World
Trade Center, for example?

Q. Who had offices in the World Trade Center?
A. — I know that Delta did specifically.
Q. Anybody else?

A. _ Not that I recall. But I know that Delta did. Some
travel agencies | know were in the World Trade Center.
New York is a very popular market for Las Vegas in
terms of customers, and there were travel-related tour
wholesalers, travel agencies and those kinds of things that
had offices in the World Trade Center, yes.

2. Any other customers or suppliers that were
amaged on September 11, 2001?

A. I don’t specifically know every single one, no.

G. Are you saying that the CCDOA airports were
closed because of the damage to the Delta office in the
World Trade Center and those travel agencies in the
World Trade Center?

A. I think that the CCDOA was closed because of the
orders from the Federal Aviation Administration that shut
down the national air system.

[Deposition of Randall H. Walker at p, 22:4-13,
attached as Exhibit “6” to Affidavit of Scott G.

Johnson.|

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During the morning of September 11, 2001, the FAA issued several

security directives to CCDOA.

[Deposition of Rosemary Vassiliadis at pp. 13:13 -
14:19, attached as Exhibit “8” to Affidavit of Scott G.
Johnson.]

CCDOA Deputy Director of Aviation Rosemary Vassiliadis testified

Q. _ Are these security directives that you mentioned,
are they able to be shown to me, for example?

A. No, they’re not. They are security-sensitive
information.

Q. Are you able to describe the contents of them?
A. — Generally.

Generally, what were airports supposed to do
because the national airspace was closed?

A. _ Airports needed to clear everybody out, and we had
to recertify and sterilize the airport. So in order to do
that, we had to, again, clear everyone out, which we did
including vehicles. I mean, we had to tow vehicles out 0
the garage to be on a perimeter. And they gave us each

and every point that we needed to do. And then go
through a sterilization and a recertification process.

[Deposition of Rosemary Vassiliadis at pp. 14:20 -
15:10, attached as Exhibit “8” to Affidavit of Scott G.
Johnson.]

CCDOA Deputy Director of Aviation Rosemary Vassiliadis testified

0. And then you had to sterilize the airport. What
oes that mean?

A. That means we had to clear everybody out and
every unidentified object out.

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[Deposition of Rosemary Vassiliadis at p. 16:13-16,
attached as Exhibit “8” to Affidavit of Scott G.
Johnson.|

CCDOA Deputy Director of Aviation Rosemary Vassiliadis testified

And then you also mentioned you had to be
recertified.

A.  That’s correct.
Q. What does certification mean?

A. The ability to operate, to be the public use facility
that we are.

Q. Is that an FAA certification?
A That is correct.
Q. What was involved in the recertification?

A _We had to fulfill all the measures of our airport
security plan, which was also a_ security-sensitive
document, but it is certified and approved by the FAA.
Every airport has to submit that. In addition — in addition
to that, there were additional measures that we had to go
through that came through — that came to us by these
security directives.

[Deposition of Rosemary Vassiliadis at p. 17:9-24,
attached as Exhibit “8” to Affidavit of Scott G.
Johnson.|

CCDOA Deputy Director of Aviation Rosemary Vassiliadis testified

Q. Do youremember any other security directives that
you_can just describe generally for me that you received
on September 11, 2001?

A. All the security directives that we received were
measures to secure each property. You know, each
airport. And that was what was contained in them, the
measures that we had to take to assure the best that we
could that there wasn’t an act of terrorism being planned

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requiring airport operators to implement new security measures, including

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for that location. I can’t really get into the specifics of how they
directed us and exactly what they directed us to do.

[Deposition of Rosemary Vassiliadis at p. 19:1-11,
attached as Exhibit “8” to Affidavit of Scott G.
Johnson.|

On or after September 11, 2001, the FAA issued a security directive

establishment of a 300-foot perimeter for parked vehicles, suspension of curbside
check-ins, more frequent searches of carry-on baggage, increased presence of
uniformed and plainclothes security personnel, and allowing only passengers with

a flight ticket and identification past the security gates.

[Deposition of Rosemary Vassiliadis at pp. 36:20 -

37:10, attached as Exhibit “8” to Affidavit of Scott G.

Johnson.|

FAA National Operations Manager Benedict Sliney testified as follows:

0. Did you have any understanding of the reason for
those security directives?

A. Yes.
Q. What were they?

A. My understanding is that we were going to permit
aircraft to fly in the national air space system, only those
aircraft that we deemed to be secure enough not to
become a guided missile or at least assure us as much as
possible that they would be safely able to be
accommodated.

Q. _Is it fair to say that the security directives were
intended to reduce ‘the likelihood of people getting
weapons on aircraft for example?

A. Absolutely.

Q. _ Reduce the likelihood of another terrorist attack
involving airplanes?

A. Absolutely.

Q. Is it true that airports would not be certified to

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resume operations until they complied with the new FAA
security measures.

A. — That’s correct.
[Deposition of Benedict Sliney at pp. 65:24 - 66:21,
attached as Exhibit “3” to Affidavit of Scott G.
Johnson.]
48. On September 12, 2001, United States Secretary of Transportation
Norman Mineta issued a press release which included the following:
Secretary of Transportation Norman Y. Mineta has
announced the Federal Aviation Administration will
allow a limited reopening of the nation’s commercial
airspace system in order to allow flights that were
diverted yesterday to continue to their original
destination.
The Secretary also announced that the FAA is temporarily
extending the ground stop order imposed yesterday while
additional security measures are being completed.
“Safety is always of paramount importance, and in these
extraordinary times we intend to be vigilent,” Mineta
said....
[FAA Office of Public Affairs Press Release (Sept. 12,
2001), attached as Exhibit “9” to Affidavit of Scott G.
Johnson. |
49, United States Department of Transportation Secretary Norman Mineta
ordered the national airspace reopened to commercial aviation at 11:00 a.m. EDT
on September 13, 2001.
[Deposition of Benedict Sliney at pp. 66:22 — 67:16,
attached as Exhibit “3” to Affidavit of Scott G.
Johnson; Deposition of Rosemary Vassiliadis at pp.
32:21 - 33:13, attached as Exhibit “8” to Johnson
Affidavit; United States Department of Transportation
Press Release (Sept. 13, 2001), attached as Exhibit

“10” to Johnson Affidavit.|

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CCDOA’s Rule 30(b)(6) designee and Director of Aviation Randall

Walker testified as follows:

Q. Let’s move on to subject matter 2 in Exhibit 1 {the
Rule 30(b)(6) deposition notice]: “The manner by which
CCDOA claims that ingress to or egress from its airports
was prevented on September 11th through the 13th,
2001” Can you describe the manner in which CCDOA
claims that ingress to or egress from its airports was
prevented on September 11, 2001?

A. _ First off, all airplanes were prohibited by federal
order from flying, so no airplanes could arrive at our
airport or leave from our airport under federal! order.

In_addition to that, the terminal needed to be
vacated for security reasons, so the terminal was closed to
all nonbadged individuals, and the roadways into the
airport were blocked and — to allow the airport to be able
to have control of the airport in a sterile environment and
be able to do its security checks in accordance with the
FAA directives.

[Deposition of Randall H. Walker at p. 18:6-24,

attached as Exhibit “6” to Affidavit of Scott G.

Johnson.|

CCDOA’s Rule 30(b)(6) designee and Director of Aviation Randall

Walker testified as follows:

.. When do you claim that the prevention of ingress
and egress by aircraft began?

A.  Assoonas the FAA grounded all the aircraft.

% ok OK

Q. And when do you claim that the prevention of
ingress and egress by aircraft ended?

A. When the FAA authorized aircraft to begin
operations into McCarran once again.

[Deposition of Randall H. Walker at p. 20:12-14; p.

20:19-22, attached as Exhibit “6” to Affidavit of Scott

G. Johnson.]

CCDOA’s Rule 30(b)(6) designee and Director of Aviation Randall

Walker testified as follows:

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0. What prevented a plane from taking off from any of
the CCDOA airports on September 11 after the order?

It was in violation of federal directives.

A
0. There was nothing wrong with the runways at any
of the airports, right?

A. No, runways all functioned fine.

Q. But there was an order from the FAA that said
planes could not take off, right?

A. _ Planes were prohibited from being in the air space,
so therefore they couldn’t take off or land.

[Deposition of Randall H. Walker at p. 22:4-13,

attached as Exhibit “6” to Affidavit of Scott G.

Johnson.]

FAA National Operations Manager Benedict Sliney testified as follows:

0. Were you aware of any planes that took off after
the ground stop order?

A. Pm aware of one in particular.

Q. What was that?

A. _ ItwasaFed Ex that a controller cleared for take off
out in Great Falls, Montana, despite the controller’s
knowledge of the national ground stop order.

Q. — What happened in that particular situation?

What happened in what respect sir?

What happened to the plane for example?

T don’t know.

Or OP

What happened with the controller?

A. He was subsequently fired and charged with a
federal misdemeanor, for which he was convicted.

9 Between the ground stop order on September 11,
2001 and the reopening of the air space on September 13,
200 l 3 there were some flights taking off and landing,
right:

A. There were flights that were granted exceptions,
yes — exceptions I should say.

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9. Some of those were fights taking supplies to New
ork City and Washington, D.C., correct?

A. There were medical flights. There were medical
categories that we allowed affer sufficient inquiry to do
that. Actually one of the interesting ones was | thought
the need for the Federal Reserve to transport checks to
various locations. That was one of the exceptions.
[Deposition of Benedict Sliney at pp. 68:23 - 70:5,
attached as Exhibit “3” to Affidavit of Scott G.
Johnson.]
54. Twoor three planes flew into or out of McCarran International Airport
on September 12, 2001.
[Deposition of Rosemary Vassiliadis at pp. 30:13 -
31:17; 36:2-19, attached as Exhibit “8” to Affidavit of
Scott G. Johnson).|
55. By 8:00 a.m. PDT, McCarran International had been certified by the
FAA to be in compliance with all current security directives.
[Deposition of Rosemary Vassiliadis at pp. 33:8 -
34:12, attached as Exhibit “8” to Affidavit of Scott G.
Johnson; CCDOA Press Release,
http://ems.mecarran.com/dsweb/Get/Document-230
18/09 _01_Airport+Status+0913+afternoon.pdf (Sept.
13, 2001), attached as Exhibit “11” to Affidavit of
Scott G. Johnson).]
6. CCDOA Submits Claim to FM.
56. On November 7, 2001, CCDOA notified FM of a claim for “Business
interruption loss due to terrorist attack in New York and Washington, DC.”
[Property Loss Notice (Nov. 7, 2001), attached as

Exhibit “12” to Affidavit of Scott G. Johnson;

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reasons, among others:

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Deposition of Lloyd Cutler at pp. 34:18 - 35:9,
attached as Exhibit “13” to Johnson Affidavit.|
CCDOA claimed that there was coverage for its loss under the FM

policy’s Ingress/Egress Time Element Extension, Contingent Time Element

Extension, and Protection and Preservation of Property provision.

[Letter from CCDOA’s R. Ross Johnson to FM’s

Jeffrey Casillas (Feb. 22, 2002), attached as Exhibit

“B” to CCDOA’s Complaint; Deposition of R. Ross

Johnson at pp. 24:23 - 25:19, attached as Exhibit “14”

to Johnson Affidavit.]

On April 16, 2002, FM denied CCDOA’s claim for the following

There was no coverage under the FM policy’s Civil Authority coverage
because the FAA orders grounding all aircraft did not directly result
from physical damage at any CCDOA airport or within 1,000 feet of
them as required by the policy;

There was no coverage under the FM policy’s Ingress/Egress Coverage
Extension because ingress to or egress from CCDOA airports was not
prevented as a direct result of physical damage of the type insured
against as required by the policy;

There was no coverage under the FM policy’s Contingent Time
Element coverage because there was no physical loss or damage at any
direct supplier or customer location as required by the policy; and
There was no coverage under the Protection and Preservation of
Property — Time Element coverage because there was no immediately
impending physical loss or damage at any CCDOA airport as required
by the policy.

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[Letter from FM’s Jeffrey C. Casillas to CCDOA’s R.
Ross Johnson (Apr. 16, 2002), attached as Exhibit “D”
to CCDOA’s Complaint.]

7. CCDOA Sues FM.

59. On August 30, 2002, CCDOA sued FM for declaratory relief, breach
of contract, Unfair Claims Settlement Practices, and breach of the implied covenant
of good faith and fair dealing.

[CCDOA Complaint, attached as Exhibit “1” to
Affidavit of Scott G. Johnson.]

NL ER & CIRESI L.L.P.
By: f C \ Aas

Scott G, Johnson
Attorneys for Defendant FACTORY MUTUAL
INSURANCE COMPANY

  
 

DATED: May 24, 2004 ROBINS,

 

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Richard J. Pocker ~ ENTE. EEE ep
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Las Vegas, Nevada 89107 AY 24 A to:
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Patrick E, Shipstead (CA #087170) Admitted Pro Hac Vice &?__ 7A
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Robins, Kaplan, Miller & Ciresi L.L.P. if
600 Anton Boulevard, Suite 1600 :
Costa Mesa, California 92626-7147
Telephone: (714) 540-6200
Facsimile: (714) 545-6915
Attorneys for Defendant FACTORY
MUTUAL INSURANCE COMPANY
IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEVADA
COUNTY OF CLARK, a political Case No: CV-S-02-1258-KJD-RJJ
subdivision of the State of Nevada, on
behalf of Clark County Department of
Aviation, AFFIDAVIT OF SCOTT G. JOHNSON IN
. SUPPORT OF FACTORY MUTUAL
Plaintiff, INSURANCE COMPANY’S MOTION
FOR SUMMARY JUDGMENT

VS.

FACTORY MUTUAL INSURANCE [Notice of Motion and Motion for Summary
COMPANY, a Rhode Island udgment and Supporting Memorandum of
Corporation, and DOES 1-10, Points and Authorities; Statement of
Uncontroverted Facts; and Proposed Order

Defendant. filed concurrently herewith]

 

{, Scott G. Johnson, being duly sworn, says:

1. Jaman attorney admitted to practice law before the United States District Court
for the District of Nevada for this particular case and am a member in the law firm of
Robins, Kaplan, Miller & Ciresi L.L.P., attorneys of record for defendant FACTORY
MUTUAL INSURANCE COMPANY (“FM”) in the above-referenced matter. I have

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personal knowledge of the matters contained in this declaration and am competent to
testify thereto.

2. Attached hereto as Exhibit “1” is a true and correct copy of the Plaintiff's
Complaint, including exhibits, filed in this matter and served on FM.

3. Attached hereto as Exhibit “2” is a true and correct copy of The FAA
Responds, a document and public record prepared by the Federal Aviation
Administration and available at the following web = address:
http://www. faa. gov/Septl | portraits/chronology.cfm.

4. Attached hereto as Exhibit “3” is a true and correct copy of the deposition
testimony and exhibits of Benedict Sliney, taken on April 22, 2004 in this matter.

5. Attached hereto as Exhibit “4” 1s a true and correct copy of the statement of
The Honorable Norman Y. Mineta, United States Secretary of Transportation, given
before the United States Senate Committee on Commerce, Science, and Transportation
on September 20, 2001. This statement can be found on the official website for the
United States Senate at the following location: http://www.senate.gov/~commerce/
hearings/09200 1 Minetta.pdf.

6. Attached hereto as Exhibit “5S” is a true and correct copy of the Statement of
Jane F. Garvey, FAA Administrator, Before the House Subcommittee on Aviation,
Committee on Transportation and Infrastructure, on Aviation Security Following the
Terrorist Attack on September 11th made on September 21, 2001. This statement can
be found on the United States House of Representatives website at the following
location: http://www.house.gov.transportation/aviation/09-21-01/garvey.html.

7. Attached hereto as Exhibit “6” are true and correct copies of selected pages
of the deposition testimony of Randall H. Walker, taken on April 13, 2004 in this matter.

8. Attached hereto as Exhibit “7” is a true and correct copy of the Federal Rule
30(b)(6) Deposition Notice directed to CCDOA. CCDOA designated Randall H. Walker

to testify on its behalf in response to the Deposition Notice.

20086625, ] Page 2 of 4

 
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9. Attached hereto as Exhibit “8” are true and correct copies of selected pages
of the deposition testimony of Rosemary Vassiliadis, taken on April 15, 2004 in this
matter.

10. Attached hereto as Exhibit “9” is a true and correct copy of a September 12,
2001 press release issued by the FAA Office of Public Affairs. This press release can
be found on the FAA’s official website at the following location:
http://www. faa.gov/apa/pr/pr.cfm?id=1406.

11. Attached hereto as Exhibit “10” is a true and correct copy of a September 13,
2001 press release issued by the United States Department of Transportation. This press
release can be found on the Department of Transportation’s official website at the
following location: http://www.dot.gov/affairs/dot9601.htm.

12. Attached hereto as Exhibit “11” is a true and correct copy ofa CCDOA News
Release dated September 13, 2001. This news release can be found in McCarran
International Airport’s official website at the following location:
http://ems.mecarran.com/dsweb/Get/Document-23018/09_01_AirporttStatust+0913+
afternoon.pdf.

12. Attached hereto as Exhibit “12” is a true and correct copy of the Acord
Property Loss Notice dated November 7, 2001 and sent by CCDOA to FM. This
document was prepared by CCDOA’s insurance broker Lloyd Cutler at CCDOA’s
direction, as he testified to in his deposition at pages 34 and 35. Attached hereto as
Exhibit “13” are true and correct copies of selected pages of the deposition testimony of
Lloyd Cutler, taken on April 13, 2004 in this matter.

13. Attached as Exhibit “14” are true and correct copies of selected pages of the
deposition testimony of R. Ross Johnson, taken on April 14, 2004 in this matter.

FURTHER YOUR AFFIANT SAITH NOT. -

Scott G. Johnson

 

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SUBSCRIBED and SWORN to before me

MARY-ALICE BOESEL

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COMP

STEWART L. BELL

District Attorney

CIVIL DIVISION

State Bar No. 000477

By: E. LEE THOMSON
Chief Deputy District Attorney
State Bar No. 001057

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DAVID W. STEUBER, ESQ.’
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HOWREY SIMON ARNOLD & WHITE, LLP

550 South Hope Street, Suite 1400
Los Angeles, California 90071
Telephone: (213) 892-1800

Attorneys for Plaintiff, County of Clark,
a political subdivision of the State of Nevada, on behalf of

Clark County Department of Aviation

DISTRICT COURT
CLARK COUNTY, NEVADA

COUNTY OF CLARK, a political
subdivision of the State of Nevada, on
behalf of Clark County Department of
Aviation,

Plaintiff,
VS.
FACTORY MUTUAL INSURANCE
COMPANY, a Rhode Island
Corporation, and DOES 1-10,

Defendant.

 

 

 

 

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COMPLAINT FORT —_
1. DECLARATORY RELIEF;
2. BREACH OF CONTRACT;
3. UNFAIR CLAIM SETTLEMENT
PRACTICES (NRS § 686A.310 et seg.); and
4. TORTIOUS BREACH OF THE
IMPLIED COVENANT OF GOOD FAITH
AND FAIR DEALING
[DEMAND FOR JURY TRIAL]
ARBITRATION EXEMPTION
CLAIMED: Declaratory Relief
Amount Exceeds $40,000.00

' Mr. Steuber and Mr, Masterson have been retained by the Plaintiff but will not make an appearance in this case until
the Court grants the Motion to Associate, which is being filed with the Court.

SALITID-FAFACTORY MUTUAL INSURANCE COMPANY\Complaint.doc'pce

Page | of 14

 
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Plaintiff COUNTY OF CLARK, a political subdivision of the State of Nevada, on
behalf of Clark County Department of Aviation (“CCDOA”) complains of Defendants
FACTORY MUTUAL INSURANCE COMPANY (“FM”) and DOES 1 through 10, and
alleges:

INTRODUCTION AND NATURE OF DISPUTE

1. CCDOA brings this action against the Defendant insurance company, FM, for
insurance coverage under an “FM Global” all risk policy for substantia! financial loss
sustained by CCDOA as a result of the tragic events of September 11, 2001.

2. On the morning of September 11, 2001, the United States of America suffered
the worst peacetime disaster in its history — or perhaps in all of history. As all Americans
painfully know, terrorist-backed assaults on the World Trade Center and the Pentagon
caused great physical devastation and property damage and, worse, the loss of thousands of
innocent lives. The horrible events of 9/11 threw America — and especially America’s air
traffic and airport facilities - into terrible turmoil. Air traffic nation-wide was grounded by
directive of the Federal Aviation Administration as a result of the tragic events and physical
devastation to the World Trade Center and the Pentagon. Airports throughout America were
shut down, not to reopen for days thereafter and not to return to their pre-9/11 levels of
activity for many weeks and months later. The airports of Clark County were no exception.
Those airports, notably McCarran International Airport, were shut down immediately after,
and as direct result of, the destruction of 9/11. Access to and from the Clark County airport
facilities was prohibited.

3, As a result of the airport closures, CCDOA suffered a substantial loss to its
business — just the type of loss covered by the policy of insurance sold to CCDOA by FM for
substantial premiums. But when CCDOA advised FM of its intent to submit a claim under
the FM Global policy for its loss, FM did not acknowledge its policy obligations. Instead,
FM’s unequivocal and arrogant response was that if CCDOA submitted such a claim, FM
would reject the claim and cancel its policy. Thereafter, when CCDOA did, in fact, submit

its claim for loss under the policy, refusing to bend to the threats and pressure exerted by

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FM, FM categorically denied the claim, refused to honor or acknowledge its policy
obligations, and promptly cancelled the three-year policy it had sold to CCDOA after less
than two years had elapsed.

4. Because of FM’s wrongful, tortious conduct, CCDOA brings this complaint
seeking a declaration from this Court as to the rights, duties, and responsibilities of the
parties under the FM Global policy, and damages, including punitive damages, for FM’s
breach of contract, unfair claim settlement practices, and tortious breach of the implied
covenant of good faith and fair dealing.

THE PARTIES

5. Plaintiff COUNTY OF CLARK is a political subdivision of the State of
Nevada, and brings this action on behalf of the Clark County Department of Aviation, which
operates McCarran International Airport, North Las Vegas Airport, Henderson Executive
Airport, Jean Sport Aviation Center, Overton-Perkins Field and Searchlight Airfield
(collectively, the “Clark County Airports”) as part of the Clark County Airport System
which is publicly owned by Clark County, Nevada. Plaintiff is hereafter referred to as
“CCDOA”.

6. Defendant FACTORY MUTUAL INSURANCE COMPANY is a Rhode
Island corporation, with its principal place of business in Johnston, Rhode Island, licensed to
transact business, and transacting business, in the State of Nevada and the County of Clark.

7. Plaintiff CCDOA is ignorant of the true names and capacities, whether
individual, associate, partnership, corporate or otherwise, of defendants fictitiously
designated herein as DOES 1 through 10, and, therefore, sues those defendants by such
fictitious names. Plaintiff will seek leave of Court to amend this Complaint when the true
names and capacities of such fictitiously named defendants have been ascertained. Plaintiff
is informed and believes and on that basis alleges that DOES | through 10, in some way
unknown to Plaintiff, have underwritten, provided or issued insurance coverage to Plaintiff
for the losses alleged herein or are otherwise responsible for Plaintiff's damages alleged

herein, and that DOES 1 through 10 are authorized to, and do, transact business in the State

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of Nevada and the County of Clark.

8. Plaintiff is informed and believes and thereon alleges that, at all material times
herein alleged, the defendants, and each of them, were the agents, servants and employees of
the other defendants, and each of them.

THE INSURANCE POLICY

9. FM sold FM Global policy number UA864 (the “Policy”) to CCDOA for the
period October 1, 2000 to October 1, 2003. A true and correct copy of the Policy is attached
hereto as Exhibit “A” to this Complaint and incorporated herein by reference as though fully
set forth at length. CCDOA paid a substantial premium for the Policy, which provided broad
coverage protection to CCDOA and other Named Insureds, all according to the Policy’s
terms.

10. Under the Policy, CCDOA is the Named Insured, as is any subsidiary,
associated or allied company, corporation, firm, organization, and CCDOA’s interest in any
partnership or joint venture in which CCDOA has management control or ownership.

11. By its express terms, the type of property insured under the Policy includes
real property, including buildings, and personal property including improvements and
betterments.

12. In addition to providing insurance protection against and coverage for physical
loss or damage to CCDOA’s real and personal property, the Policy also includes a number of
broad, important coverage extensions providing at least $25 million of insurance against
economic losses suffered while CCDOA’s business is interrupted or diminished regardless
of whether any physical loss or damage to CCDOA’s own property occurs. As set forth in
the following paragraphs, these “business interruption” or “time element” coverage
extensions include the Contingent Time Element Extension, the Extended Period of
Liability, the Ingress/Egress Time Element Extension, and the Preservation of Property
coverage provision.

13. Section 3.A. of the Policy contains the following Contingent Time Element

Coverage Extension:

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14.

A. CONTINGENT TIME ELEMENT

This Policy covers the Actual Loss Sustained and EXTRA
EXPENSE incurred by the Insured during the PERIOD OF
LIABILITY:

1) directly resulting from physical loss or damage of
the type insured and

2) to property of the type insured, at any locations of
direct suppliers or customers located within the
TERRITORY of this Policy. The term “supplier
or customer” does not include any company
supplying to or receiving from the Insured
Location, as described elsewhere in this Policy,
electricity, fuel, gas, water, steam, refrigeration,
sewage or telecommunications.

The term “EXTRA EXPENSE” is defined in Section 2.B.1) of the Policy to

include “Extra expenses to temporarily continue as nearly as normal as practicable the

conduct of the Insured’s business.”

15.

recoverable is extended until business income is restored to pre-interruption levels:

In Section 3.B. of the Policy, the period over which economic loss is

B. EXTENDED PERIOD OF LIABILITY

The GROSS EARNINGS coverage is extended to cover the
reduction in sales resulting from:

1) the interruption of business as covered by
GROSS EARNINGS;

2) for such additional length of time as would be
required with the exercise of due diligence and
dispatch to restore the Insured’s business to the
condition that would have existed had no loss
occurred; and

3) commencing with the date on which the liability of
the Company for loss resulting from interruption of
business would terminate if this Extension had not
been included herein. .. .

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16. Section 3.C. of the Policy contains the following Ingress/Egress Time Element

Coverage Extension:

OF INGRESS/EGRESS

This Policy covers the Actual Loss Sustained and EXTRA
EXPENSE incurred by the Insured due to the necessary
interruption of the Insured’s business due to prevention of
ingress to or egress from an Insured Location, whether or not
the premises or property of the Insured is damaged, provided
that such prevention is a direct result of physical damage of
the type insured by this Policy to the kind of property not
excluded by this Policy.

17. Section 3.E. of the Policy provides coverage against loss sustained due to

actions taken to protect or preserve property against threatened damage:

D. PROTECTION AND PRESERVATION OF
PROPERTY — TIME ELEMENT

This Policy Covers Actual Loss Sustained by the Insured for a
period of time not to exceed 48 hours prior to and 48 hours
after the Insured first taking reasonable action for the
temporary protection and preservation of property insured by
this Policy provided such action is necessary to prevent
immediately impending physical loss or damage insured by
this Policy at such insured property... .

18. To the extent not waived or otherwise excused, CCDOA has complied with all
terms and conditions precedent, including payment of undisputed premiums and notice,
contained in the Policy and is entitled to all benefits of insurance provided by the Policy.

FACTUAL BACKGROUND

19. On September 11, 2001, the United States of America experienced a
devastating, coordinated terrorist attack in which commercial aircraft were hijacked and
diverted to destroy highly visible and populated American landmarks. Thousands of
innocent lives were lost. Billions of dollars of real and personal property, including without

limitation, buildings, improvements, and betterments, were damaged and destroyed.

20. At 8:48 a.m., American Airlines Flight 11 crashed into the north tower of the

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World Trade Center.
21. At9:05 am., United Airlines Flight 175 crashed into the south tower of the

World Trade Center.

22.  Asadirect result of the physical damage to the World Trade Center towers
caused by the coordinated terrorist attack, all air traffic within the United States was
grounded and all United States airports, including the Clark County Airports, were
immediately shut down. Specifically, at 9:40 a.m., the Federal Aviation Administration
(“FAA”) closed all airports by issuing the following Notice to Airmen (“NOTAM”):

IFDC 1/9731 FDC SPECIAL NOTICE ~ DUE TO EXTRAORDINARY
CIRCUMSTANCES AND FOR REASONS OF SAFETY. ATTENTION
ALL AIRCRAFT OPERATORS, BY ORDER OF THE FEDERAL
AVIATION COMMAND CENTER, ALL AIRPORTS/AIRDROMES
ARE NOT AUTHORIZED FOR LANDING AND TAKEOFF. ALL
TRAFFIC INCLUDING AIRBORNE AIRCRAFT ARE ENCOURAGED
TO LAND SHORTLY.

23.  At9:43 a.m., American Airlines Flight 77 crashed into the Pentagon.

24. At9:59a.m., the south tower of the World Trade Center collapsed.

25. At 10:00 a.m., United Airlines Flight 93 crashed just north of Somerset County
Airport outside of Pittsburgh, Pennsylvania, apparently en route to Camp David.

26. At 10:28 a.m., the north tower of the World Trade Center collapsed.

27. All airports, including the Clark County Airports, remained closed through at
least September 13, 2001 and access to and from the airports was prohibited.

CCDOA’S COVERED LOSS

28. Asa direct result of the September 11, 2001 terrorist inflicted physical damage
to the World Trade Center and Pentagon, CCDOA sustained Actual Loss covered by the
Policy due to the necessary interruption of CCDOA’s business due to the prevention of
ingress to or egress from each of the Clark County Airports.

29. CCDOA also incurred covered EXTRA EXPENSE, including the expense
incurred to resume and continue operations at the Clark County Airports as nearly normal! as

practicable following the devastation of September 11th.

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30. The tragic events of September 11th also caused CCDOA to sustain covered
Actual Loss and incur covered EXTRA EXPENSE as a direct result of damage to property
of the type insured by the Policy at locations of direct suppliers or customers of the Clark
County Airports, including without limitation American Airlines and United Airlines.

31. CCDOA’s covered Actual Loss and EXTRA EXPENSE continued well
beyond the resumption of business at the Clark County Airports for an additional length of
time required to restore CCDOA’s business to the condition that would have existed had no
loss occurred.

32. CCDOA also sustained covered Actual Loss due to reasonable and necessary
actions taken to prevent immediately impending covered physical loss or damage threatened
or reasonably believed to be threatened by additional terrorist attacks to CCDOA’s property

on and following September 11th.
33. CCDOA’s Loss sustained exceeds $5,933,244. CCDOA’s EXTRA EXPENSE

incurred exceeds $597,326. Thus, CCDOA’s total Loss insured under the Policy exceeds
$6.5 million. CCDOA will seek leave to amend this Complaint when the precise amount of
its Loss is determined. The Policy covers CCDOA’s Loss.
FM’s HEAVY-HANDED, BAD FAITH RESPONSE TO CCDOA’S LOSS

34. Prior to submitting a claim for its September 11th related Loss, CCDOA
notified FM of that Loss and met with FM to discuss the coverage available under the
Policy. During that meeting, FM not only expressed to CCDOA a categorical, no
compromise, “no coverage” position without conducting any investigation of the particulars
of CCDOA’s Loss, but also sought to coerce CCDOA into abandoning its claim ab initio.

35. Specifically, FM expressly threatened to cancel the three-year Policy two years
into its term if CCDOA ever even submitted a claim for any loss arising out of or resulting
from the tragic events of September 11th. FM leveled its threat with full knowledge that the
events of September 11th had created a difficult “tight” insurance market and that CCDOA
would be severely prejudiced if the Policy were prematurely cancelled in mid-term and

CCDOA were forced to attempt to replace the coverage provided by the Policy. FM

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likewise made its threat despite the fact it knew that CCDOA had been a model policyholder
with FM, paying substantial premium dollars to FM over the years and working closely and
well with FM to keep claims and risks at a minimum.

36. Despite FM’s abusive, coercive, and bad faith threat, CCDOA did submit a
timely claim for its Loss and requested that FM honor its duty to pay CCDOA for that Loss.
On February 22, 2002, CCDOA wrote to FM providing a detailed explanation of applicable
coverage provided under the Policy, among other things, explaining why CCDOA in good
faith believed that the claim was covered and asking FM to give serious consideration to
CCDOA’s claim. A true and correct copy of this CCDOA’s February 22, 2002 letter is
attached hereto as Exhibit “B.” On March 22, 2002 CCDOA submitted a Sworn Statement
in Proof of Loss Associated With September 11, 2001 Terrorist Attacks. A true and correct
copy of CCDOA’s Proof of Loss is attached hereto as Exhibit “C.”

37. Instead of honoring its coverage obligations, FM disclaimed any responsibility
to reimburse CCDOA for its Loss or any portion of it. Specifically, by letter dated April 16,
2002, FM relied on blatantly inaccurate and tortured readings of policy language and
inaccurate factual recitations to deny any obligation under the Policy. A true and correct
copy of FM’s April 16, 2002 letter is attached hereto as Exhibit “D.”

38. By letter dated April 30, 2002, CCDOA explained why FM’s denial of
coverage was wrong and asked FM to reconsider. A true and correct copy of CCDOA’s
April 30, 2002 letter is attached hereto as Exhibit “E.”

39. Despite CCDOA’s April 30, 2002 letter, FM persisted in its refusal to honor its
obligations under the Policy. By letter dated May 28, 2002, FM relied on further distortion
and augmentation of the actual language of the Policy to restate its unsupportable denial of
coverage. A true and correct copy of FM’s May 28, 2002 letter is attached hereto as Exhibit

40. Inretaliation for CCDOA’s decision to submit a claim for the insurance
benefits due under and covered by the Policy, FM cancelled the Policy which, by its terms,

was originally underwritten for the three-year period from October 1, 2000 to October 1,

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2003. By letter dated June 25, 2002, FM stated that coverage would terminate effective
October 1, 2002. In a thinly-veiled allusion to CCDOA’s refusal to forgo insurance proceeds
for its September 11th related Loss, FM cited only a supposed “fundamental divergence
between our companies on issues relating to the provision and purpose of first-party property
insurance as well as the application of material policy provisions.” FM acknowledged that it
had not stated the facts on which its cancellation decision was based, but referred CCDOA to
its rights under Nevada law and promised to provide those facts within six days of receipt of
a written request. A true and correct copy of FM’s June 25, 2002 letter is attached hereto as
Exhibit “G.”

41. By letter dated July 2, 2002, CCDOA made a written request for information
relating to the facts on which FM’s decision to terminate coverage was based. A true and
correct copy of CCDOA’s July 2, 2002 letter is attached hereto as Exhibit “H.”

42. Despite CCDOA’s request, FM again failed to state the facts on which its
decision to cancel the Policy was based and, instead, through a letter dated July 11, 2002,
made only the conclusory statement that “In our judgment it is unlikely that any future
insurance relationship with [CCDOA] could be mutually satisfactory.” A true and correct
copy of FM’s July 11, 2002 letter is attached hereto as Exhibit “I.”

FIRST CAUSE OF ACTION
[Declaratory Relief]

43. CCDOA re-alleges and incorporates by reference paragraphs | through 42
above as though set forth fully herein.

44, CCDOA therefore seeks a judicial declaration as to the duties and obligations
of FM to reimburse CCDOA under the Policy, confirming CCDOA’s contentions, as set
forth above, are correct, including without limitation that is Loss is covered under the Policy.
A declaration is appropriate at this time in order that the parties’ dispute may be resolved and
the parties may be aware of their respective rights and obligations.
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SECOND CAUSE OF ACTION
[Breach of Contract]

45. CCDOA re-alleges and incorporates by reference paragraphs 1 through 44
above as though set forth fully herein.

46. FM has breached its insurance Policy with CCDOA by refusing to reimburse
CCDOA for its losses insured under the Policy.

47. Asa direct and proximate result of the acts of FM, CCDOA has been injured in
the amount of at least $6.5 million, which has not yet been precisely ascertained, plus
interest. When the precise amount of damages is known, CCDOA will seek leave to amend
this Complaint.

THIRD CAUSE OF ACTION
[Unfair Claim Settlement Practices]

48. CCDOA re-alleges and incorporates by reference paragraphs | through 47
above as though set forth fully herein.

49. Through the conduct described above, FM has engaged in Unfair Claim
Settlement practices prohibited by NRS §686A.310, including but not limited to: (a)
misrepresenting pertinent facts or insurance policy provisions relating to coverage at issue,
(b) failing to adopt and implement reasonable standards for the prompt investigation and
processing of claims; (c) failing to effectuate prompt, fair and equitable settlement of claims
in which FM’s liability has become clear; (d) compelling CCDOA to instigate the instant
litigation to recover amounts due under the Policy; (e) attempting to compel and coerce
CCDOA to abandon its claim by threatening to cancel the Policy; (f) failing to comply with
the provisions of NRS 687B.310 to 687B.390 or 678B.410; and ( g) failing to provide a
reasonable explanation of the basis for denial of CCDOA’s claim.

50. Asa direct and proximate result of the acts of FM, CCDOA has been injured in
the amount of at least $6.5 million, which has not yet been precisely ascertained, plus

interest. When the precise amount of damages is known, CCDOA will seek leave to amend

this Complaint.

 

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51. | FM’s unreasonable conduct described above was and is despicable and was
done to vex and injure CCDOA with a willful conscious disregard for CCDOA’s rights,
constituting oppression, fraud and/or malice. FM ignored CCDOA’s interests and concerns,
consciously placed its own economic interests first, with the intent to jure CCDOA.
CCDOA therefore is entitled to recover all attorney’s fees it reasonably has incurred in its
efforts to obtain Policy benefits that wrongfully were withheld in bad faith by FM and to
recover punitive damages from FM in an amount sufficient to punish FM and to make an
example of FM in order to deter similar conduct in the future.

FOURTH CAUSE OF ACTION
[Tortious Breach of the Implied Covenant of Good Faith and Fair Dealing]

52. CCDOA re-alleges and incorporates by reference paragraphs | through 51
above as though set forth fully herein.

53. Implied in the Policy is a covenant that FM would act in good faith and deal
fairly with CCDOA, that FM would do nothing to interfere with the rights of CCDOA to
receive the benefits of the Policy, and that FM would give the same level of consideration to
the interests of CCDOA as FM gives to its own interests.

54. _ In breach of this covenant, FM did the things and committed the acts alleged
above for the purpose of consciously and unreasonably withholding from CCDOA the rights
and benefits to which CCDOA was entitled under the Policy without any legitimate basis for
doing so and without considering the interests of CCDOA to the same extent as FM
considered its own interests.

55. The acts of FM are inconsistent with the reasonable expectations of their
insured, are contrary to established practices and legal] requirements, and constitute bad faith.

56. Accordingly, CCDOA is entitled to recover all attorney’s fees that it
reasonably has incurred in its efforts to obtain Policy benefits that wrongfully were withheld
in bad faith by FM.

57. | FM’s unreasonable conduct described above was and is despicable and was

done to vex and injure CCDOA with a willful conscious disregard for CCDOA’s rights,

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constituting oppression, fraud and/or malice. FM ignored CCDOA’s interests and concerns,
consciously placed its own economic interests first, with the intent to injure CCDOA.
CCDOA therefore is entitled to recover punitive damages from FM in an amount sufficient
to punish FM and to make an example of FM in order to deter similar conduct in the future.
WHEREFORE, Plaintiff CCDOA prays for judgment as follows:
ON THE FIRST CAUSE OF ACTION
1. For a declaration that CCDOA’s contentions as set forth above are correct,
including without limitation that its Loss is covered under the Policy;
ON THE SECOND CAUSE OF ACTION
2. For damages according to proof at the time of trial, but no less than $6.5
million, plus interest;
ON THE THIRD CAUSE OF ACTION
3. For damages according to proof at the time of trial, but no Jess than $6.5
million, plus interest;
4, For its reasonable attorney’s fees incurred in its efforts to obtain the benefits
due under the Policy;
5. For punitive damages in an amount sufficient to punish FM and to make an

example of FM in order to deter similar conduct in the future;
ON THE FOURTH CAUSE OF ACTION

6. For damages according to proof at the time of trial, but no less than $6.5

million, plus interest;

7. For its reasonable attorney’s fees incurred in its efforts to obtain the benefits
due under the Policy;

8. For punitive damages in an amount sufficient to punish FM and to make an
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example of FM in order to deter similar conduct in the future;

 

ON ALL CAUSES OF ACTION
9. For its costs of suit incurred herein; and
10. For such other and further relief as may be deemed just and proper.

DATED this 30th day of August 2002.

STEWART L. BELL
DISTRICT ATTORNEY
State Bar No. 000477

E. LEE THOMSON
Chief Deputy District Attorney

State Bar No. 001057

500 So. Grand Central Parkway, 5" Floor
P. O. Box 552215

Las Vegas, Nevada 89155-2215
Attorney for Plaintiff

County of Clark, a political subdivision
of the State of Nevada, on behalf of
Clark County Department of Aviation

    

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4 INSURED LOCATION oo... ccccecccceceseeeseacneeeascesscnssueesseeueeuenescecssaeeesdseasuseceeseesseecesessceeaeereeeranes 1
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DECLARATIONS - SECTION A

NAMED INSURED AND MAILING ADDRESS

Clark County Department of Aviation and any subsidiary, associated or allied company,
corporation, firm, organization, and Clark County Department of Aviation’s interest in any
partnership or joint venture in which Clark County Department of Aviation has management
control or ownership as now constituted or hereafter is acquired, as the respective interest of each
may appear; al] hereafter referred to as the “Insured”, including legal representatives.

5757 Wayne Newton Blvd.
Las Vegas, NV 89119

POLICY DATES
FROM: 01 October, 2000
TO: 01 October, 2003
TERM: 03 years, 00 months, 00 days
As respects any property located in Canada, the term of coverage under this Policy will not exceed
12 months. However, coverage for such locations will be automatically renewed for subsequent
periods of one year unless cancelled under the terms of this Policy or limited by the expiration date
on the Declarations Page of this Policy.
TERRITORY
This Policy covers Insured Locations in:
A. Canada.
B. = The United States of America.

C. The Commonwealth of Puerto Rico.

INSURED LOCATION

A. The coverages under this Policy apply to an Insured Location unless otherwise provided.
Insured Location is a location:
1) listed on a Schedule of Locations attached to this Policy.

2} covered as a Miscellaneous Unnamed Location.

3) covered under the terms and conditions of the Automatic Coverage or Errors and
Omissions provisions.

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B. References and Application. The following term(s) wherever used in this Policy means:
1) Location:

a) as specified in the schedule of locations, except for Miscellaneous Unnamed
Locations; or

b) if not so specified or if a Miscellaneous Unnamed Location, a building, yard, dock,
wharf, pier or bulkhead (or any group of the foregoing) bounded on all sides by
public streets, clear land space or open waterways, each not less than fifty feet wide.
Any bridge or tunnel crossing such street, space or waterway will render such
separation inoperative for the purpose of this References and Application.

CURRENCY

All amounts, including deductibles and limits of liability, indicated in this Policy are in the
currency of the United States of America, except for Insured Locations in Canada where such
amounts will be mm Canadian currency. Losses will be adjusted and paid as provided in the
CURRENCY FOR LOSS PAYMENT clause of the LOSS ADJUSTMENT AND SETTLEMENT

section.

Premium for this Policy is in the currency of the United States of America except for the premium
applying for Insured Locations in Canada where such amounts will be in Canadian currency.

LIMITS OF LIABILITY

The Company's maximum limit of liability in a single occurrence regardless of the number of
Locations or coverages involved will not exceed the Policy limit of liability of $1,567,393,000,
except as follows. When a limit of liability for a Location or other specified property is shown,
such limit will be the maximum amount payable for any loss or damage arising from physical loss
or damage at such Location or involving such other specified property.

Miscellaneous Unnamed Locations: $25,000,000 per Location

If a Jesser limit of liability is stated below or elsewhere in this Policy, the lesser limit will apply.
The limits of liability stated below or elsewhere in this Policy are part of and not in addition to the
Policy limit of liability.

Limits of liability stated below apply in the aggregate per occurrence for all Locations and
coverages involved.

Wher a limit of liability 1s shown as applying in the Aggregate During Any Policy Year, the
Company’s maximum limit of liability will not exceed such limit during any policy year regardless
of the number of locations and coverages involved.

In the event an occurrence results in liability payable under more than one policy issued to the
Named Insured by the Company, or its representative companies, the maximum amount payable in
the aggregate under all such policies will be the applicable limit(s) of liability indicated in this
Policy regardless of the number of coverages, locations or perils involved.

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Limits of Liability

$25,000,000 applies to each

of the following: COMMISSIONS, PROFITS AND ROYALTIES;
CONTINGENT TIME ELEMENT;
DEFERRED PAYMENTS;
ERRORS AND OMISSIONS;

SERVICE INTERRUPTION PROPERTY DAMAGE and
SERVICE INTERRUPTION TIME ELEMENT combined as
respects all specified services interrupted;

EXPEDITING COSTS and EXTRA EXPENSE combined

$25,000,000: TRANSPORTATION, but not to exceed a $10,000,000 limit for
TIME ELEMENT

$50,000: LAND AND WATER CONTAMINANT OR POLLUTANT
CLEANUP, REMOVAL AND DISPOSAL in the Aggregate
During Any Policy Year

$100,000,000: EARTH MOVEMENT in the Aggregate During Any Policy Year

$100,000,000: FLOOD in the Aggregate During Any Policy Year

Time Limits

In addition to the time limits shown elsewhere in this Policy, the following apply:

90 day period: AUTOMATIC COVERAGE
30 day period: INGRESS/EGRESS
60 day period: EXTENDED PERIOD OF LIABILITY

7. PREMIUM
This Policy is issued in consideration of an initial premium. If the term of this Policy is longer than

one year, for each subsequent year of coverage, premium will be due at the anniversary and will be
subject to mules and rates in effect at that time.

8. PREMIUM PAYABLE

Kellogg-Cutler Associates, Inc. pays the premium under this Policy, and any return of the paid
premium accruing under this Policy will be paid to the account of Kellogg-Cutler Associates, inc.

9, VALUE REPORTING PROVISIONS

The Insured will provide the Company 100% values by location as of the inception date of this
Policy and annually thereafter, unless otherwise shown.

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These statement(s) of values are due no later than sixty (60) days from the due date(s) shown
below.

 

Values as Of Due Date Type of Values
01 October 01 October —- Property values in accordance with the VALUATION clause of

the LOSS ADJUSTMENT AND SETTLEMENT section.

01 October 01 October —_In addition, Stock and Supplies on the average and maximum
values based on the previous 12 month period.

01 October O! October Time Element values anticipated for the 12 months following the

“Value as Of” date, and the actual Time Element values for the
previous 12 month period.

WAITING PERIOD

For the purposes of applying SERVICE INTERRUPTION Coverage, the Waiting Period is 12
hours.

DEDUCTIBLES

In each case of loss covered by this Policy, the Company will be liable only if the Insured sustains
a loss in a single occurrence greater than the applicable deductible specified below, and only for its
share of that greater amount.

Unless otherwise stated below:

A. When this Policy insures more than one location, the deductible will apply against the total
loss covered by this Policy in any one occurrence.

B. If two or more deductibles provided in this Policy apply to a single occurrence, the total to
be deducted will not exceed the largest deductible applicable, unless otherwise provided.

Policy Deductible(s)

$10,000 combined all coverages, except as follows.
|

Exceptions to Policy Deductible(s)

Earth Movement
$100,000 combined all coverages
Fine Arts

$1,000 combined all coverages

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Flood
$100,000 combined all coverages
Boiler and Machinery
$10,000 Property Damage
24 Hours Equivalent Time Element
References and Application. The following term(s) means:
1) Boiler and Machinery:
A. Physical loss or damage both originating within:

i. Boilers, fired or unfired pressure vessels, vacuum vessels, and pressure piping, all
normally subject to vacuum or internal pressure other than static pressure of
contents, excluding:

(a) waste disposal piping;

(b) any piping forming part of a fire protective system,
{c) furnaces; and

(d)} any water piping other than:

(1) boiler feed water piping between the feed pump or injector and the
boiler;

(2) boiler condensate return piping; or

(3) water piping forming part of a refrigerating or air conditioning system
used for cooling, humidifying or space heating purposes

2. All mechanical, electrical, electronic or fiber optic equipment; and
B. Caused by, resulting from, or consisting of:

1. Mechanical breakdown; or

2. Electrical or electronic breakdown, or

3. Extremes or changes of temperature; or

4. Rupture, bursting, bulging, implosion, or steam explosion.

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Boiler and Machinery as used in this Policy will not mean:

A. Physical loss or damage caused by or resulting from any of the following regardless
of any other cause or event contributing concurrently or in any other sequence to the
loss:

1. Combustion explosions, except from within combustion gas turbines; or
2. Explosions from liquids coming in contact with molten materials; or
3. Accidental discharge, escape, leakage, back-up, or overflow to the open of any
material from confinement within piping, plumbing systems, or tanks except
from property described in item 1 above; or
4. Fire, or from the use of water or other means to extinguish a fire.
Hours Equivalent:

The 100% hourly Time Element value at the location where the physical damage occurs.
The term "location where the physical damage occurs" means the entire premises identified
as an Insured Location. In determining the 100% hourly Time Element value, due
consideration shall be given to the experience of the business before the ioss and the
probable experience thereafter.

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PROPERTY DAMAGE - SECTION B

1. PROPERTY INSURED
This Policy insures the following property, unless otherwise excluded elsewhere in this Policy,
located at an Insured Location or within 1,000 feet thereof, to the extent of the interest of the
Insured in such property.
A. _ Real Property, including new buildings and additions under construction at an Insured

Location, in which the Insured has an insurable interest.

B. Personal Property:

1) owned by the Insured, including the Insured’s interest as a tenant in improvements and
betterments. In the event of physical loss or damage, the Company agrees to accept and
consider the Insured as sole and unconditional owner of improvements and betterments,
notwithstanding any contract or lease to the contrary.

2) of officers and employees of the Insured.

3) of others in the Insured’s custody to the extent the Insured is under obligation to keep
insured for physical loss or damage insured by this Policy.

4) of others in the Insured’s custody to the extent of the Insured's legal liability for physical
loss or damage to Personal Property. The Company will defend that portion of any suit
against the Insured that alleges such liability and seeks damages for such insured
physical loss or damage. The Company may, without prejudice, investigate, negotiate
and settle any claim or suit as the Company deems expedient.

This Policy also insures the interest of contractors and subcontractors in insured property during
construction at an Insured Location or within 1,000 feet thereof, to the extent of the Insured’s legal
liability for insured physical loss or damage to such property. Such interest of contractors and
subcontractors is limited to the property for which they have been hired to perform work and such
interest wil] not extend to any TIME ELEMENT coverage provided under this Policy.

2. PROPERTY EXCLUDED
This Policy excludes:
A. currency, money, precious metal in bullion form, notes, or securities.
B. land, water or any other substance in or on land; except this exclusion does not apply to:

1) land improvements consisting of landscape gardening, roadways and pavements, but not
including any fill or land beneath such property.

2) water that is contained within any enclosed tank, piping system or any other processing
equipment.

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C. animals, standing timber, growing crops.
D. _ watercraft or aircraft, except when unfueled and manufactured by the Insured.

E. vehicles of officers and employees of the Insured or vehicles otherwise insured for physical
loss or damage.

F. underground mines or mine shafts or any property within such mine or shaft,

G. — dams and dikes.

H. property in transit, except as otherwise provided by this Policy.

1, property sold by the Insured under conditional sale, trust agreement, installment plan or

other deferred payment plan after delivery to customers, except as provided by the
DEFERRED PAYMENTS coverage of this Policy.

3. ADDITIONAL COVERAGES

This Policy includes the following Additional Coverages for physical loss or damage insured by
this Policy.

These Additional Coverages:
1) are subject to the applicable limit of liability;
2) wilt not increase the Policy limit of liability; and
3) are subject to the Policy provisions, including applicable exclusions and deductibles,
all as shown in this section and elsewhere in this Policy.
A. ACCOUNTS RECEIVABLE
This Policy covers any shortage in the collection of accounts receivable, resulting from
insured physical loss or damage to accounts receivable records while anywhere within this
Policy’s TERRITORY, including while in transit. The Company will be liable for the
interest charges on any loan to offset impaired collections pending repayment of such sum
uncollectible as the result of such loss or damage. Unearned interest and service charges on
deferred payment accounts and normal credit losses on bad debts will be deducted in
determining the recovery.
1) In the event of loss to accounts receivable records, the Insured will use all reasonable
efforts, including legal action, if necessary, to effect collection of outstanding accounts
receivable.

2) The Insured agrees to use any suitable property or service:

a) owned or controlled by the Insured; or

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b) obtainable from other sources,
in reducing the loss under this Additional Coverage.

3} This Policy covers any other necessary and reasonable costs incurred to reduce the loss,
to the extent the losses are reduced.

4) If itis possible to reconstruct accounts receivable records so that no shortage is
sustained, the Company will be lable only for the reasonable and necessary cost

incurred for material and time required to re-establish or reconstruct such records, and
not for any costs covered by any other insurance.

5) ACCOUNTS RECEIVABLE Exclusions: The following exclusions are in addition to
the EXCLUSIONS clause of this section:

This Additional Coverage does not insure against shortage resulting from:

a) bookkeeping, accounting or billing errors or omissions; or

b) (i) alteration, falsification, manipulation; or
(ii} concealment, destruction or disposal,
of accounts receivable records committed to conceal the wrongful giving, taking,
obtaining or withholding of money, securities or other property; but only to the
extent of such wrongful giving, taking, obtaining or withholding.

6) The settlement of loss will be made within 90 days from the date of physical loss or
damage. All amounts recovered by the Insured on outstanding accounts receivable on

the date of foss will belong and be paid to the Company up to the amount of loss paid by
the Company. All recoveries exceeding the amount paid will belong to the Insured.

B. AUTOMATIC COVERAGE

This Policy covers insured property at any Location rented, leased or purchased by the
Insured after the inception date of this Policy. This coverage applies from the date of rental,
lease or purchase.

This Additional Coverage does not apply to property insured in whole or in part by any other
insurance policy.

This coverage will apply until whichever of the following occurs first:
1) The Location is bound by the Company.

2) Agreement is reached that the Location will not be insured under this Policy.

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3) The Time Limit shown in the LIMITS OF LIABILITY clause in the DECLARATIONS
section has been reached. The Time Limit begins on the date of rental, lease or
purchase.

BRANDS AND LABELS

If branded or labeled property insured by this Policy is physically damaged and the
Company elects to take all or any part of that property, the Insured may at the Company’s
expense:

1) stamp “salvage” on the property or its containers; or
2) remove or obliterate the brands or Jabels,

if doing so will not damage the property. In either event, the Insured must relabel such
property or its containers to be in compliance with any applicable Jaw.

CONSEQUENTIAL REDUCTION IN VALUE

This Policy covers the reduction in value of insured merchandise that is a part of pairs, sets,
or components, directly resulting from physical loss or damage insured by this Policy to
other insured parts of pairs, sets or components of such merchandise. If settlement is based
on a constructive total loss, the Insured will surrender the undamaged parts of such
merchandise to the Company.

CONTROL OF DAMAGED PROPERTY

This Policy gives control of physically damaged property consisting of finished goods
manufactured by the Insured as follows:

1) The Insured will have full rights to the possession and control of damaged property in
the event of insured physical damage to such property provided proper testing is done to
show which property is physically damaged.

2) The Insured using reasonable judgment will decide if the physically damaged property
can be reprocessed or sold.

3) Property so judged by the Insured to be unfit for reprocessing or selling will not be sold
or disposed of except by the Insured, or with the Insured’s consent.

4) Any salvage proceeds received will go to the:
a) Company at the time of loss settlement; or

b) Insured if received prior to loss settlement and such proceeds will reduce the amount
of loss payable accordingly.

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F. DEBRIS REMOVAL

This Policy covers the reasonable and necessary costs incurred to remove debris from an
Insured Location that remains as a direct result of physical loss or damage insured by this
Policy. .

This Additional Coverage does not cover the costs of removal of:
1) contaminated uninsured property; or
2) the contaminant in or on uninsured property,

whether or not the contamination results from insured physical loss or damage.
Contamination includes, but is not limited to, the presence of pollution or hazardous
material.

G. DECONTAMINATION COSTS

if insured property is contaminated as a direct result of physical damage insured by this
Policy and there is in force at the time of the loss any law or ordinance regulating
contamination, including but not limited to the presence of pollution or hazardous material,
then this Policy covers, as a direct result of enforcement of such law or ordinance, the
increased cost of decontamination and/or removal of such contaminated insured property in
a manner to satisfy such law or ordinance. This Additional Coverage applies only to that
part of insured property so contaminated as a direct result of insured physical damage.

The Company is not liable for the costs required for removing contaminated uninsured
property nor the contaminant therein or thereon, whether or not the contamination results
from an insured event.

H. DEFERRED PAYMENTS

This Policy covers insured physical loss or damage to Personal Property of the type insured
sold by the Insured under a conditional sale or trust agreement or any installment or deferred
payment plan and after such property has been delivered to the buyer. Coverage is limited to
the unpaid balance for such property.

in the event of loss to property sold under deferred payment plans, the Insured will use all
reasonable efforts, including legal action, if necessary, to effect collection of outstanding
amounts due or to regain possession of the property.

There is no liability under this Policy for loss:

1) pertaining to products recalled including, but not limited to, the costs to recall, test or to
advertise such recall by the Insured.

2) from theft or conversion by the buyer of the property after the buyer has taken
possession of such property.

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to the extent the buyer continues payments.

not within the TERRITORY of this Policy.

JI. DEMOLITION AND INCREASED COST OF CONSTRUCTION

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This Policy covers the reasonable and necessary costs incurred, described in item 3
below, to satisfy the minimum requirements of the enforcement of any law or ordinance
regulating the demolition, construction, repair, replacement or use of buildings or
structures at an Insured Location, provided:

a) such law or ordinance is in force on the date of insured physical loss or damage; and

b) its enforcement is a direct result of such insured physical loss or damage.

This Additional Coverage does not cover loss due to any law or ordinance with which
the Insured was required to comply had the loss not occurred.

This Additional Coverage, as respects the property insured in item | above, covers:

a) the cost to repair or rebuild the physically damaged portion of such property with
materials and in a manner to satisfy such law or ordinance; and

b) the cost:
(i) to demolish the physically undamaged portion of such property insured; and
(ii) to rebuild it with materials and in a manner to satisfy such Jaw or ordinance,

to the extent that such costs result when the demolition of the physically damaged
insured property is required to satisfy such law or ordinance.

This Additional Coverage excludes any costs incurred as a direct or indirect result of
enforcement of any laws or ordinances regulating any form of contamination including
but not limited to the presence of pollution or hazardous material.

The Company’s maximum liability for this Additional Coverage at each Insured
Location in any occurrence will not exceed the actual cost incurred in demolishing the

physically undamaged portion of the property insured in item 1 above plus the lesser of:

a) the reasonable and necessary actual cost incurred, excluding the cost of land, in
rebuilding on another site; or

b) the cost of rebuilding on the same site.

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J. EARTH MOVEMENT
This Policy covers physical loss or damage caused by or resulting from Earth Movement.

This Additional Coverage does not apply to loss or damage caused by or resulting from
flood; rising waters, waves; tide or tidal water; the release of water; the rising, overflowing
or breaking of boundaries of natural or man-made bodies of water; or the spray therefrom,
surface water or sewer back-up resulting from any of the foregoing; all regardless of any
other cause or event contributing concurrently or in any other sequence to the loss.

1) References and Application. The following term(s) wherever used in this Policy means:
a) Earth Movement:
Any natural or man-made earth movement including, but not limited to earthquake,
landslide or subsidence, regardless of any other cause or event contributing
concurrently or in any other sequence of toss. However, physica! damage by fire,
explosion, or sprinkler leakage resulting from Earth Movement will not be
considered to be loss by Earth Moverment within the terms and conditions of this

Policy. All earth movements within a continuous 72 hour period will be considered
a single Earth Movement.

K. ERRORS AND OMISSIONS

If physical loss or damage is not payable under this Policy solely due to an error or
unintentional omission:

1) inthe description of where insured property is physically located;
2) to include any Location:
a} owned, rented or leased by the Insured on the effective date of this Policy; or
b) purchased, rented or leased by the Insured during the term of this Policy; or
3) that results in cancellation of the property insured under this Policy;

this Pony covers such physical loss or damage, to the extent it would have provided
coverage had such error or unintentional omission not been made.

It is a condition of this Additional Coverage that any error or unintentional omission be
reported by the Insured to the Company when discovered and corrected.

L. EXPEDITING COSTS

This Policy covers the reasonable and necessary costs incurred to pay for the temporary
repair of insured damage to insured property and to expedite the permanent repair or
replacement of such damaged property.

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This Additional Coverage does not cover costs:

}) recoverable elsewhere in this Policy; or

2) of permanent repair or replacement of damaged property.

M. FINE ARTS

This Policy covers insured physical loss or damage to Fine Arts articles while anywhere
within this Policy’s TERRITORY, including while in transit.

1) This Additional Coverage excludes loss or damage if the Fine Arts cannot be replaced

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with other of like kind and quality, unless it is specifically declared to the Company.
FINE ARTS Exclusion: The exclusions in the EXCLUSIONS clause of this section do
not apply to FINE ARTS coverage except for Al, A2, A6, B1, B2, B3a, B4, B5, and B6.
In addition, as respects FINE ARTS, the following exclusions apply:

This Policy does not sure against:

a) deterioration, wear and tear or inherent vice.

b) loss or damage from any repairing, restoration or retouching process.

References and Application. The following term(s) wherever used in this Policy means:

a) Fine Arts:

Paintings; etchings; pictures; tapestries; rare or art glass; art glass windows; valuable
rugs; statuary; sculptures; antique furniture; antique jewelry; bric-a-brac; porcelains;
and similar property of rarity, historical value, or artistic merit excluding
automobiles, coins, stamps, furs, jewelry, precious stones, precious metals,
watercraft, aircraft, money, securities.

N. FLOOD

This Policy covers physical loss or damage caused by or resulting from Flood.

1) References and Application. The following term(s) wherever used in this Policy means:

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a) Flood:

Flood; rising waters; waves; tide or tidal water; the release of water, the rising,
overflowing or breaking of boundaries of natural or man-made bodies of water; or
the spray therefrom, surface waters or sewer back-up resulting from any of the
foregoing; regardless of any other cause or event contributing concurrently or in any
other sequence of Joss. However, physical damage by fire, explosion or sprinkler
leakage resulting from Flood is not considered to be loss by Flood within the terms
and conditions of this Policy.

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LAND AND WATER CONTAMINANT OR POLLUTANT.CLEANUP,
REMOVAL AND DISPOSAL

This Policy covers the reasonable and necessary cost for the cleanup, removal and disposal
of contaminants or pollutants from uninsured property consisting of land, water or any other
substance in or on land at the Insured Location if the release, discharge or dispersal of
contaminants or pollutants is a direct result of insured physical loss or damage to insured
property.

This Policy does not cover the cost to cleanup, remove and dispose of contaminants or
pollutants from such property:

1) at any location insured for Personal Property only.

2) at any property insured under AUTOMATIC COVERAGE, ERRORS AND
OMISSIONS or Miscellaneous Unnamed Location coverage provided by this Policy.

3) when the Insured fails to give written notice of loss to the Company within 180 days
after inception of the loss.

PROFESSIONAL FEES

This Policy covers the actual costs incurred by the Insured, of reasonable fees payable to the
Insured's accountants, architects, auditors, engineers, or other professionals and the cost of
using the Insured’s employees, for producing and certifying any particulars or details
contained in the Insured's books or documents, or such other proofs, information or evidence
required by the Company resulting from insured loss payable under this Policy for which the
Company has accepted liability.

Coverage will not include the fees and costs of attorneys, public adjusters, and loss
appraisers, all including any of their subsidiary, related or associated entities either partially
or wholly owned by them or retained by them for the purpose of assisting them nor the fees
and costs of loss consultants who provide consultation on coverage or negotiate claims.

PROTECTION AND PRESERVATION OF PROPERTY

This Policy covers:

1) reasonable and necessary costs incurred for actions to temporarily protect or preserve
insured property; provided such actions are necessary due to actual, or to prevent
immediately impending, insured physical loss or damage to such insured property.

2) reasonable and necessary:

a) fire department fire fighting charges imposed as a result of responding to a fire in,
on or exposing the insured property.

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b) costs incurred of restoring and recharging fire protection systems following an
insured loss.

c) costs incurred for the water used for fighting a fire in, on or exposing the insured
property. .

This Additional Coverage is subject to the deductible provisions that would have applied
had the physical loss or damage occurred.

R. SERVICE INTERRUPTION PROPERTY DAMAGE

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This Policy covers insured physical loss or damage to insured property at an Insured
Location when such physical loss or damage results from the interruption of the
specified incoming services consisting of electricity, gas, fuel, steam, water,
refrigeration or from the lack of outgoing sewerage service by reason of any accidental
occurrence to the facilities of the supplier of such service located within this Policy’s
TERRITORY, that immediately prevents in whole or in part the delivery of such usable
service.

This Additional Coverage will apply when the Period of Service Interruption is in excess
of the time shown as Waiting Period in the WAITING PERIOD clause of the
DECLARATIONS section.

The exclusions in the EXCLUSIONS clause of this section do not apply to SERVICE
INTERRUPTION coverage except for:

a) Al, A2, A3, A6, Bl, B2, BS, B6, Di; and
b) B4 with respect to telecommunications.
Additional General Provisions:

a) The Insured will immediately notify the suppliers of services of any interruption of
such services.

b) The Company will aot be liable if the interruption of such services is caused directly
or indirectly by the failure of the Insured to comply with the terms and conditions of
any contracts the Insured has for the supply of such specified services.

References and Application. The following term(s) means:

a) Period of Service Interruption:

The period starting with the time when an intermuption of specific services occurs;

and ending when with due diligence and dispatch the service could be wholly
restored.

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TAX TREATMENT OF PROFITS

This Policy is extended to cover the increased tax liability from an insured loss at an Insured
Location if the tax treatment of:

1) the profit portion of a loss payment under this Policy involving finished stock
manufactured by the Insured; and/or

2) the profit portion of a TIME ELEMENT loss payment under this Policy;

is greater than the tax treatment of profits that would have been incurred had no loss
occurred,

TEMPORARY REMOVAL OF PROPERTY

1) When insured property is removed from an Insured Location for the purpose of being
repaired or serviced or in order to avoid threatened physical loss or damage of the type
insured by this Policy, this Policy covers such property:

a) while at the location to which such property has been moved; and

b) for physical loss or damage as provided at the Insured Location from which such
property was removed.

2) This Additional Coverage does not apply to property:

a) insured, in whole or in part, elsewhere in this Policy.

b) insured, in whole or in part, by any other insurance policy.

¢) removed for normal storage, processing or preparation for sale or delivery.
TRANSPORTATION

1) This Policy covers the following Personal Property, except as excluded by this Policy,
while in transit within the TERRITORY of this Policy:

a) owned by the insured.

b) shipped to customers under F.O.B., C & F or similar terms. The Insured’s
contingent interest in such shipments is admitted.

c) of others in the actual or constructive custody of the Insured to the extent of the
Insured’s interest or legal liability.

d) of others sold by the Insured, that the Insured has agreed prior to the loss to insure
during course of delivery.

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This Additional Coverage excludes:
a) samples in the custody of salespeople or selling agents.
b) property insured under import or export ocean marine insurance.
c) waterborne shipments, unless:
(i) by inland water; or
(i!) by coastal shipments.

d) waterborme shipments via Panama Canal or to and from Alaska, Puerto Rico, and
Hawaii.

€) airborne shipments unless by regularly scheduled passenger airlines or air freight
carriers.

f) property of others, including the Insured's legal liability for it, hauled on vehicles
owned, leased or operated by the Insured when acting as a common or contract
carrier.

g) any transporting vehicle.

Coverage Attachment and Duration:

a) This Additional Coverage covers from the time the property leaves the original point
of shipment for transit until the property arrives at the destination.

b) However, coverage on export shipments not insured under ocean cargo policies ends
when the property is loaded on board overseas vessels or aircraft. Coverage on
import shipments not insured under ocean cargo policies begins after discharge from
overseas vessels or aircraft.

This Additional Coverage:

a) covers general average and salvage charges on shipments covered while waterbome.

b) ingures physical loss or damage caused by or resulting from:

(1) unintentional acceptance of fraudulent bills of lading, shipping or messenger
receipts.

(ii) improper parties having gained possession of property through fraud or deceit.
The exclusions in the EXCLUSIONS clause of this section do not apply to

TRANSPORTATION coverage except for Al through A4, B1 through B6, C1, C3, C5,
C6, D1 through D3.

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6) Additional General Provisions:

a)

b)

c)

This Additional Coverage will not inure directly or indirectly to the benefit of any
carrier or bailee.

The Insured has permission, without prejudicing this insurance, to accept:
(i) ordinary bills of lading used by carriers;

(ii) released bills of lading;

(iti) undervalued bills of lading; and

(iv) shipping or messenger receipts.

The Insured may waive subrogation against railroads under side track agreements.

Except as otherwise stated, the Insured will not enter into any special agreement with
carriers releasing them from their common law or statutory liability.

¥Y. VALUABLE PAPERS AND RECORDS

This Policy covers insured physical loss or damage to VALUABLE PAPERS AND
RECORDS while anywhere within this Policy’s TERRITORY, including while in transit.

1) This Additional Coverage excludes loss or damage to:

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a)

b)

c)

property described below, if such property cannot be replaced with other of like kind
and quality, unless specifically declared to the Company.

currency, money or securities.

property held as samples or for sale or for delivery after sale.

VALUABLE PAPERS AND RECORDS Exclusions: The exclusions in the
EXCLUSIONS clause of this section do not apply to VALUABLE PAPERS AND
RECORDS coverage except for Al, A2, A6, B1, B2, B3a, B4, BS, and B6. In addition,
as respects VALUABLE PAPERS AND RECORDS the following exclusions apply:

This Policy does not insure:

a)

b)

errors or omissions in processing, or copying; ail unless physical damage not
excluded by this Policy results, in which event, only that resulting damage is
insured.

loss or damage to media, data or programs from errors or omissions in programming

or machine instructions, all unless physical damage not excluded by this Policy
results, in which event, only that resulting damage is insured.

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® c) deterioration, inherent vice, vermin or wear and tear; all unless physical damage not
excluded by this Policy results, in which event, only that resulting damage is
insured.

3) References and Application. The following term(s) wherever used in this Policy means:
a) Valuable Papers and Records:

(i) Media, data and programs for electronic, electro-mechanical and electro-
magnetic data processing and production equipment.

(ii) Written, printed or otherwise inscribed documents and records, including books,
maps, films, drawings, abstracts, deeds, mortgages and manuscripts, all of
which must be of value to the Insured.

4. APPLICATION OF POLICY TO DATE OR TIME RECOGNITION

A. With respect to situations caused by the so-called “Year 2000” problem or any other Date or
Time Recognition probiem by Electronic Data Processing Equipment or Media, this Policy
applies as follows.

1) This Policy does not pay for remediation, change, correction, repair or assessment of any
Year 2000 or any other Date or Time Recognition problem in any Electronic Data
Processing Equipment or Media, whether preventative or remedial, and whether before
» or after a loss, including temporary protection and preservation of property. This Policy
does not pay for any TIME ELEMENT loss resulting from the foregoing remediation,
change, correction, repair or assessment.

2) Failure of Electronic Data Processing Equipment or Media to correctly recognize,
interpret, calculate, compare, differentiate, sequence, access or process data involving
one or more dates or times, including the Year 2000, is not physical loss or damage
insured against by this Policy. This Policy does not pay for any such incident or for any
TIME ELEMENT loss resulting from any such incident.

Subject to all of its terms and conditions, this Policy does pay for physical loss or damage
not excluded by this Policy that results from a failure of Electronic Data Processing
Equipment or Media to correctly recognize, interpret, calculate, compare, differentiate,
sequence, access or process data involving one or more dates or times, including the Year
2000. Such covered resulting physical loss or damage does not include any loss, cost or
expense described in | or 2 above. If such covered resulting physical loss or damage occurs,
and if this Policy provides TIME ELEMENT coverage, then, subject to all of its terms and
conditions, this Policy also covers any insured Time Element loss directly resulting
therefrom.

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» B. References and Application. The following term(s) wherever used in this Policy means:

1)

2)

Date or Time Recognition:

The recognition, interpretation, calculation, comparison, differentiation, sequencing,
accessing or processing of data involving one or more dates or times, including the Year
2000.

Electronic Data Processing Equipment or Media:

Any computer, computer system or component, hardware, network, microprocessor,
microchip, integrated circuit or similar devices or components in computer or non-
computer equipment, operating systems, data, programs or other software stored on
electronic, electro-mechanical, electro-magnetic data processing or production
equipment, whether the property of the Insured or not.

5. EXCLUSIONS

The following exclusions apply untess specifically stated elsewhere in this Policy:

A. This Policy excludes:

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6)

indirect or remote loss or damage.

interruption of business, except to the extent provided by this Policy.
loss of market or loss of use.

loss or damage or deterioration arising from any delay.

mysterious disappearance, loss or shortage disclosed on taking inventory, or any
unexplained loss.

loss from enforcement of any law or ordinance:

a) reguiating the construction, repair, replacement, use or removal, including debris
removal, of any property; or

b) requiring the demolition of any property, including the cost in removing its debris;

except as provided by the DECONTAMINATION COSTS and DEMOLITION AND
INCREASED COST OF CONSTRUCTION coverages of this section of this Policy.

B. This Policy excludes loss or damage directly or indirectly caused by or resulting from any of
the following regardless of any other cause or event, whether or not insured under this
Policy, contributing concurrently or in any other sequence to the loss:

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1) nuclear reaction or nuclear radiation or radioactive contamination. However:

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a)

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b)

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d)

e)

if physical damage by fire or sprinkler leakage results, then only that resulting
damage is insured; but not including any loss or damage due to nuclear reaction,
radiation or radioactive contamination.

this Policy does insure physical damage directly caused by sudden and accidental
radioactive contamination, including resultant radiation damage, from material used
or stored or from processes conducted on the Insured Location, provided that on the
date of loss, there is neither a nuclear reactor nor any new or used nuclear fuel on the
Insured Location.

hostile or warlike action in time of peace or war, including action in hindering,
combating or defending against an actual, impending or expected attack by any:

(i) government or sovereign power (de jure or de facto);

(11) military, naval or air force; or

(ill) agent or authority of any party specified in i or ii above.

Item iii of this exclusion does not apply to physical loss or damage insured by this
Policy done by terrorists or done secretly by a foreign enemy or agent of any
government or sovereign power (de jure or de facto), when not in connection with
the operations of armed forces in or against the country where the Insured Location
is situated.

discharge, explosion or use of any nuclear device, weapon or material employing or
involving nuclear fission, fusion or radioactive force, whether in time of peace or

war and regardless of who commits the act.

imsurrection, rebellion, revolution, civil war, usurped power, or action taken by
governmental authority in hindering, combating or defending against such an event.

seizure or destruction under quarantine or custom regulation, or confiscation by
order of any governmental or public authority.

risks of contraband, or illegal transportation or trade.

any dishonest act, including but not limited to theft, committed alone or in collusion
with others, at any time:

a)

b)

by an Insured or any proprietor, partner, director, trustee, officer, or employee of an
Insured; or

by any proprietor, partner, director, trustee, or officer of any business or entity (other

than a common carrier} engaged by an Insured to do anything in connection with
property insured under this Policy.

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This Policy does insure acts of direct insured physical damage intentionally caused by
an employee of an Insured or any individual specified in b above, and done without the
knowledge of the Insured. In no event does this Policy cover loss by theft by any
individual specified im a or b above.

lack of incoming electricity, fuel, water, gas, steam, refrigerant or telecommunications
service or sewerage service caused by an occurrence off the Insured Location, except as
provided in SERVICE INTERRUPTION in the PROPERTY DAMAGE or TIME
ELEMENT section of this Policy. But, if the lack of such a service directly causes
physical damage insured by this Policy on the Insured Location, then only that resulting
damage is insured.

Earth Movement in California, Alaska, Hawaii and Puerto Rico.

Flood in areas designated Zone A or Zone V by the Federal Emergency Management
Agency (FEMA).

C. — This Policy excludes the following, but, if physical damage not excluded by this Policy
results, then only that resulting damage is insured:

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faulty workmanship, material, construction or design from any cause.
loss or damage to stock or material attributable to manufacturing or processing
operations while such stock or material is being processed, manufactured, tested, or

otherwise worked on.

deterioration, depletion, rust, corrosion or erosion, wear and tear, inherent vice or latent
defect.

settling, cracking, shrinking, bulging, or expansion of:

a} foundations (including any pedestal, pad, platform or other property supporting
machinery).

b) floors.

c) pavements.

d) walls.

e) ceilings.

f) roofs.

a) changes of temperature damage (except to machinery or equipment); or

b) changes in relative humidity damage,

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» all whether atmospheric or not.
6) insect, animal or vermin damage.

D. This Policy excludes the following unless directly resulting from other physical damage not
excluded by this Policy:

1) contamination including but not limited to the presence of pollution or hazardous
matenal.

2) shrinkage.

3) changes in color, flavor, texture or finish.

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TIME ELEMENT - SECTION C

1. LOSS INSURED
A. This Policy insures TIME ELEMENT loss, as provided in the TIME ELEMENT
COVERAGES, directly resulting from physical loss or damage of the type insured by this
Policy:

1} to property described elsewhere in this Policy and not otherwise excluded by this Policy
or otherwise limited in the TIME ELEMENT COVERAGES below;

2) used by the Insured, or for which the Insured has contracted use;

3) located at an Insured Location; and

 

4) during the Periods of Liability described in this section.

B. This Policy sures TIME ELEMENT loss only to the extent it cannot be reduced through:

1) the use of any property or service owned or controlled by the Insured;

2) the use of any property or service obtainable from other sources;

3) working extra time or overtime; or

4) the use of inventory,

all whether at an Insured Location or at any other location. The Company reserves the right
to take into consideration the combined operating results of all associated, affiliated or
subsidiary companies of the Insured in determining the TIME ELEMENT loss.

C. This Policy covers expenses reasonably and necessarily incurred by the Insured to reduce the
loss otherwise payable under this section of this Policy. The amount of such recoverable
expenses will not exceed the amount by which the loss has been reduced.

D. Except as respects LEASEHOLD INTEREST, in determining the amount of loss payable,

the Company will consider the experience of the business before and after and the probable
experience during the PERIOD OF LIABILITY.

 

2. TIME ELEMENT COVERAGES
A. GROSS EARNINGS

1) Measurement of Loss:

a) The recoverable GROSS EARNINGS loss is the Actual Loss Sustained by the
Insured of the following during the PERIOD OF LIABILITY:

(i) Gross Eamings;

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® (ii) less all charges and expenses that do not necessarily continue dunng the
interruption of production or suspension of business operations or services;

(ili) less ordinary payroll;
(iv) plus all other earnings derived from the operation of the business.

b) In determining the indemnity payable as the Actual Loss Sustained, the Company
will consider the continuation of only those normal charges and expenses that would
have been earned had no interruption of production or suspension of business
operations or services occurred.

c) There is recovery hereunder but only to the extent that the Insured is:

(i) wholly or partially prevented from producing goods or continuing business
operations or services;

(ii) unable to make up lost production within a reasonable period of time, not
limited to the period during which production is interrupted;

(iii)unable to continue such operations or services during the PERIOD OF
LIABILITY; and

(iv)able to demonstrate a loss of sales for the operations, services or production
prevented.

2) References and Application. The following term(s) means:
Gross Earnings, as used in item Lai:

a) for manufacturing operations: the net sales value of production less the cost of all
raw stock, materials and supplies used in such production; or

b) for mercantile or non-manufacturing operations: the total net sales less cost of
merchandise sold, materials and supplies consumed in the operations or services
rendered by the Insured.

lany amount recovered under property damage coverage at selling price for loss or
damage to merchandise will be considered to have been sold to the Insured’s regular
customers and will be credited against net sales.

B. EXTRA EXPENSE
1) Measurement of Loss:

The recoverable EXTRA EXPENSE loss will be the reasonable and necessary extra
costs incurred by the Insured of the following during the PERIOD OF LIABILITY:

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a) Extra expenses to temporarily continue as nearly norma! as practicable the conduct
of the Insured’s business; and

b) Extra costs of temporarily using property or facilities of the Insured or others,

less any value remaining at the end of the PERIOD OF LIABILITY for property
obtained in connection with the above.

EXTRA EXPENSE Exclusions: As respects EXTRA EXPENSE, the following are aiso
excluded:

a) Any loss of income.

b) Costs that normally would have been imcurred in conducting the business during the
same period had no physical loss or damage occurred.

c) Cost of permanent repair or replacement of property that has been damaged or
destroyed.

d) Any expense recoverable elsewhere in this Policy.
References and Application. The following term(s) means:
a) Normal:

The condition that would have existed had no physical loss or damage occurred.

C. LEASEHOLD INTEREST

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Measurement of Loss:
The recoverable LEASEHOLD INTEREST incurred by the Insured of the following:

a) If the lease agreement requires continuation of rent; and if the property is wholly
untenantable or unusable, the actual rent payable for the unexpired term of the lease;
or if the property is partially untenantable or unusable, the proportion of the rent
payabie for the unexpired term of the lease.

b) If the lease is canceled by the lessor pursuant to the lease agreement or by the
operation of law; the Lease Interest for the first three months following the loss; and
the Net Lease Interest for the remaining unexpired term of the lease.

LEASEHOLD INTEREST Exclusions: As respects LEASEHOLD INTEREST, TIME
ELEMENT EXCLUSIONS A, B, and C do not apply and the following applies instead:

This Policy does not insure any increase in loss resulting from the suspension, lapse
or cancellation of any license, or from the Insured exercising an option to cancel the
lease; or from any act or omission of the Insured that constitutes a default under the
lease.

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In addition, there is no coverage for the Insured’s loss of LEASEHOLD INTEREST
directly resulting from physical loss or damage to Personal Property.

3) References and Application. The following term(s) means:
a) Lease Interest:
The excess rent paid for the same or similar replacement property over actual rent
payable plus cash bonuses or advance rent paid (including maintenance or operating
charges) for each month during the unexpired term of the Insured’s lease.

b)} Net Lease Interest:

That sum which placed at 6% interest rate compounded annually would equal the
Lease Interest (less any amounts otherwise payable hereunder).

D. RENTAL INSURANCE
1) Measurement of Loss:

The recoverable RENTAL INSURANCE loss is the Actual Loss Sustained by the
Insured of the folowing during the PERIOD OF LIABILITY:

a) The fair rental value of any portion of the property occupied by the Insured;

b} The income reasonably expected from rentals of unoccupied or unrented portions of
such property; and

c) The rental income from the rented portions of such property according to bona fide
jeases, contracts or agreements in force at the time of loss,

all not to include noncontinuing charges and expenses.

2) RENTAL INSURANCE Exclusions: As respects RENTAL INSURANCE, TIME
ELEMENT EXCLUSIONS A does not apply and the following applies instead:

A. This Policy does not insure any loss of rental income during any period in which the
insured property would not have been tenantable for any reason other than an
insured loss.

E. COMMISSIONS, PROFITS AND ROYALTIES

1) Measurement of Loss:

a) The recoverable COMMISSIONS, PROFITS AND ROYALTIES loss is the Actual
Loss Sustained by the Insured of the following during the PERIOD OF LIABILITY:

{i) Commissions, Profits and Royalties;

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® (ii) Less noncontinuing expenses and charges during the PERIOD OF LIABILITY.

b) The Commissions, Profits And Royalties payable hereunder will be the Actual Loss
Sustained of income to the Insured during the PERIOD OF LIABILITY under any
royalty, licensing fee or commission agreement between the Insured and another
party which is not realizable due to physical loss or damage insured by this Policy to
property of the other party of the type insured by this Policy located within the
Policy’s TERRITORY.

c} The Insured will influence, to the extent possible, said party(ies) with whom the
agreements described above have been made to use any other machinery, supplies or
locations in order to resume business so as to reduce the amount of loss hereunder,
and the Insured will cooperate with that party in every way to effect this. This Policy
does not cover any cost to effect the above unless authorized in advance by the
Company.

d) In determining the indemnity payable hereunder, the Company will consider the
amount of income denved from such agreements before and the probable amount of

income after the date of loss or damage.

e) There is recovery hereunder but only if such loss or damage interrupts the delivery
of goods in whole or in part to the Insured or for their account.

S 2) COMMISSIONS, PROFITS AND ROYALTIES Exclusions: As respects
COMMISSIONS, PROFITS AND ROYALTIES, TIME ELEMENT EXCLUSIONS C
does not apply.
3) References and Application. The following term(s) means:

a) Commissions:

The income that would have been recetved by the Insured from the sale of goods not
owned by the Insured.

b) Profits:

The amount that would have been received by the Insured from the sale of goods
belonging to the Insured, in excess of the cost to the Insured of such goods.

c) Royalties:

The income the Insured is not abie to collect under royalty or licensing agreements.

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3. TIME ELEMENT COVERAGE EXTENSIONS

CONTINGENT TIME ELEMENT

This Policy covers the Actual Loss Sustained and EXTRA EXPENSE incurred by the
Insured during the PERIOD OF LIABILITY:

1) directly resulting from physical loss or damage of the type insured; and
2) to property of the type insured,

at any locations of direct suppliers or customers located within the TERRITORY of this
Policy.

The term “supplier or customer” does not include any company supplying to or receiving
from the Insured Location, as described elsewhere in this Policy, electricity, fuel, gas, water,
steam, refrigeration, sewage or telecommunications.

 

EXTENDED PERIOD OF LIABILITY

The GROSS EARNINGS coverage is extended to cover the reduction in sales resulting
from:

1) the interruption of business as covered by GROSS EARNINGS;

2) for such additional length of time as would be required with the exercise of due
diligence and dispatch to restore the Insured’s business to the condition that would have
existed had no loss occurred; and

3) commencing with the date on which the liability of the Company for loss resulting from
interruption of business would terminate if this Extension had not been included herein.

EXTENDED PERIOD OF LIABILITY Exclusions: As respects EXTENDED PERIOD OF
LIABILITY, the TIME ELEMENT EXCLUSIONS B of this section does not apply and the
following applies instead:

This Policy does not insure against any increase in loss due to fines or damages for
breach of contract or for late or noncompletion of orders, or penalties of any nature.

Coverage under this Extension for the reduction in sales due to contract cancellation will
include only those sales that would have been earned under the contract during the extended
period of liability.

Coverage under this Extension does not apply for more than the number of consecutive days
shown in the LIMITS OF LIABILITY clause of the DECLARATIONS section.

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C. INGRESS/EGRESS

This Policy covers the Actual Loss Sustained and EXTRA EXPENSE incurred by the
insured due to the necessary interruption of the Insured's business due to prevention of
ingress to or egress from an Insured Location, whether or not the premises or property of the
Insured is damaged, provided that such prevention is a direct result of physical damage of
the type insured by this Policy, to the kind of property not excluded by this Policy.

 

INGRESS/EGRESS Exclusions: As respects INGRESS/EGRESS, the following exclusions
are applicable:

This Policy does not insure loss resulting from:

1} lack of incoming or outgoing service consisting of electric, fuel, gas, water, steam,
refrigerant, sewerage and telecommunications.

2) picketing or other action by strikers except for physical damage not excluded by this
Policy.

This Policy does not provide coverage under this Extension for more than the number of
consecutive days shown in the LIMITS OF LIABILITY clause of the DECLARATIONS
section.

D. ON PREMISES SERVICES

This Policy covers the Actual Loss Sustained and EXTRA EXPENSE incurred by the
Insured during the PERIOD OF LIABILITY directly resulting from physical loss or damage
of the type insured to the following property located within 1,000 feet of the Insured
Location:

1) Electrical and telecommunications equipment.

2) Electrical, telecommunications, fuel, gas, water, steam, refrigeration and sewerage
transmission lines.

E. PROTECTION AND PRESERVATION OF PROPERTY — TIME ELEMENT

This Policy covers the Actual Loss Sustained by the Insured for a period of time not to
exceed 48 hours prior to and 48 hours after the Insured first taking reasonable action for the
temporary protection and preservation of property insured by this Policy provided such
action is necessary to prevent immediately impending physical loss or damage insured by
this Policy at such insured property.

 

 

This Extension is subject to the deductible provisions that would have applied had the
physical joss or damage occurred.

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RELATED REPORTED VALUES
If reported TIME ELEMENT values include:

1) locations used by the Insured (such as branch stores, sales outlets and other plants) but
not listed on a schedule under this Policy; and

2) a TIME ELEMENT loss would result at such iocations,
3) from insured physical loss or damage at an Insured Location,

then this Policy provides coverage for such resulting TIME ELEMENT loss in accordance
with the coverage applicable at such Insured Location.

RESEARCH AND DEVELOPMENT

The GROSS EARNINGS coverage is extended to insure the Actual Loss Sustained by the
Insured of continuing fixed charges excluding ordinary payroll directly attributable to the

interruption of research and development activities, that in themselves would not have
produced income during the PERIOD OF LIABILITY.

The PERIOD OF LIABILITY for this TIME ELEMENT COVERAGE EXTENSION will
be the period from the time of direct physical loss or damage of the type insured by this
Policy to the time when the property could be repaired or replaced and made ready for
operations, but not to be limited by the date of expiration of this Policy.

SERVICE INTERRUPTION TIME ELEMENT

1) This Policy covers the Actual Loss Sustained and EXTRA EXPENSE incurred by the
Insured during the Period of Service Interruption at Insured Locations when the loss is
caused by the interruption of incoming services consisting of electricity, gas, fuel,
steam, water, refrigeration or from the lack of outgoing sewerage service by reason of
any accidental occurrence to the facilities of the supplier of such service located within
this Policy’s TERRITORY, that immediately prevents in whole or in part the delivery of
such usable services.

2) This Extension will apply when the Period of Service Interruption is in excess of the
time shown as Waiting Period in the WAITING PERIOD clause of the
DECLARATIONS section.

3) The exclusions in the EXCLUSIONS clause of the PROPERTY DAMAGE section do
not apply to SERVICE INTERRUPTION TIME ELEMENT coverage except for:

a) Al, A2, A3, A6, BI, B2, BS, B6, Dt, and

b) B4 with respect to telecommunications.

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4) Additional General Provisions:

a) The Insured will immediately notify the suppliers of services of any interruption of
such services.

b) The Company will not be liable if the interruption of such services is caused directly
or indirectly by the failure of the Insured to comply with the terms and conditions of
any contracts the Insured has for the supply of such specified services.

5) References and Application. The following term(s) means:

a) Period of Service Interruption:

(i) The period starting with the time when an interruption of specified services
occurs; and ending when with due diligence and dispatch the service could be
wholly restored and the Location receiving the service could or would have
resumed normal operations following the restorations of service under the same
or equivalent physical and operating conditions as provided by the PERIOD OF
LIABILITY clause in this section.

(ii) The Period of Service Interruption is limited to only those hours during which
the Insured would or could have used services(s) if it had been available.

(11) The Period of Service Interruption does not extend to include the interruption of
operations caused by any reason other than interruption of the specified
service(s).

4. PERIOD OF LIABILITY
A. The PERIOD OF LIABILITY applying to all TIME ELEMENT COVERAGES, except

LEASEHOLD INTEREST and as shown below, or if otherwise provided under the TIME

ELEMENT COVERAGE EXTENSIONS, is as follows:

1) For building and equipment, the period:
a) starting from the time of physical loss or damage of the type insured against; and
b) ending when with due diligence and dispatch the building and equipment could be:

(i) repaired or replaced; and

(ii) made ready for operations,

under the same or equivalent physical and operating conditions that existed prior to
the damage.

¢) not to be limited by the expiration of this Policy.

2) For building and equipment under construction:

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a} the equivalent of the above period of time will be applied to the level of business
that would have been reasonably achieved after construction and startup would have
been completed had no physical damage happened; and

b) due consideration will be given to the actual experience of the business compiled
after completion of the construction and startup.

This item does not apply to COMMISSIONS, PROFITS AND ROYALTIES.

For stock-in-process and mercantile stock, including finished goods not manufactured
by the Insured, the time required with the exercise of due diligence and dispatch:

a} to restore stock in process to the same state of manufacture in which it stood at the
inception of the interruption of production or suspension of business operations or
services; and

b} to replace physically damaged mercantile stock.

This item does not apply to RENTAL INSURANCE.

For raw materials and supplies, the period of time:

a) of actual interruption of production or suspension of operations or services resulting
from the inability to get suitable raw materials and supplies to replace similar ones

damaged; but

b) limited to that period for which the damaged raw materials and supplies would have
supplied operating needs.

if water:

a) used for any manufacturing purpose, including but not limited to as a raw material or
for power;

b) stored behind dams or in reservoirs, and

c) on any Insured Location,

is released as the result of physical damage of the type insured against under this Policy
to such dam, reservoir or connected equipment, the Company's liability for the actual
interruption of production or suspension of operations or services due to inadequate
water supply will not extend beyond 30 consecutive days after the damaged dam,
reservoir or connected equipment has been repaired or replaced.

This item does not apply to RENTAL INSURANCE.

For physically damaged exposed films, records, manuscripts and drawings, the time

required to copy from backups or from originals of a previous generation. This time

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does not include research, engineering or any other time necessary to restore or recreate
lost information.

This item does not apply to RENTAL INSURANCE,

7) For physically damaged or destroyed data, programs or other software stored on
electronic, electro-mechanical, electro-magnetic data processing or production
equipment, the time to recreate or restore including the time for researching or
engineering lost information.

This item does not apply to RENTAL INSURANCE.
8) ff an order of civil authority prohibits access to the Insured Location and provided such
order is the direct result of physical damage of the type insured against under this Policy

at the insured Location or within 1,000 feet of it, the period of time:

a) starting at the time of such physical damage; but

 

b) not to exceed 30 consecutive days.

B. The PERIOD OF LIABILITY does not include any additional time due to the Insured's
inability to resume operations for any reason, including but not limited to:

1) making changes to equipment.

2) making changes to the buildings or structures except as provided in the DEMOLITION
AND INCREASED COST OF CONSTRUCTION clause in the PROPERTY DAMAGE
section.

3) restaffing or retraining employees.

If two or more Periods of Liability apply such periods will not be cumulative.

5. TIME ELEMENT EXCLUSIONS

In addition to the exclusions elsewhere in this Policy, the following exclusions apply to TIME
ELEMENT ioss:

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This Policy does not insure against:

A. Any loss during any idle period, including but not limited to when production, operation,
service or delivery or receipt of goods would cease, or would not have taken place or would
have been prevented due to:

1) physical loss or damage not insured by this Policy on or off of the Insured Location.

2) planned or rescheduled shutdown.

3) strikes or other work stoppage.

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4) any other reason other than physical loss or damage insured by this Policy.
B. Any increase in loss due to:
1) suspension, cancellation or lapse of any lease, contract, license or orders.
2) fines or damages for breach of contract or for late or noncompletion of orders.
3) for penalties of any nature.
4) any other consequential or remote loss. /

C. Any loss resulting from loss or damage to finished goods manufactured by the Insured, nor
the time required for their reproduction.

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S LOSS ADJUSTMENT AND SETTLEMENT - SECTION D

1, LOSS ADJUSTMENT/PAYABLE

Loss, if any, will be adjusted with and payable to Clark County Department of Aviation, or as may
be directed by Clark County Department of Aviation. Additional insured interests will also be
included in loss payment as their interests may appear when named as additional named insured,
lender, mortgagee and/or loss payee in the Certificates of Insurance on file with the Company or
named below.

2. CURRENCY FOR LOSS PAYMENT

Losses will be adjusted and paid in the currency of the United States of America. But, in Canada
losses will be paid in Canadian currency, unless directed otherwise by the Insured.

3. VALUATION

Adjustment of the physical loss amount under this Policy will be computed as of the date of loss at
the location of the loss, and for no more than the interest of the Insured, subject to the following:

A. On stock in process, the value of raw materials and labor expended plus the proper

proportion of overhead charges.

B. On finished goods manufactured by the Insured, the regular cash selling price at the Location
» where the loss happens, Jess all discounts and charges to which the finished goods would
have been subject had no loss happened.
C. Onraw materials, supplies and other merchandise not manufactured by the Insured:

1) if repaired or replaced, the actual expenditure incurred in repairing or replacing the
damaged or destroyed property; or

2) if not repaired or replaced, the Actual Cash Value.

D.  Onexposed films, records, manuscripts and drawings, that are not Valuable Papers and
Records, the value blank plus the cost of copying information from back-up or from
originals of a previous generation. These costs will not include research, engineering or any
costs of restoring or recreating lost information.

E. On property covered under DEFERRED PAYMENTS, the lesser of the:

1) total amount of unpaid installments less finance charges.

2) Actual Cash Value of the property at the time of loss.

3) cost to repair or replace with material of like size, kind and quality.

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© F. On FINE ARTS articles, the lesser of:

1) the reasonable and necessary cost to repair or restore such property to the physical
condition that existed on the date of loss.

2) cost to replace the article.
3) the value, if any, stated on a schedule on file with the Company.
In the event a Fine Arts article is part of a pair or set, and a physically damaged article
cannot be replaced, or repaired or restored to the condition that existed immediately prior to
the loss, the Company will be liable for the lesser of the full value of such pair or set or the
amount designated on the schedule. The Insured agrees to surrender the pair or set to the
Company.

G. On VALUABLE PAPERS AND RECORDS:

1) On data, programs or software stored on electronic, electro-mechanical, or electro-
magnetic data processing or production equipment:

a) The cost to repair, replace or restore data, programs or software including the costs
to recreate, research and engineer;

b) If not repaired, replaced or restored within two years from the date of loss, the blank

» value of the media.

2) On all other VALUABLE PAPERS AND RECORDS, the lesser of the following:

a) The cost to repair or restore the item to the condition that existed immediately prior
to the loss.

b) The cost to replace the item.
c) The amount designated for the item on the schedule on file with the Company.
H. On property in transit:
1) Property shipped to or for the account of the Insured will be valued at actual invoice to
the Insured. Included in the value are accrued costs and charges legally due. Charges

may include the Insured’s commission as selling agent.

2) Property sold by the Insured and shipped to or for the purchaser’s account will be valued
at the Insured’s selling invoice amount. Prepaid or advanced freight costs are included.

3) Property not under invoice will be valued:

a) for property of the Insured, at the valuation provisions of this Policy applying at the
location from which the property is being transported; or

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b) for other property, at the actual cash market value at the destination point on the date
of occurrence,

less any charges saved which would have become due and payable upon arrival at
destination.

1. On ail other property, the loss amount will not exceed the lesser of the following:
1) The cost to repair.

2) The cost to rebuild or replace on the same site with new materials of like size, kind and
quality.

3) The cost in rebuilding, repairing or replacing on the same or another site, but not to
exceed the size and operating capacity that existed on the date of loss.

4) The selling price of real property or machinery and equipment, other than stock, offered
for sale on the date of loss.

5) The cost to replace unrepairable electrical or mechanical equipment, including computer
equipment, with equipment that is the most functionally equivalent to that damaged or
destroyed, even if such equipment has technological advantages and/or represents an
improvement in function and/or forms part of a program of system enhancement.

6) The increased cost of demolition, if any, resulting from loss covered by this Policy, if
such property is scheduled for demotition.

7) The unamortized value of improvements and betterments, if such property is not
repaired or replaced at the Insured’s expense.

8) The Actual Cash Value if such property is:
a) useless to the Insured; or

b) not repaired, replaced or rebuilt on the same or another site within two years from
the date of loss.

The Insured may elect not to repair or replace the insured real and/or personal property lost,
damaged or destroyed. Loss settlement may be elected on the lesser of repair or replacement
cost basis if the proceeds of such loss settlement are expended on other capital expenditures
related to the Insured’s operations within two years from the date of loss. As a condition of
collecting under this item, such expenditure must be unplanned as of the date of loss and be
made at an Insured Location under this Policy. This item does not extend to DEMOLITION
AND INCREASED COST OF CONSTRUCTION.

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References and Application. The following term(s) wherever used in this Policy means:

a) Actual Cash Value:

The amount it would cost to repair or replace insured property, on the date of Joss,
with material of like kind and quality, with proper deduction for obsolescence and
physical depreciation.

4. LOSS CONDITIONS

A. REQUIREMENTS IN CASE OF LOSS

The Insured will:

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give immediate written notice to the Company of any loss.
protect the property from further loss or damage.

promptly separate the damaged and undamaged property; put it in the best possible
order; and furnish a complete inventory of the lost, destroyed, damaged and undamaged
property showing in detail the quantities, costs, Actual Cash Value, replacement value
and amount of loss claimed.

give a signed and swom proof of loss to the Company within 90 days after the loss,
unless that time is extended in writing by the Company. The proof of loss must state the
knowledge and belief of the Insured as to:

a) the time and origin of the loss.

b) the Insured’s interest and that of all others in the property.

c) the Actual Cash Value and replacement value of each item and the amount of loss to
each item; all encumbrances; and al] other contracts of insurance, whether valid or

not, covering any of the property.

d) any changes in the title, use, occupation, location, possession or exposures of the
property since the effective date of this Policy.

e) by whom and for what purpose any location insured by this Policy was occupied on
the date of loss, and whether or not it then stood on leased ground.

include a copy of all the descriptions and schedules in all policies and, if required,
provide verified plans and specifications of any butidings, fixtures, machinery or
equipment destroyed or damaged.

further, the Insured, will as often as may be reasonably required:

a) exhibit to any person designated by the Company all that remains of any property;

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b) submit to examination under oath by any person designated by the Company and
sign the written records of examinations; and

c) produce for examination at the request of the Company:
(i) all books of accounts, business records, bills, invoices and other vouchers; or
(ii) certified copies if originals are lost,

at such reasonable times and places that may be designated by the Company or its
representative and permit extracts and machine copies to be made.

B. COMPANY OPTION
The Company has the option to take all or any part of damaged property at the agreed or
appraised value. The Company must give notice to the Insured of its intention to do so
within 30 days after receipt of proof of loss.

C. ABANDONMENT
There may be no abandonment of any property to the Company.

D. SUBROGATION
The Insured is required to cooperate in any subrogation proceedings. The Company may
require from the Insured an assignment or other transfer of all rights of recovery against any
party for loss to the extent of the Company’s payment.
The Company will not acquire any rights of recovery that the Insured has expressly waived
prior to a loss, nor will such waiver affect the Insured’s rights under this Policy.
Any recovery from subrogation proceedings, less costs incurred by the Company in such
proceedings, will be payable to the Insured in the proportion that the amount of:
1) any applicable deductible; and/or
2) any provable uninsured loss,
bears to the entire provable loss amount.

E. APPRAISAL
If the Insured and the Company fail to agree on the amount of loss, each will, on the written
demand of either, select a competent and disinterested appraiser after:
1) the Insured has fully complied with all provisions of this Policy, including

REQUIREMENTS IN CASE OF LOSS; and
2) the Company has received a signed and sworn proof of loss from the Insured.
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Each will notify the other of the appraiser selected within 20 days of such demand.

The appraisers will first select a competent and disinterested umpire. If the appraisers fail to
agree upon an umpire within 30 days then, on the request of the Insured or the Company, the
umpire will be selected by a judge of a court of record in the jurisdiction in which the
appraisal is pending. The appraisers will then appraise the amount of loss, stating separately
the Actual Cash Value and replacement cost value as of the date of loss and the amount of
loss, for each item of physical loss or damage or if, for TIME ELEMENT loss, the amount of
loss for each TIME ELEMENT coverage of this Policy.

If the appraisers fail to agree, they will submit their differences to the umpire. An award
agreed to in writing by any two will determine the amount of loss.

The Insured and the Company will each:

1) pay its chosen appraiser; and

2) bear equally the other expenses of the appraisal and umpire.

A demand for APPRAISAL shall not relieve the Insured of its continuing obligation to
comply with the terms and conditions of this Policy, including as provided under

REQUIREMENTS IN CASE OF LOSS.

» The Company will not be held to have waived any of its rights by any act relating to
appraisal.

F. SUIT AGAINST THE COMPANY

No suit, action or proceeding for the recovery of any claim will be sustained in any court of
law or equity unless:

1) the Insured has fully complied with all the provisions of this Policy; and
2) legal action is started within twelve months after inception of the loss.
If under the insurance laws of the jurisdiction in which the property is located, such twelve

months’ limitation is invalid, then any such legal action needs to be started within the
shortest lirhit of time permitted by such laws.

5. SETTLEMENT OF CLAIMS

The amount of loss, except for ACCOUNTS RECEIVABLE coverage, for which the Company
may be liable will be paid within 30 days after:

A. proof of loss as described in this Policy ts received by the Company; and
B. when a resolution of the amount of loss is made either by:

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1) written agreement between the Insured and the Company; or

2) the filing with the Company of an award as provided in the APPRAISAL clause of this
section.

COLLECTION FROM OTHERS

The Company will not be liable for any loss to the extent that the Insured has collected for such
loss from others.

PARTIAL PAYMENT OF LOSS SETTLEMENT

In the event of a loss occurring which has been ascertained to be insured loss or damage under this
Policy and determined by the Company’s representatives to be in excess of the applicable Policy
deductible, the Company will advance mutually agreed upon partial payment(s) on the insured loss
or damage, subject to the Policy’s provisions. To obtain said partial payments, the Insured will
submit a signed and sworn Proof of Loss as described in this Policy, with adequate supporting
documentation.

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GENERAL PROVISIONS - SECTION E

1. ADDITIONAL INSURABLE INTERESTS/CERTIFICATES OF INSURANCE
Additional insured interests are automatically added to this Policy as their interest may appear
when named as additional named insured, lender, mortgagee and/or loss payee in the Certificates of
Insurance on a schedule on file with the Company. Such interests become effective on the date
shown in the Certificate of Insurance and will not amend, extend or alter the terms, conditions,
provisions and limits of this Policy.

2. CANCELLATION/NON-RENEWAL
This Policy may be:

A. cancelled at any time at the request of the Insured by surrendering this Policy to the
Company or by giving written notice to the Company stating when such cancellation will
take effect; or

B. cancelled by the Company by giving the Insured not less than:

1) 90 days’ written notice of cancellation; or
2) 10 days’ written notice of cancellation if the Insured fails to remit, when due, payment
of premium for this Policy; or

C. non-renewed by the Company by giving the Insured not less than 90 days’ written notice of
non-renewal.

Returm of any uneamed premium will be calculated on the customary short rate basis if the Insured

cance!s and on a pro-rata basis if the Company cancels this Policy. Return of any unearned

premium will be made by the Company as soon as practicable.

3. INSPECTIONS
The Company, at all reasonable times, will be permitted, but will not have the duty, to inspect
insured property.

The Company's:

A. right to make inspections;

B. making of inspections; or

Cc. analysis, advice or inspection report,

will not constitute an undertaking, on behalf of or for the benefit of the Insured or others, to

determine or warrant that the insured property is safe or healthful. This Company will have no

liability to the Insured or any other person because of any inspection or failure to inspect.

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When the Company is not providing jurisdictional inspections, the Owner/Operator has the
responsibility to assure that jurisdictional inspections are performed as required, and to assure that
required jurisdictional Operating Certificates are current for their pressure equipment.

4. PROVISIONS APPLICABLE TO SPECIFIC JURISDICTIONS

A. If the provisions of this Policy conflict with the laws of any jurisdictions in which this Policy
applies, and if certain provisions are required by law to be stated in this Policy, this Policy

will be read so as to eliminate such conflict or deemed to include such provisions for Insured
Locations within such jurisdictions.

B. The Company will provide to the Insured copies of endorsements mandated for use by the
laws of provinces in Canada. The endorsements may modify this Policy with respect to any
insured property located in the province in which the endorsement applies.

C. The Company will provide to the Insured copies of endorsements mandated for use by the
laws of states in the United States of America. The endorsements may modify this Policy
with respect to any insured property located in the state in which the endorsement applies.

5. LIBERALIZATION

If during the period that insurance is in force under this Policy, any filed rules or regulations
affecting the same are revised by statute so as to broaden the insurance without additional
premium charge, such extended or broadened insurance wil! inure to the benefit of the Insured
within such jurisdiction, effective the date of the change specified in such statute.

6. MISREPRESENTATION AND FRAUD
This entire Policy will be void if, whether before or after a loss, an Insured has:

A. willfully concealed or misrepresented any material fact or circumstance concerning this
insurance, the subject thereof, any insurance claim, or the interest of an Insured.

B. made any attempt to defraud the Company.

C. made any false swearing.
7. LENDERS LOSS PAYEE AND MORTGAGEE INTERESTS AND OBLIGATIONS

A. The Company will pay for loss to specified property insured under this Policy to each
specified Lender Loss Payee (hereinafter referred to as Lender) as its interest may appear,
and to each specified Mortgagee as its interest may appear, under all present or future
mortgages upon such property, in order of precedence of the mortgages.

B. The interest of the Lender or Mortgagee (as the case may be) in property insured under this
Policy will not be invalidated by:

1) any act or neglect of the debtor, mortgagor, or owner (as the case may be) of the
property.

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2) foreciosure, notice of sale, or similar proceedings with respect to the property.
3) change in the title or ownership of the property.
4) change to a more hazardous occupancy.

The Lender or Mortgagee will notify the Company of any known change in ownership,
occupancy, or hazard and, within 10 days of written request by the Company, may pay the
increased premium associated with such known change. If the Lender or Mortgagee fails to
pay the increased premium, all coverage under this Policy will cease.

C. If this Policy is cancelled at the request of the Insured or its agent, the coverage for the
interest of the Lender or Mortgagee will terminate 10 days after the Company sends to the
Lender or Mortgagee written notice of cancellation, unless:

1) sooner terminated by authorization, consent, approval, acceptance, or ratification of the
Insured's action by the Lender or Mortgagee, or its agent.

2) this Policy is replaced by the Insured, with a policy providing coverage for the interest
of the Lender or Mortgagee, in which event coverage under this Policy with respect to
such interest will terminate as of the effective date of the replacement policy,
notwithstanding any other provision of this Policy.

® D. The Company may cancel this Policy and/or the interest of the Lender or Mortgagee under
this Policy, by giving the Lender or Mortgagee written notice 90 days prior to the effective

date of cancellation, if cancellation is for any reason other than non-payment. If the debtor,
mortgagor, or owner has failed to pay any premium due under this Policy, the Company may
cancel this Policy for such non-payment, but will give the Lender or Mortgagee written
notice 10 days prior to the effective date of cancellation. If the Lender or Mortgagee fails to
pay the premium due by the specified cancellation date, all coverage under this Policy will
cease.

E. The Company has the right to invoke this Policy's SUSPENSION clause. The suspension of
insurance will apply to the interest of the Lender or Mortgagee in any machine, vessel, or
part of any machine or vessel, subject to the suspension. The Company will provide the
Lender or Mortgagee at the last known address a copy of the suspension notice.

F. If the Corhpany pays the Lender or Mortgagee for any loss, and denies payment to the
debtor, mortgagor or owner, the Company will, to the extent of the payment made to the
Lender or Mortgagee be subrogated to the rights of the Lender or Mortgagee under all
securities held as collateral to the debt or mortgage. No subrogation will impair the right of
the Lender or Mortgagee to sue or recover the full amount of its claim. At its option, the
Company may pay to the Lender or Mortgagee the whole principal due on the debt or
mortgage plus any accrued interest. In this event, all rights and securities will be assigned
and transferred from the Lender or Mortgagee to the Company, and the remaining debt or
mortgage will be paid to the Company.

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» G. If the Insured fails to render proof of loss, the Lender or Mortgagee, upon notice of the
Insured's failure to do so, will render proof of loss within 60 days of notice and will be
subject to the provisions of this Policy relating to APPRAISAL, SETTLEMENT OF
CLAIMS, and SUIT AGAINST THE COMPANY.

H. Other provisions relating to the interests and obligations of the Lender or Mortgagee may be
added to this Policy by agreement in writing.

8. OTHER INSURANCE

A. If there is any other insurance that would apply in the absence of this Policy, this Policy will
apply only after such insurance whether collectible or not.

B. Inno event will this Policy apply as contributing insurance.

C. The Insured is permitted to have other insurance over any limits or sublimits of liability
specified elsewhere in this Policy without prejudice to this Policy. The existence of any
such insurance will not reduce any limit or sublimit of liability in this Policy. Any other
insurance that would have provided primary coverage in the absence of this Policy will not
be considered excess.

D. The Insured is permitted to have other insurance for all, or any part, of any deductible in this
Policy. The existence of such other insurance will not prejudice recovery under this Policy.
If the limits of liability of such other insurance are greater than this Policy's applicable
» deductible, this Policy’s insurance will apply only after such other insurance has been
exhausted.

E. _ Inthe event this Policy is deemed to contribute with other insurance, the limit of liability

applicable at each Location, for purposes of such contribution with other insurers, will be the
latest amount described in this Policy or the latest Location value on file with the Company.

F. When this Policy includes property in more than one jurisdiction, separate policies
underlying this Policy may be issued by the Company in compliance with jurisdictional

requirements. Such underlying policies will not be considered as additional insurance, but as
duplicate surance only.

9, POLICY MODIFICATION
This Policy contains all of.the agreements between the Insured and the Company conceming this
insurance. The Insured and the Company may request changes to this Policy. This Policy can be
changed only by endorsements issued by the Company and made a part of this Policy.
Notice to any agent or knowledge possessed by any agent or by any other person will not:

A. create a waiver, or change any part of this Policy; or

B. prevent the Company from asserting any rights under the provisions of this Policy.

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k ‘| Account No, 1-33186

Policy No. UA864

10. REDUCTION BY LOSS

Claims paid under this Policy will not reduce its’ limit of liability, except claims paid will reduce
any Policy Year Aggregate Limit of Liability.

11. SUSPENSION

On discovery of a dangerous condition, the Company may immediately suspend this insurance on
any machine, vessel or part thereof by giving written notice to the Insured. The suspended
insurance may be reinstated by the Company. Any unearmed premium resulting from such
suspension will be returned by the Company.

12. TITLES
The titles in this Policy are only for reference. The titles do not in any way affect the provisions of
this Policy.
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“or

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Policy No.UA864

APPENDIX A

SCHEDULE OF LOCATIONS:

Location No. Index No. Location Description

i-1 079301.53 5757 Wayne Newton Blvd.
Las Vegas, NV 89119

“McCarran International Airport”
1-2 174.35 5051 Paradise Road and

500 Bell Road

Las Vegas, NV 89119

“Engineering Facility Warehouse”
1-3 79301.53 2000 E. Patrick Lane; 1769 E. Russell Road

and 6020 Spencer Street

Las Vegas, NV 89119

“Airline Ground Support

UMC Quick Care

Industrial Park”

1-4 79450.06 2772 Rancho Drive
North Las Vegas, NV

“North Las Vegas Airport”

1-5 79312.43 105, 115, 125 E. Reno Ave.,
Las Vegas, NV 89119

“Leased Retail Space”

1-6 79318.70 6330, 6380, 6400 S. Eastern Ave.
Las Vegas, NV 89119

“Office / Retail / Warehouse”

1-7 79318.70 2450, 2470, 2475 Chandler Ave.
Las Vegas, NV 89120

“Office / Warehouse / Retail”
1-8 79318.69 6075 S. Eastern Ave.;

2200-2350 E. Patrick Lane, and

6080 Burnham Ave.

Las Vegas, NV 89119

“Office / Warehouse / Retail”

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SCHEDULE OF LOCATIONS:
Location No. Index No,
1-9 79309.93
1-10 79312.43
1-11 174.34
1-12 178.10
1-13 178.11
1-14 Index TBA
|
1-15 ‘174.34
2 99999.99

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APPENDIX A

Location Description

500 E. Hwy 146 and

1400 Executive Airport Dr.
Henderson, NV 89012
“Henderson Executive Airport”

241 E. Reno Ave.
Las Vegas, NV 89119

“B1 Airline Terminal”

1788 E. Russell Road
Las Vegas, NV 89119

“Day Care Center”

1110 Airport Road
Overton, NV 89040

“Overton Perkins Field”

23600 Las Vegas Blvd. So.
Jean, NV

“Jean Sport Aviation Center”

Las Vegas Blvd South
Las Vegas, NV

“Serene Mobile Home Park”

Kelly Lane & Russell Road
Las Vegas, NV

Miscellaneous Scheduled Locations
Various — Las Vegas, NV
(Addresses per Schedule on file)

“Miscellaneous Residences”

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EXHIBIT “B”
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Department of Aviation

RANDALL HH. WALKER

CHAE To

ROSEMARY A, VASSILIADIS

 

OEP + Cit cin
. POSTAL 80x 1100
McCARRAN INTERNATIONAL AIRPORT LAS VEGAS, NEVADS 89117-1005
February 22, 2002 Certified Mail 7000 1670 0010 5029 2420 wax poe) S152
Return Receipt Requested E-MAIL, webmesterS@mccerran.com
Jeffrey Casillas RECEIVED
Operations Vice President/ McCARRAN INTL AIRPORT
Los Angeles Operations Claims Manager
Factory Mutual Insurance Company FER 9% 20919
21860 Burbank Bivd., Suite 300
Woodland Hills, CA 91367 ACCOUNTING OFFICE
cotd

Re: Policy No.: UA864
Claim Associated With September 11, 2001 Terrorist Attacks

Dear Mr. Casillas:

I enjoyed meeting with you on Thursday, February 7, 2002 regarding Clark County Department of
Aviation’s (“Clark County”) claim under FM Global policy No. UA864 (1 October 2000 to 1 October
2003) (the “Policy”) for loss caused by the terrorist attacks of September 11, 2001. During our meeting,
you requested written articulation of Clark County’s position for coverage under the Policy.

As we discussed, there are a number of policy provisions that support coverage for Clark County’s loss.
Notably, as we advised, we rely primarily upon the coverage provided under the Policy’s Protection and
Preservation of Property section, Section B. 3. Q., page 15; Contingent Time Element Extension, Section
C.3. A., page 30; and Ingress/Egress Time Element Extension, Section C. 3. C., page 31. Because, to us,
the Ingress/Egress Extension so clearly provides coverage on such a broad basis, the discussion in this
letter will, for now, focus only on that Extension, while deferring a broader discussion of the other two
provisions until a later time. 1 want to emphasize, however, as we did during our February 7 meeting,
that each of the three provisions, on its face and according to its clear language, is applicable to and
provides broad coverage protection for Clark County’s loss resulting from and following the tragic
events of September 11. We are prepared to discuss all of these provisions with you further and
encourage a dialogue as a result of this letter and our February 7 meeting.

The Ingress/Egress provision is found in Section C. 3. C. of the Policy, at page 31 and clearly provides
an express extension to the Policy’s standard Time Element Coverages:

Cc. INGRESS/EGRESS .
This Policy covers the Actual Loss Sustained and EXTRA EXPENSE incurred by the
Insured due to the necessary interruption of the Insured’s business due to the prevention
of ingress to or egress from an Insured Location, whether or not the premises or property
of the Insured is damaged, provided that such prevention is a direct result of physical
damage of the type insured by this Policy, to the kind of property not excluded by this

Policy. (Policy, p. 31)

Clark County Board of Commissioners
o Dario Herrera, Chairman * Myrna Williams, Vice Chair
EL ' Yvonne Atkinson Gates » Erin Kenny « Mary J. Kincaid-Chauncey - Chip Maxfield « Bruce L. Woodbury
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Your Insured, Clark County, sustained the very type of loss and extra expense envisioned by this
Extension when, as a direct result of the September 11, 2001 terrorist attacks on the World Trade Center
and the Pentagon, its business at McCarran International Airport and other Insured Locations was shut
down. Ingress to/Egress from those Locations was clearly prevented, in accordance with the coverage
provisions, and significant loss was sustained as a consequence.

For ease of analysis, the Ingress/Egress Extension can be broken down into the following six
components:

(1) “Actual Loss Sustained and EXTRA EXPENSE”

(2) “due to the necessary interruption of the Insured’s business”

(3) “due to the prevention of ingress to or egress from an Insured Location”

(4) “whether or not the premises or property of the Insured is damaged”

(5) “provided that such prevention is a direct result of physical damage of the type insured
by this Policy”

(6) “to the kind of property not excluded by this Policy. "

The following simple, step-by-step analysis of these six components leads to the inescapable conclusion
that Clark County has suffered a significant covered loss and is entitled to Poticy benefits.

(1) Actual Loss Sustained and Extra Expense

By using the phrase “Actual Loss Sustained,” the Ingress/Egress Extension unambiguously and expressly
covers Clark County against losses in the form of reduced revenue when Clark County is “wholly or
partially prevented from . . . continuing business operations or services.” (Policy, p. 26.) Such a loss
was indisputably “sustained” by Clark County as a result of the closure of McCarran Intemational
Airport and other Clark County locations following the September 11 terrorist attacks.

Likewise, “EXTRA EXPENSE”, such as that incurred by Clark County to resume and continue
operations “as nearly normal as practicable” following September 1] is also unambiguously and
expressly covered. (Policy, p. 27.) And the Policy’s Extended Period of Liability section extends
coverage for reduced revenue (“reduction in sales”) and Extra Expense “for such additional length of
time as would be required . . . to restore the Insured’s business to the condition that would have existed

‘ had no loss occurred.” (Policy, p. 30.)

Thus, the first coverage component under Ingress/Egress is clearly satisfied by Clark County’s pending
claim. | :

(2) necessary interruption of the Insured’s business
Clark County’s “business” was indisputably “interrupted” following and as a direct result of the

September 11 attacks, the “necessity” of that interruption cannot seriously or in good faith be questioned.
Thus, the second coverage component under Ingress/Egress has also unquestionably been satisfied by the

pending ¢! claim.

(6) prevention of ingress to or egress from an Insured Location |

Prevention of ingress to and egress from Insured Locations also occurred following and as a direct result
' of the September 11 attacks. As you know, and as you acknowledged t in your November 27, 2001 letter
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to Randy Walker, all air traffic was grounded by FAA order shortly following the attacks and as a direct
result of them. Consequently, Clark County airports, specifically including McCarran, were shut down
and ingress to and egress from them was indisputably “prevented.” Again, we do not believe there can
be a serious or good faith questioning of this “prevention.”

Contrary to suggestions in your correspondence and at our meeting, the plain language of the
Ingress/Egress coverage does not require “physical” prevention. It simply requires “prevention”
resulting from “(physical damage of the type insured.” The Policy is replete with use of the word
“physical” when such a requirement is intended. Its absence here in modifying (or not modifying)
“prevention” is significant.

Your November 27, 2001 letter to Mr. Walker states the irrelevant, but nevertheless mistaken, belief that
“the nation’s airports were never ‘closed’” following September 11. In fact, our airports were closed. In
addition to the FAA’s grounding of all air traffic, government authorities closed McCarran to everyone
but certain airport employees.

Moreover, the surprising significance you attempt to place on this mistaken belief of “partial” closure is
also unsupportable. First, the undefined term “prevention” cannot be read to require an absolute or total
stoppage of all ingress or egress. See Fountain Powerboat Indus., Inc. v. Reliance Ins. Co., 119 F. Supp.
2d 552 (E.D.N.C.) (holding that a policy providing coverage when ingress or egress was “prevented”
covered revenue lost when usual routes to the insured location were obstructed making ingress and
egress more difficult). Beyond that, the Policy expressly provides coverage for loss when Clark County
is “wholly or partially prevented” from conducting its business. (Policy, p. 26.) Any interpretation to
the contrary would unreasonably eviscerate the broad coverage “extension” provided by the
Ingress/Egress provision and result in a rewriting of the otherwise clear policy language.

(4) whether or not the premises or property of the Insured is damaged

An important component of the broad coverage provided by the Ingress/Egress Extension is that no
damage to the “premises or property of the Insured” is necessary for there to be coverage under the
Extension’s express wording. Thus, the statement in your November 27, 2001 letter that “[njo insured
property suffered physical loss or damage” is irrelevant to the Ingress/Egress coverage. Again, you seek
to rewrite your policy “after the fact” and after it is clear that coverage is provided under express Policy
terms as actually written. Physical loss or damage to insured property is expressly not necessary for

Ingress/Egress coverage to apply. (Policy, p. 31.)

Your attempt to impose the limitations of section C.4.A.8. onto the Ingress/Egress Extension is
misplaced and contrary to the language of both those sections. Specifically, during our meeting and in
your November 27 letter, you suggest that there can be no coverage to Clark County’s pending claims
because “[a]ccess to insured premises was not prohibited or impaired by governmental order because of
existing physical loss or damage at or near proximity of the insured premises.” The separate coverage
provision you reference (C.4.A.8, at page 35) has no application to the Ingress/Egress Extension by the
express wording of Section C.4.A. itself. The provisions of Section C.4.A. — including Section C.4.A.8.
— unambiguously and expressly do not apply “if otherwise provided under the TIME ELEMENT
COVERAGE EXTENSIONS.” (Policy, p. 33.) The Ingress/Egress coverage is one of these “TIME
ELEMENT EXTENSIONS” and “provides otherwise” by providing coverage “whether or not the
premises or property of the Insured is damaged” and subject to the “number of consecutive days shown
in the Limits of Liability clause . . .” (Policy, p. 31). Accordingly, the circumstances and limitations of
Section C.4.A.8. have no application to Clark County’s claim by express Policy terms.

3.
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Moreover, the Policy cannot be rewritten after the fact to turn the relatively obscure provisions of
Section C.4.A.8. into an exclusionary provision or a limitation on the broad Ingress/Egress Extension.
Exclusions in a policy must be clear and clearly stated. Thus, “[a]ny attempt to restrict insurance
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(5) provided that such prevention is the direct result of physical damage of the type insured by this
Policy

As all Americans painfully know, America was thrown into a terrible turmoil after the 9/11 tragedy. And
there can be no dispute that the FAA grounding of air traffic nation-wide was the “direct result” of the
tragic events and physical devastation to the World Trade Center and the Pentagon. The shutdown of
Clark County’s airports was also, unquestionably, the “direct result” of that “physical damage” to the
World Trade Center and the Pentagon.

You have not disputed — indeed, you cannot honestly and in good faith dispute — the fact that the damage
to the World Trade Center and the Pentagon are “physical damage of the type insured by this Policy.” In
our conversations, however, you have exhibited a misconception of the meaning of the phrase “direct
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last cause in a chain of events. The Policy uses the word “immediate” rather than “direct” to impose the
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(6) to the kind of property not excluded by this Policy

Both the World Trade Center and the Pentagon also are unquestionably “the kind of property not .
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" — Case 2:02-cv-01258-KJD-RJJ Document 38-4009 Filed 05/27/04 Page 131 of 352

I hope that the foregoing discussion has adequately explained Clark County’s coverage position under, at
least, the Ingress/Egress Extension and cleared away any confusion that may have limited your
understanding of the coverage provided for Clark County’s losses. We are, of course, prepared to
discuss this matter further with you and would welcome any comments or response you may have. In the
meantime, we will proceed to finalize our claim submission.

Sincerely,

R. A Johnson

Assistant Directo

  
 

ation, Finance

ce: Randall H. Walker
Rosemary Vassiliadis
Marc Traasdahl

  

Mr. Lloyd W. Cutler, CPCU

KELLOG, CUTLER, YENCHEK, LADUKE, HOLMES INSURANCE SERVICES
330 E. Charleston Blvd.

Las Vegas, NV 89104

Mr. Thomas R. Mury

DELOITTE & TOUCHE

Dispute Consulting Services

695 Town Center Drive, Suite 1200
Costa Mesa, CA 92626-7188

Mr. Rod Fisher

Vice President, Operations Manager
FM GLOBAL

21860 Burbank Boulevard, Suite 300
Woodland Hills, CA 91367

Mr. Gerry L. Alonso, RPA

Vice President, Western Division Claims Manager
FM GLOBAL a
Granite Park One, 5800 Granite Parkway, Suite 600
Plane, TX 75024
.

Case 2:02-cv-01258-KJD-RJJ Document 38-4009 Filed 05/27/04 Page 132 of 352

Mr. David W. Steuber

Partner .

HOWREY, SIMON, ARNOLD & WHITE ATTORNEYS AT LAW
550 South Hope Street, Suite 1400

Los Angeles, CA 90071-2627
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EXHIBIT “C”
Case 2:02-cv-01258-KJD-RJJ Document 38-4009

 

McCARRAN INTERNATIONAL AIRPORT

March 22, 2002

Jeffrey Casillas

Operations Vice President/

Los Angeles Operations Claims Manager
Factory Mutual Insurance Company
21860 Burbank Blvd., Suite 300
Woodland Hills, CA 91367

Re: Policy No.: UA864

Filed 05/27/04 Page 134 of 352

Department of Aviation

RANDALL H. WALKER

OFA CTOR

ROSEMARY A. VASSILIADIS

DEPUTY Oar ry

POSTAL 60x 11005

LAS VEGAS, NEVADA 6917111-100
(702) 261-3211

FAX (702) 597-9553

E-MAIL: wapmaster2@mccarran.com

RECEIVED
McCARRAN INT'L AIRPORT

MAR 25 2002

ACCOUNTING OFFIBF. R a

Sworn Statement in Proof of Loss Associated With September 11, 2001 Terrorist

Attacks

Dear Mr. Casillas:

Enclosed with this letter is the Clark County Department of Aviation’s completed “Sworn
Statement in Proof of Loss” that represents the submission of a claim for losses sustained by the
Clark County Department of Aviation due to the interruption of business caused by the tragic

events of September 11, 2001.

Also enclosed with this letter is a copy of the letter I sent dated February 22, 2002 outlining the
Clark County Department of Aviation’s coverage position of FM Global’s policy related to this
loss. I have also enclosed several schedules that outline our calculation of the lost revenue and
additional expense that resulted from this interruption of business.

If you have any questions related to these documents, please call Marc Traasdahl at 702-261-

5113. Thank you for your cooperation in this matter.

Sincerely,

A

R. Ross Johnson

Assistant Director of Aviation, Finance
RRJ:mz

Enclosure

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eu”

Clark County Board of Commissioners
Dario Herrera, Chairman « Myrna Williams, Vice Chair
Yvonne Atkinson Gates » Erin Kenny - Mary J. Kincaid-Chauncey » Chip Maxfield + Bruce L. Woodbury
Case 2:02-cv-01258-KJD-RJJ Document 38-4009 Filed 05/27/04 Page 135 of 352

Jeffrey Casillas
March 22, 2002
Page Two

Randall H. Walker
Rosemary Vassiliadis
Marc Traasdahl

Mr. Lloyd W. Cutler, CPCU

KELLOG, CUTLER, YENCHEK, LADUKE, HOLMES NSURANCE SERVICES
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Partner

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550 South Hope Street, Suite 1400

Los Angeles,|CA 90071-2627
, Case 2:02-cv-01258-KJD-RJJ Document 38-4009 Filed 05/27/04 Page 136 of 352
SWORN STATEMENT IN PROOF OF LuSS

 

 

 

 

 

 

Claim no. 1
$1,567 ,393,000 UA864
AMOUNT OF POLICY AT TIME OF LOSS POLICY NO.
1 October, 2000 Kellogg, Cutler, Yenchek, La Duke, Holmes ins. Services
DATE ISSUED AGENCY AT
1 October, 2001 Lioyss W. Cutler, CPCU
DATE EXPIRES AGENT

 

To the Factory Mutual Insurance Company of Johnston, Rhode tsland. At time of loss, by the above indicated policy

of insurance you insured The Clark County Department of Aviation and other entities as per the Named
insured provision of the Policy against loss by interruption of the Insured’s business to the property
described under Schedule "A", according to the term and conditions of the said policy and all forms, endorsement,

transfers and assignments attached thereto.

1. Time and Origin: A Interruption of the Insured’s business loss occurred about the hour of 08:00 o'clock
AM., on the 11" day of September, 2001. The cause and origin of the said loss were: The damage to, destruction
of, and collapse of buildings at the World Trade Center in New York City and the Pentagon in Washington,
D.C. and the resulting order of federal authorities closing the national airspace.

2. Occupancy: The building described, or containing the property described, was occupied at the time of the loss as
follows, and for no other purpose whatever: NA

3. Title and Interest: At the time of the loss the interest of your insured in the property described therein was NA.
No other person or persons had any interest therein or incumbrance thereon, except: NA,

4. Changes: Since the said policy was issued there has been no assignment thereof, or change of interest, use,
occupancy, possession, location or exposure of the property described, except: NONE

5. Total Insurance: The total amount of insurance upon the property described by this policy was, at the time of the
loss $1,567,393,000, as more particularly specified in the apportionment attached under Schedule "C", besides
which there was no policy or other contract of insurance, written or oral, valid or invalid,

6. The Actua! Cash Value of said property at the time of loss was .............::sss nets NA
7. The Whole Loss and Damage was ...............::ccc:sessssessserreeee rece eeteteinsetneneerreiece SOg dO .
8. The Amount Claimed under the above numbered policy IS .............:.:::cseseseseeesrereeeeesnentene $6,530,570 .

The said loss did not originate by any act, design or procurement on the part of your insured, or this affiant; nothing
has been done by or with the privity or consent of your insured or this affiant, to violate the conditions of the policy,
or render it void; no articles are mentioned herein or in annexed schedules but such as were destroyed or damaged
at the time of said loss; no property saved has in any manner been concealed, and no attempt to deceive the said
company, as to the extent of said loss, has in any manner been made. Any other information that may be required
will be furnished and considered a part of this proof.

The furnishing of this blank or the preparation of proofs by a representative of the above insurance company is not a
waiver of any of its rights.
Clark County Oepartment of Aviat

state of _AJEVADA by?

County of CLAR Ke otnsiea

Subscribed and swom to before me this A2WDuay of Vv la ~CH ,§ BOOS.
frterah Xe Ultatl A Notary Public

 

 

600-5-59
Document1
DEBORAH L. WEAKLAND
(REV, 4/12/2001)
Notary Public State of Nevada
Page 1 of 2 (Both must be completed) No.87-2092-1
My appt. exp. hune 7, 2005

 

 

 

 
‘ Case 2:02-cv-01258-KJD-RJJ Document 38-4009 Filed 05/27/04 Page 137 of 352
insured: Clark Gounty Department of Aviation Loss No. 1
SCHEDULE "A" - POLICY FORM

 

 

 

 

 

 

 

 

 

Policy Form No. UA864 Dated __—-1: October, 2000

ltem 1.$ _5,933,244 on Loss of Revenue due to events of 9-14-01
Itam2.$ _ 597,326 en Extra Expense due to events of 9-11-04
Item 3. $ on

Item 4. $ on

Situated

 

Coinsurance, Average, Distribution, or Deductible Clauses, if any _ $10,000

Loss, if any, payable to __ Clark County Department of Aviation
SCHEDULE "B"

STATEMENT OF ACTUAL CASH VALUE AND LOSS AND DAMAGE

ACTUAL CASH LOSS AND
VALUE DAMAGE

 

SCHEDULE "C" - APPORTIONMENT

ITEM NO. ITEM NO.
POLICY NO. | EXPIRES | NAME OF COMPANY INSURES PAYS INSURES

 

 

 

 

 

 

 

 

Adjuster

RECEIPT FOR PAYMENT

Received of (insurer) of
Dollars ($
in full satisfaction and indemnity for all claims and demands upon said company on account of said loss and damage
and the said policy is hereby (State whether Reduced, Reduced and Reinstated or
Canceled by payment.)
Dated
The insured

Dated
600-5-59
Documernt1
(REV 4/12/2001}

Page 2 of 2 (Both must be completed)
Case 2:02-cv-01258-KJD-RJJ Document 38-4009 Filed 05/27/04 Page 138 of 352

Department of Aviation
RANDALL H. WALKER
Ceee CTO

AOSEMARY A. VASSILIADIS
OER UTY OACTOW

 

POSTAL BC 110%

McCARRAN INTERNATIONAL AIRPORT LAS VEGAS, NEVADA 9111-1005

February 22, 2002 Certified Mail 7000 1676 0010 5029 2420 eax os, so) Sau
Return Receipt Requested E-MAIL: webmaster@Q@mecerren.com
Jeffrey Casillas RECEIVED
Operations Vice President/
Los Angeles Operations Claims Manager McCARRAN INTL AIRPORT
Factory Mutual Insurance Company FER 9 " 2002
21860 Burbank Bivd., Suite 300
Woodland Hills, CA 91367 ACCOUNTING OFFICE
Zoid

Re: Policy No.: UA864
Claim Associated With September 11, 2001 Terrorist Attacks

Dear Mr. Casillas:

1 enjoyed meeting with you on Thursday, February 7, 2002 regarding Clark County Department of
Aviation’s (“Clark County”) claim under FM Global policy No. UA864 (1 October 2000 to 1 October
2003) (the “Policy”) for loss caused by the terrorist attacks of September 11, 2001. During our meeting,
you requested written articulation of Clark County’s position for coverage under the Policy.

As we discussed, there are a number of policy provisions that support coverage for Clark County’s loss.
Notably, as we advised, we rely primarily upon the coverage provided under the Policy’s Protection and
Preservation of Property section, Section B. 3. Q., page 15; Contingent Time Element Extension, Section
C. 3. A., page 30; and Ingress/Egress Time Element Extension, Section C. 3. C., page 31. Because, to us,
the Ingress/Egress Extension so clearly provides coverage on such a broad basis, the discussion in this
letter will, for now, focus only on that Extension, while deferring a broader discussion of the other two
provisions until a Sater time. ] want to emphasize, however, as we did during our February 7 meeting,
that each of the three provisions, on its face and according to its clear language, is applicable to and
provides broad coverage protection for Clark County’s loss resulting from and following the tragic
events of September 11. We are prepared to discuss all of these provisions with you further and
encourage a dialogue as a resuit of this Jetter and our February 7 meeting.

The Ingress/Egress provision is found in Section C. 3. C. of the Policy, at page 31 and clearly provides
an express extension to the Policy’s standard Time Element Coverages:

Cc. INGRESS/EGRESS. : . -
This Policy covers the Actual Loss Sustained and EXTRA EXPENSE incurred by the
Insured due 1o the necessary interruption of the Insured’s business due to the prevention
of ingress to or egress from an Insured Location, whether or not the premises or property
of the Insured is damaged, provided that such prevention is a direct result of physical
damage of the type insured by this Policy, to the kind of property not excluded by this

Policy. (Policy, p. 31)

se, . . Clark County Board of Commissioners —
“GS . Dario Herrera, Chairman -" Myma Williams, Vice Chair
a

"Yvonne Atkinson Gates + Erin Kenny = Mary J. Kincaid-Chauncey « Chip Maxfield + Bruce L. Woodbury
Case 2:02-cv-01258-KJD-RJJ Document 38-4009 Filed 05/27/04 | Page 139 of 352

Your Insured, Clark County, sustained the very type of loss and extra expense envisioned by this
Extension when, as a direct result of the September 11, 2001 terrorist attacks on the World Trade Center
and the Pentagon, its business at McCarran International Airport and other Insured Locations was shut
down. Ingress to/Egress from those Locations was clearly prevented, in accordance with the coverage
provisions, and significant loss was sustained as a consequence.

For ease of analysis, the Ingress/Egress Extension can be broken down into the following six
components:

(1) “Actual Loss Sustained and EXTRA EXPENSE”

(2) “due to the necessary interruption of the Insured’s business”

(3) “due to the prevention of ingress to or egress from an Insured Location”

(4) “whether or not the premises or property of the Insured is damaged” __

(5) “provided that such prevention is a direct result of physical damage of the type insured
by this Policy”

(6) “to the kind of property not excluded by this Policy."

The following simple, step-by-step analysis of these six components leads to the inescapable conclusion
that Clark County has suffered a significant covered loss and is entitled to Policy benefits.

(J) Actual Loss Sustained and Extra Expense

By using the phrase “Actual Loss Sustained,” the Ingress/Egress Extension unambiguously and expressly
covers Clark County against losses in the form of reduced revenue when Clark County is “wholly or
partially prevented from . . . continuing business operations or services.” (Policy, p. 26.) Such a loss
was indisputably “sustained” by Clark County as a result of the closure of McCarran International
Airport and other Clark County locations following the September 11 terrorist attacks. -

Likewise, “EXTRA EXPENSE”, such as that incurred by Clark County to resume and continue
operations “as nearly normal as practicable” following September 11 is also unambiguously and
expressly covered. (Policy, p. 27.) And the Policy’s Extended Period of Liability section extends
coverage for reduced revenue (“reduction in sales”) and Extra Expense “for such additional length of
time as would be required . . . to restore the Insured’s business to the condition that would have existed
* had no loss occurred.” (Policy, p. 30.) .

Thus, the first coverage component under Ingress/Egress is clearly satisfied by Clark County’s pending
claim. | . |

(2) necessary interruption of the Insured’s business
Clark’ County's “business” was indisputably “interrupted” following and as a direct result of the.

September 1] attacks, the “necessity” of that interruption cannot seriously or in good faith be questioned.
Thus, the second. coverage component under Ingress/Egress has also unquestionably been satisfied by the

pending claim.
oS @) prevention of ingress to or egress from an Insured Location .

Prevention of ingress to and egress from Insured Locations also occurred following and as a direct result
of the September 11 attacks. As you know, and as you acknowledged in your November 27, 2001 letter ©

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Case 2:02-cv-01258-KJD-RJJ Document 38-4009 Filed 05/27/04 Page 140.of 352

to Randy Walker, all air traffic was grounded by FAA order shortly following the attacks and as a direct
result of them. Consequently, Clark County airports, specifically including McCarran, were shut down
and ingress to and egress from them was indisputably “prevented.” Again, we do not believe there can
be a serious or good faith questioning of this “prevention.”

Contrary to suggestions in your correspondence and at our meeting, the plain language of the
Ingress/Egress coverage does not require “physical” prevention. It simply requires “prevention”
resulting from “physical damage of the type insured.” The Policy is replete with use of the word
“physical” when such a requirement is intended. Its absence here in modifying (or not modifying)
“prevention” is significant.

Your November 27, 2001 letter to Mr. Walker states the irrelevant, but nevertheless mistaken, belief that
“the nation’s airports were never ‘closed’” following September 11. In fact, our airports were closed. In
addition to the FAA’s grounding of all air traffic, government authorities closed McCarran to everyone
but certain airport employees.

Moreover, the surprising significance you attempt to place on this mistaken belief of “partial” closure is
also unsupportable. First, the undefined term “prevention” cannot be read to require an absolute or total
stoppage of all ingress or egress. See Fountain Powerboat Indus., Inc. v. Reliance Ins. Co., 119 F. Supp.
2d 552 (E.DN.C.) (holding that a policy providing coverage when ingress or egress was “prevented” .-
covered revenue lost when usual routes to the insured Socation were obstructed making ingress and
egress more difficult). Beyond that, the Policy expressly provides coverage for loss when Clark County
is “wholly or partially prevented” from conducting its business. (Policy, p. 26.) Any interpretation to
ihe contrary would unreasonably eviscerate the broad coverage “extension” provided by the
Ingress/Egress provision and result in a rewriting of the otherwise Clear policy language.

(4) whether or not the premises or property of the Insured is damaged

An important component of the broad coverage provided by the Ingress/Egress Extension is that no
damage to the “premises or property of the Insured” is necessary for there to be coverage under the
Extension’s express wording. Thus, the statement in your November 27, 2001 letter that “[njo insured
property suffered physical loss or damage” is irrelevant to the Ingress/Egress coverage. Again, you seek
to rewrite your policy “after the fact” and after it is clear that coverage is provided under express Policy
terms as actually written. Physical loss or damage to insured property is expressly not necessary for
Ingress/Egress coverage to apply. (Policy, p. 31.)

Your attempt to impose the limitations of section C.4.A.8. onto the Ingress/Egress Extension is
misplaced and con to the language of both those sections. Specifically, during our meeting and in
your November 27 letter, you suggest that there can be no coverage to Clark County’s pending claims
because “[a]ccess to insured premises was not prohibited or impaired by governmental order because of
~ existing physical loss or damage at or near proximity, of the insured premises.” “The separate coverage
provision you reference (C.4.A.8, at page 35) has no application to the Ingress/Egress Extension by the
express wording of Section C.4.A. itself. The provisions of Section C.4.A. — including Section C.4.A.8.
— unambiguously and expressly do not apply. “if otherwise provided under the TIME ELEMENT
COVERAGE EXTENSIONS.” (Policy, p. 33.) The Ingress/Egress coverage. is one of these “TIME
ELEMENT-EXTENSIONS” and “provides otherwise” by providing coverage “whether or not the —
premises or property of the Insured is damaged” and subject to the “number of consecutive days shown
in the Limits of Liability clause . . .” (Policy, p. 31). Accordingly, the circumstarices and limitations of
Section C.4.A.8. have no application to Clark County’s claim by express Policy terms.
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Moreover, the Policy cannot be rewritten after the fact to turn the relatively obscure provisions of
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"Case 2:02-cv-01258-KJD-RJJ Document 38-4009 Filed 05/27/04 Page 142 of 352

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Sincerely,

R. Ay Johnson

Assistant Directo:

   

aN

or ad-mtion Finance —

ce: Randall H. Walker
Rosemary Vassiliadis
- Mare Traasdahi

 

Mr. Lloyd W. Cutler, CPCU

KELLOG, CUTLER, YENCHEK, LADUKE, HOLMES INSURANCE SERVICES
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Vice President, Western Division Claims Manager
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Granite Park One, 5800 Granite Parkway, Suite 600

Plano, TX 75024 |
Case 2:02-cv-01258-KID-RJJ Document 38-4009 Filed 05/27/04 Page 143 of 352

Mr. David W. Steuber

Partner ,

HOWREY, SIMON, ARNOLD & WHITE ATTORNEYS AT LAW
550 South Hope Street, Suite 1400

Los Angeles, CA 90071-2627
"Case 2:02-cv-01258-KJD-RJJ Document 38-4009 Filed 05/27/04 Page 144 of 352

Clark County Department of Aviabuu
McCarran International Airport
Business Interruption Loss due to September 11, 2001

 

Projection Actual Loss of Revenue
2000 2001 2001 Total ToNov12 60Days

Landing Fees

Scheduled Carriers (6 month 1.12%)
September 2,223,322 2,248,223 1,910,305 337,918 337,918
October 2,326,390 2,352,446 2,163,701 188,745 188,745
November 2,234,012 2,259,033 2,018,476 240,557 96,223 96,223

Charter Carriers (6 month -16.84%)
September 225,247 187,315 191,983 (4,668) (4,668)
October 298,867 248,538 183,737 64,801 64,801
November 250,289 208,140 167,095 41,045 16,418 16,418

Mail Charters (6 month -7.22%)
September 47,705 44,261 42,685 1,576 1,576
October 47,928 44,468 54,140 (9,672) (9,672)
November 48,644 45,132 $4,693 (9,561) (3,824) (3,824)
Aircraft Service Fees

Fuel Flowage Fees (6 month -5.84%)
September 191,267 180,097 164,154 15,943 15,943
October 191,373 180,197 137,907 42,290 42,290
November 199,577 187,922 150,170 37,752 15,101 15,101

Ground Handling (6 month Average)
September 124,769 138,347 118,281 20,066 20,066
October 144,218 138,347 122,058 16,289 16,289
November 135,033 138,347 100,612 37,735 15,094 15,094
Rental Fees

Private Tenants (3 month 32.37%)
September 88,476 117,116 89,016 28,100 28,100
October 96,212 127,356 96,770 30,586 30,586
November 99,492 131,698 100,545 31,153 12,461 12,461

Notes: ATM fees dependant upon px traffic and First USA Credit could not access secured area for 2 months @ 10,000 e.

Usage Fees
Per Enplanement(Ticket Counter) (6 month 18.06%)
September 63,773 75,290 49,873 25,417 25,417
October 73,946 87,301 70,012 17,289 17,289
November 65,897 77,798 58,144 19,654 7,862 7,862
CIT Per Pax Fee (6 month -10.01%)
September 252,617 227,103 150,081 77,022 77,022
October 306,873 275,879 162,547 113,332 113,332
November 286,358 257,436 155,278 102,158 40,863 40,863

Page 1 of 4
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Clark County Department of Aviation
McCarran International Airport

Business Interruption Loss due to September 11, 2001

 

Projection Actual Loss of Revenue
2000 2001 2001 Total To Nov 12 60 Days
Passenger Facility Charge (PFC) (6 month 5.03%)
September 3,658,561 3,842,587 2,599,760 1,242,827 1,242,827
October 3,861,791 4,056,039 3,211,657 844,382 844,382
November 3,392,182 3,562,809 2,903,994 658,815 263,526 263,526
Concession Fees
Gaming (6 month -0.36%)
September 2,244,686 2,236,605 2,081,565 155,040 155,040
October 2,837,747 2,827,531 3,134,194 (306,663) (306,663)
November 2,578,329 2,569,047 2,442,877 126,170 50,468 50,468
Transportation Concessions
Busses (6 month 27.49%)
September 28,583 36,440 18,109 18,331 18,331
October 38,871 49,557 20,895 28,662 28,662
November 36,147 46,084 16,856 29,228 11,691 11,691
Limousines (2 month §5.72%)
September 241,231 375,645 327,026 48,619 48,619
October 260,183 405,157 373,119 32,038 32,038
November 221,095 344,289 368,099 (23,810) (9,524) (9,524)
Rent Cars - On Airport (6 month 0.77%)
September 1,272,910 1,282,711 1,149,742 132,969 132,969
October 1,449,287 1,460,447 1,292,709 167,738 167,738
November 1,359,009 1,369,473 1,156,171 213,302 85,321 85,321
Rent Cars - Off Airport (6 month -8.61%)
September 264,485 241,713 205,148 36,565 36,565
October 277,649 253,743 225,804 27,939 27,939
November 232,984 212,924 189,154 23,770 9,508 9,508
Taxis (6 month 5.65%)
September 206,650 218,326 150,150 68,176 68,176
October 253,750 268,087 259,800 8,287 8,287
November 216,950 229,208 180,000 49,208 19,683 19,683
Sales Concessions
Advertising (6 month 2.37%)
September 825,347 844,908 792,472 52,436 §2,436
October 846,189 866,244 766,953 99,291 99,291
November 860,526 880,920 798,701 82,219 32,888 32,888
Bars (6 month -3.62%)
September 128,702 124,043 99,553 24,490 24,490
October 187,733 152,023 151,319 704 704
November 141,110 136,002 134,189 1,813 725 725

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Clark County Department of Aviation

McCarran International Airport

Business Interruption Loss due to September 11, 2001

Filed 05/27/04 Page 146 of 352

 

Projection Actual Loss of Revenue
2000 2001 2001 Total ~ To Nov 12 60 Days
Restaurants (6 month 9.13%)
September 269,000 293,560 215,477 78,083 78,083
October 196,188 214,100 327,779 (113,679) (113,679)
November 290,467 316,987 290,378 26,609 10,644 10,644
Catering (6 month 7.62%)
September 260,217 280,046 230,466 49,580 49 580
October 253,202 272,496 189,440 83,056 83,056
November 242,168 260,621 160,165 100,456 40,182 40,182
Clothing Shops (6 month 11.09%)
September 58,560 65,054 45,288 19,766 19,766
October 72,666 80,725 63,638 17,087 17,087
November 60,153 66,824 55,738 11,086 4,434 4,434
Gift Shops (6 month 1.36%)
September 481,475 488,023 365,291 122,732 122,732
October 569,868 577,618 546,673 30,945 30,945
November 484,356 490,943 403,686 87,257 34,903 34,903
Lockers (6 month -3.78%)
September 4,424 4,257 - 4,257 4,257
October 2,534 2,438 - 2,438 2,438
November 3,984 3,833 - 3,833 1,533 1,533
Passenger Service (6 month 0.66%)
September 57,344 57,722 54,698 3,024 3,024
October 63,528 63,947 44,734 19,213 19,213
November 62,557 62,970 33,364 29,606 11,842 11,842
Specialty Shops (6 month 4.59%)
September 139,662 146,072 107,567 38,505 38,505
October 164,625 172,181 151,435 20,746 20,746
November 143,740 150,338 134,113 16,225 6,490 6,490
Parking
Employee Parking No Loss
Public Parking (5 month 17.39%)
September 885,395 1,039,365 816,762 222,603 272,603
October 961,827 1,129,089 1,000,294 128,795 128,795
November 907,108 1,064,854 95§2,223 112,631 45,052 45,052
Parking Meters (5 month 37.47%)
September 153,039 210,383 132,537 77,846 77,846
October 176,271 242,320 124,283 118,037 118,037
November 188,626 259,304 116,515 142,789 57,116 57,116

Page 3 of 4
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Clark County Department of Aviation
McCarran International Airport

Business Interruption Loss due to September 11, 2001

Valet Parking
September
October
November

Park A Lot
September
October
November

Jet A Fuel Tax
November
December

January

Totals

Filed 05/27/04 Page 147 of 352

 

Projection Actual Loss of Revenue
2000 2001 2001 Total To Nov 12 60 Days
(5 month 23.77%)
122,796 151,985 - 151,985 151,985
131,476 162,728 - 162,728 162,728
134,061 165,927 - 165,927 66,371 66,371
(6 month 5.58%)
18,150 19,163 18,710 453 453
31,125 32,862 8,313 24,549 24,549
19,950 21,063 - 21,063 8,425 8,425
(6 month -.32%)
1,033,693 5,030,385 1,107,246 (76,861) (76,861)
1,024,605 1,021,326 956,416 64,910 64,910
1,068,302 1,064,883 854,620 210,263 84,105 84,105
7,486,616 1,035,581 5,933,244

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Case 2:02-cv-01258-KJD-RJJ Document 38-4009 Filed 05/27/04 Page 151 of 352

Clark County Department of Aviation - McCarran International Airport
Additional Expenses due to September 11, 2001
September 11, 2001 thru November 12, 2001

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

New, Additional, or Revised Actual Direct | Actual Direct
Security Requirement(s) Cost(s) Cost(s)
incurred 9/11/01 incurred
01/18/02 9/11/01-
11/12/01
Increased Law Enforcement
Officer personnel/overtime $313,834
Increased other
personnel/overtime $332,716
Supplies
$95,776
Outside services, contractor
support, etc. $1,500,019
Total $2,242,345
War Risk Premium
§ 1,481,800
Total Costs less War Risk Premium 760,545
Days (9/11/01 to 01/18/02)
| 429
Costs per day 5,896
War Risk Premium Cost per Day | 4,060
Total Cost per day 9,955
Days Covered 60
60 Days of Extra Expenses $ 597,326

 

 
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EXHIBIT “D”
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} a

Factory Mutual insurance Company
21860 Burbank Blvd., Suite 300
Woodland Hills, CA 91367

T: 818 704 1133 F: 818 340 8654
e-mail: jeffrey.casillas @ fmaqlobal.com

RECEIVED

Aprit 16, 2002 McCARRAN INTL AIRPORT

APR 19 2002
Mr. R. Ross Johnson ACCOUNTING OFFICE
Assistant Director of Aviation, Finance DNs
Clark County Department of Aviation mI ds
P.O. Box 11005

Las Vegas, NV 89111-1005

Re: Clark County Department of Aviation
Las Vegas, NV
Loss No. 04309-01-08-01; September 11, 2001
Index No. 79301.53
Account No. 1-33186

Dear Mr. Johnson:

This letter will confirm our receipt of your letters dated February 22, and March 22, 2002
regarding the above referenced matter. Attached to your March 22, 2002 letter was a Sworn
Statement in Proof of Loss in the amount of $6,530,570.00.

Factory Mutual Insurance Company (“FM Global”) has considered Clark County Department of
Aviation’s (“Clark County’s”) claim for losses reportedly caused by the September 11, 2001
coordinated terrorist attack. Based on FM Giobal’s review of the information provided to date,
there is no coverage for Clark County's claimed loss, under FM Global Policy No. UA864, as

explained below.

On November 8, 2001, Clark County notified FM Global of a claim for losses reportedly caused
by the September 11, 2001 coordinated terrorist attack. In Clark County's initia! notice letter, it
reported that the Clark County Airport System, including McCarran international Airport, the
North Las Vegas Airport, and the Henderson Executive Airport were closed because of the
September 11 terrorist attack. Clark County further advised that there was a reduction in the
number of passengers and airport revenue generating activities.

FM Global insured Clark County for the policy period October 1, 2000 to October 1, 2003, under
its Policy No. UA864. The coverage is subject to the policy’s terms, conditions, limitations and

exclusions.
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Clark County Dept. of Avion Page 2

Las Vegas, NV

D/L: Sept. 11, 2001

Generally, the FM Global policy provides time element (business interruption and extra
expense) coverage for interruptions caused by direct physical loss or damage to insured

property:
TIME ELEMENT - SECTION C

1. LOSS INSURED

A. This Policy insures TIME ELEMENT loss, as
provided in the TIME ELEMENT COVERAGES,
directly resulting from physical loss or damage of
the type insured by this Policy:

1) to property described elsewhere in this
Policy and not otherwise excluded by this
Policy or otherwise limited in the TIME

ELEMENT COVERAGES below;

2) used by the Insured, or for which the
Insured has contracted use;

3) located at an Insured Location; and

4) during the Periods of Liability described in
this section.

Here, there was no physical loss or damage to any insured property described in the FM Global
policy. Absent the requisite physical loss or damage to insured property, there can be no time
element coverage under this provision.

Clark County asserts that there is coverage under the following ingress and egress provision:

TIME ELEMENT - SECTION C

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3. TIME ELEMENT COVERAGE EXTENSIONS

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c. INGRESS/EGRESS

This Policy covers the Actual Loss Sustained and
EXTRA EXPENSE incurred by the Insured due to
the necessary interruption of the Insured’s business
due to prevention of ingress to or egress from an
‘Case 2:02-cv-01258-KJD-RJJ Document 38-4009 Filed 05/27/04 Page 156 of 352
Clark County Dept. of Aon Page 3
Las Vegas, NV
D/L: Sept. 11, 2001

Insured Location, whether or not the premises or
Property of the Insured is damaged, provided that
such prevention is a direct result of physical
damage of the type insured by this Policy, to the
kind of property not excluded by this Policy.

We believe that Ciark County has misconstrued the essential operative facts pertaining to its
claim as applied to this coverage. Ingress to and egress from McCarran International Airport,
North Las Vegas Airport, and the Henderson Executive Airport was not prevented as a “direct
result of physical damage.” The physical damage to the World Trade Center (“WTC”) and
Pentagon, occurring approximately 2,500 miles away, clearly did not prevent access to these
airports. Rather, the alleged prevention of access was caused by orders of civil authority,
including the FAA order, and was not caused by physical loss or damage

The FM Global policy specifically makes provision for the impact of orders of civil authority on
the period of liability for time element coverages:

4. PERIOD OF LIABILITY

A. The PERIOD OF LIABILITY applying to all TIME
ELEMENT COVERAGES, except LEASEHOLD
INTEREST and as shown below, or if otherwise provided
under the TIME ELEMENT COVERAGE EXTENSION, is

as follows:

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8) lf an order of civil authority prohibits access
to the Insured Location and provided such
order is the direct result of physical damage
of the type insured against under this Policy
at the Insured Location or within 1,000 feet
of it, the period of time:

a) Starting at the time of such
physical damage; but

b) not to exceed 30 consecutive
days.

Here, the FAA order in question clearly did not directly result from physical damage at any Clark
County airport or within 1,000 feet of them. To the contrary, the directive arose out of safety
concerns. Even if it could somehow be said that the order directly resulted from and continued
because of the damage to the WTC or Pentagon, the requirements of the civil authority
provision in the policy would not be met, as said damage did not occur “at the insured location

or within 1,000 feet of it.”
* Case 2:02-cv-01258-KJD-RJJ Document 38-4009 Filed 05/27/04 Page 157 of 352

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Las Vegas, NV
D/L: Sept. 11, 2001

Clark County also asserts that there is coverage under the following contingent time element
provision: ;

TIME ELEMENT - SECTION C

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TIME ELEMENT COVERAGE EXTENSIONS
A. CONTINGENT TIME ELEMENT

This Policy covers the Actual Loss Sustained and EXTRA
EXPENSE incurred by the Insured during the PERIOD OF
LIABILITY:

1) directly resulting from physical loss or damage of
the type insured; and

2) to property of the type insured,

at any locations of direct suppliers or customers located
within the TERRITORY of this Policy.

The term “supplier or customer” does not include any
company suppiying to or receiving from the insured
Location, as described elsewhere in this Policy, electricity,
fuel, gas, water, steam, refrigeration, sewage or
telecommunications.

The contingent time element coverage requires physical loss or damage of the type insured at a
direct supplier or customer location. The WTC and Pentagon are not “direct supplier or
customer’ locations. Therefore, there is no contingent time element coverage under the FM

Global policy.

Additionally, Clark County asserts that there is coverage under the following protection and
preservation of property provisions of the policy:

PROPERTY DAMAGE - SECTION B

3. ADDITIONAL COVERAGES

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. Case 2:02-cv-01258-KJD-RJJ Document 38-4009 Filed 05/27/04 Page 158 of 352

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Las Vegas, NV
D/L: Sept. 11, 2001

Q. PROTECTION AND PRESERVATION OF
PROPERTY

This Policy covers:

1) reasonable and necessary costs incurred
for actions to temporarily protect or preserve
insured property; provided such actions are
necessary due to actual, or to prevent
immediately impending, insured physical
loss or damage to such insured property.

TIME ELEMENT - SECTION C

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3. TIME ELEMENT COVERAGE EXTENSIONS

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Cc. PROTECTION AND PRESERVATION OF
PROPERTY - TIME ELEMENT

This Policy covers the Actual Loss Sustained by the
Insured for a period of time not to exceed 48 hours
prior to and 48 hours after the Insured first taking
reasonable action for the temporary protection and
preservation of property insured by this Policy
provided such action is necessary to prevent
immediately impending physical loss or damage
insured by this Policy at such insured property.

This Extension is subject to the deductible
provisions that would have applied had the physical
loss or damage occurred.

Both provisions require either actual or immediately impending physical loss or damage insured
by the policy to insured property at an insured location. We have not been provided with any
information or documentation that demonstrates that there was actual or immediately impending
physical loss or damage, or even a threat of such loss or damage, to any of Clark County-

owned airports or other insured property at an insured location named in the Clark County
Policy. Even if there were such a threat, the closure of the facility was not to protect and
preserve the insured property from the only known risk of physical loss; which would have been
potential physical damage caused by the hijacked planes. Rather, the closure of the facility was
designed to protect and preserve the physical safety of others. For these reasons, there is no
coverage under the Protection and Preservation of Property provisions of the policy.
. Case 2:02-cv-01258-KJD-RJJ Document 38-4009 Filed 05/27/04 Page 159 of 352

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Las Vegas, NV
D/L: Sept. 11, 2001

Finally, assuming for argument's sake, time element coverage were triggered, the following
exclusions contained in the policy would preclude coverage:

5. TIME ELEMENT EXCLUSIONS

tn addition to the exclusions elsewhere in this Policy, the following
exclusions apply to TIME ELEMENT loss:

This Policy does not insure against:

A. Any loss during any idle period, including but not limited to when
production, operation, service or delivery or receipt of goods
would cease, or would not have taken place or would have been
prevented cue to:

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4) any other reason other than physical loss or damage
insured by this Policy.

B. Any increase in loss due to:

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4} any other consequential or remote loss

In sum, based on FM Global's review of information and claim submitted to date, there is no
coverage under FM Global’s policy for Clark County's claim.

FM Global would be pleased to consider any further information or documentation that Clark
County wishes to submit relating to any of the issues addressed in this letter. FM Global will
review and consider any such information or documentation. In the absence of any additiona!
documentation or information, Clark County may consider this letter to be a denial of its claim
and a rejection of the submitted Swom Statement in Proof of Loss.

You are respectfully advised that neither this letter nor any conduct related to the matter shall be
construed as a waiver of, nor shall FM Global be estopped from asserting in the future, any
rights or defenses it may have under its policy or any applicable regulation or law. FM Global
expressly reserves all such rights and defenses.

Please contact me if you have any questions.

Jeffrey C. Casillas
Operations Vice President/
Los Angeles Operations Claim Manager
- Case 2:02-cv-01258-KJD-RJJ Document 38-4009 Filed 05/27/04 Page 160 of 352
Clark County Dept. of Avic..on Page 7

Las Vegas, NV
D/L: Sapt. 11, 2001

cc: Mr. Lloyd W. Cutler, CPCU
KELLOG , CUTLER, YENCHEK, LADUKE, HOLMES
INSURANCE SERVICES
330 E. Charleston Blvd.
Las Vegas, NV 89104

Mr. Marc Traasdah!

CLARK COUNTY NEVADA
Department of Aviation

P.O. Box 11005

Las Vegas, NV 89111-17005

Ms. Gwyn Taylor

CLARK COUNTY NEVADA
Department of Aviation

P.O. Box 11005

Las Vegas, NV 89111-11005

Mr. Thomas Murry

DELOITTE & TOUCHE

“Dispute Resolution Services”

695 Town Center Drive, Suite 1200
Costa Mesa, CA 92626-7188
" . Case 2:02-cv-01258-KJD-RJJ Document 38-4009 Filed 05/27/04 Page 161 of 352
SWURN STATEMENT IN PROOF OF LuUsS

 

 

 

 

 

 

 

Claim no. 1
$1,567,393,000 UABB4
AMOUNT OF POLICY AT TIME OF LOSS POLICY NO.
1 October, 2000 Kellogg. Cutler, Yenchek, La Duke, Holmes ins. Services
DATE ISSUED AGENCY AT
1 October, 2001 Loyd W. Cutler, CPCU
DATE EXPIRES AGENT

To the Factory Mutual Insurance Company of Johnston, Rhode Island. At time of loss, by the above indicated policy
of insurance you insured The Clark County Department of Aviation and other entities as per the Named
Insured provision of the Policy against loss by Interruption of the Insured’s business to the property

described under Schedule “A”, according to the term and conditions of the said policy and all forms, endorsement,
transfers and assignments attached thereto.

 

1. Time and Origin: A Interruption of the Insured’s business loss occurred about the hour of 08:00 o'clock

AM., on the 11" day of September, 2001. The cause and origin of the said loss were: The damage to, destruction
of, and collapse of buildings at the Worid Trade Center in New York City and the Pentagon in Washington,

D.C. and the resulting order of federal authorities closing the national airspace.

2. Gccupancy: The building described, or containing the property described, was occupied at the time of the loss as
follows, and for no other purpose whatever: NA

3. Title and Interest: At the time of the loss the interest of your insured in the property described therein was NA.
No other person or persons had any interest therein or incumbrance thereon, except: NA.

4. Changes: Since the said policy was issued there has been no assignment thereof, or change of interest, use,
occupancy, possession, location or exposure of the property described, except: NONE

5. Total Insurance: The total amount of insurance upon the property described by this policy was, at the time of the
loss $1,567,393,000, as more particularly specified in the apportionment attached under Schedule "C", besides
which there was no policy or other contract of insurance, written or oral, valid or invalid,

6. The Actual Cash Value of said property at the time of loSS WaS oo... ice cecscsseeeeneeee NA
7. The Whole Loss and Darnage Wass ............cccsccssessesseesesteacssensesee tosses sosecesceecssesseasuneessanens $6,530,570 .
8. The Amount Claimed under the above numbered policy is .............-..:eccccsssssssesssceeseaceeees $6,530,570 .

The said toss did not originate by any act, design or procurement on the part of your insured, or this affiant; nothing
has been done by or with the privity or consent of your insured or this affiant, to violate the conditions of the policy,
or render it void; no articles are mentioned herein or in annexed schedules but such as were destroyed or damaged
at the time of said loss; no property saved has in any manner been concealed, and no attempt to deceive the said
company, as to the extent of said loss, has in any manner been made. Any other information that may be required

will be furnished and considered a part of this proof.

The furnishing of this blank or the preparation of proofs by a representative of the above insurance company is not a

waiver of any of its rights.
Clark County Department of Aviati

State of Nje VAD by:

County of CLA K «* F—insured

Subscribed and swom to before me this AAW Day of Ma WH , BOOS.

Rehereh Xv eakLe Notary Public

 

 

  

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Page 1 of 2 (Both must be completed) el No.87-2092-1
| My appt. exp. lune 7, 2005

 

 

 
* a * "Case 2:02-cv-01258-KJD-RJJ Document 38-4009 Filed 05/27/04 Page 162 of 352
Insured: Clark County Depar. ent of Aviation Loss No. 1
SCHEDULE "A" - POLICY FORM

 

 

 

 

 

 

Policy Form No. UA864 Dated 1 October, 2000

Item 1.$ 5,933,244 on Loss of Revenue due to events of 9-11-01
Item 2.$ _ 597,326 on Extra Expense due tg events of 9-11-01
Item 3. $ on

Item 4. $ on

Situated

 

Coinsurance, Average, Distribution, or Deductible Ciauses, if any __ $10,000

Loss, if any, payable to __ Clark County Department of Aviation
SCHEDULE "B"

STATEMENT OF ACTUAL CASH VALUE AND LOSS AND DAMAGE

ACTUAL CASH LOSS AND
VALUE DAMAGE

 

SCHEDULE "C" - APPORTIONMENT

ITEM NO. ITEM NO.
POLICY NO. | EXPIRES [| NAME OF COMPANY INSURES PAYS INSURES PAYS

 

 

 

 

 

 

 

 

Adjuster

RECEIPT FOR PAYMENT

Received of (insurer) of
Dollars ($
in full satisfaction and indemnity for all claims and demands upon said company on account of said loss and damage
and the said policy is hereby (State whether Reduced, Reduced and Reinstated or
Canceled by payment.)
Dated
The insured

Dated
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Document
(REV 4/12/2001)

Page 2 of 2 (Both must be completed)
Case 2:02-cv-01258-KJD-RJJ Document 38-4009 Filed 05/27/04 Page 163 of 352

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Case 2:02-cv-01258-KJD-RJJ Document 38-4009 Filed 05/27/04 Page 164 of 352

EXHIBIT “E”
. "Case 2:02-cv-01258-KJD-RJJ Document 38-4009 Filed 05/27/04 fYAGS ACR Of SBR,
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Department of Aviation

RANDALL H. WALKER
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ROSEMARY A. VASSILIADIS

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POSTAL BOX 110%
McCARRAN INTERNATIONAL AIRPORT LAS VEGAS. NEVADA BS114-1005
(702) 261-5211

FAX (702) SS7-4553

E-MAIL: webrnaster2@meccearran.conmi

April 30, 2002
Jeffrey Casillas CERTIFIED MAIL#70001670001050292406
Operations Vice President/ RETURN RECEIPT REQUESTED

Los Angeles Operations Claims Manager
Factory Mutual insurance Company
21860 Burbank Blvd., Suite 300
Woodland Hills, CA 91367

Re: Policy No.: UA864
Claim Associated With September 11, 2001 Terrorist Attacks

Dear Mr. Casillas:

| write in response to your letter of April 16, 2002 denying coverage for Clark County Department of
Aviation’s (“Clark County’) claim under FM Global policy No. UA864 (1 October 2000 to 1 October 2003)
(the “Policy”) for loss caused by the terrorist attacks of September 11, 2001. Frankly, | was disappointed
by the superficial and dismissive manner in which you disclaimed coverage of Clark County's legitimate
and substantial claim. Your failure to counter—or even acknowledge—the points raised in my February
22, 2002 letter reaffirms my belief in the strength of Clark County’s arguments for coverage.

While a number of policy provisions, including the Policy's Protection and Preservation of Property section,
Section B. 3. Q., page 15; Contingent Time Eiement Extension, Section C. 3. A. page 30; and
Ingress/Egress Time Element Extension, Section C. 3. C., page 31, support coverage for Clark County's
loss, my February 22 letter focussed on the clear coverage provided by the broad Ingress/Egress
Extension. Although | do not intend to restate the entire content of my February 22 letter, | would like to
draw your attention to some of your letter’s central deficiencies.

First, my letter explained why, under the plain language of the Policy, the civi! authority provisions of
section C.4.4.8. cannot be read as a limitation on coverage under the Ingress/Egress Extension:

“Your attempt to impose the limitations of section C.4.A.8. onto the ingress/Egress
Extension is misplaced and contrary to the language of both those sections. Specifically,
during our meeting and in your November 27 letter, you suggest that there can be no
coverage to Clark County's pending claims because ‘[ajccess to insured premises was
not prohibited or impaired by governmental order because of existing physical loss or
damage at or near proximity of the insured premises.’ The separate coverage provision
you reference (C.4.A.8, at page 35) has no application to the Ingress/Egress Extension by
the express wording of Section C.4.A. itself. The provisions of Section C.4.A. — including
Section C.4.4.8. — unambiguously and expressly do not apply ‘if otherwise provided under
the TIME ELEMENT COVERAGE EXTENSIONS.’ (Policy, p. 33.) The Ingress/Egress
coverage is one of these ‘TIME ELEMENT EXTENSIONS’ and ‘provides. otherwise’ by
providing coverage ‘whether or not the premises or property of the Insured is damaged’
and subject to the ‘number of consecutive days shown in the Limits of Liability clause . . .’
(Policy, p. 31). Accordingly, the circumstances and limitations of Section C.4.A.8. have
no application to Clark County's claim by express Policy terms.”

]

Clark County Board of Commissioners
Dario Herrera. Chairman + Myma Williams, Vice Chair
Yvonne Atkinson Gates - Erin Kenny - Mary J. Kincaid - Chip Maxfield + Bruce L. Woodburn:

 
Case 2:02-cv-01258-KJD-RJJ Document 38-4009 Filed 05/27/04 Page 166 of 352

“Moreover, the Policy cannot be rewritten after the fact to tum the relatively obscure
provisions of Section C.4.A.8. into an exclusionary provision or a limitation on the broad
Ingress/Egress Extension. Exclusions in a policy must be clear and clearly stated. Thus,
‘{a]ny attempt to restrict insurance coverage must be done clearly and explicitly.’ Farmers
ins. Exchange v. Young, 108 Nev. 328, 330 (1992). Similarly, the Policy cannot be
interpreted to limit or nullify the broad promise of coverage under the Ingress/Egress
Extension by imposing the contrary or limiting provisions of Section C.4.A.8. (which,
again, does not even apply to the Ingress/Egress Extension by the express terms of
C.4.A.) See National Union Fire ins. Co. of the State of PA, Inc. v. Reno’s Executive Air,
Inc., 100 Nev. 360, 366 (1984)(‘When a policy has been issued which purportedly
provides coverage but whose exclusionary provisions as interpreted by the insurer would
narrow the coverage to defeat the purpose of the insurance, the policy must be construed
against the insurer.').”

Your letter ignores Clark County's position entirely and, without any explanation, denies coverage based
on a misapplication of “the requirements of the civil authority provision in the policy.” Your silence
suggests that you have no good answer to Clark County's reading of the Policy's actual language.

My February 22 letter also explained that the Policy's requirement that prevention of ingress or egress be
a “direct result” of physical damage does not require an immediate causal connection:

“In our conversations . . . you have exhibited a misconception of the meaning of the
phrase ‘direct result." Contrary to your apparent misinterpretation, ‘direct,’ unlike
‘immediate,’ does not refer to the last cause in a chain of events. The Policy uses the
word ‘immediate’ rather than ‘direct’ to impose the kind of ‘next in line’ requirement you
seem to have in mind. For example, the Service Interruption Time Element Extension
requires an accidental occurrence that ‘immediately prevents’ delivery of services. No
such ‘immediacy’ link is imposed in the Ingress/Egress Extension.”

“By contrast, the Ingress/Egress Extension speaks of a ‘direct result’ that requires only
that the damage to the Werld Trade Center and the Pentagon be the ‘efficient proximate
cause’ of the prevention of ingress or egress. See Chior Alkali Co., Inc. v. National Union
Fire Ins. Co. of Pittsburgh, PA, 863 F. Supp. 1226 (D. Nev. 1994)(explaining that ‘[t]he
efficient proximate cause is not necessarily the last in a chain of events’ and that ‘[t]he
efficient proximate cause doctrine . . . looks to the quality of the links in the chain to
determine which is the predominant cause.’). The efficient proximate cause is ‘the one
that sets others in motion.’ fd. Clark County's losses were clearly ‘set in motion’ by the
September 11 attacks. In other words, Clark County's losses were ‘directly caused’ by
the physical damage to the World Trade Center and the Pentagon. Thus, again, this
coverage component of the Ingress/Egress Extension has clearly been satisfied by Clark
County's pending claim.”

| explained how the shutdown of Clark County's airports was, unquestionably, the “direct result” of
“physical damage” to the World Trade Center and the Pentagon. Your letter ignored what | had to say and
simply made the incorrect statement that ingress and egress “was not prevented as a ‘direct result of
physical damage.” Your bald assertion cannot displace the clear coverage under the actual Policy
language.
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We have given considerable thought to submission of the subject claim and believe that it is a legitimate
and clearly covered claim under the FM Policy. Your letter and our prior meeting have done nothing to
change that belief. Indeed, to the contrary, your failure even to address our coverage analysis, let alone
present any arguments to refute it, provides us with a confirmation of the legitimacy of our claim.

Considering our prior and ongoing relationship, we would like to resolve this matter amicably. Accordingly
Clark County requests that you engage in a meaningful dialogue by considering the positions set out in my
February 22 letter and reconsidering your denial of coverage. | stand ready to meet with you in an attempt
to resolve Clark County's claim on a mutually emicabie basis.

Sincerely,

 

Assistant Director of Aviation, Finance

cc: Randall H. Walker
Rosemary Vassiliadis
E. Lee Thomson
Marc Traasdahl

Mr. Lloyd W. Cutler, CPCU

KELLOG, CUTLER, YENCHEK, LADUKE, HOLMES INSURANCE SERVICES
330 E. Charieston Blvd.

Las Vegas, NV 89104

Mr. Thomas R. Mury

DELOITTE & TOUCHE

Dispute Consulting Services —

695 Town Center Drive, Suite 1200
Costa Mesa, CA 92626-7188

Mr. Rod Fisher

Vice President, Operations Manager
FM GLOBAL

21860 Burbank Boulevard, Suite 300
Woodland Hills, CA 91367

Mr. Gerry L. Alonso, RPA .

Vice President, Western Division Claims Manager
FM GLOBAL

Granite Park One, 5800 Granite Parkway, Suite 600
Plano, TX 75024

Mr. David W. Steuber, Partner

HOWREY, SIMON, ARNOLD & WHITE ATTORNEYS AT LAW
550 South Hope Street, Suite 1400

Los Angeles, CA 90071-2627
Case 2:02-cv-01258-KJD-RJJ Document 38-4009 Filed 05/27/04 Page 168 of 352

EXHIBIT “F”
Case 2:02-cv-01258-KJD-RJJ Document 38-4009 Filed 05/27/04 Page 169 of 352

FM Alva

Factory Mutual insurance Company
21860 Burbank Bivd., Suite 300
Woodland Hills, CA 91367

T: 818 704 1133 F; 818 340 8654
e-mail: jeffrey. casillas@fmalobal com

RECEIVED

May 28, 2002 McCARRAN INTERNATIONAL AIRPORT

Mr. R. Ross Johnsen

Assistant Director of Aviation, Finance MAY 30 2002

Clark County Department of Aviation ~
PO. Box 11005 ASSISTANT Diner og OF AVIATION 10701

Las Vegas, NV 89111-1005

Re: Clark County Department of Aviation
Las Vegas, NV
Loss No. 04309-01-08-01; September 11, 2001
Index No. 79301.53
Account No. 1-33186

Dear Mr. Johnson:

This letter responds to your April 30 letter. Preliminarily, you claim that FM Global failed to
counter or even acknowledge the points raised in your February 22 letter. We disagree. But
FM Global will do so again, focusing in particular on the portions of the February 22 letter that
you address in your April 30 letter.

First, you assert that the civil authority provision cannot be read as a limitation on coverage
under the Ingress/Egress provision. That is not necessary to FM Global's position. Rather,
these are separate and distinct coverage provisions, each with separate and distinct coverage
requirements and application. The facts submitted to date in support of your claim fail to satisfy
the requirements of either provision.

The ingress/Egress provision potentially provides coverage for a business interruption only
where ingress to/egress from an insured location is physically prevented by physical damage of
the type insured. Where, however, access to the insured location is not physically prevented,
but is instead prohibited by order of civil authority, coverage if any, for the resulting business
interruption is provided by the civil authority provision, if its requirements for coverage are
satisfied. In such circumstances, any “prevention” of access is not “a direct result of physical
damage” as would be required by the Ingress/Egress provision. Rather, it is a direct result of
the prohibition on access ordered by the civil authority.

So if there is “prevention” of ingress to or egress from an insured location and the direct reason
for that “prevention” of ingress or egress is an order of civil authority rather than physical
damage, the FM Global policy would respond for a period not to exceed 30 days “provided such
order is the direct result of physical damage of the type insured against under this Policy at the
Insured Location or within 1,000 feet of it." If, however, the order of civil authority was not the
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Clark County Dept. of Aviation Page 2
Las Vegas, NV
D/L: Sept. 11, 2001

direct result of physical damage of the type insured against under the policy at the insured
location or within 1,000 feet of it, the FM Global policy would not respond.

Here, ingress to or egress from the insured locations were never prevented by physical damage
of the type insured. Since there was no prevention as a direct result of physical damage, the
ingress/egress provision cannot apply. Simiiarly, since access to an insured location was not
prohibited by order or of civil authority which was a direct result of physical damage of the type
insured at or within 1,000 feet of an insured location, the civil authority provision does not apply
to the claim.

Second, you assert that the FM Global policy’s requirement that prevention of ingress or egress
be a “direct result” of physical damage does not require an immediate causal connection.
Whatever you might mean by this statement, the policy requires that physical damage prevents
ingress or egress, i.e., that physical damage must be the “direct” cause of the prevention of
ingress or egress. ingress is defined in the dictionary to mean the act of entering. Similarly,
egress is defined to mean the act of going out or leaving. The damage to the World Trade
Center and Pentagon did not prevent people from entering or leaving the Clark County airports.

We note your reference to the Chior Alkali case and the efficient proximate cause doctrine. Our
understanding of the doctrine is that it may be used to determine whether there is coverage
when both covered and excluded perils have contributed to the loss. Under the efficient
proximate cause doctrine, if the predominant cause is a covered peril, the loss is covered by the
policy, even if other non-covered causes contributed to it; if the predominant cause is an
excluded peril, the joss is not covered.

We do not view Clark County's loss as one involving both covered and excluded perils, and thus
we do not believe the efficient proximate cause doctrine applies here. Moreover, efficient
proximate cause does not mean the triggering cause, which is essentially how you have
characterized the damage at the World Trade Center and Pentagon. Instead, it refers to the
predominant cause, which we understand means the most important cause.

Even if we also assume that ingress to and egress from the Clark County airports was
prevented-—a fact that you have not yet established—the damage to the World Trade Center
and Pentagon was certainly not the cause. The damage to the World Trade Center and
Pentagon, occuring approximately 2,500 miles away, clearly did not prevent people from
entering or leaving the Clark County airports. If the damage to World Trade Center and
Pentagon were the cause, there would still be a lack of access to Clark County's airports today
because that damage still exists. Rather, the prevention of access—if there actually was any—
was caused by an order of a civil authority.

Third, in our April 16 Jetter, we advised that FM Global would be pleased to consider any further
information or documentation that Clark County wished to submit on any of the issues

addressed in our letter. You have not provided any additional information or documentation
relating to coverage or the positions you have asserted, so we presume that none exists. If that
is in any way incorrect, please let me know.
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Clark County Dept. of Aviation Page 3
Las Vegas, NV
D/L: Sept. 11, 2001

Finally, you have requested a meeting to engage in a meaningful dialogue relating to the
positions set forth in your February 22 letter. We are happy to meet with you to engage in this
dialogue.

You are respectfully advised that neither this letter nor any conduct related to the matter shall be
construed as a waiver of, nor shall FM Global be estopped from asserting in the future, any
rights or defenses it may have under its policy or any applicable regulation or law. FM Global
expressly reserves all such rights and defenses.

Please contact me if you have any questions.

Sincerely,

Jeffrey C. Casillas
Operations Vice President/
Les Angeles Operations Claim Manager

cc: Mr. Lloyd W. Cutler, CPCU
KELLOG , CUTLER, YENCHEK, LADUKE, HOLMES
INSURANCE SERVICES
330 E. Charleston Blvd.
Las Vegas, NV 89104

Mr. Marc Traasdahl

CLARK COUNTY NEVADA
Department of Aviation

P.O. Box 11005

Las Vegas, NV 89111-11005

Ms. Gwyn Taylor

CLARK COUNTY NEVADA
Department of Aviation

P.O. Box 11005

Las Vegas, NV 89111-11005

Mr. Thomas Mury

DELOITTE & TOUCHE

Dispute Consulting Services

695 Town Center Drive, Suite 1200
Costa Mesa, CA 92626-7188
Case 2:02-cv-01258-KJD-RJJ Document 38-4009 Filed 05/27/04 Page 172 of 352

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EXHIBIT “G”
Case 2:02-cv-01258-KJD-RJJ Document 38-4009 Filed 05/27/04 Page 174 of 352

BY CERTIFIED MAIL: return receipt requested

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RECEIVED
McCARRAN INTL AIRPORT

JUL 05 2002
Factory Mutual Insurance Company ‘
21860 Burbank Boulevard, Suite. 300 ACCOUNTING a -y
Woodland Hills, CA 91367-6493 SUEZ
Tel. (818) 704-1133
FAX (818) 883-0759

Mailing Address: P. O. Box 9270 — Van Nuys, CA 91409

NOTICE OF POLICY TERMINATION

 

June 25, 2002

Mr. Marc Traasdahi, CPA

Manager, Airport Fiscal Services
Clark County Department of Aviation
P. O. Box 11005

Las Vegas, Nevada 89111-1005

RE: Property Insurance Policy UA864
Insured: Clark County Department of Aviation

Dear Mr. Traasdahl:

The Factory Mutual Insurance Company, Johnston, Rhode Island (“FM Global”) hereby provides
notice that the referenced policy, issued to Clark County Department of Aviation, will not continue
for another policy year. In accordance with Nevada law, all coverage will cease and terminate as of
12:01 a.m. standard time on the policy anniversary date of October 1, 2002. FM Global chooses
to exercise its right to not enter into a contract for another year due to our determination that there is
a fundamental divergence between our companies on issues relating to the provision and purpose of
first-party property insurance as well as the application of material policy provisions.

 

Under Nevada law, you have the right to request information relating to the facts on which our
decision to terminate coverage is based. Within six days of receipt of a written request from you,
we will provide any such information accordingly.

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The foregoing is our notice that FM Global will not continue to afford insurance coverage for your
property as of the October 1, 2002 policy anniversary date.

Very truly yours,

Gleb be Lor

Wade A. Pitman, CPCU, ARM
Operations Vice President, Client Service Manager

cc: Mr. Lloyd W. Cutler, CPCU

Kellogg - Cutler Insurance Services
330 E. Charleston Blvd.
Las Vegas, Nevada 89104

Page 2
Case 2:02-cv-01258-KJD-RJJ Document 38-4009 Filed 05/27/04 Page 176 of 352

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EXHIBIT “H”
 

McCARRAN INTERNATIONAL AIRPORT

Case 2:02-cv-01258-KJD-RJJ Document 38-4009 Filed 05/27/04 Page 178 of 352

BY CERTIFIED MAIL: return receipt requested

Jeffrey Casillas 700C 1670 0010 5285 5531
Operations Vice President/

Los Angeles Operations Claims Manager

Factory Mutual Insurance Company

21860 Burbank Blvd., Suite 300

Woodland Hills, CA 91367

Re: Policy No.: UA864
NOTICE OF POLICY TERMINATION

Dear Mr. Casillas:

[ was very disappointed to receive your “Notice of Policy Termination” dated June 25, 2002. As stated
in your letter, under Nevada law, we have the right to request information relating to the facts on which
your decision to terminate coverage is based. This letter is a formal written request for such information.

Sincerely,

Dla poner!

Marc Traasdahl
Manager, Fiscal Services

cc:

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eye?

Randall H. Walker
Rosemary Vassiliadis
E. Lee Thomson

R. Ross Johnson

Mr. Lloyd W. Cutler, CPCU

KELLOG, CUTLER, YENCHEK, LADUKE, HOLMES INSURANCE SERVICES
330 E. Charleston Blvd.

Las Vegas, NV 89104

Mr. David W. Steuber

Partner

HOWREY, SIMON, ARNOLD & WHITE ATTORNEYS AT LAW
550 South Hope Street, Suite 1400

Los Angeles, CA 90071-2627

Darie Herrera, Chairman + Myrna Williams. Vice Chair
Yeoone Atkiasen Gates © Erin Keane + Man i, Kincaid © Chip Masfichl -teace L. Woodher:

a Clark County Board of Commissioners
a n¥

Department of Aviation

RANDALL H. WALKER

ROSEMARY A. VASSILIAOIS

BER OC. OMRCTON

RPOSTSEL Box 1 1S

LAS VEGAS, NEVADA G81 11 HOS
{702) 261-5211

Fax (72) 597-9559

July 2, 2002 CMAN star erie ieascariany
Case 2:02-cv-01258-KJD-RJJ Document 38-4009 Filed 05/27/04 Page 179 of 352

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EXHIBIT “I”
Case 2:02-cv-01258-KJD-RJJ Document 38-4009 Filed 05/27/04 Page 181 of 35

f al

VIA FAX: (702) 597-9553

Factory Mutual Insurance Company
P.O. Box 9270 Van Nuys, CA 91409 USA
T: 818 704 1133 F: 818 883 0759 www.fmglobal.com

July 11, 2002

RECEIVED
Mr. Marc Traasdahl McCARRAN INTL AIRPORT
Manager, Fiscal Services JUL 16 2002
Ciark County Department of Aviation
P.O. Box 11005 AGCOUNTING OFFICE
Las Vegas, Nevada 89111-1005 st

Us

RE: Property Insurance Policy UA864
insured: Clark County Department of Aviation

Dear Mr. Traasdahl:

This responds to your July 2 letter to Jeff Casillas (received by FAX and certified mail on July 8)
requesting information relating to the facts on which FM Global based its decision to terminate
policy coverage on the October 1, 2002 anniversary date.

Our June 25 termination notice refers to the fundamental divergence that exists between our
organizations, FM Global’s business philosophy leverages loss prevention expertise with
significant financial capacity. We must underwrite risks that we fully understand in terms of
quality, loss history, potential frequency, and potential magnitude. Moreover, as a mutual
company, owned by our policyholders, we are obligated to use our resources in an efficient,
economical manner. In our judgment, it is unlikely that any future insurance relationship with
Clark County Department of Aviation could be mutually satisfactory. Therefore, we exercised
our right to terminate the contract at anniversary, in accordance with Nevada law.

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Wade A. Pitman, CPCU, ARM
Operations Vice President, Client Service Manager

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ce: Mr. Lioyd W. Cutler, CPCU
KELLOG , CUTLER, YENCHEK, LADUKE, HOLMES
INSURANCE SERVICES
330 E. Charleston Blvd.
Las Vegas, NV 89104

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Case 2:02-cv-01258-KJD-RJJ Document 38-4009 Filed 05/27/04

September 11, 2001 - The FAA Responds

  
 

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September 11, 2001S

From the takeoff of Flight 17 at 8:00 a.m. to U.S. airspace clear of civil

 

FAA Respo

Page 1 of

  

aviation flights at 12:15 p.m., here are the times of key Sept. 11, 2001, events.

 

0800. American Airlines Flight 11, a Boeing 767 with 92 people on board, takes off
from Boston Logan airport for Los Angeles.

0814, United Air Lines Flight 175, a Boeing 767 with 65 people on board, takes off
from Boston Logan airport for Los Angeles.

0821. American Airlines Flight 77, a Boeing 757 with 64 people on board, takes off
from Washington Dulles airport for Los Angeles.

6840. FAA notifies the North American Aerospace Defense Command's (NORAD)
Northeast Air Defense Sector about the suspected hijacking of American Flight 11.

0841. United Air Lines Flight 93, a Boeing 757 with 44 people on board, takes off
from Newark airport for San Francisco.

0843. FAA notifies NORAD's Northeast Air Defense Sector about the suspected
hyacking of United Flight 175.

0846. (approx.). American Flight 11 crashes into the north tower of the World Trade
Center.

0902. (approx.). United Flight 175 crashes into the south tower of the World Trade
Center,

0904. (approx.). The FAA's Boston Air Route Traffic Control Canter stops all
departures from airports in its jurisdiction (New England and eastern New York
State).

0906. The FAA bans takeoffs of all flights bound to or through the airspace of New
York Center from airports in that Center and the three adjacent Centers - Boston,
Cleveland, and Washington. This is referred to as a First Tier groundstop and
covers the Northeast from North Carolina north and as far west as eastern
Michigan.

0908, The FAA bans all takeoffs nationwide far flights going to or through New York
Center airspace.

0924, The FAA notifies NORAD's Northeast Air Defense Sector about the
suspected hijacking of American Flight 77. The FAA and NORAD establish an open
line to discuss American 77 and United 93.

0926. The FAA bans takeoffs of all civilian aircraft regardless of destination - a
national groundstop.

0940. (approx.). American Flight 77 crashes into the Pentagon.
0945. In the first unplanned shutdown of U. S. airspace, the FAA orders all aircraft

to land at the nearest airport as soon as practicat. At this time, there were more
than 4,500 aircraft in the air on Instrument Flight Rules (IFR) flight plans.

http://www. faa.gov/Sept! | portraits/chronology.cfm

Sept. 11, 2001 He

FAA Portraits

Hundreds of FAA pe
worked to improve
security and restore
aviation after the ski
were closed on Sept
2001. Here are some
their portraits.

Week of September
Week of September

In Their Own War

Memories and thoug
from our employees.

Week of September
Week of September
September 11
Week of September
September 18

Clearing the Skit

Landing so many ple
50 quickly was an
outstanding achiever
A series of articles ir
Today explains the
behind-the-scenes
decisions and action

 

4/14/2004

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September 11, 2001 - The FAA Responds Page 2 of 2

1007. (approx.) United Flight 93 crashes in Stony Creek Township, PA.

1039. Reaffirming the earlier order, the FAA issues a Notice to Airmen (NOTAM)
that halts takeoffs and landings at all airports.

1215. (approx). The airspace over the 48 contiguous states is clear of all
commercial and private flights.

Notes:
All times are Eastern Daylight. For UTC/Zutu/GMT, add four hours.
Flight departures are actual takeoff times, not scheduled or gate departure times.

http://www. faa. gov/Sept] Iportraits/chronology.cfim 4/14/2004
 

 

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"Department, of Rrsation,
. ‘Plaintife, .

| FE FACTORY MUTUAL INSURANCE COMPANY, |  CRRVIFIER,

—— CORY

 

Thursday, April 22, 2004, 10:12 a.m.

Videotaped Deposition of BENEDICT L.
SLINEY, held at the offices of Federal
‘Aviation Administration, ‘One Aviation. Plaza,

. Jamaica, New York, pursuant to Agreement,
. before Elisabeth F. Nason, a Notary Public

" of the State of New York.

JOB NO. 22155

 

_www.attysweb. com

46 Corporate Park, Suite 100 445 South Figueroa St, Suite 2950
Irvine, CA 92606 Los Angeles,CA 90071

phone 877.955.3855
fax 949.955.3854

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Court Reporters and
Legal Technologies

 

 

 

 

 

 
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APPEARANCES:

HOWREY SIMON ARNOLD & WHITE
Attorneys for Plaintiff

550 South Hope Street, Suite 1400
Los Angeles, California 90071-2627
BY: DAVID W. STEUBER, ESQ.

STEPHEN V. MASTERSON, ESQ.

ROBINS, KAPLAN, MILLER & CIRESI LLP
Attorneys for Defendant

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800 LaSalle Avenue

Minneapolis, Minnesota 55402-2015

BY: SCOTT G. JOHNSON, ESQ.

FEDERAL AVIATION ADMINISTRATION
OFFICE OF REGIONAL COUNSEL
Attorneys for Federal Aviation
Administration

One Aviation Plaza, Room 561
Jamaica, New York 11434

BY: MARY M. McCARTHY, ESQ.

 

SARNOFF COURT REPORTERS AND LEGAL TECHNOLOGIES
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THE VIDEOGRAPHER: This is the
videographer speaking, Bill Poznanski of
Sarnoff Reporting with offices in
California. The day is April 22, 2004. The
time is approximately 10:12 a.m. We are on
the record. We are at the offices of FAA
located at One Aviation Plaza, Jamaica, New
York 11434 to take the videotaped deposition
of Benedict Sliney in the matter of County
of Clark plaintiff, and Factory Mutual
Insurance Company, in the US District Court,
District of Nevada, CV-S-02-1258 KJO-RJJ.

At this point, I would ask counsel present
to audibly introduce themselves and who they
represent starting with the attorney taking
the deposition.

MR. STEUBER: Mr. David Steuber. tI
represent the County of Clark, the plaintiff.

MR. MASTERSON: Steve Masterson, also
from County of Clark.

MR. JOHNSON: Scott Johnson from the
law firm of Robins, Kaplan, Miller & Ciresi
representing Factory Mutual Insurance
Company.

MS. McCARTHY: I'm Mary McCarthy. I

 

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represent the Federal Aviation Administration.
THE VIDEOGRAPHER: Please swear in the
witness.

BENEDIcT L. SLINEY, called as
a witness, having been duly sworn by a
Notary Public, was examined and testified as
follows:

EXAMINATION BY

MR. STEUBER:

Q. Will you please state your full name
for the record?

A. Benedict L. Sliney.

Q. As we have introduced ourselves, I'm
David Steuber. We represent the County of Clark
and with me is my partner, Steve Masterson and at
the farther end of the table is Scott Johnson.

He represents Factory Mutual Insurance Company.

He will have an opportunity after I'm finished

with my questions to ask you a variety of

questions should he decide to do so. I just
wanted to basically explain the deposition
process to you. I understand you are a lawyer
and you probably know all of this already.

Let me explain a little bit for you

for purposes of the record. You have just been

 

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sworn in. You are obviously under oath.
Although we are sitting in a comfortable setting
in the conference room, the oath carries with it
the same solemnity and seriousness as if you were
testifying in federal or state court.
Additionally, as you can see to my
right and your left, the court reporter is taking
down everything that is said in the deposition.
So I would ask you to follow a couple of ground
rules with me and I will try to do the same in
terms of speaking audibly, letting one person
speak at a time and not stepping on someone's
lines so to speak. The court reporter can only
take down the comments of one person at a time.
You are also being videographed here.
You are sort of under the camera so to speak.
You will have an opportunity at the end of the
deposition obviously once the court reporter has
put together a transcription of the deposition,
an opportunity to review the deposition
transcript and make whatever changes or
corrections or modifications that you feel are
appropriate. We will have an opportunity,
Mr. Johnson, Mr. Masterson and I have, will have

an opportunity to comment upon any changes that

 

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you make, so that could affect your credibility
to the extent we would need this at the time of
trial.
I guess the last thing I would simply

comment is that if you don't understand a
question, certainly feel free to stop me, ask me
to repeat it, rephrase it so that you can
understand it. What we want today is your best
recollection, your best testimony in response to
questions that you understand. If you don't
understand, let us know. Having said all of
that, I want to also repeat for Ms. McCarthy as
well that I understand you are a lawyer, we are
not here to ask you for a legal opinion. We are
not here to ask you for contract interpretation.
We are not here to ask you for any opinion either
for that matter. We are trying to get at the
facts like Joe Friday on Dragnet, that's
hopefully all I'm going to be asking and all I
intend to ask. Do you have any questions?

A. I do not. That was very clear.

Q. What I would like to do is start by
asking you about your background, start with
where you went to college and we can proceed from

there.

 

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A. The relevant portion of it would begin
before I went to college. I joined the Air Force
in 1964 as an air traffic controller from 1964 to
1968. I was discharged from the Air Force
honorably and hired by the Federal Aviation
Administration in February 1969. I continued my
career as air traffic controller with the Federal
Aviation Administration.

It was during my tenure as air traffic
controller at the New York common instrument
flight rules room that I finished my
undergraduate and attended St. John's University
School of Law to obtain my graduate degree during
my tenure as air traffic controller.

Q. When did you graduate from St. John's
Law School?

A. 1978. I resigned from the agency in
1982 following the strike, not over the strike,
but a year after the strike. Essentially in
2000, when I retired from law and took a position
with the Federal Aviation Administration at the
air traffic control system command center in
Herndon, Virginia, since that time, I have
transferred to New York to be with my family, I

should add. My grandchildren notably. My wife

 

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of course I had with me.

Now I'm employed here in New York as
an operations manager at the New York Terminal
Radar Approach Control Facility.

Q. Let me ask a couple of questions about
that. That's a lot of information. You were an
air traffic controller with the FAA from 1969
until 1982?

A. Yes, and then in again in 1986 --
excuse me, that would be 1985 to '86, then in
1988, I worked for them. In 1990, I worked for
them. I did both jobs. I was an attorney and
was an air traffic controller, maintained my
offices during that span from 1978 through today,
actually until 2000 when I retired from the law
completely.

Q. When you went back with the FAA, you
resigned in 1982, then you went back to be an air

traffic controller in 1985, '86?

A. Yes.

Q. Then again in 1988?

A. Yes.

Q. Then again in 1990?

A. Yes.

Qo. In the entirety of that time frame,

 

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were you an air traffic controller in the New

York area?

A. Yes.
Q. Particular airport?
A. The New York TRACON, which is an

acronym for the terminal radar approach control,
supplies or provides radar air traffic control
services for the entire metropolitan area, which
covers most of New Jersey, portions of
Connecticut, all of New York and expanded area of
air space that would include all major airports
in this area. I was always employed at that
facility in the span we are talking about.

Q. You retired from the law in 2000. I
didn’t pick up when you went to the air traffic
control command.

A. In July 2000, I went to Virginia and
was employed at the air traffic control systems

command center.

Q. Where is Herndon located?
A. Due west of Washington, about 15 miles.
Q. To be an air traffic controller, did

you have to take an examination, is there any
certification for that?

A. The initial training began in the Air

 

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Force where I got technical training with intense
schooling for four months I believe. Once I get
rolling -- it began in the Air Force where I
received intensive training as air traffic
controller. Then worked in various air traffic
controller facilities where you were trained on
the job by someone who is qualified until you are
qualified in the accumulation of facilities, adds
to the breadth of your knowledge.

Then in a similar situation in the FAA
when I was hired by them, they sent me to
Oklahoma City to the academy for a six month
period for education and training. When I
graduated from that facility, I reported to an
air traffic controller facility that I began the
on-the-job process that I described to you
earlier, qualified and then moved on to other
facilities.

Q. What we are talking about now in terms
of going to the six month academy, that would
have been in 1969?

A. Yes.

Q. You went to Oklahoma City. From the
academy, you graduated from the academy and

thereafter went to on-the-job training?

 

 

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A. Yes. At the facility, you receive
general training like a lawyer and then you go
into the specialty, air, either approach
control. It would be an air traffic control
tower or a radar approach control or an air route
traffic control center.

Q. Were you qualified with respect to
each one of those three areas?

A. No, I stayed in the terminal option,
which does not involve the air route traffic
control center. The rest I was qualified in and
radar approach control.

QO. That would be the air traffic
controller tower and the radar approach?

A. Control, yes.

Q. You were certified in both of those

areas, is that the proper way of putting it?

A. Yes, correct.
Q. When in 2000 did you retire from the law?
A. In July 2000, I closed up my law

practice. It took probably two more years to
actually close down the business as I'm sure you
understand, everything doesn't end on the day you
select, so I kept my offices open for two years

after that, but once I reported to the Federal

 

 

 

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Aviation Administration, I had at that point
either given all my cases to someone else, my
partners had taken them over and I reported to
the FAA, so I was done with the law at that point.

Q. You basically were retired from the
law in July 2000 and pretty much immediately
reported to the FAA?

A. Yes, sir. They were gracious enough
to give me a month vacation at the outset of my
tenure with the Federal Aviation Administration
and we went to Europe and enjoyed ourselves.

Q. If you can describe for us, what area
of the law did you practice or what areas of the
law did you practice?

A. I pretty much did anything, but I
didn't do divorce and I didn't do criminal after
a few skirmishes in those areas. Essentially my
practice evolved around securities and
commodities and a brokerage house was my main
client. I practiced in all the federal courts,
and on the exchanges, the NASD, before the SEC,
the AMEX, in various Wall Street entities.

Q. In July 2000 when you were employed by
the FAA in the air traffic controller command

center in Herndon, Virginia, what was your title,

 

 

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what was your position?

A. I was a traffic management specialist.

Q. What responsibilities did you have as
a traffic manager specialist?

A. Traffic management is a process
whereby traffic is regulated so as to comply with
the capacity of the system. We look at all the
traffic in America and where it wants to go and
the route it wants to travel and we essentially
speed control those routes to allow as many
aircraft as we need or can accommodate into the
area that may be under some type of constraint
such as weather, sheer volume or any other type
of closure or any event that would reduce the
capacity of the air traffic system, the national
air traffic system. That's what traffic
management provides.

Q. How long did you serve as traffic
management specialist?

A. I would say it was not many months.
Maybe six, seven, maybe 10 months, sometime
before September -- I could tell you exactly. It
would have been until roughly July of 2001, so
about a year.

Q. What position did you assume after

 

 

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July 2001?
A. I became a national operations manager.
Q. You held that position on September
11, 2001?
A. I did.
Q. Can you compare for us your

responsibilities as an air traffic controller and
your position as traffic management specialist?

A. It would be a matter of scope. A
national air traffic controller is concerned with
the immediacies of keeping aircraft at the
required separation and managing that air traffic
to and from an airport.

Q. On a localized basis?

A. On an actual real time basis talking
to the airplane. The traffic management has
tools at its disposal, which look at all the
aircraft coming from all the systems. Typically
a radar controller only looks at 30, 20 miles of
air space. As you get into the air route traffic
control center, I may look at 100 miles of air
space, but we are charged with the entire
national air space system and regulating that and
we look at the entire country including overseas

flight. We have a system that depicts every

 

 

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flight that is flying now at any time.

Q. Is that also real time?

A. Yes, it's one minute updated. It's an
amalgamation of all the air traffic control
center radars in the nation and I look at a
mosaic of that.

Q. It was a bigger picture of what you
would do as air traffic controller?

A. The big picture, exactly right. It's
a matter of scope scaling down from there
preceding right down to the person who says clear
to land.

Q. You were a national operations manager
from July 2001 around until when?

A. Until I think the end of that year,

probably December or January, I will say January '02.

Q. Then what position did you take?
A. Then I was a division manager for
tactical operations. In other words, I was then

in charge of the national operations managers, I
was put in charge of the entire facility, the air
traffic control system command center.

Q. In early '02, you took over the full
responsibility of overseeing the air traffic

controller system command center in Herndon?

 

 

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A. Yes.

Q. Which would include oversight of all
the national operations managers?

A. Correct.

Q. How many national operations managers
were there in this time frame of 2001, 2002?

A. There were five.

Q. How were the responsibilities among
those five national operations managers broken
down, was it by geographical area or a matter of
whoever was on a particular shift at a particular
time?

A. The national operations manager has
complete authority over the national air space
system during the time that he or she is on
duty. Usually one is on duty at any given time.
If there are two, one is designated as in charge.

Q. How long did you hold the position as
division manager for tactical operations?

A. Probably about seven, eight months.

Q. That would take you perhaps into the
fall, late 2002, something like that?

A. Yes.

Q. Is that when you then left the command

center and moved back to New York?

 

 

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A. Yes.

Q. When you left the command center, what
position did you assume here in New York?

A. At this building, I was the 520, which
is the branch manager for air space and
procedures. I may be off on the exact
nomenclature, but that's the gist of it.

Q. What were your responsibilities in
that position?

A. That would be like the R and D of air
traffic control, research and development. We
look at ways to improve the existing system.

Q. How long did you hold that position?

A. Thankfully briefly. They were
gracious enough to allow me to return to the New
York TRACON where I wanted to go in the first
place despite the odyssey to Virginia. I was
there given the position of the operations
manager at the New York TRACON and the term
national radar approach control. There are seven
operations managers there. He or she is
responsible for the air traffic operations in the
entire New York area for their assigned shift,
Similar to the structure that I described in the

command center.

 

 

 

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Q. You have held that position of

operations manager at New York TRACON for how long?

A. That would be since January or February
of '03.
Q. That's the current position you hold today?
A. Yes, sir.
Q. In your position as operations manager

for New York TRACON, do you report to someone?

A. I do.
Q. To whom or what position do you report to?
A. I report to the manager of the facility.
Q. That would be a division manager as well?
A. No, the structure is different. It is

a unique facility the command center. It's

virtually autonomous and controls the entire
country. The New York TRACON is in a structure
in the eastern region and there is a manager of
the facility who reports to a division manager
here in the region and I report to the manager of
that New York TRACON.

Q. Let me return now to September 11,
2001. Your job title on September 11, 2001 was
national operations manager?

A. That is correct.

Q. You were one of five national

 

 

 

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operations managers as of September 11, 2001?

A. Yes, but I was the one on duty.

Q. I understand that, yes. I believe you
said as national operations manager, you had
complete authority over the entire air traffic
system during your assigned shift?

A. Yes, to ensure the safe and efficient
operation of that system, that was my charge and
Since September 11, they have added secure to
that charge, the safe, secure and efficient
operation of the national air space system.

Q. I believe in one article that I have
read, the person holding that position, the
national operations manager has been
characterized as quote, the chess master of the
air traffic system, close quote. Is that a fair

assessment do you believe?

A. I believe it's the product of hyperbole.
Q. In what respect?
A. It's not a game and the person in that

position on a day-to-day basis deals with fact
and does make moves, but it's not an active
on-going thing. It's more when intervention is
required. The system runs pretty well if you

leave it alone. It's hyperbole, but it's a nice

 

 

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phrase. I read it.

Q. As national operations manager, during
your shift, were there any limits to your
authority?

A. No, not with respect to a lawful order
given to ensure the safe and efficient operation
of the national air space system.

Q. In other words, would it be fair to
say that as events occurred or were eccurring
during your shift, whatever day it would be,
September 11 or any other day for that matter,
you had complete authority subject only to
subsequent review or approval from someone over
you?

A. I was expected to exercise my good
judgement to assure that mandate that I described
to you, the safe and efficient operation of the
NAS, I would do whatever was necessary to
accomplish that. In hindsight, could I be
criticized. I suppose I could. That has not
happened to me maybe by chance or maybe because
the application of thought to fact usually
produces very few incorrect results and that's
what usually happens in that situation.

Q. During your shift, you were the guy on

 

 

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the line?

A. Correct.

Q. On September 11, 2001, to whom did you
report?

A. My immediate superior was at that time,

Linda Scheussler.

Q. She was the division manager at the time?

A. Correct, the subsequent position that I
occupied.

Q. That was my next question. She was

the division manager when you were the national
operations manager and then you subsequently in
early 2002, give or take, that's when you assumed
division manager?

A. That's correct.

Q. In your position as national
operations manager, who reported to you, did anyone?

A. All the employees on an assigned
shift. That would be those traffic management
specialists and supervisors in the -- assigned to
the east, which is the division of various areas
of the country, generally in the eastern portion
and in the west. There is a supervisor for the
west and 10 to 15 specialists working for that

person. There is a supervisor in the east, 10 to

 

 

 

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15 persons working for that person. There is a
unit called severe weather that involves
rerouting air traffic around weather or other
obstructions to the structure. That would be
another 10 to 12 people there. There is also
something we call the special planning TELCON
group that every two hours conducts a telephone
conference with all the major airlines and
facilities in the nation. So about 50 people.
There are additional elements in

there. There is the national business aircraft
association, NBAA. They have a desk in there.
There is the airline pilots, the airlines
maintain a desk in there. There is a military
liaison that connects us to the military in that
building, ostensibly reporting to me on an
assigned shift we are going through. There are
all the support elements, the technician, that's
repair. There is a weather unit that provides up
to date meteorology in the entire country. There
is a NOTAM outfit also that issues notices to
airmen.

Q. All of these people you are talking
about were in the command center?

A. Were in that room.

 

 

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Q. I was going to get into that ina
moment or two about the command center itself and
the room and the physical qualities of that.

What I'm interested in now is the hierarchy if
you will, on your shift. There were a number of
traffic management specialists and how were
responsibilities divided among those traffic
Management specialists?

A. The responsibilities are divided up on
a geographical basis. There is a -- for example,
in the east, there is a New York position that
generally handles the New York airports. There
is a south position that handles Atlanta,
Jacksonville and Miami. There is a position that
works Cleveland and Boston. I'm talking about
not airports -- when I say those cities' names,
I'm talking about air route traffic control
centers, each of them whom have several thousand
miles of air space. So the entire nation is
divided up into specialists who operated areas
that are contiguous to each other, Boston and
Cleveland abut, Washington and DC abut, Atlanta,
Jacksonville and Miami are all connected
somehow. Houston, Memphis. Goes across the

country, Los Angeles. All the centers are

 

 

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divided up to a specialist, who handles traffic
management specialties for that airport.

9. On September 11, 2001, how many
traffic management specialists would be on duty
during your shift?

A. There would be approximately 25 to 30.

Q. Those 25 to 30 would each have a
separate geographic area or would there be
multiple traffic management specialists
responsible for a particular area?

A. A person who is qualified to work in
the east, is qualified to work any of the
positions in the east. Whether it be Boston,
Cleveland or New York, Washington or Atlanta,
Jacksonville, Miami, they would be qualified to
work all those positions. They would be rotated
through all those positions for relief breaks,
lunch. They would be rotated in the west.
Similarly they are divided geographically and the
specialists are all qualified to work in the
west. The severe weather unit wouldn't do that
type of activity, although qualified to do so.
They concern themselves with looking at routes
across the country and adjusting clearances of

aircraft to put them on the routes we want them on,

 

 

 

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Q. At this time what I would like to do
is actually start going into some of the
specifics of what happened on September 11, 2001
and ask you a variety of questions about some of
the specifics. On the morning of September 11,

you reported to work?

A. I did.

Q. What time did you report?

A. I typically arrived at around 6 a.m.
Q. On September 11, did you arrive at or

about 6 a.m.?

A. That's my recollection, yes.

Q. You reported to the command center in
Herndon, Virginia?

A. Yes.

Q. On September 11, did you have an
assigned shift from X time to ¥ time?

A. I had the day shift, which would be
roughly 7 to 3.

Q. Can you recall when you left the
command center on September 11?

A. I left near midnight on that day.

Q. Were you physically present at the
command center all day on September 11?

A. Yes.

 

 

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Q. At this point you have described in
part the command center. What I would like to do
now is maybe go into a little more depth just in
terms of the physical aspects of the structure

itself. Was it a single room for example?

A. Yes.

Q. How big of a room were we talking
about?

A. It's about 40 hectares -- no. It's

probably 100 by 40 with a 25 foot ceiling.

Q. When you are talking about 100 by 40?

A. Feet. It's broken up with operating
consoles arranged in a logical order for people
to work together. On the walls of the room are
seven screens, 10 feet by 12, which I can display
images on. Typically the images concern areas of
the country, weather or air route traffic that we
are looking at. One would always have weather,
know the status of the entire air space system.
On those screens would be displayed that
information.

Q. On September 11, how many people were
in the command center in that one room that we
are talking about?

A. Including the airways facilities unit,

 

 

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over which I didn't exercise authority except to
direct repair of some component, they report to
their own system supervisors, airway facilities.
There were probably 20 of those individuals and
including contractors, which we hire to sustain
computer systems and programs. I would say there
were probably 50 to 60 people on that floor and
the various elements I described to you earlier,
the National Business Aircraft Association, the
airline desk. There is a flight check, there are
a lot of people in there that report to me or
have access to and reports to me for anything
that affects the NAS, the national air space
system.
Q. The total, all those groupings was about
50 to 60 people?
A. That would be my best guess.
Q. Out of those 50 to 60, that would
include the 25 to 30 traffic management specialists?
A. Yes. Well, that figure would be closer to
40, including the supervisors who reported to me also.
Q. On September 11, did the physical
layout of the command center differ from what I
will compare to a normal day?

A. No, not different.

 

 

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QO. The configuration was all the same on

September 11?

A. At the outset.
Q. Did it change during the course of the day?
A. It did. Not the configuration, but

the -~- after the airline crashes eccurred into

the buildings, Ms. Scheussler came out and
indicated that she would organize the staff
elements to assist me in the operational elements
in any way that I required. Pretty much freed up
my desk duties so that I could occupy a position
in the middle of the operating floor with the
operational elements reporting to me on a real
time basis and as often as necessary while

Ms. Scheussler operated staff elements to assist
that process. There were additional 30 people
probably on the floor after this process began
that I just described to you.

Q. In terms of comparing the
responsibilities, Ms. Scheussler basically was
responsible for organizing the operational
aspects of the command center to free you up to
basically run the national air space?

A. She actually has authority over all

the elements, including the part I was

 

 

 

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operating. However, on that day when these
events began to unfold, she stated to me that I
did not have to -- I could relinquish those
duties that involved the telephone essentially
and interfacing with other entities, to
concentrate on the operation and that she would
organize the staff elements to allow me to do so.

For example, I had staff individuals
who tracked all aircraft who were deemed to be
suspicious, which at that point, meant anyone we
were not talking to. They kept that data on the
old grease board, like a school teacher's
portable chalk board and that was staffed by
staff elements who got the data from the
operational specialists.

Q. On a normal day, would Ms. Scheussler
as the division manager, would she have normally
been on the floor?

A. No, she was not on the floor that much
that day, but enough to tell me those things,
that she would be organizing that and then 1 saw
her periodically throughout the day and evening.

Q. But during the course of September li,
it was your responsibility to oversee the safe,

secure and efficient operation of the national

 

 

 

 

 

 

 

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air space?

A. The safe and efficient was the mandate
prior to 9/11, but certainly that was the mandate.

Q. That was your responsibility on
September 11?

A. That was my responsibility, yes.

Q. Were there TV screens on the command
center on September 11?

A. The screens I described to you
earlier. I could display CNN or any other signal

I wanted to on all of then.

Q. Those were the seven screens you
mentioned?
A. Yes, they pretty much gird the room,

you know, across one wall at one and a half

walls.

Q. I think you said those screens were 10
by 12?

A. Yes.

Q. On September 11, were any of these

screens turned to a particular station, was it
turned to CNN for example?

A. Not until the report of an aircraft
hitting the World Trade Center.

Q. That would be the first crash into the

 

 

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tower?

A. Yes, sir. At that point, I put CNN on
two of those screens so they were visible by the
east and the west and any other elements.

Q. After the first crash into the World
Trade Center towers, you switched two of the
screens to CNN?

A. Correct. I didn't do that. I
directed it.

Q. Is it fair to say that like the rest
of America, you were watching the events of 9/11
as they happened after that first crash?

A. Absolutely.

MR. STEUBER: At this time, I would
like to show you a document that I would ask

to have marked as Exhibit 1. This is a

chronology, a time line for September 11

that we obtained from and copied from the

FAA website. If you could just take a quick

look at that.

(Exhibit 1, time line, marked for
identification, as of this date.)

(Handing. )
Q. Have you seen that time line before or

time line like that before?

 

 

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A. I have not seen this time line
before. I have seen the exact time line that
concerns the events that I was engaged in. This
includes other matters that are not within my
purview.

Q. As best as you can tell from the
events that you were involved with, is it a fair

and accurate assessment, Exhibit 1?

A. Yes, it is. Times are approximately
correct.
Q. During the course of my questions from

time to time, I will be asking you questions
relying on this as somewhat of a road map to give
us a sense of where I'm going. Exhibit 1
indicates that at 8:46 a.m. approximately on
September 11, American flight 11 crashes into the
north tower of the World Trade Center. To the

best of your recollection, is that an accurate

statement?
A. Yes, as it says approximately.
Q. Yes, approximately. It was after this

crash at or about 8:46 a.m. that you switched two
of the screens to CNN?
A. At first, no one knew if that was

American flight 11 that hit the Trade Center. We

 

 

 

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knew a plane had hit the Trade Center. We knew
there were high-jackings. We knew that American
11 disappeared from our radar coverage and we
couldn't track him. When the report came from
one of the specialists that an aircraft had
struck the World Trade Center, we do have CNN on
my desk, the national ground stop desk on
television. I had them put that on and they were
depicting that image of smoke pouring from the
Side of the Trade Center. I had that put on two
of the screens and CNN was reporting that a small
plane had struck the command center. It was our
respective opinions looking at it, that it was
not a small plane and, of course, I feared it was
American 11.

Q. You had said I believe that it was
your fear that it had struck the command center.

A. Misspoken. I did misspeak. I said
command center. I meant Trade Center. It's all
those centers.

Q. Let me also ask in terms of your
shift, you mentioned you had a desk, a national
operations manager desk with your own TV screen,
during a normal shift and I will distinguish a

normal shift from what happened on 9/11, but on a

 

 

 

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normal shift, would you normally be sitting most
eof your shift or would you be sort of walking
about the facility, the center room itself?

A. I would be walking about the facility
constantly. That may differ from manager to
manager, but I like to know everything that is
going on at all times.

Q. On September 11, I assume you didn't
spend much time sitting at your desk?

A. Typically I don't and certainly that
day I didn't. I spent no time at my desk.

Q. Were you on the floor so to speak,
were you at the command center when you first
learned that a plane had hit the north tower?

A. Yes, I was there from 6 a.m. until
about midnight.

Q. How did you first learn that a plane
had crashed into the north tower of the World
Trade Center?

A. That was communicated to me by someone

on my staff.

Q. One of the traffic management
specialists?

A. Yes, either that or a supervisor or
someone made us aware that a plane -- we monitor

 

 

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CNN news because you get the most up to date news
first from them. Even often before your own
components in the field report to you, you may
find out something from CNN. Whoever was
monitoring at that time, indicated that we put it
on the screens. I withdraw that. I believe it
was the military liaison who came out to tell me
that CNN was showing an aircraft that crashed
into the World Trade Center. It was he and I
that had that conversation regarding our belief
that that was no small Plane despite the report
on CNN.

Q. It was your belief that it was
American flight 11 although at that time, it had
not been confirmed?

A. It had not been confirmed and to be
frank, I found it hard to believe because I
couldn't conceive of an airline pilot
deliberately crashing a plane into a building,
even if the high-jacker had a gun to his head, he
would have ducked into the East River, the
Hudson. He wouldn't do that. Those people
wouldn't do that. So I didn't believe it was
American 11, but I feared it was because of the

size of that crash when I Saw it. That was the

 

 

 

 

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perplexing part of it at least in my mind.
Q. You mentioned military specialists.
Were there military specialists in the room on

September 11 prior to the first crash?

A. They are stationed there at all times.
Q. In the room actually itself?
A. They are in a secure room that has a

cypher lock, a lock to get in there, because in
that room, we do work of a nature that is
secret. They came from that room and stayed on
the floor for the day. There are several
lieutenant colonels, they are all officers, men
and women also. ‘There was a military liaison
present on the floor from the time of that crash
to my recollection, for the entire day.

Q. When did you first see television
footage of a plane crashing into the towers?

A. You mean the second Plane that hit?

Q. Either the second plane or was there
footage of the first plane you saw?

A. No, it was not on that day I saw a
picture, I don't recall that. I wasn't looking
at that screen. The second one they showed over
and over again and I finally at one point shut it

off because it was causing upset among a lot of

 

 

 

 

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the personnel to see that plane continually run
into the trade center, the second aircraft.

Q. As to the first crash, you picked up
the TV screening, the TV footage if you will,
after the plane had already hit and you saw the
smoke coming from the north tower of the World
Trade Center?

A. Correct.

Q. On Exhibit 1, right below the last
entry that we looked at, it indicates that at
approximately 9:02 a.m., United flight 175
crashes into the south tower of the World Trade
Center. To the best of your recollection, is
that an accurate statement?

A. That is.

Q. You were still on the floor obviously
at the command center when that happened?

A. I was.

Q. Did you actually see the United flight
175 hit the south tower?

A. As depicted on television, yes.

Q. You were watching one of those two big
screens that we were talking about earlier?

A. It was there for me to watch. Was I

watching it, I don't believe so. My attention

 

 

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would be called to it and I don't know if I saw
it on the first one, but I believe I did. It's
hard to recall exactly. They showed it so many
times, that's what I'm Saying. I believe I saw
it when it happened, at least as depicted on
television.

Q. You were watching it with others in
the command center as well?

A. There are duties, there are activities
going on in the fulfillment of those duties, so
to the extent that they are able to see the
television screen, it's hard to avoid. They are
the size of a small movie screen and they are
well-lit ina very visible place up on the wall.
So most people would probably have half an eye on
that.

Q. Exhibit 1 indicates that at 9:26 a.m.,
the FAA bans all takeoffs. Sorry.

A. That's correct.

Q. The FAA bans takeoffs of all civilian
aircraft regardless of destination, a national
ground stop. To the best of your knowledge, at
or about 9:26 a.m., did such a ground stop order
get issued by the FAA banning takeoffs of all

Civilian aircraft regardless of destination?

 

 

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A. Yes, at or about that time. I'm only
quibbling on the exact time because to be frank,
the exact time is recorded. However, I would
have to look at that in my notes on that. I
don't have any notes with me, but that seems
about correct. It was following the second crash
into the Trade Center is how it's in my mind.
After the second crash in the Trade Center, I
ordered the national ground stop.

Q. That was my next question. Did you
issue the initial national ground stop order at
approximately 9:26 a.m. on 9/11?

A. Yes. Just so you understand the
nexus, a ground stop is a traffic management
tool. A ground stop can be of varying scope. It
can be that we just ground stop Los Angeles or we
ground stop a bigger section, so on, so forth.
Specialists with their first line supervisors
concurrence, have the authority to ground stop
any segment of the NAS. No one had ever issued
nor had there ever been a reason for a national
ground stop. That's why that is noteworthy.
That's why it had to come from me.

o. That order, the national ground stop

order, was unprecedented in the sense that it had

 

 

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never happened before?

A. Correct. The national operations
manager is informed of all traffic management
initiatives such as ground stop, but it takes the
form usually that a specialist determines the
need for it in concurrence with the other
elements, including the airlines and the
facilities. He or she communicates their
attention to the first line supervisor who
mentions it to me. In other words, they have the
authority, but it travels up the line. In this
case, it emanated, the national ground stop, from

the national operations manager on that day.

Q. Which was you?
A. Yes, sir.
Q. Did anyone direct you to issue that

national ground stop or did you issue it on your
own authority?

A. I don't like those two choices. No
one directed me to issue that national ground

stop, no one did.

Q. You issued it on your own?
A. I issued it on my own authority.
That's somewhat -- the reason I said I didn't

like that choice is because I listened to and I

 

 

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have available to me the accumulated wisdom and
advice of all those specialists. We regularly
met on that day to discuss alternatives and what
we should do. When it became apparent that there
were essentially missiles flying around, we
decided to -- we stopped aircraft from taking off
first. We did that in a series of movements that
are somewhat depicted here. First we stopped New
York. Then we stopped Boston. Then we
stopped -- although I don't see it here, we
stopped Los Angeles because of the connection
with the Los Angeles flights to be sure we
stopped everything out there. Then we stopped
almost the whole east coast and then the national
ground stopped. The to or through orders are
pretty comprehensive and the center says it
doesn't want traffic to or through its air space,
meaning all flights that want to go to the New
York metropolitan area in the New York case and
all flights that wish to traverse that air space
such as every international flight that would
come west from that position, would have to go
through New York air space to go overseas.

Q. Was it within your authority to issue

this national ground stop order?

 

 

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A. Absolutely.

Q. What did you personally do to issue the
order, did you tell someone? Mechanically what did
you do to issue the national ground stop order?

A. I called my supervisors together and
told them to stop ground -- stop all aircraft

regardless of destination.

Q. They communicated that?
A. To the specialists at first verbally
to every center in the country. The specialists

has at his or her disposal, communication
consoles that can connect them with almost the
entire country at a fingertip. They were
directed verbally to shut down the system, ground
stop everyone and that was followed up by an
advisory that is communicated electronically.

Q. It's communicated to whom electronically?

A. To all the air route traffic control
centers in the nation who then further
disseminate that order to all the facilities
under their jurisdictions.

Q. Somehow it would get to all the
aircraft and all the airports as well?

A. Correct, correct. It would follow

that process I just told you. It follows one

 

 

 

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thread to go to the command center to the New
York center to the Kennedy tower to the aircraft
Or approach control to the aircraft, depending on
the location of the plane.

Q. Did you advise Ms. Scheussler that you
had issued the national ground stop order?

A. Not to my recollection. I certainly
would have briefed her if I saw her come on to
the floor as to what was going on. I would keep
her apprised of everything that was going on both
in my mind and actually.

Q. But you didn't consult with her prior
to issuing that order?

A. I didn't.

Q. Was your decision to order the
national ground stop order the product or result
of the crashes of American flight 11 and United
flight 175 into the World Trade Center towers?

MR. JOHNSON: Objection. Vague,
ambiguous. Mischaracterizes prior testimony.

Q. You can answer.

A. The second crash prompted me to do
something more than we had done and that was -
essentially it was the first and -- the second

crash, the accumulation of those events and all

 

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events on-going. That is to say certainly in my
mind with the number of aircraft we had on that
status board I told you about earlier. There
were varying amounts of planes on there, anywhere
from 10 to 12 as communications were lost from
them or they were on routes that they should not
have been on, all those were suspicious. The
accumulation of that certainly was in my mind.
The second crash was the impetus for me to issue
the national ground stop order.

Q. Exhibit 1 further indicates that at
approximately 9:40 a.m., American flight 77
crashes into the Pentagon. Again, to the best of
your recollection, is that an accurate statement?

A. Yes, it did crash into the Pentagon
American flight, time again. My notes says 43,
but it's close enough.

Q. Again, you were at the command center
when the crash happened?

A. Correct, yes.

Q. Did you learn of the crash pretty much
concurrent with it happening?

A. I was informed -- I had to be informed
of it because I took action following that,

following the information of the aircraft crash.

 

 

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Q. Exhibit 1 next indicates that at 9:45
a.m., quote, in the first unplanned shutdown of
US air space, the FAA orders all aircraft to land
at the nearest airport as soon as practical. At
this time, there were more than 4,500 aircraft in
the air on instrument flight rules IFR flight
plans, closed quote.

To the best of your recollection, on
or about 9:45 a.m., was such a shutdown ordered
directing all aircraft to land issued by the FAA?

A. Yes.

Q. Again sir, did you issue the initial
order shutting down the national air space on
approximately 9:45 a.m. on September 11?

A. Yes.

Q. Did you issue that order much as you
did with respect to the ground stop order that
you just testified about, in terms of the
consultation with your supervisors, your air
traffic specialists, get input from them and then

you made the decision?

A. Yes. Well, in this instance, we had
discussed -- prior to American 77 crashing into
the Pentagon, we had discussed -- by we, I mean

the people I called together in the middle of the

 

 

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floor, which would have not only been my
specialists and supervisors, but the military,
the airlines, the business aircraft owners
association and any other elements that could
provide me with information. During one of those
meetings or following one of those larger
meetings, my supervisors and I discussed what
further steps we could take. We discussed the
option of landing everybody. That was in my mind
and I didn't act on that information immediately,
in other words, following that discussion, but I
had it in my mind, we had discussed it and that I
did mention to Linda Scheussler who had come on
to the floor shortly after that meeting and I
filled her in on what was going on. I indicated
that I'm giving some thought to shutting down the

entire NAS.

Q. NASS is national air space system?

A. National air space system.

Q. Did she concur?

A. Her response was I should do whatever

I thought was necessary operationally.
Q. After American flight 77 crashed, you
thought it was operationally necessary to issue

the shutdown order directing all aircraft to land?

 

 

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A. It was my intention following that
crash that I land all those aircraft and my order
actually was that all aireraft had to land
regardless of destination.

Q. Did anyone direct you to issue that

shutdown order?

A. No.

Q. You made that on your own authority?
A. Yes.

Q. I asked you this with respect to the

ground stop order, I will ask you with respect to
the shutdown order. Was it within your authority
to issue that air space shutdown order?

A. In hindsight, yes. And certainly in
my mind I had no doubt that I had the authority
to do that, although it had never been done
before, so I don't think it had ever come up in
discussion as to the scope of the authority.

Q. Combining this shutdown order
@irecting all flights to land with your prior
ground stop order directing all flights not to
take off, is it fair to say that all air traffic
in the United States national air space was shut
down?

A. In short order, yes. It took a while

 

 

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to accomplish that, much to the credit of the
thousands of air traffic controllers and pilots
and crews and airports in Canada and all of those
people who contributed on that day to put those
aircraft down.

Q. But the intent was nothing would be
coming in, nothing going out in the airports
within the United States?

A. Absolutely correct. There was also an
order -- I would have to lock at the exact time
line that banned any further aircraft from
entering the United States. They were turned
back at the borders, that was earlier. I don't
see it in your document.

Q. In terms of your issuance of the
shutdown order, mechanically did you follow the
Same process as you just described for us with
respect to the ground stop order?

A. Correct.

Q. You collected your supervisors, advised
them of the order and they then disseminated the
information as you described to us?

A. Yes. Some people would say I was loud
and they could hear the orders.

Q. It says on Exhibit 1 that this was the

 

 

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first unplanned shutdown. Let me ask you this.
At the time almost a 35 year veteran or certainly
more than a 30 year veteran of the FAA, had any
unplanned order shutting down national air space
ever been issued prior to September 11?

A. Not to my knowledge.

Q. Again, we are talking about an
unprecedented order in the United States?

A. Yes, sir.

Q. Was your decision to issue the order
shutting down the national air Space, the product
of or the result of the crashes of American 11
and United 175 into the World Trade Center towers
earlier on 9/11?

MR. JOHNSON: Objection to the form of
the question. Vague, ambiguous. Calls for

a legal conclusion.

A. It was part of the equation that was
motivating me to take action on that day.
Certainly, given the enormity of those acts, it
was a significant part, but it was not the sole
reason.

Q. Let me ask you this. Would it be fair
and accurate to say that those crashes, American

flight 11 and United flight 175 into the World

 

 

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Trade Center towers, set in motion the FAA's
subsequent regulatory orders and specifically I'm
talking about your ground stop order and your
order shutting down the national air space?
MR. JOHNSON: Objection. Vague,
ambiguous. Calls for a legal conclusion.

A. I'm not clear on that either. Sorry.
I'm not clear what you are asking.

Q. I'm asking, did those crashes, the
American flight 11 and United flight 175 into the
World Trade Center towers on September 11, set in
motion the FAA's subsequent regulatory orders,
the ground stop order and the order shutting down
the national air space?

MR. JOHNSON: Objection. Vague,
ambiguous. Calls for a legal conclusion.

A. Those were my orders and as I
indicated earlier, the crash itself was the
impetus, but it was the totality of events then
occurring. The amount of unknown aircraft. The
catalyst, if you will, was certainly the second
crash for my ground stop order and the crash into
the Pentagon was certainly the catalyst that
prompted me to do something right then on the

land order. I directed everyone to land.

 

 

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Q. In your mind, could you have justified
those orders, the ground stop order and the order
shutting down the national air space and the
impact on the United States air traffic, without
something tangible to point to and rely on for
the basis of those orders such as the crashes?

A. Those thoughts were never in my mind.

MR. JOHNSON: Objection. Vague and
ambiguous.

Q. Let me ask you in another way. If
only the high-jackings of the flights had been
reported without any resulting crashes into the
World Trade Center towers, would you have issued
the ground stop and shut down orders?

MR. JOHNSON: Objection. Calls for
speculation.

MS. McCARTHY: I think you are getting
into opinion.

MR. STEUBER: So you won't let him answer.

A. Well, look, counsel thinks it's opinion.
I don't want to give any opinion.

Q. Our deal was no opinion testimony, I
will certainly live with that. Exhibit 1
indicates further that at 10:39 a.m., quote,

reaffirming the earlier order, the FAA issues a

 

 

 

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notice to airmen, a NOTAM that halts takeoffs and
landings at all airports. To the best of your
recollection, at or about 10:39 a.m. on September
11, was a NOTAM issued by the FAA halting
takeoffs and landings at all airports?

A. Yes, it didn't halt them, it stated in
that system, the NOTAM system, which is available
to a lot more people than the air traffic control
facilities, but any private pilot, it's stated in
that NOTAM that no takeoffs or landings are
authorized at any civil airport in America.

Q. Did you consider that NOTAM to be a
reaffirmation of your prior ground stop and orders?

A. I considered it just a follow-up removing
any ambiguity of the extent of the earlier order.

Q. Did you issue the order directing that
such a NOTAM be sent?

A. I didn't. That would have been a
normal follow-up to the orders I had given
earlier carried out by specialists who are
charged with those responsibilities that
probably -- actually that NOTAM issuance probably
came from headquarters. Even though issued out
of my facility -- not my facility.

Q. The last time entry on Exhibit 1 reads

 

 

 

 

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that at approximately 12:15, quote, the air space
over the 48 contiguous states is clear of all
commercial and private flights, closed quote.

To the best of your knowledge, had the
air space over the 48 contiguous states been
cleared of all commercial and private fiights at
or about 12:15?

A. At or about that time, yes, sir.

Q. So I'm clear, this meant that until
further order, all of the US airports in the
contiguous 48 states couldn't have any flights
taking off or landing?

A. Barring military or given permission,
we began a process almost immediately after
shutting down the system of granting exceptions
from people to get airborne. There were -- at
least the one that comes to mind is the rescue
helicopter to get people injured in an accident.
The specialist brought that to me and they were
requesting permission to travel to get the
victims and I gave them permission to do that.

Q. But functionally the airports were
shut down?

A. Absolutely.

Q. You mentioned you believed that an order

 

 

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had been issued closing the air space in the Los
Angeles area. What was the Los Angeles area?

A. The Los Angeles center would encompass
LAX Airport and the air space around that,
100,000 square miles air space. We ground
stopped all air space takeoffs in Los Angeles
after New York and Boston because during one of
those meetings, the specialist noted the
connection between the destination of the
aircrafts that crashed or were high-jacked. We
definitely ground stopped LAX even though it

doesn't appear here.

Q. LAX was exclusive, LAX you are talking
about?
A. Why don't you be more specific and ask

me if it included any other airport you were
interested in.
Q. Did it include other airports?
A. Did it include McCaron, no.
MR. STEUBER: I have nothing further
at this time.
MR. JOHNSON: Do you want to take a
break or keep going?
THE WITNESS: The golf course awaits.

EXAMINATION BY

 

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MR. JOHNSON:
Q. I want to ask a couple of general
questions, one that wasn't asked and some people

may not know what the FAA is. Can you tell us?

A. The Federal Aviation Administration.

Q. What does the FAA do?

A. Among other things, it provides --
regulates the national air space system. It also

provides certification in other areas of the FAA,

such as for flight crews, safety inspections, the

new -- what is the new agency.
Q. Transportation safety?
A. Yes. They may have taken some of

those duties, but the part I'm concerned with is
the national air space system.

Q. What is the relationship between the
FAA and the United States Department of
Transportation?

A. The Department of Transportation --
the Federal Aviation Administration is contained
within the Department of Transportation.

Q. There are a couple of photographs on
the wall to your right. Can you identify those
folks?

A. That's Mr. Mineta on the left and our

 

 

 

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new administrator, Ms. Blakey.

Q. Who is Mr. Mineta?

A. He is the Department of Transportation
secretary.

Q. He had that same position on September

11, 2001, right?

A. He did.

Q. The woman you said?

A. Ms. Blakey is the exact
pronunciation. She is new to the Federal Aviation
Administration. She succeeded Ms. Garvey who was

the administrator of the FAA on that date and she
is the current administrator on this date.

Jean Garvey?

A. Yes.

Q. Is safety important to the FAA?

A. It's equal mandate with the mandate
safety and efficient. You can't have one without
the other.

Q. Does safety play a decision in virtually

all of the decisions that the FAA makes?

A, Every decision would be screened for
safety. So yes, even though that may not be the
motivation, certainly you are not going to do

anything that is not safe.

 

 

 

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Q. You mentioned that you had a mandate,
I hope I am stating this correctly. If not,
please correct me -- to ensure the safe and

efficient operation of the air traffic system?

A. Of the national air space system.
Q. Then you were asked about what orders
you could give. You could give orders within

that mandate, is that what you said?

A. That is what I said.

Q. Like the ground stop order being an
example?

A. Yes.

Q. You had made another comment during

your testimony that you had said when it was
apparent that there were missiles flying around,
you stopped aircraft first in New York, Boston,
Los Angeles, the east coast and the national
ground stop?

A. Yes.

Q. What did you mean when you said it was
apparent there were missiles flying around?

A. That they were purposefully directing
planes into buildings or structures or
deliberately destroying them. It seemed to me in

my mind similar to a missile that we had no

 

 

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control over.

Q. You mentioned that in the national
command center, there was a grease board or
status board that you described?

A. Yes, sir.

Q. You were noting flight numbers of
aircraft on there?

A. All aircraft that were deemed
suspicious at that point and suspicious was
defined as anyone not on their proper route or

anyone not on radio communication with us.

Q. This is on September 11, 2001?

A. Yes, sir.

Q. How many planes were on that grease board?
A. It varied as communications would

develop. When a system with three or four
thousand planes in it, there are going to be

some —-- aS a routine matter, are going to lose
communication periodically over segments of their
flights or deviate from their assigned routes for
one reason or another. On this day, given the
crashes into the World Trade Center, all those
flights were defined as suspect and we tracked
them until they were either accounted for or not,

not meant that they had crashed.

 

 

 

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MR. JOHNSON: Mark this as exhibit 2.

(Exhibit 2, article from USA Today,
marked for identification, as of this date.)

(Handing. )

MR. JOHNSON: I have marked as Exhibit
2, an article from USA Today. I'm not sure
the date of the article, but shortly after

September 11, 2001.

Q. Do you remember seeing this article?

A. Yes, sir.

Q. You were interviewed for this article,
right?

A. Yes, sir.

Q. I want to ask about some of the

statements attributed to you and some of the
other things that the article attributes to you.
On page 3 of Exhibit 2, there is a mention that
you learned of a radio transmission quote, we
have some planes, closed quote; is that correct?

A. That is correct.

Q. When did you learn about this radio
transmission quote, we have some planes, closed
quote?

A. Shortly after the first aircraft was

high-Jjacked.

 

 

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Q. That was according to Exhibit 1, that was?
A. Approximately 8:30 is my recollection.

Little after 8:30.

Q. That was American flight 11?

A. That is correct.

Q. Where did that radio transmission come
from?

A. It was reported to me by someone on my
staff on that day that the -- I believe the

Boston center controllers had overheard cockpit
conversation wherein a voice was heard to say we
have more planes, not some planes. That's my
recollection. That is not accurate in my
recollection.

Q. Did you take that to mean that there
may be more high-jackers out there?

A. I didn't know what that meant at that
point. It struck me as chilling. The high-jacks
were not unusual in my experience and there were
a few of them, quite a few of them in the 70's
and earlier. The usual treatment of a high-Jjack
was to isolate them, let them go where they
wanted to go.

They typically land, got money or food

or went to Cuba or exchanged it or did something,

 

 

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but they always resolved peacefully. So those
words, if accurate, and bear in mind, the
information is only received in the blind over an
airway, over a transmitter, they couldn't be sure
if it was them, but to me it was a chilling
statement.

Q. You did have a concern there may be
other planes out there that would be used as
guided missiles effectively, right?

A. Not at that juncture. At that
juncture, my concern was what was the import of
several high-Jjackings.

Q. After the World Trade Center had been
struck not once, but twice, you had a concern?

A. Absolutely. That was one of those
many factors that was in my mind that I alluded
to earlier.

Q. One of the many factors that fed into
your decision to issue the ground stop order, correct?

A. Correct.

Q. And the order to direct all Planes at
the nearest airport, correct?

A. Correct.

Q. On September 11, 2001 after you issued

the ground stop order or the order to land all

 

 

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aircraft, did you have any communications with
either Jane Garvey or Norman Mineta?

A. I didn't.

Q. I see statements they attribute the

decisions to themselves as making those

decisions. Did you see those?

A. Success has many authors.

Q. You are the one who made the order,
right?

A. That is correct, and I didn't consult

Ms. Garvey nor Mr. Mineta, nor anyone, other than
my own staff.
MR. JOHNSON: Mark this as Exhibit 3.
(Exhibit 3, release from Department of
Transportation, marked for identification,
as of this date.)
(Handing. )
THE WITNESS: Do you wish me to read
this, sir?
MR. JOHNSON: Yes.
Q. Let me just ask you if you recognize
the text of this?
A. I don't. I don't know who Victor
White is.

Q. It looks to me like some sort of a

 

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release from the Department of Transportation.
Can you identify as such or not?
THE VIDEOGRAPHER: I didn’t hear you
say who the release was from.

MR. JOHNSON: The Department of

Transportation.
A. I have never seen this nor the text before.
Q. In the second paragraph of the statement

from Mr. Mineta, he says these terrorist acts are
designed to steal the confidence of Americans. We
will restore that confidence, we have already taken
some first steps as a precaution. I ordered the FAA
to ground all air traffic at least as of tomorrow
afternoon. Do you see that?
A. Yes.
Q. Did you view that order to ground all
commercial aircraft as a precaution?
A. I didn't have that in my mind if
that's what you are asking me as a precaution.
Q. Right.
MR. JOHNSON: Mark this as Exhibit 4.
(Exhibit 4, release from the
Department of Transportation, marked for
identification, as of this date.)

(Handing. )

 

 

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Q. Mr. Sliney, I have handed you Exhibit
4. It appears to be another release from the
Department of Transportation dated September 12,
2001. Have you ever seen this before?

A. I have not.

Q. In the second paragraph, it reads, the
Secretary also announced that the FAA is
temporarily extending the ground stop order
imposed yesterday while additional security

measures are being completed. Do you see that?

A. Yes, sir.
Q. Are you familiar with that?
A. I'm familiar with the length of time

that transpired before we allowed any flights to
depart. We did extend the -- mechanically, it's
not exactly that, but this is a press release for
the public. No one was allowed to take off or
land until the Secretary of Transportation or the
Federal Aviation Administration determined
otherwise.

Q. Your order was given on September 11,
2001, right?

A. Correct.

Q. It was in place until sometime on

September 13, 2001, correct?

 

 

 

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A. Pretty much, yes.

Q. Are you familiar with these additional
security measures that are referenced in Exhibit 4?

A. I believe those refer to the screening
of passengers and the security of the aircraft
access. I believe the -- that is to say
maintenance crews and all that. They had to
complete a certain level -- show a certain level
of security before they were allowed to enter the
system again.

Q. There were some security directives
issued after the ground stop order, right?

A. That's not my department, but yes, I
was aware of the increased security requirements.

Q. You have some general familiarity with
them; is that right?

A. Specific in that we were called upon
to look at in detail, the increased requirements
and to make a judgement in the days following as
to who complied with them and then I also had
access to people in headquarters who could help
me make that determination if there was any doubt
in my mind.

Q. Did you have any understanding of the

reason for those security directives?

 

 

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A. Yes.
Q. What were they?
A. My understanding is that we were going

to permit aircraft to fly in the national air
space system, only those aircraft that we deemed
to be secure enough not to become a guided
missile or at least assure us as much as possible
that they would be safely able to be
accommodated.

Q. is it fair to say that the security
directives were intended to reduce the likelihood

of people getting weapons on aircraft for

example?
A. Absolutely.
Q. Reduce the likelihood of another

terrorist attack involving airplanes?

A. Absolutely.

Q. Is it true that airports would not be
certified to resume operations until they
complied with the new FAA security measures?

A. That's correct.

Q. Do you remember the national air space
being open effective 11 a.m. eastern time on
September 13, 2001?

A. I would have. to consult my notes as to

 

 

 

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the exact time. But yes, that does comport
somewhat with my recollection.
MR. JOHNSON: Mark this as 5.
(Exhibit 5, document, marked for
identification, as of this date.)
(Handing. )

Q. Does Exhibit 5 refresh your
recollection as to when the national air space
system was reopened to commercial aviation?

A. It states it was effective 11 a.m.

eastern time Thursday, the 13th of September,

2001.

Q. is that consistent with your
recollection?

A. Yes, sir. You did ask me that.
Sorry.

Q. After the ground stop order, was there

anything that prevented a Plane from taking off

at one of the airports in the United States?

A. After the ground stop order?

Q. Right.

A. Of September 11?

Q. Right.

A. You mean was there any physical restraint?

MR. JOHNSON: Right.

 

 

 

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MR. STEUBER: I will object. I think
it calls for a legal opinion with respect to
the definition of prevent.

Q. Could a plane have taken off?

A. I believe he wouldn't have received an
air traffic control clearance. Could a plane
take off without being detected from an airport.

Q. Or a rogue pilot could have taken off,
right?

MR. STEUBER: Objection. Calls for
speculation.

A. I agree it is possible. If you want
me to say that. It's certainly speculative on my
part.

Q. Doing so would have been in violation
of the FAA order, right?

A. Absolutely. Bear in mind that radar
coverage extends over pretty much the entire
United States. Had an unidentified aircraft
departed, in all likelihood we would have tracked
that and notified the military, who at that point
were actively occupying the sky.

2. Were you aware of any planes that took
off after the ground stop order?

A. I'm aware of one in particular.

 

 

 

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Q. What was that?

A. It was a Fed Ex that a controller
cleared for takeoff out in Great Falls, Montana,
despite the controller's knowledge of the

national ground stop order.

Q. What happened in that particular
Situation?

A. What happened in what respect, sir?

Q. What happened to the plane for example?

A. I don't know.

Q. What happened with the controller?

A. He was subsequently fired and charged

with a federal misdemeanor, for which he was
convicted.

Q. Between the ground stop order on
September 11, 2001 and the reopening of the air
space on September 13, 2001, there were some

flights taking off and landing, right?

A. There were flights that were granted
exceptions, yes -- exceptions I should say.
Q. Some of those were flights taking

supplies to New York City and Washington, D.C.,
correct?
A. There were medical flights. There

were medical categories that we allowed after

 

 

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sufficient inquiry to do that. Actually one of
the interesting ones was I thought the need for

the Federal Reserve to transport checks to

various locations. That was one of the
exceptions.

Q. Was it more than one plane?

A. At that point, in the command center

we set up a telephone circular if you want to
call it that, in one of our large conference
rooms with 15 to 20 telephones and persons to
handle nothing but request for exceptions such as
railroad track inspections and agriculture
planes, myriad of flights all in business.

Q. Were the crisis counselors of American
Airlines allowed to fly to the site of those
crashes?

A. I don't know that for a fact.

MR. JOHNSON: That's all the questions

I have. Thank you very much.

MR. STEUBER: One or two if I may.
BY MR. STEUBER:

Q. Mr. Sliney, you mentioned there were
certain flight exceptions granted on an emergency
basis. Are you aware whether there were any

flight exceptions granted with respect to McCaron

 

 

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A

 

 

Airport or for Las Vegas airports for the shutdown
period between September 11 and September 13?
A. I couldn't say for certain whether
they were or were not. Someone from that airport
did or had or had not made a request. There were
thousands of requests handled by virtually hundred
several people. The ones that were granted were on
a medical emergency basis or some other emergency
basis. In some cases, authority for certain flights
came from headquarters, the higher-ups.
Q. As you sit here today, you are not
aware of any exceptions granted for the McCaron
or Las Vegas airports?
A. I'm not.
MR. STEUBER: Thank you. Nothing further.
MR. JOHNSON: Nothing further.
MR. STEUBER: Thank you very much.
Ms. McCarthy, thank you very much as well.
THE VIDEOGRAPHER: This concludes the
videotaped deposition of Benedict Sliney,
and tape one, which is the only tape. The

time is 11:47 a.m. Going off the record.

 

 

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BENEDICT L. SLINEY
Subscribed and sworn to before me
this day of , 2004.
Notary

 

 

 

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Witness

Benedict L. Sliney

MOTIONS:

 

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For Id.

 

EXHIBITS

Description

time line

article from USA Today

release from Department of
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release from the Department of
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CER TIFIcCAT F&
STATE OF NEW YORK }
ss:

COUNTY OF NEW YORK )

I, ELISABETH F. NASON, a Notary Public

Within and for the State of New York, do

hereby certify:

That BENEDICT L. SLINEY, the witness

whose deposition is hereinbefore

set forth,

was duly sworn by me and that such

deposition is a true record of the testimony

given by the witness.

I further certify that I am net

related to any of the Parties to
by blood or Marriage, and that 1f
way interested in the outcome of
Matter,

IN WITNESS WHEREOF, I have

set my hand this 3rd day of May,

 

ELISABETH

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September !1, 2001 - The FAA Responds

  
   

ea st a

From the takeoff of Flight 11 at 8:00 a.m. to U.S. airspace clear of civil

Page 1 of.

 

aviation flights at 12:15 p.m., here are the times of key Sept. 11, 2001, events.

 

0800. American Airlines Flight 11, a Boeing 767 with 92 people on board, takes off
from Boston Logan airport for Los Angeles.

0814. United Air Lines Flight 175, a Boeing 767 with 65 people on board, takes off
frorn Boston Logan airport far Los Angeles.

0821. American Airlines Flight 77, a Boeing 757 with 64 people on board, takes off
from Washington Dulles airport for Los Angeles.

0840. FAA notifies the North American Aerospace Defense Command's (NORAD)
Northeast Air Defense Sector about the suspected hijacking of American Flight 11.

0841. United Air Lines Flight 93, a Boaing 757 with 44 people on board, takes off
from Newark airport for San Francisco.

0843, FAA nolifies NORAD's Northeast Air Defense Sector about the suspected
hijacking of United Flight 175.

0846. (approx.). American Flight 11 crashes into the north tower of the World Trade
Center.

0902. (approx.}. United Flight 175 crashes into the south tower of the World Trade
Center.

0904. (approx.). The FAA's Boston Air Route Traffic Control Center stops all
departures from airports in its jurisdiction (New England and eastern New York
State}.

0906, The FAA bans takeoffs of all flights bound to or through the airspace of New
York Center from airports in that Center and the three adjacent Centers - Boston,
Cleveland, and Washington. This is referred to as a First Tier groundstop and
covers the Northeast from North Carolina north and as far west as eastern
Michigan.

0908. The FAA bans all takeoffs nationwide for flights going to or through New York
Center airspace.

0924, The FAA notifies NORAD's Northeast Air Defense Sector about the
suspected hijacking of American Flight 77. The FAA and NORAD establish an open
fine to discuss American 77 and United 93.

0926. The FAA bans takeoffs of all civilian aircraft regardless of destination - a
national groundstop.

0940, (approx.). American Flight 77 crashes into the Pentagon.
0945, tn the first unplanned shutdown of U. S. airspace, tha FAA orders all aircraft

to land at the nearest airport as soon as practical. At this time, there were more
than 4,500 aircraft in the air on instrument Flight Rules (IFR) flight plans.

http://www. faa. gov/Sept! 1portraits/chronology.cfm

Sept. 11, 2001 Hc

FAA Portraits

Hundreds of FAA pe
worked to improve
security and restore
aviation after the skis
were closed on Sept
2001. Here are somr
their portraits.

Week of September
Week of September

In Their Own Wor

Memories and thoug
from our employees.

Week of September
Week of September
September 11
Week of September
September 18

Clearing the Skir

Landing so many ple
$0 quickly was an
outstanding achieve:
A series of articles ir
Today explains the
behind-the-scenes
decisions and action

 

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September 11, 2001 - The FAA Responds Page 2 of 2 |

4007. {approx.) United Flight 93 crashes in Stony Creek Township, PA.

1039. Reaffirming the earlier order, the FAA issues a Notice to Airmen (NOTAM)
that halts takeoffs and landings at all airports.

1215. (approx). The airspace over the 48 contiguous states is clear of all
commercial and private flights.

Notes:
All times are Eastern Daylight. For UTC/Zulu/GMT, add four hours.
Flight departures are actual takeoff times, not scheduled or gate departure times.

http://www. faa.gov/Sept | portraits/chronology.cfm 4/14/2004
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EXHIBIT 2
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@:2> PRINTTHIS

Part |: Terror attacks brought drastic decision: Clear the skies

By Alan Levin, Marilyn Adams and Blake Morrison, USA TODAY

Capt. Jim Hosking is stunned as he reads the message from the cockpit printer
aboard United Flight 890. On most days, messages sent to the Boeing 747 are
ordinary: maintenance items or reports of bad weather. On this day, Sept. 11, before
sunrise over the Pacific Qcean, the warning is unlike any he has seen, Hijackings?
Terrorist attack? Taking off from Narita, Japan, just hours before, Hosking, 56,
looked forward to heading home to Los Angeles, where his wife would be waiting.
But reading the message, sent at 9:37 a.m. Eastern Time, the pilot of 34 years
wonders: What the hell happened down there? And then, even more chilling: What's
going to happen up here?

in this two-part
series, USA
TODAY
; reconstructs
J 7 how the
4 | ' - unprecedented
, order to clear
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played out.

 

"SHUT DOWN ALL ACCESS TO FLIGHT DECK." in the cabin behind him sit 243 passengers — all of them
strangers to Hosking. He turns toward first officer Doug Price. “Get out the crash ax,” Hosking tells him.

At the Federal Aviation Administration's command center in Herndon, Va., air traffic Managers also struggle to
make sense of what's happening.

Already, terrorists have detiberately flown two jets into the World Trade Center. The hijackings are unlike
anything anyone has seen. In the past, hijackers commandeered passenger jets for political reasons. Pilots
were told to cooperate with them, to take the hijackers wherever they wanted to go.

Today, the hijackers don't want to go anywhere. They just want the jets.

At the FAA's command center, managers can think of only one way to stop them. Minutes after another jet
smashes into the Pentagon at 9:38 a.m., the managers issue an unprecedented order to the nation’s air traffic
controllers:

Empty the skies.
Land every flight.

Fast.

 

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USATODAY.com - Part I: Terror ...acks brought drastic decision: Clear the sk... Page 2 of 11
No one can be certain how difficult this task will prove.
But for an air traffic contro! system sometimes paralyzed by a patch of bad
weather, the order seems overwhelming. Almost 4,500 planes will have to
land within hours, many at airports hundreds of miles from where they were
headed.
The situation could be worse. On this day, the weather is pristine over most
of the nation. And the early hour means most West Coast flights haven't even
taken off.
a . . . :

By Robert Hanashiro, USA TODAY Sui, the skies have never been emptied before, and controllers, pilots and
On Sept. 11, 2001, United Airines  4Viation officials have never faced such pressure. Rerouting so many flights
Captain Jim Hosking received a seems a logistical nightmare with no margin for error.
message during a flight from Japan
as nen a toh iat attack against And no one knows how many terrorists might stl be in the air. During these
United Airtines and American hours, those who run the nation's aviation system will come to believe as
Airlines aircraft. We are advised many as 11 flights have been hijacked.
there may be additional hijackings in
the night deck, Oto teclsbrate _ This is the story of the four most critical hours in aviation history — an ordeal
further.” that began at 8:15 a.m., when the first indication that something was wrong

came during a telephone call to American Airiines.
8:15 a.m.: 3,624 planes in the sky
Intruders in the cockpit
The call doesn't make any sense. Not at first.

Key times At American Airlines’ operations center in Fort Worth, manager Craig Marquis
talks to a reservations agent in North Carolina. The agent isn't sure what to

8:46 -- American Airlines Flight 11 do.

hits the north tower of the World

Trade Center On another fine, th is speaking with a flight attendant who's in the ai

9:03 — United Airlines Flight 175 n another fine, the agent is speaking with a flight attendant who's in the air

hits the south lower. but can't reach the pilots on her jet. The agent wants to transfer the call to

9:03-9:07 — New York and Boston Marquis but the phone system won't let her. So she begins to relay messages
regions’ air traffic control officials coming from the back of American Flight 11, a Boeing 767 heading fram

slop takeoffs and landings. The Boston to Los Angeles.

New York Port Authorily closes

Newark International Airport.

9:08-9:11 -- Departures are Aboard, flight attendant Betty Ong tells what's unfolding.

stopped nationwide for aircraft

heading to or through New York . .

and Boston regions® airspace. Marquis, a blunt-spoken veteran, isn't sure what to make of the call. Is the

9:25 — Federal Aviation woman even a flight attendant? he wonders, He checks his computer as he

Administration stops takeoffs listens on the phone. There she is. Betty Ong. And she is on that flight.

nationwide.

9:35 —- United Airlines Flight 93 1 . .

begins unauthorized climb, raising Ong can’t contact the pilots, the agent says. That's why she’s calling. Why

concerns it has been hijacked. doesn't she just walk up to the cockpit and bang on the door? But as he

9:38 — American Airlines Flight 77 listens — as Ong, in hushed tones, tells of a passenger dead anda

aoe ms alte ike to crewmember dying, of the jet's erratic path and intruders in the cockpit —

: _ orders a Wer t . 7

land as soon as possible. Marquis realizes that Ong can do little.

9:59 — Trade Center's south tower

collapses The flight has been hijacked.

10:06 — United Airlines Flight 93

crashes in Shanksville, Pa. . . .

10:29 —North tower collapses. As Marquis, 45, considers whal he can do, air traffic controllers at the FAA's
Boston Center reach the same conclusion, Flight 11 has stopped talking. Its
pilots don't respond to calls: its transponder signal has disappeared. Worse,
controllers report hearing a man with a strange accent in the cockpit.

"We have some planes," he says through an open mike. “Just stay quiet and you will be OK."
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USATODAY.com - Part I: Terror awacks brought drastic decision: Clear the skivo Page 3 of 11

Could more hijackers be out there?

In the FAA's command center in Herndon, Ben Sliney learns of the radio transmission. The words will haunt
him all morning. "We have some planes.”

Some? How many?

Sept. 11 is Sliney's first day on the job as national operations manager, the chess master of the air traffic
system. The New Yorker, a lawyer who once sued the FAA on behalf of air traffic controllers, now walks the
floor of the center — a room that resembles NASA's Mission Control.

Loud and forceful, Sliney fits the mold of others there. After managers at the
center were criticized for not taking enough action te prevent record flight
delays in 1999, the specialists were urged to speak freely during crises. That
way, those in charge would have the information they needed to make sound
decisions. On this day, that policy wil! be put to the test, and the center is
deafening, like the New York Stock Exchange when everyone's trying to sell.

"We have some planes..."

   

Stliney can't shake the words. Are there more hijackers out there?

By Tim Dillon, TODAY 9:30 a.m.: 3,786 planes

Ben Sliney, the national operations

manager at the FAA's command “Wow, look at that!"
center in Herndon, Va., was an duty

at the center on Sept. 11.

In the FAA's largest air traffic facility in New York state --~ a warehouse-like
structure on Long Island, an hour east of Manhattan — manager Mike McCormick rushes to the banks of radar
screens where controllers are trying to track Flight 11.

The former Marine presses his cordless phone to one ear as he talks to officials ai other facilities in the New
York area. But the other ear is doing most of the listening -—- to the radio reports of pilots who are watching the
jet’s progress.

Over New York, Flight 11 has begun to descend. Not into JFK or LaGuardia or Newark International Airport but
into the city itself.

it must have electrical problems, he thinks. That's probably why the transponder is off. McCormick calls
another air traffic center that hands off flights to New York's three major airports, Flight 11, he warns, might try
an emergency landing.

in Fort Worth, Gerard Arpey, American Ainine’s executive vice president for operations, hears about the Ong
call and the strange transmissions from Ftight 11. In his 20 years with American, Arpey, 43, has grown used lo
stories about misbehaving passengers — the drunks and disorderlies that airlines encounter. But this, he
thinks, this seems more than that. This sounds real.

He tries to reach his boss, CEO Don Carty, but Carty isn’tin yet. Then he heads to the airline's command

center, where top operatians officials gather only in the event of an emergency. They're aff here, Arpey thinks
as he walks through the door.

All but Craig Marquis.

Just down the hall, in the airline's operations center, Marquis hasn't left the phone. Stil listening to the relayed
words of Ong, he works to calculate how much fuel the jet carries. That way, he may be able to predict where

the hijackers will take the flight. But at 8:46 a.m., the North Carolina agent abruptly loses Ong's call. Marquis’
calculations no longer matter.

At Newark's tower, just across the Hudson River from Manhattan, controller Rick Tepper, 41, stands at a
console behind a group of other controllers.

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There, he answers phones and troubleshoots problems. He and the other controllers often wear jeans and polo
shirts. The attire belies their intense work ethic.

When Tepper looks past the controllers, he sees it aut the window: a mushroom cloud rising from the World
Trade Center's north tower,

"Wow! Look at that,” he says to no one in particular. Flames shoot from the building. "How are they going to
put that out?”

He didn't see what caused the explosion, but on the chance that il was a plane, he begins calling airports
nearby.

"Did you lose anybody?” he asks over and over. No one has.

Then, a phone rings: the "shout line,” set up for speedy calls among controllers in the region. Tepper answers.
"We've lost an aircraft over Manhattan,” someone at the New York center says. “Can you see anything out
your window?"

"No, | don't see anything ...” Tepper pauses. "But one of the towers, one of the trade towers, is on fire.
"Y'll call you back.”

9 a.m.: 4,205 planes

“This is not a drill!”

At the New York center, McCarmick struggles to keep up with the barrage of information, most of it annoyingly
vague.

That must have been American 11, McCormick thinks. Could it be terrorism?

Just three days before, celebrating his 45th birthday, he had taken his 8-year-old son Nicholas to the Trade
Center. There they stood, toes touching one tower, peering toward the sky.

Now he trtes to frgure out why an airliner would've hit the building. Just before American disappeared,
controllers heard an emergency beacon. From what? McCormick wonders. And controllers can't find a
helicopter that has disappeared from radar over the city. Did it hit the Trade Center, too?

In Herndon, national operations manager Sliney receives word from officials in New York: A small plane has
crashed into the Trade Center. One of the room's 10-by-14-foot TV monitors comes to life with CNN, Black
smoke gushes from the north tower. The hole is huge. And the smoke!

That was no small plane, Sliney thinks.

At United Airlines headquarters outside Chicago, Andy Studdert rushes to the airline's crisis center, a

windowless room with a large screen on one wail. To those who work there, the room resembles the bridge on
Star Trek's starship Enterprise.

“Confirm American into the Trade Center!"

Workers don't need to look up to recognize the booming baritone of Studdert, 45, the airline's chief operating
officer.

Ten days earlier, he had popped a surprise drill on the staff. He told them a flight over the Pacific had suffered
a potentially disastrous engine failure and radio contact had been lost. For 30 minutes, workers believed the
story. Then Studdert told them the truth.

On this day, he makes certain everyone knows the stakes. "This is not a drill!” he shouts, but the staff already

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knows.

What they are about to tell Studdert is even worse than whal brought their boss to the crisis center. Controllers

have lost radio contact with a second flight — a United jet that, like American Flight 14, took off from Boston
bound for Los Angeles.

On the giant screen at the front of the room, airline workers can only watch as United Flight 175, northwest of
New York, heads toward Manhattan.

Then ... it vanishes.

"There was another one!"

In the Newark tower, the shout line rings again.

Where's United Flight 175? “Can you see him out the window?" the caller asks Tepper, the Newark controller,

Beyond the New Jersey shipyards, Tepper spots the jet flying north, up the Hudson River. His eyes track it
toward the Manhattan skyline. It's moving fast. Too fast. And rocking. Its nose points down in a dive and now

it's banking left and then right and moving as Tepper has never seen a jet move and then it starts to teve!
and ....

“Oh my God! He just hit the building," Tepper tells the caller.

In Herndon, a shout: "There was another one!" and the giant TY monitor glows orange from the fireball. Scores
of workers gasp, as if sucking the air from the room.

ff can't be a second one. At the New York control center, McCormick's deputy, Bruce Barrett, sits incredulous
at the watch desk, the facility's nerve center.

For a moment, Barrett can think only of his daughter, Carissa, who works in Jower Manhattan. Could she be
visiting someone at the Trade Center? Then he sweeps the thought from his mind. Stay ca/m, he tells himself.

Someone has to. Controllers who had been watching TV in the break room
are rushing onto the floor. They saw the jet hit the other tower. Is there really
any question what he should do?

"We're declaring ATC zero,” he tells air traffic managers. McCormick
approves the order. Clear the skies over the region.

If they have overreacted, the decision could ruin both their careers. But after
what they just witnessed, they give little thought to asking for permission. A
call to Washington could take minutes, and they aren't sure they have that
long. They aren't certain of anything, except that they need to do something.

   

By H. Darr Beiser, USA TODAY .
As Broce Barrelt gave the order for = & handful of managers spread the word to controllers. it doesn't seem like

"ATC Zero” in the Northwest, he enough, Barrett thinks, but it's the most he can do.
worried about his daughter working

in Manhattan. The time: 9:03 a.m.

A radical decision

On its face, the order seems incredible. Not a single flight in or out of New York? Some of the nation's biggest
airports shut down?

Controllers had gone to “air traffic contral zero" before, but only when their radar shut down or their radio
transmitiers went silent. The planes kept flying then, and controllers in other centers guided them.

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This lime, ATC zero means something far more drastic. It means emptying the skies — something that has
never been attempted. And not just the skies over Manhattan. Controllers must clear the air from southern New
England to Maryland, from Long Island to central Pennsylvania — every mile of the region they control.

The move reverberates through almost every part of the nation. Controllers from Cleveland to Corpus Christi
must reroute jets headed to the region and put some in holding patterns.

In the windowless room of the New York control center, Barrett, at 56 one of the facility's most senior
managers, scans the faces of the other managers. Most pride themselves on their macho, can-do attitudes.
Cool under pressure. Calm during the worst. But this ... who has prepared for this? In the dim light, Barrett
sees thal they're looking at him strangely, as though they can’t believe what he's saying.

One controller begins to sab and shake. "t don’t understand how come I'm reacting like this,” the controller
Says. It reminds Barrett of the traumatized troops he saw as a photojournalist in Vietnam.

You're scared, Barrett thinks, but he can't afford to be. He needs to concentrate. To focus. But his phone! It

won't stop ringing. Everyone wants to know what's going on, including his wife, Denise. She asks about their
daughter.

"| don't have time to talk to you,” Barrett tells her. "Just cail and find out if she’s OK.”

The white board

Al the FAA's command center in Herndon, attention shifts from the weather maps and the radar displays.
The new focus: a white dry-erase board propped at the front of the room.

On it, staffers have begun to scribble the cali letters of every flight that controllers around the nation fear might
be in the hands of hijackers.

Weather experts and the specialists who normally work on reducing flight delays have been drafted to
investigate. They badger airlines to find out whether anyone knows what's happening aboard a number of
flights. On this day, the routine glitches of the air traffic system — a missed radio call, even a pilot who seems
uncooperative — raise suspicions. Unless a controller or airline official can assure them the glitch is simply
routine — that the captain is responding and everyone is safe — the flight's letters won't be crossed out.

The phone bridges between air traffic facilities have become emergency hotlines of sorts, and the reports of
possible hijackings — many of them sketchy — flow ata frenetic pace.

As Sliney, the operation's manager, moves around the room, a handfut of air traffic specialists follow. Together,
they have decades of experience, and no one hesitates to share an opinion. But without good information,
Sliney knows that any decision might be risky. Amid the shouts and chatter and conflicting reports, he reminds
himself: Don't jump to conclusions. Sort it out.

Now, during a massive conference cail among air traffic facilities, officials in Herndon learn about a third jet that
might be in the hands of hijackers: American Airlines Flight 77, bound for Los Angeles.

The jet departed from Washington's Dulles International Airport. It stopped talking to controllers somewhere
near the Ohio-Kentucky border. Moments later, it disappeared from radar. Its call letters join the list on the
white board — a fist that will eventually swell to 11.

But why? What is this about? Across the nation, controllers and airline and aviation officials struggle to
understand,

These weren't typical hijackings. Terrorists weren't seeking political asylum or 2 trip to Havana. They were
using the two jets as guided missiles. They meant to hit the World Trade Center. No question about that.

Most of the pilots in the air don't know what has happened. Or why. How could they? Officials on the ground
are still trying to make sense of it.

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Pilots have always been trained to cooperate with terrorists, to do whatever they want in order to save fives.

That means a crew probably won't fight back, at least not at first. And who knows how many other flights have
terrorists aboard?

Again, Sliney hears them: the words thal came from Flight 11.
"We have some planes."

9:15 a.m.: 4,360 planes

Unprecedented decisions

From the moment air traffic managers McCormick and Barrett start to clear the airspace over New York,
government and airline officials across the nation — almost in unison — begin to take similar, unprecedented
steps.

In Fort Worth, American operations managers huddle, talking breathlessly about their options. They already
have lost one flight. And now, Flight 77 has disappeared. Do they have a choice?

Manager Marquis’ voice booms over the loudspeaker. "Anything that hasn't taken off in the Northeast,” he
says, "don't take off.”

At the FAA's command center in Herndon, officials worry about what might be unfolding. Maybe there's
another wave of hijacked jets coming off the West Coast. And what about the international flights?

The center halts takeoffs of all flights bound for New York and New England. Then officials stop takeoffs for
any flight headed to Washington, 0.C. Moments later, they freeze takeoffs headed to Los Angeles, the
destination of the two hijacked flights that crashed into the Trade Center. Then to San Francisco.

The orders will keep hundreds of flights on the ground. As in surgery, each step clamps shut another artery of
the air traffic system.

But the moves aren't strong enough for some of the air traffic specialists at the center, who bombard Sliney
with advice.

"Just stop everything! Just stop it!"

The words ring true to Sliney. It doesn’t matter who said them — with the noise in the room, it's hard even to
know. But stopping everything, he thinks. That makes sense.

At 9:25 a.m., with Flight 77 still unaccounted for, Sliney issues another order that no one has ever given: full
groundstop. No commercial or private flight in the country is allowed to take off.

The decision is sweeping, but Sliney has no doubt he has made the right call. And if he's wrong? At least he
has erred on the side of safety. If higher-ups want to second-guess him, so be it. He has left the agency before
to practice law, and he knows if he has to depart again — if someone thinks he's screwed up — he can leave
with no regrets.

What he doesn't know — what no one knows — is how crucial this order to ground planes will prove when
contrallers are asked later to clear the skies.

9:25 a.m.: 4,452 planes
Watch and wait

in the New York control center, Bruce Barrett wonders what lies ahead, Scores of overseas flights are heading
to New York. Though many are hours from landing, rerouting them from the now-closed airspace will be far
more difficult than clearing the skies over the area had been.

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Over land, controliers can see jets on radar and reach them by radio. But those tools are useless beyond a
200-mile band near the shoreline. The New York center's oceanic controllers must use a complicated system
to guide jets, They estimate a jet's position and issue commands to a private company, which relays them to
the jet. If the jet doesn’t follow a command, controllers might never know.

Barrett already has told the oceanic supervisor to turn every jet away from U.S. airspace. The primary option:
Canada.

“Are you sure this is whera we want to go?" the supervisor asked.

Yes, he was certain. But now, he learns that Canadian authorities are not. An official there tells the supervisor
that Canada cannot accept all the arrivals streaming across the North Atlantic.

“Just be emphatic,” Barrett tells the supervisor, "and tell them they're not coming here."

in Herndon, Sliney considers his options. Do something. Make a decision. That's the credo of the air traffic
controller. Make a decision.

But what? What should he do? Already, they have stopped takeoffs nationwide. What else can they do? Land
every plane?

Throughout the morning, few had agreed what the right move was. Officials in Herndon initially questioned
whether managers in New York had overstepped their authority when they cleared the airspace there, But all
of the moves had proved right. And now, a consensus is building: They should land every plane.

Then, just before 9:30 a.m., a report comes from a controller at Washington Dulles international Airport. She
has a jet on radar, heading toward Washington and without a transponder signal to identify it. It's flying fast,
she says: almost 500 mph. And it's heading straight for the heart of the city. Could it be American Flight 77?

The FAA warns the Secret Service. Fighter jets from Langley Air Force Base in Virginia race toward
Washington. They won't get there in time.

‘Get to the nearest airport’

On his way to the office in Fort Worth, Don Carty, American’s CEO, talks on his cell phone. Flight 77 has
vanished, he is told.

He was at home when Flight 11 hit the Trade Center. The TV in the kitchen was on. "Could that be your
airplane?” hts wife asked. Her face went pale.

Carty, 55, told her no. No, of course not; it couldn't have been. But even he didn't believe what he was saying.
By the time Carty reaches the office, a jet is bearing down on Washington. Is it Flight 77? 4 groundstop will
keep flights from taking off. But what about the ones in the air? he wonders.

At the airline's operations center in Fort Worth, vice president Arpey takes charge. "I think we better get

everything on the deck,” Arpey says. What the heil am | doing? he thinks, but Carty concurs when he arrives
minutes later.

"Do it,” he says, and Arpey puts the order out to land every American plane.

At United headquarters in Elk Grove, i, operations head Studdert issues a similar order. "Tell them lo get to
the nearest airport they can.”

Before this day, no airline has ordered all of its planes from the sky.
"Where's it going?*

At FAA headquarters, less than a half-mile from the White House and Capitol, Dave Cancles paces before a

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speakerphone.

The head of air traffic investigations, Canoles has set up phone connections with air traffic facilities. As
different regions come on the line, the reports of suspicious planes accumulate. We might be at war by

afternoon, Canoles thinks. The FAA had better be ready. Already, some air traffic centers had considered
evacualing. Canoles told them to stay put.

Now, about 9:35 a.m., he and others on the conference call listen as an official watching @ radarscope tracks
the progress of the jet heading for Washington.

Canoles sends an investigator who works for him to an adjoining office with a view to the west. “See if you can
spot it,” he tells him.

"Six miles from the While House,” a voice on the phone says.

Canoles glances outside, through a window facing north. He wonders if he and his co-workers are in danger.
At 500 mph, the jet is traveling a mile every seven seconds.

"Five miles from the White House.”

No way the FAA is a target, Canoles thinks. /t can't be.

"Four miles from the White House.”

They'd never choose fo hit us, No way.

“The aircraft is circting. It's turning away from the White House.”

Where? Where's it going?

Then: “It's gone."

In the adjoining office, the investigator spots smoke to the west of the city.
The jet has hit the Pentagon. The time: 9:38 a.m.

‘Order everyone to Jand'

For the last 30 minutes, since the second Trade Center tower was hit, Sliney has considered bringing every
flight down. Now, the manager in charge of the nation's air traffic system is certain.

He has no time to consult with FAA officials in Washington.

The skies are filled with guided missiles, he thinks. Filled with them. The words he cannot shake have proved
true. The hijackers did have more planes.

"Order everyone to land! Regardless of destination!” Sliney shouts.

Twenly feet away, his boss, Linda Schuessler, simply nods. She had organized the command center earlier
that day, trying to create order from the chaos so Sliney could focus on what had to be done,

“OK, let's gel them on the ground!" Sliney booms.

Within seconds, specialists pass the order on to facilities across the country. For the first time in history, the
government has ordered every commercial and private plane from the sky.

9:45 a.m.: 3,949 planes

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A misunderstanding

in Washington, FAA Administrator Jane Garvey and her deputy, Monte Belger, have been moving back and
forth between a secret operations center and their offices.

Throughoul the morning, staffers have kept Garvey and Belger apprised of Sliney's decisions.

Now, they tell them of the order to clear the skies. With little discussion, the
FAA leaders approve.

Minutes later, Transportation Secretary Norman Mineta calls from a bunker
beneath the White House, where he has joined Vice President Cheney.
Belger explains that the FAA plans to land each plane at the closest airport,
regardless of its destination.

Mineta concurs. FAA staffers, following the conversation over the
speakerphone with Belger, pump their fists. Then the conversation sours.
By Paul Whyte, USATODAY Mineta asks exactly what the order means.
FAA Administrator Jane Garvey
approved the order to clear the Belger says pilots will retain some discretion. All the FAA deputy means is
Skies. that under long-standing aviation regulations, pilots always have some
discretion in the event of an emergency aboard their aircraft. But the
secretary assumes the FAA is not being tough enough. "F—- pilot discretion,” Mineta says. "Monte, bring down
all the planes."

   

Ready for a fight

Aboard United Flight 890 over the Pacific, Capt. Hosking and another pilot, Doug Price, wait anxiously for
news.

A third pilot, "Flash" Blackman, sleeps in the bunkroom in the cockpit of the 747, unaware of what's unfolding.
"Why don't we just fet him sleep?” Hosking suggests. Price, set for the next break, agrees.
"| couldn't go to sleep if | wanted to,” Hosking says.

The message about the hijackings arrived only minutes ago, bul the two already have decided: Hijackers are
aboard their flight.

They don't know that for sure. But they decide to believe it, if onty to keep the jet safe. For years, they had
been instructed ta cooperate wilh hijackers. No longer. This time, they won't give up without a fight, not when
they know someone might try to hijack the jet.

Quickly, they wedge their bags between a jump seat and the flimsy cockpit door. The door opens inward and,
with the suitcases there, no one can budge it. Not without a lot of effort.

And if someone does manage to get through the cockpit door?

Price wil be waiting as Hosking flies the jel. He has the cockpit’s hatchet-sized crash ax in hand, along with
orders to use it.

“If sameone Iries to come in that door, | don't want you to hurt him,” Hosking says. "Kill him."

fuesday: Searching for more hijackers

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EXHIBIT 3
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Victor White

From: DOT NEWS Services [DOTNEWS@listsary.dot. gov] on behalf of Kunkle, Jennifer (dd)
[Jennifer.Kunkie@OST.DOT.GOV}

Sent: Tuesday, September 11, 2001 8:21 PM

To: DOTNEWS@)mdspub01 dot. gov

Subject: Statement of Secretary of Transportation Norman Y. Mineta

Tuesday, September 11, 2001
7:30 p.m, (EST)

Contact: Chet Lunner

Tel.: (202) 366-4570

DOT 93-01

Statement of Secretary of Transportation Norman Y. Mineta

One of the most cherished American freedoms is the freedom of movement, the
ability to move freely and safely, Today that freedom has been attacked, We
will restore that freedom throughout the national transportation system as
soon os possible, And we will restore the highest possible degree of

safety.

These terrorist acts are designed to steal the confidence of Americans. We
will restore that confidence. We have already taken some first steps. Asa
precaution, I have ordered the FAA to ground all commercial air traffic
until at least tomorrow afternoon,

After the attacks, some of our aircraft were diverted to Canada, We owe our
Canadian neighbors a debt of gratitude for helping us redirect over 120
flights and their passengers to airports in Canada,

As of 6:00 p.m., AMTRAK resumed its passenger rail service, Major railroads
have taken steps to protect their assets, as well.

The United States Coast Guard is taking all necessary actions to control the
movement of any vessel in any navigable water in the United States, Coast
Guard helicopters have been assisting with medical and national security
tasks,

We cre currently fooking at a wide variety of additional security measures
to increase troveler security.

 

Travelers will see increased security measures at our airports, train

stations and other key sites. There will be higher levels of surveillance,

more stringent searches. Airport curbside luggage check-in will no longer be
allowed, There will be more security officers, random identification checks.
Travelers may experience some inconveniences. We ask for your patience, Sut
we must do whatever it takes, with safety as our highest priority.

9/12/2001 1 8:37 AM

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The Department of Transportation is working closely with the White House and
appropriate federal agencies to mount a coordinated, nationwide recovery
effort.

Each American must know thot we will restore our national transportation
system to a safe and efficient status as quickly as possible. Our system has

been severely burdened by the stress of these horrendous attacks, but we
will recover.

In a democracy, there is always a balance between freedom and security.
Our transportation systems, reflecting the values of our society, have
always operated in an open and accessible manner. And, they will again.

Please be assured that we are activating all of our resources on an
emergency basis, and services will be restored as soon as possible.

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B:37 AM

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Victor White

From: DOT NEWS Services [DOTNEWS@listsery.dot gov] on behalf of DOT News
{DOT.News@QOST.DOT.GOV}

Sent: Wednesday, September 12, 2001 2:04 PM

To: DOTNEWS@mdspub01 dot.gov

Subject: AIRPORTS TO REMAIN CLOSED, MINETA SAYS

Wednesday, September 12, 2001
DOT 95-01
Contact: Chet Lunner

Tel.: (202) 366-4570
AIRPORTS TO REMAIN CLOSED, MINETA SAYS

Secretary of Transportation Norman ¥. Mineta has announced the Federal
Aviation Administration will allow a limited reopening of the nation's
commercial airspace system in order to allow flights that were diverted
yesterday to continue to their original destinations.

The Secretary also announced that the FAA is temporarily extending the
ground stop order imposed yesterday white additional security measures ore
being completed,

“Safety is always of paramount importance, and in these extraordinary times
we intend to be vigilant." Mineta said. "We remain committed to resuming
commercial flights as soon as possible.

"As the President said last night, these despicable terrorist attacks have
shaken the foundation of our greatest buildings, but have not shaken the
foundation of this great nation,” the Secretary said.

“As America watches the efforts of our heroic emergency responders and
rescue personnel, we keep the victims and their families in our prayers,” he
also said.

Mineta said the FAA would permit flights today only in special limited

circumstances. Flights diverted os a result of yesterday's order wiil be g
allowed to continue to their original destination under vastly tightened zm
security guidelines. Only passengers on the original flights will be allowed 4

EXHIBIT

to re-board, and only after airperts and airlines hove implemented strict
screening measures. Airlines will alse be allowed to reposition empty
aircraft, he said.

 

Mineta said a variety of stepped-up security measures will be instituted at
the airports once they re-open. These measures include:
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9/12/2001 1 2:31 PM

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Statement of U.S. Secretary of Transportation Norman Y. Mineta Page | of 1

Neave
WS. Department of Transportation

 

Thursday, September 13, 2001
Contact: Chet Lunner

Tel.: 202/366-4570

DOT: 96-01

Statement of U.S. Secretary of Transportation Norman Y. Mineta

Secretary of Transportation Norman Y. Mineta has ordered the national airspace system re-opened to
commercial aviation, effective at 1] a.m. Easter time Thursday.

The Secretary's decision was made after a series of meetings throughout the day and night Wednesday
with White House and Cabinet officials, Federal Aviation Administration Administrator Jane Garvey,
aviation industry leaders, as well as intelligence and law enforcement representatives.

“The re-opening of our national airspace is good news for travelers, for the airlines and for our
economy,” Secretary Mineta said. “But | must caution everyone that a system as diverse and complex as
ours cannot be brought back up instantly. We will re-open airports and resume flights on a case-by-case
basis, only after they implement our more stringent jevels of security. This phased approach will assure
the highest levels of safety, which remains our primary goal.

“Anyone planning on flying should check with their airline regarding the level of service and flight
schedules, and be sure to allow plenty of time to deal with our new security procedures. There wiil be
some inconveniences, but safety will be the first element of our system to be restored,” the Secretary
said,

On Wednesday, Secretary Mineta had approved a limited re-opening of the system, allowing aircraft
diverted during Tuesday's terrorist attacks to continue to their destinations or be repositioned in
anticipation of today’s decision.

At the same time, he announced a series of heightened security measures, including a ban on curbside
luggage check-in and off-airport passenger check-in. Before being allowed to re-open, airports must
clear their terminals of people and conduct thorough searches. Once re-opened, airports will feature an
increased presence of law enforcement officers, restricted access beyond the screening area and other
resinchions

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STATEMENT BY
THE HONORABLE NORMAN Y. MINETA
SECRETARY OF TRANSPORTATION
Before the
COMMITTEE ON COMMERCE, SCIENCE, AND TRANSPORTATION
UNITED STATES SENATE
September 20, 2001

Mr. Chairman, Members of the Committee, it is with both sadness and resolve that |
appear before you today. Obviously, our lives, and the life of our nation, changed
dramatically as a result of the terrible attack of September 11.

Though we will never overcome the sorrow we feel for the families and friends who lost
loved ones, we will be able to ensure public safety.

And, while it may take time to recreate comfortable confidence in air travel, I assure this
committee that we can—and will—enjoy a transportation system that is safe, secure, and
stable. The effort being expended by the government, the carriers, airport authorities,
local police forces, and others on behaif of aviation will continue, and the traveling public
can count on this.

That is the President’s commitment, and I wil! marshal all resources of the Department of
Transportation to accomplish that fundamental goal.

I should begin by taking this public opportunity to express my profound gratitude and
pride in the performance of the employees throughout the Department of Transportation.
I want to emphasize particularly my appreciation for the professionalism displayed by the
FAA from top-to-bottom since the attack. From Administrator Garvey on down, the
FAA has performed magnificently, as have other crucial players in our Department,
including the Coast Guard and all those who worked with the well-prepared DOT Crisis
Management Center.

I hope here briefly to outline some of the key activities of our Department on September
1] and then to move to essential plans for our future.

On the morning of September 1th on first word of the attack, I moved directly to the
Presidential Emergency Operations Center in the White House. As soon as I was aware
of the nature and scale of the attack, I called from the White House to order the alr traffic
system to land all aircraft, immediately and without exception. That was an
unprecedented step. But with the risk of additional flights that might be used as terrorist
|_ weapons, I believe that it was the right and necessary step to take.

 

In the moments that followed my call, countless brave, tough, and smart Federal air
traffic controllers worked with courageous and calm pilots and flight crews to land over
4,500 aircraft. Though all these emergency landings were entirely unplanned, they were

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safetly and successfully accomplished. That was an historic feat in crisis management,
and it illustrated the magnificent skill of key players in our transportation systems.

This Committee should also be aware of the extraordinarily rapid response achieved with
respect to all modes of transportation throughout our country on September 11th.

Thanks to elaborate simulation and preparation, the Department of Transportation’s
Crisis Management Center took only minutes to kick into action. The first crash occurred
at 8:46 am, and the Crisis Management Center was fully operational--with secure lines of
communication, initiation of security procedures, and key contacts on line--by 9 am.
Then, in a pre-planned fashion, the Department rapidly secured thousands of
transportation hubs and corridors across the United States--including bridges and rail
lines, roads and harbors.

 

Of course, as we move forward, we must dramatically alter our approach. As President
Bush has said: the world has changed. I add: so too has the very nature of our national
transportation system.

The events of the past several days require us to take new steps to move people and
commerce safely and efficiently, despite the fact that the nature of the threat has clearly
changed. It is a mission we cannot afford to leave for a later time.

This Administration is already moving to restore and enhance our air transportation
system. On September 13th, ] announced the gradual restoration of flights within the
national airspace system. We took immediate steps to develop heightened security
measures to ensure the safety of airline passengers as well as people on the ground.
Le

All of the country’s major airports have resumed scheduled domestic commercial and
cargo service operations, with the exception of Reagan National Airport, which remains
temporarily closed. Scheduled passenger airline service is operating at about 78 percent
of normal levels. General aviation operations have also resumed except for visual flight
rules operations in the immediate vicinity of our nation's 30 largest airports. We are
currently increasing access to international commercia] and genera] aviation flights.

 

Because safety is of paramount importance, I required that heightened security measures
be in place before any air service resumed. A thorough search and security check of all
airplanes and airports took place before passengers are allowed to enter and board
aircraft.

 

 

We discontinued curbside check-in at every airport. We discontinued off-airport check-
in. We no longer allow passengers to check in for their flights at hotels or other
locations, All passengers are now required to go to the ticket counters to check baggage.
Only ticketed passengers and authorized personne] are allowed to proceed past airport
screeners--well-wishers must stay out of the secured areas.

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Let there be no doubt: we will soon be taking additional steps to increase security beyond
those already taken.

Now we must deal more broadly with the aftermath of September 11th. We have already
tumed toward development of long-term, sustainable security improvements within our
airports and on our aircraft to ensure American passengers are provided with the highest
possible levels of safety.

Consistent with the strict security measures imposed upon startup last week, I announced
on Sunday the creation of two Rapid Response teams to make specific recommendations
for the further improvement of security within the national! aviation system. Their
conclusions are due October 1, at the latest. One team is focusing on ways to increase
security at Our nation’s airports. The other is focusing on aircraft integrity and security.
Among those areas that will be addressed will be making airport screening a more
credible deterrent, expanding the Federal Air Marshal program, and enhancing cockpit
security. Both teams are now undertaking their tasks with a sense of urgency.

As they work on these teams, our own experts at the Federal Aviation Administration and
Department of Transportation will have input from a distinguished group of Americans
with a wide range of expertise in many different aspects of air transportation and law
enforcemenit.

 

1 understand the complexity of these issues, and ] know there have been numerous studies
on many of these issues. Yet the larger context has changed dramatically. We now face
a different security threat not only in transportation, but in all aspects of American life.

We have to be willing to meet that changed threat with additional counter-measures, and
still find ways to keep our transportation systems the efficient and vital circulation system
of our economy. We must therefore judge our security options in a different light than

we might have judged them in the past.

 

What I expect now are good, unambiguous answers to the new questions and heightened
risks. The Department of Transportation has acted promptly in response to the changed
circumstances, and we will take further actions promptly.

Broader Security Concems

We also need to keep a broad perspective as we address both security and commerce.
The events of September 11th have focused media and public attention almost
exclusively on aviation , which is understandable. Yet, as Vice President Cheney has
noted, the odds are good that terrorists may use entirely new lines of attack. The
Department I am honored to direct is focusing on all modes of transportation, including
but not limited to airplanes and airports.

Thus, under authority from the Ports and Waterways Safety Act, we have taken action to
contro] the movement of all vessels in the navigable waters of the United States.

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All ports and waterways have remained open and secure since Sept. 12 with very limited
exceptions. We put pipeline operators on alert. And with the resources provided to the
U.S. Coast Guard, it has performed with monumental efficiency.

in the New York City area, our employees have worked selflessly for days to bring
services back, provide alternative means of access to the City, and, at the same time,
guard against possible further acts of terrorism.

I want to emphasize the over-arching threat we now face. The new security measures we
have already implemented -- and those we will implement both publicly and discreetly —
are not designed simply to deal with threats of further attacks like those of September
11th.

For example, the President has asked our Department to help protect the integrity of our
nation’s entire transportation infrastructure. And that is what we are doing. But we also
have to recognize that we have to meet the challenge of new and different security threats
not only in transportation, but throughout our society.

We will have to take precautions in transportation that we have never taken before, and
we will have to do the same in virtually every aspect of American life. We will find
ways to preserve the best of our transportation systems - the freedom of movement, the
safe and efficient movement of goods and people that is so necessary to our economy.
We will find ways to accomplish both heightened security and the benefits of efficient
transportation system.

Economic Response

1 tum now to another critical topic--maintaining the air transportation system in the face
of severe financial problems. The current situation in the airline industry is that access to
credit markets is greatly restricted and revenues dramatically diminished.

I would emphasize that the task at hand is not to prop up one or another of the carriers. lt
is not to "make whole" the industry as if September 11th had never occurred. Rather it is
to recognize that this key part of the economy of this country requires new foundations in
security and confidence as solid as they were once before. I believe the Federal
Government has a responsibility for the safety of the public, airline passengers and crews
in particular, and to ensure the foundation of security, insurance, and other necessities
that will heip this key part of the U.S. economy function. This nation needs a vital,
viable, and competitive airline industry.

Accordingly, we are proposing on an expedited basis an initial package to provide
strength, security, and confidence in air transportation.

Our proposal includes:

* $3 billion to airlines to help offset the substantial new costs they are incurring

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because of tightened security requirements.

e $5 billion in direct and immediate payments to airlines, roughly in proportion to
their size.

¢ Authorization for the War Risk Insurance Program to be invoked, at the
President’s discretion, in the domestic arena as well as the international.

e Limited modifications to certain aspects of collateral liability, in order to avert a
near-term threat to the continued availability of insurance coverage. The main
purpose is to give us a brief period of time in which to try to resolve that threat.

We have additional steps under consideration, some of would take additional time to fully
sort out. We believe that on the measures we are now proposing, time is of the essence.
We believe these proposals should move forward immediately, and we would then have
additional days to consider and to consult with you on additional measures that may be
needed.

I would like to close by taking this occasion to thank this Congress for its swift,
bipartisan action last week in providing needed supplemental appropriations to get action
underway across the Government. I look forward to of working closely with each of you
as we face and meet the challenges ahead.

This completes my prepared statement. I would be pleased to respond to the Committee's
questions.

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STATEMENT OF JANE F. GARVEY, ADMINISTRATOR, FEDERAL AVIATION
ADMINISTRATION BEFORE THE SUBCOMMITTEE ON AVIATION, COMMITTEE ON
TRANSPORTATION AND INFRASTRUCTURE, ON AVIATION SECURITY FOLLOWING THE
TERRORIST ATTACK ON SEPTEMBER 11TH. SEPTEMBER 21, 2001.

Chairman Mica, Congressman Oberstar, Members of the Subcommittee:

I appear before you today to discuss the events of the September 11 that were so unspeakable that they
were virtually unimaginable a few weeks ago. The world has been forever changed. As President Bush
said, “Great tragedy has come to us, and we are meeting it with the best that is in our country, with
courage and concern for others.”

As a nation, we have suffered horrific losses, but we are resolved not to allow those losses to overwhelm
us. We can be proud of America’s response to this crisis; the stories of heroism, generosity, and
patriotism are countless and compelling. We must gain strength from these examples as we face the
many challenges that lie ahead of us. On behalf of the Federal Aviation Administration (FAA) and its
employees, some of who have suffered their own devastating losses, I would like to extend my
sympathies to the many thousands of Americans who were victimized by the terrorists’ actions. I assure
you that all 48,425 employees of the FAA will continue to work night and day to make the air
transportation system safe, secure, and ready to meet the needs of our travelling public. We are

committed to meeting the challenges that the tragic events of September 11% present. Our energies are
focused on maintaining a safe air traffic system.

The nature of the threat facing America has changed. What we faced on September 11" was a new
phenomenon--hijackers taking over commercial flights for the sole purpose of turning them into human-
guided terrorist bombs of massive explosive power. Given the events of last week, assumptions
underlying aviation security have fundamentally changed.

We are working with others in government to develop a full picture of what happened on September

11". Federal investigators continue to sift through the wreckage for additional information. Analysis of
the flight data and cockpit voice recorders is underway. I cannot provide a detailed description of what
we have been able learn so far in an open forum. However, what I would like to do is briefly discuss
how we shut down the civil air traffic system, what new security measures are in place and how we have
brought our aviation system back into operation.

 

 

On the morning of September 11", there were 4,873 instrument flight rule (IFR) flights operating in
U.S. airspace. As soon as Secretary Mineta was aware of the nature and scale of the terrorist attack on
New York and Washington--that we were faced with, not one, but four possible hijackings, and several
other rumors of missing or unidentified aircraft--the Secretary ordered the air traffic system shut down
for all civil operations. Our Air Traffic Control System Command Center {ATCSCC) sent a verbal
notice to all air traffic facilities about the first suspected hijacked aircraft at 9:06 a.m. At 9:08 a.m., a
written advisory was issued that "sterilized" the New York airspace, meaning that all aircraft operating
in the airspace of the New York Center were ordered to leave that airspace. At 9:26 a.m., before either
American Airlines Flight 77 or United Airlines Flight 93 had crashed, a national ground stop was issued
that prevented any aircraft from taking off. At 9:45 a.m. all airborne aircraft were told to land at the
nearest airport--the first time in our history that all civil aircraft in the United States were grounded. At
10:39 a.m., a formal Notice to Airmen (NOTAM) was issued closing all operations at all airports.

In response to last week’s unprecedented attacks, the FAA substantially increased the required security

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measures for U.S. airports and U.S. air carriers and foreign carriers with flights to the U.S. These
measures were implemented immediately. Some are visible to the public, others are not, As you know,
before we allowed our airports to reopen and air carriers to resume operations last week, airports and
carriers had to meet these stringent new security measures through a certification process. I must tell
you that we have had an unprecedented level of cooperation between the Federal government and the
airport operators and carriers to implement these procedures so quickly and effectively.

Although the investigation of how the hijackers were able to gain control of the aircraft and what means
they used to do so is still ongoing, it is apparent that enhanced security measures are essential to
ensuring the security and safety of the U.S. travelling public. Following the attacks, the FAA ordered all
airport terminals evacuated and required a thorough search for explosives and other dangerous weapons
or objects in the terminal, using K-9 teams if they were available. Similarly, all aircraft were thoroughly
inspected. Before the airports reopened (except for Reagan National Airport) and air carriers returned to
the skies, new security requirements were in place.

Passengers will now find they have to adjust to new restrictions and go through more steps before
boarding an aircraft—and they must adjust their arrival times at airports accordingly. Vehicles near
terminals are now monitored more closely, and unauthorized vehicles near the terminal area will be
removed. We have ordered the discontinuance of curbside check-in and all off-airport check-in
locations. We can no longer allow passengers to check in for their flights at hotels or other locations.
Instead, we ask that all passengers with luggage go to the ticket counters to check in. Passengers
without checked-in luggage can check in at the gate, but are required to show boarding passes or e-ticket
confirmation letters and photo identification to pass through security checkpoints. All planes must
undergo a thorough search and security check before passenger boarding can begin, and we must reserve
boarding areas for passengers only. Only ticketed passengers will be allowed to proceed past airport
screeners to board their flights.

At all airports, increased numbers of uniformed and plainclothes security and law enforcement officers
have been deployed to provide greater deterrence, surveillance, and response in the case of an
emergency. Access points to secured areas of airports have been reduced to the operational minimum
and airports have increased random security checks and ID checks throughout their entire terminal
areas. Knives or other dangerous objects may no longer be sold or used in the “sterile” terminal areas—
those areas beyond the security checkpoints. Similarly, all cutting instruments, including knives,
scissors, and razor blades, plastic or otherwise, are banned from carry-on luggage. Although initially no
cargo or mail was permitted on passenger flights, we have now allowed a carrier to accept cargo from
shipping companies with well-documented, established relationships with the air carrier, or from freight
forwarders with FAA-approved security programs. Letter class mail, certified as such by the U.S. Postal
Service, is also being accepted for transport on passenger flights.

With respect to cargo only flights, we have allowed them to resume operations after thorough searches
of all aircraft and cargo containers. Carriers must verify the identification of and search crewmembers
as well as guard and secure planes overnight.

Finally, I would like to briefly mention the FAA’s Federal Air Marshal (FAM) program. It has been a
valuable component in our efforts to deter terrorist hijackings outside the U.S., which is where we
believed the main threat to be, based upon available intelligence. In addition to their deterrent value,
Federal Air Marshals are extremely well prepared to deal with any attempt to hijack an aircraft upon
which they are deployed. The events of September 11" clearly show us that the threat within the United
States of terrorist team hijackings is much higher than we had previously known and that we must make
every possible effort to prevent further attacks and to deal with them should they occur. Accordingly,
the President has directed the expansion of the FAM program to provide a substantially increased level

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of coverage within the United States.

Because some aspects of this program are highly sensitive, I cannot provide details of this action in an
open forum. What can be said publicly is that Federal Air Marshals are a full-time dedicated force that
is continuously deployed throughout the world on all the major U.S. carriers in areas where terrorist
activities indicate the highest probability of attacks. We believe that the FAM program is and will
continue to be a critical element in enhancing the security of our air transportation system.

It has only been a few days since these enhanced security measures were ordered. As air carrier
operations gradually increase and the system is brought back to a more normal level of activity, we will
continuously monitor the effectiveness of these measures and work with airports and carriers to refine
them, and expand them, if necessary. At the same time, we recognize that there are still lessons to be
learned from the events of September 11". We know that, in addition to the steps we took immediately
following the attacks, we also need a more deliberative examination of what we have done and what we
still can do to provide all Americans with the highest possible levels of safety and security. To that end,
last Sunday, Secretary Mineta created two Rapid Response Teams to provide in the near term other
recommendations for improving security in the national aviation system. Working with senior DOT and
FAA experts will be eight national leaders from the aviation and law enforcement communities—
individuals who this Committee knows quite well. One Team will focus on increasing security at the
nation’s airports; the other will examine security on board an aircraft, with particular attention to cockpit

access. We look forward to their recommendations, which are due no later than October 15t.

As unprecedented as shutting down the civil aviation system was, bringing it back up was a challenge
we have never before faced. As Secretary Mineta directed, we have been working to incrementally
restore access to our customers and the users of our National Airspace System (NAS), balancing
national security, economic and operational considerations. Once new security restrictions were met,
airports (with the exception of Reagan National Airport), and commercial airlines were authorized to
resume civil operations, including international flights that had been stranded outside our borders, and
flights that had been suspended. Repositioning of aircraft was also authorized.

We began by coordinating and authorizing all military operations, and prioritizing other aviation

operations as follows:
* recovery of diverted commercial aircraft;

repositioning of commercial aviation aircraft;

resumption of domestic U.S. flag carrier operations;

resumption of cargo operations;

resumption of air taxi and IFR general aviation;

opening of Alaska airspace to all IFR and visual flight rule (VFR) operations;

resumption of Hawaii IFR operations;

resumption of Canadian/American international flights;

resumption of international U.S. Flag carrier operations;

resumption of IFR business flight operations such as agricultural flights/crop dusters and scenic

tour flights;

resumption of certain foreign-flag IFR overflights of the U.S.; and

* resumption of most VFR general aviation (Part 91) operations (exclusions include VFR
operations within the immediate vicinity of our nation's 30 largest airports, banner towing, traffic
watch/reporting, airships/blimps, news reporting flight training, and sight seeing operations
conducted for compensation).

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We are continuing to work to restore more international commercial! operations as they come into
compliance with the new security requirements, and to review the remaining restrictions on VFR general
aviation operations and prioritize their return to the NAS.

Conclusion

Mr. Chairman, I want to assure you that the Secretary and I are doing everything in our power to bring
the Nation's air transportation system back into full operation with the highest levels of safety possible.
Working together-- Government, industry and American citizens--we will do it. In a democracy, there is
always a balance between freedom and security. Our transportation systems, reflecting the value of our
society, have always operated in an open and accessible manner. And, they will do so again.

Finally, Mr. Chairman, the President said last week "[A]dversity introduces us to ourselves. . . [Our
fellow Americans are generous and kind, resourceful and brave." I would like to include the men and
women of the FAA and DOT in that company.

That concludes my prepared remarks. I would be happy to answer any questions you may have.

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OoyDy
i UNITED STATES DISTRICT CouRT

DISTRICT OF NEVADA

COUNTY OF CLARK, a political
Subdivision of the State of
Nevada, on behalf of CLARK
COUNTY DEPARTMENT OF AVIATION,

Plaintiff,

FACTORY MUTUAL INSURANCE
COMPANY, a Rhode Island
corporation, and Does 1-10,

)
}
)
)
)
Vs. JNO, CV-S-02-1258-KkID-RJJ
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Defendants. )
)

 

 

Taken on Tuesday, April 13, 2004
9:19 a.m.
At McCarran International Airport

29757 Wayne Newton Boulevard
Las Vegas, Nevada

Reported by: Michelle C. Johnson, CCR 771, RPR-CRR

 

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APPEARANCES:
For the Plaintiff:
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2800 LaSalle Plaza
800 LaSalle Avenue
Minneapolis, Minnesota 55402-2015
Also Present: Becky Ulrey, Certified Legal Videography
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WITNESS PAGE
RANDALL H. WALKER
EXAMINATION
BY MR. JOHNSON 5

 

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EXHIBIT s
DESCRIPTION MARKED FOR ID
"Notice of Deposition of Clark 10
County Department of Aviation"
Internet printout of 9/12/01 "News 23
Release" (FM 00021)
Internet printout of 9/13/01 "Statement 25
of U.S. Secretary of Transportation
Norman Y¥. Mineta" (FM-C 00214)
Internet printout of 9/13/01 Las Vegas 26
Sun article, "McCarran Airport Reopens
Today"
FM Global Policy No. uAgs64 51
(FM-C 00013 - 68)
11/7/01 "Property Loss Notice" 54
(FM-C 00484 - 487)
11/27/01 letter to Walker from Casillas 65
(FM-C 00203 - 207)
12/11/01 letter to Casillas from Walker 66
(FM~C 00194)
1/2/02 letter to Walker from Casillas 70
(FM-C 00190 - 193)
2/11/02 letter to Walker from Casillas 71
(FM-C 00177 - 179)
2/22/02 letter to Casillas from Walker, 73
with attachments (FM-C 00167 - 175}
4/16/02 letter to Johnson from Casillas, 75

with attachments (FM-C 00111 - 120)

 

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THE VIDEOGRAPHER: This is the beginning of the

deposition of Randall Walker. Today's date is
April 13th, 2004, and the time on the video monitor is
9:18 a.m. We are at the administration offices at
McCarran International Airport, in Las Vegas, Nevada.

And this case is in the United States District
Court, District of Nevada, Case
No. CV-S-02-1258-KJD-Rgu, and it's entitled Clark --
Sorry -- County of Clark, a political subdivision of the
State of Nevada, on behalf of Clark County Department of
Aviation versus Factory Mutual Insurance Company, et al.

My name is Becky Ulrey, from Certified Legal
Videography, in Las Vegas, Nevada, and the court
reporter is Michelle Johnson, from Western Reporting
Services, Incorporated, in Las Vegas, Nevada.

Will counsel please identify yourselves for
voice identification.

MR. JOHNSON: Scott Johnson, representing
Factory Mutual Insurance Company.

MR. MASTERSON: Steve Masterson, from Howrey
Simon, Arnold & White, representing Clark County
Department of Aviation.

THE VIDEOGRAPHER: The reporter will now
administer the oath.

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RANDALL H. WALKER,
having been first duly sworn, was
examined and testified as follows:

EXAMINATION

BY MR. JOHNSON:

> OO P © 0

business

Please state your full name.

Randall H. Walker.

And where do you live, sir?

In Henderson, Nevada.

Can you give us your address, please?

i2 --

MR. MASTERSON: If you need to contact him,

address I think is probably better,

BY MR. JOHNSON:

Q.
A.
Q.
A.
QO.

Johnson.

Can you give us your business address, please?
McCarran airport.

Las Vegas, Nevada?

Yeah, Las Vegas, Nevada.

I introduced myself earlier. My name is Scott

I'm the attorney representing Factory Mutual

Insurance Company in the matter.

Have you had your deposition taken before?

Yes.
On how many occasions?

A number. I never kept count. More than a

 

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Q. Okay. What was that?

A. I was systems analyst for Exxon Oil Company at
Houston, Texas from May of 1977 until I went to work for
the county.

Q. Prior to that, you were at school, right?

A. Prior to that, I was a student. I had a few
part-time jobs, but I don't think they're relevant.

MR. JOHNSON: I'm going to mark as Exhibit 1 a
deposition notice.
(Walker Exhibit 1 was marked for
identification.)
BY MR. JOHNSON:

Q. This is a Notice of Deposition to the Clark
County Department of Aviation. And T understand that
you are going to be the designated witness to testify to
these subject matters. Is that right?

A. Yes, that's what I understand.

Q. Have you seen Exhibit 1 before?

A, Yes, I have.

Q. When did you first see it?

A. I don't recall exactly when I first saw it, but
I saw it again yesterday.

Q. What did you do to prepare to give testimony on
the six subject matters in Exhibit 1?

A. Talked to my attorney here to my right, and

 

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in a manual or a book somewhere.
Q. Is that how security directives are kept, ina
manual?
A. Generally, they keep track of them in a -- in a
binder.
Q. Let's move on to subject matter 2 in Exhibit 1:

"The manner by which CCDOA claims that
ingress to or egress from its airports was
prevented on September 11th through the
13th, 2001."

Can you describe the manner in which CCDOA
claims that ingress to or egress from its airports was
prevented on September lith, 2001?

A. First off, all airplanes were prohibited by
federal order from Flying, so no airplanes could arrive
at our airport or leave from our airport under federal
order,

In addition to that, the terminal needed to be
vacated for security reasons, so the terminal was closed
to all nonbadged individuals, and the roadways into the
airport were blocked and -- to allow the airport to be
able to have control of the airport in a sterile
environment and be able to do its security checks in
accordance with the FAA directives.

Q. SO you're saying planes could not arrive or

 

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terminal,
Q. What security rules are you referring to there?
A. Those would have been whatever directives came

out, security directives, subsequent to 9/11 in that
time period.
Q. Who determined that the roadways into the

airport should be blocked?

A. That would have been Rosemary's decision.
Q. And why was that decision made; do you know?
A. You'll need to talk to her. I could surmise,

but it would be better if you ask her.
Q. When do you claim that the prevention of

ingress and egress by aircraft began?

A. As soon as the FAA grounded all the aircraft.
Q. Do you mean at the time it issued its order?
A, At the time it issued its order. Planes that

were on its way to Las Vegas never made it to Las Vegas;
planes that were Supposed to leave couldn't take of €£.

Q. And when do you claim that the prevention of
ingress and egress by aircraft ended?

A. When the FAA authorized aircraft to begin
operations into McCarran once again.

QO. And when was that?

A, I believe that was on the 13th.

Q. Do you recall what time of day on the 13th?

 

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Q. Are you aware of any planes that took off after
the FAA order?

A. No, not on the lith.

Q. What prevented a plane from taking off from any
of the CCDOA airports on September 11 after the order?

A. It was in violation of federal directives.

Q. There was nothing wrong with the runways at any
of the airports, right?

A. No, runways all functioned fine.

QO. But there was an order from the FAA that said
Planes could not take off, right?

A. Planes were prohibited from being in the air
Space, so therefore they couldn't take off or land.

Q. Do you know if any planes took off from the
other general aviation airports that CCDOA operates?

A. I'm not personally aware. They should not
have, but I'm not personally aware whether they did or
not.

Q. Did any planes land at McCarran on
September 11, 2001?

A. As indicated before, certainly before the order

was given, we had normal operations. And I believe
after the order was given, there would have been planes
who landed because this would have been the closest

airport that would have been able to safely handle that

 

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Q. Let's move on to the third subject matter in
Exhibit 1:
"The existence of any physical loss or
damage to property at any of CCDOA's
airports on September 11, 2001."
Was there any damage at any of the CCDOA
airports on September 11, 2001?
A, Are you talking about actual physical damage?
Q. Right.
A. No, not that I'm aware of.
Q. Let's move on to exhibit -- I'm sorry, subject

matter 4 in Exhibit 1:

"The existence of any immediately
impending physical loss or damage to
property at any of CCDOA's airports on
September 11, 2001."

Are you aware of any immediately impending
physical loss or damage at any of the ccpoa airports on
September 11, 2001?

A. Not any more so than any other property
throughout the United States, given the fact that
airplanes had been crashing into buildings.

Q. What does that mean?

A. Well, airplanes had been crashing into

buildings. That was 4 concern they had for any

 

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A. Io don't recall what they were. That would be

in the manual.

Q. Was the county placed on any alert on
September 11, 2001?

A. No, I do not know.

Q. Let's move on to subject No. 5 in Exhibit 1.
That's:

"The existence of Physical loss or
damage to property at locations of CCDOA's
direct suppliers or customers on
September lith, 20601."

Was there any Physical loss or damage at the
locations of any of CCDOA's direct Suppliers or
customers on September 11, 2001?

A. Certainly. Airlines are our customers; they
had significant damage.

Q. What was their damage?

A. I know some of them had offices in the world
Trade Center, for example.

Q. Who had offices in the World Trade Center?

A. I know Delta did specifically.

Q. Anybody else?

A. Not that I recall. But fz know Delta did. Some
travel agencies I know were in the World Trade Center.

New York is a very popular market for has Vegas in terms

 

 

 

 

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of customers, and there were travel-related tour
wholesalers, travel agents and those kinds of things
that had offices in the World Trade Center, yes.

Q. Any other customers or suppliers that were
damaged on September 11, 2001?

A, IT don't specifically know every single one, no.

Q. Are you saying that the CCDOA airports were
closed because of the damage to the Delta office in the
World Trade Center and those travel agencies in the
World Trade Center?

A. I think the CCDOA was closed because of the
orders from the Federal Aviation Administration that
shut down the national air system,

Q. Let's move on to the sixth subject matter in
Exhibit 1:

"The extent of any loss or damage to

CCDOA caused by any physical loss or

damage to property at locations of CCDOA's

direct suppliers or customers on

September 11, 2001."

You identified the Delta office in the World
Trade Center and some travel agencies. What was the
effect of the damage on the Delta office or to the Delta
office on CCDOA?

A. You mean a direct, their office was damaged so

 

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Richard J. Pocker
|| Nevada Bar No. 003568 Xs

 

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Attorneys for Defendant Factory Mutual Insurance Company
UNITED STATES DISTRICT COURT

DISTRICT OF NEVADA
COUNTY OF CLARK, A POLITICAL ~ CASE NO. CV-S-02-1258-KID-RJJ
SUBDIVISION OF THE STATE OF
NEVADA, ON BEHALF OF CLARK
COUNTY DEPARTMENT OF
AVIATION,

NOTICE OF DEPOSITION OF CLARK
Plaintiff(s), COUNTY DEPARTMENT OF

AVIATION

VS.

FACTORY MUTUAL INSURANCE
COMPANY, a Rhode Island Corporation,
and Does 1-10,

Defendant(s).

 

TO PLAINTIFF COUNTY OF CLARK, A POLITICAL SUBDIVISION OF THE
STATE OF NEVADA, ON BEHALF OF CLARK COUNTY DEPARTMENT OF AVIATION:

 

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20082522.1 NOTICE OF CLARK COUNTY DEPARTMENT OF AVIATION DEPOSITION

 

 
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PLEASE TAKE NOTICE that on Apnil. 15, 2004, at 2:00 P.M., at the McCarran
International Airport, 5757 Wayne Newton Blvd., Las Vegas, Nevada, 89119, in aconfere.__3
room to be determined, Defendant Factory Mutual Insurance Company, through its attorneys of
record, will take the deposition Clark County Department of Aviation (“CCDOA”) through duly
designated person(s) most knowledgeable regarding:

1. All orders on which CCDOA bases any claim for damages in this litigation
including, but not limited to, the date of each such order, the agency issuing each
such order, the identity of the recipient of each such order, and the actions taken
by CCDOA in response to each such order;

2, The manner by which CCDOA claims that ingress to or egress from its airports
was prevented on September 11-13, 2001;

3. The existence of any physical loss or damage to property at any of CCDOA’s
airports on September 11, 2001;

4. The existence of any immediately impending’physical loss or damage to property
at any of CCDOA’s airports on September 11, 2001;

5. The existence of any physical loss or damage to property at locations of CCDOA’s
direct suppliers or customers on September 11, 2001;

6. The extent of any loss or damage to CCDOA caused by any physical loss or
damage to property at locations of CCDOA’s direct suppliers or customers on
September 11, 2001.

The deposition will be taken before a certified reporter or other officer authorized by law

to take depositions, duly authorized to administer oaths and transcribe the testimony of the
deponent and will be videotaped. The deposition will continue from day to day until completed.

You are invited to attend and cross-examine.

Dated: March (& , 2004, Richard J. Pocker
Dickerson, Dickerson, Consul & Pocker

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20082522.1 NOTICE OF CLARK COUNTY DEPARTMENT OF AVIATION DEPOSITION

 
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Patrick E. Shipstead

Scott G. Johnson -

Day E. Bland

RQBINS, KAPLAN, MILLER & CIRESI L.L.P.

Ad

Attorneys for Defendant
Factory Mutual Insurance Company

 

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NOTICE OF CLARK COUNTY DEPARTMENT OF AVIATION DEPOSITION

 
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prey UNITED STATES DISTRICT COURT

DISTRICT OF NEVADA

COUNTY OF CLARK, a political )
subdivision of the State of )
Nevada, on behalf of CLARK }
COUNTY DEPARTMENT OF AVIATION, )
)
Plaintif€, )
}

vs. }NO, CV-S-02-1258-KJD-RJJg

)
FACTORY MUTUAL INSURANCE )
COMPANY, a Rhode Island }
corporation, and Does 1-10, )
)
Defendants. )
}

 

VIDEOTAPED DEPOSITION OF ROSEMARY VASSILIADIS
“Taken on Thursday, April 15, 2004
10:12 a.m.
At McCarran International Airport

5757 Wayne Newton Boulevard
Las Vegas, Nevada

Reported by: Michelle c. Johnson, COR 771, RPR-CRR

 

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WITNESS PAGE
ROSEMARY VASSILIADIS
EXAMINATION
BY MR. JOHNSON 5
EXHIBITS
NUMBER DESCRIPTION MARKED FOR ID
Vassiliadis
1 Internet printout of 8/12/02 FAA 8
News "Fact Sheet, Chronology of Events
on September 11, 2001" (FM 00004 - 5)
2 Internet printout of 9/11/01 Las vegas - 22
McCarran International Airport News
Release, "Media Advisory" (FM 00019)
3 Internet printout of 9/14/01 News, 38
U.S. Department of Transportation
article, "Secretary Mineta Reopens

Skies to General Aviation" (FM-C 00213)

 

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THE VIDEOGRAPHER: This is the beginning of the

deposition of Rosemary A. Vassiliadis. Today's date is
April 15th, 2004, and the time on video monitor ig
10:11 a.m. We're in the administrative offices at
McCarran International Airport in Las Vegas, Nevada.

And this case is in the United States District
Court, District of Nevada, Case
No. CV-S-02-1258-KJD-RJJ, entitled County of Clark, a
political subdivision of the State of Nevada, on behalf
of Clark County Department of Aviation versus Factory
Mutual Insurance Company, et al.

My name is Becky Ulrey, from Certified Legal
Videography, and the court reporter is Michelle Johnson,
from Western Reporting Services, Incorporated.

Will counsel please identify yourselves for
voice identification.

MR. JOHNSON: Scott Johnson, representing
Factory Mutual Insurance Company.

MR. MASTERSON: Steve Masterson, from Howrey,
Simon, Arnold & White, representing Clark County
Department of Aviation.

THE VIDEOGRAPHER: ‘The reporter will please
administer the oath.

ROSEMARY VASSILIADIS,

having been first Quly sworn, was

 

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examined and testified as follows:
EXAMINATION

BY MR. JOHNSON:

Q. Can you please state your full name.

A. Rosemary Vassiliadis.

Q. What is your present business address?

A. 2757 Wayne Newton Boulevard. I'm sorry, we go
by the PO Box usually.

QO. That's McCarran International Airport, right?

A Yes.

Q. Have you had your deposition taken before?

A No.

Q. Just let me give you a few of the basic rules

of the deposition. You've probably heard these already,
but I'il just remind you of them in the event that
you've forgotten them.
I'll be asking you some questions this morning.

If at any time my questions aren't clear to you or you
don't understand them, please let me know, and I'll
attempt to restate the question for you. All right?

A. Okay.

QO. Otherwise, I'm going to have to assume that
you've understood my question. All right?

A. All right.

Q. All of your answers must be with words, rather

 

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Q. To the best of your recollection, was it a
little before 8 a.m. Pacific time?

MR. MASTERSON: Objection, vague and ambiguous
as to "it."
BY MR. JOHNSON:

Q. When did you learn that the FAA had banned
takeoffs of all civilian aircraft regardless of
destination?

A. The best that I can remember was sometime that
morning. So I got to the airport a little after
8:00 a.m. our local time, and it was sometime that
morning. I just don't remember what time exactly.

Q. Did you become aware of the order for aircraft
to land at the nearest airport first? Is that the first
order that you learned of?

A, I would believe so, yes.

Q. And then at some point, you received security

directives from the FAA, right?

A. That is correct.
Q. And how were they received?
A. They came to our local -- it was a civil

division at that time of the FAA. And our special agent
in charge received them directly from a secured fax
machine, and she brought them over and hand-delivered

them to me.

 

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Q. And this was a letter before noon on

September 11, 2001, right?

A. It was, yes, in that morning time.

Q. What did these security directives say?

A. Well, there were several of them.

Q. Okay.

A. And one of -- they went from indicating --

letting us know that the national air space was closed,
what we were to do on airport property with commercial
aircraft and general aviation aireraft, and then they
proceeded as the day went on, what we needed to do as an
airport operator.

Q. So that wasn't just one security directive, it

was several?

A. It was -- correct.
Q. How many? Can you estimate for me?
A. Not on that day. We received so many in that

period. The first day, I would just guesstimate a half
dozen.

Q. Are these security directives that you
mentioned, are they able to be shown to me, for example?

A. No, they're not. They are security-sensitive
information.

Q. Are you able to describe the contents of them?

A. Generally.

 

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Q. Generally, what were airports supposed to do
because the national air space was closed?
A. Airports needed to clear everybody out, and we
had to recertify and sterilize the airport. So in order

to do that, we had to, again, clear everyone out, which
we did, including vehicles. I mean, we had to tow
vehicles out of the garage to be on a perimeter. And
they gave us each and every point that we needed to do.
And then go through a sterilization and a
recertification process.

Q. When did you clear everyone out of McCarran?

A. We did that the next day, on the 12th.

QO. So people were able to stay at McCarran on
September Lith?

A. There were people in the terminal, yes.

Q. Passengers who couldn't get on their planes and
stuff, right?

A. Correct.

Q. And then on September 12th, you actually
cleared the terminal?

A. Yes. We started to clear the terminal on the
lith, knowing that the air Space was going to remain
closed. Again, a lot of this was just real-time
information coming, and so the next set of information

Superceded what we were currently doing.

 

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Q. When on September 11th did you start clearing
the terminal?

A. Later that -- late afternoon, early evening.
Knowing that planes were not going to take off, we
worked with the local community and the convention
authority to get people back to hotels because we knew
that there was not a chance for them to get to -- to go
back home.

Q. And before the terminal was cleared, did some
of the concessionaires remain open?

A. You know, I really don't know. I wasn't
downstairs. They -- I don't know.

Q. And then you had to sterilize the airport.
What does that mean?

A. That means we had to clear everybody and every
unidentified object out.

QO. When was that done?

A. That was done -- it started on the 12th and
proceeded to the 13th. It includes property as well,

not just buildings.

Q. What do you mean it includes property not
just --

A. Perimeter areas as well, just not physical
buildings.

Q. Approximately when did it start on september

 

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12th?

A. I'm just guestimating that it started early
afternoon,

Q. And you completed it sometime on September
13th?

A. Yes.

Q. Approximately when?

A. In the early hours, early morning hours.

Q. And then you also mentioned you had to be
recertified.

A. That's correct.

Q. What does certification mean?

A. The ability to operate, to be the public use

facility that we are.

Q. Is that an FAA certification?

A That is correct.

Q. What was involved in the recertification?
A We had to fulfill all the measures of our

airport security plan, which was also a
security-sensitive document, but it is certified and
approved by the FAA. Every airport has to submit that.
In addition -- in addition to that, there were
additional measures that we had to go through that came
through -- that came to us by these security directives.

Q. There were additional security measures that

 

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Q. Do you remember any other security directives
that you can just describe generally for me that you
received on September 11, 2001?

A. All the security directives that we received
were measures to secure each property. You know, each
airport. And that was what was contained in them, the
measures that we had to take to assure the best that we
could that there wasn’t an act of terrorism being
planned for that location. 1 can't really get into the
specifics of how they directed us and exactly what they

directed us to do.

Q. Because that's confidential, right?
A. Because that's security sensitive, correct.
QO. Did you retain copies of these security

directives?

A, Yes.

Q. Do they go into a book of some sort?

A. They go into a secure file.

Q. You still have them today?

A. Actually, my airport security manager retains

that for me.
Q. Did any planes take off from McCarran on
September 11, 2001?
MR. MASTERSON: Objection, vague and ambiguous

as to time.

 

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property on which it wag standing on. So we secured the
gates and all the entry and exit points; they secured
their aircraft.

Q. So when you talked about having to sterilize
the airport, you didn't have to worry about the planes?

MR. MASTERSON: Objection, vague and ambiguous

as to "worry about."
BY MR. JOHNSON:

Q. When you talked about sterilizing the airport,
did you also have to the Sterilize the aircraft that
were parked --

A. I did not. The airport operator did not.

Q. Okay. Were there any flights leaving McCarran
on September 11th that were carrying blood or medical

supplies to New York or Washington, D.c.?

A. I do not know. That would be the airlines.
Q. You're not aware of any, right?
A. I don't know what their normal -- the cargo

operations are.
Q. Were you aware of any threats, terrorist

threats, against McCarran International on September 11,

2001?
A. No.
Q. Other than the security directives that you

already told me about, were there any other orders that

 

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Q. Were airline employees at the terminal on
September 12th?

A, I believe many of them were. Certainly, the
station managers were,

Q. What are the station managers?

A. They're the highest person in charge of that
Particular airline company at this station here locally.

Q. How many airlines use McCarran?

A. A little over 40.

Q. And these people that you mentioned, they were
able to get through the roadblocks, right?

A. Yes.

Q. Take a look at -- I guess it's Walker Exhibit
2. You'll see a pile of Walker exhibits.

This is another McCarran News Release, this one
dated September 12, 2001. Right?

A. Yes.

QO. It talks about, in the first paragraph, a
directive from the FAA to allow airlines to begin
ferrying empty aircraft in anticipation of a start-up on
operations on September 13, 2001, right?

A, Yes,

QO. Do you remember when that directive was
received?

A. Let me think. I would guesstimate shortly

 

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before we released this.

Q. Do you have an estimate of when you released
Walker Exhibit 2?

MR. MASTERSON: Objection, calls for
speculation.

THE WITNESS: Yeah, I don't.
BY MR. JOHNSON:

Q. The second paragraph says:

"Residents may see extremely limited
flight activity at McCarran International
Airport in the overnight hours as a result
of this directive."

Was there any such activity?

A. There was -- we did have three aircraft that
were ferried off of our Property, off of the airport,
containing no passengers, to get them to wherever they
were directed to go.

QO. And those three aircraft flew out of McCarran
sometime on September 12th?

MR. MASTERSON: Objection, calls for
Speculation.
THE WITNESS: I don't recall.
BY MR. JOHNSON:
Q. Do you remember what --

A. I really thought it was Thursday, that evening.

 

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Q. You thought the fer- --

A. That's what I recollect.

Q. Do you remember what three aircraft were
ferried off the property?

A. No, I don't.

Q. Did any aircraft reposition to McCarran on
September 12, 2001?

A. No.

Q. And in the third paragraph of Walker Exhibit 2,
it says that you anticipated that airport facilities may
open as early at 5:00 a.m. Pacific Standard Time.

Did that in fact occur?

A. We did open that morning. I don't recall the
exact time.

Q. What was involved in the reopening? Roadblocks
were removed, right?

A. It was the series that I mentioned before. We
had to fulfill all aspects of our airport security plan,
in addition to several measures that were given to us by
the FAA,

Q. Take a look at Walker Exhibit 3, please. This
is a statement of U.S. Secretary of Transportation,
Norman Mineta, dated September 13, 2001.

Have you seen this before?

A, I'm sure I have.

 

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Q. Does this refresh your recollection that the
national air space was reopened effective 11:00 a.m.
BRastern time Thursday?

A. I must have been off a whole day.

Q. That would have been 8:00 a.m. Pacific time,
right?

A. That's correct.

Q. Do you know whether McCarran opened before
8:00 a.m. Pacific time on Thursday, September 13th?

A. I believe that we did, to allow the passengers

to be processed. We did not resume normal activity. We
did not go right to our normal daily flight activity,
however.

Q. I think there is mention in one of these
articles that McCarran was one of the first airports to
be recertified.

A. That's correct.

Q. Like in the top ten somewhere, right?

A. I don't know. They would never tell us.

Q. What's your best estimate of when that
recertification occurred?

MR. MASTERSON: Objection, calls for
speculation,
BY MR. JOHNSON;

QO. You can answer.

 

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Las Vegas, Nevada (702) 474-6255

 
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I believe it was sometime that morning.

The morning of September 13, 2001?

That Thursday.

Before you reopened, right?

T thought you just asked me when did we reopen.
No, it was actually when --

When did we recertify.

Right.

Oh, yes, absolutely.

You'll have to forgive me, we were here around

the clock; one day just bled into another day without

any date
Q.
McCarran

A.

ever being recorded.
Do you recall any planes taking off from
on Thursday, September 13th?

Well, yes. We had limited activity; I do not

recall which ones.

Q.

> © FO >

QO.
claim to

A.

Do you remember when the first one was?

No. |

Did planes land at McCarran on September 13th?
Yes.

Do you remember when the first one was?

No.

Were you involved at all in CCDOA's insurance
Factory Mutual?

Not directly in the preparation of the claim,

 

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A. Okay.

Q. Walker Exhibit 4 is a September 13, 2001
article from the Las Vegas Sun entitled, "McCarran
Airport Reopens Today."

I don't know if you've seen this before or not.

A. I have.

Q. Looks like in the fourth paragraph Hilarie Grey
talked about some of those repositioning flights that
you had mentioned.

A. Uh-huh. Yes.

Q. Does that refresh your recollection, it says:

"There were two such flights Wednesday
night: a Southwest Airlines flight that
arrived, and a Federal Express cargo plane
chat departed."

A. I had thought there were three.

Q. And Wednesday night was September 12, 2001,

right?
A. Correct.
Q. And at the bottom of the first page, continuing

on to the second page, there are some, I guess, changes.
Talks about -- the first one is a 300-foot perimeter has
been established for parked vehicles. The next one was

curbside check-ins had been suspended. Third one, there

will be more frequent hand searches on carry-on baggage.

 

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Fourth one, there will be increased presence of
plainclothes and uniformed security officers. Fifth one
is passengers will be required to show a ticket for a
flight and identification in order to pass through
security checks for the gates. And the sixth one is
persons greeting arriving passengers won't be allowed to
go past security checkpoints.
Can you tell me whether those were part of the

new security directives that CCDOA received?

A. Yes, they were.

Q. I think you mentioned earlier that there had
been some vehicles that were towed. Was that in that

300-foot perimeter?

A. Yes.
Q. Where did those vehicles go?
A. We brought them to our remote lot, our

regularly operated remote lot on Russell Road.
Q. Were the owners of those towed vehicles allowed

to retrieve them?

A. Yes.

QO. Io mean between September llith and September
13th.

A. Although they were stuck out of town. So once

they retuned,

QO. Oh, Okay.

 

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Las Vegas, Nevada (702) 474-6255

 
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™ Press Release

Contact: Chet Lunner
Phone: 202-366-4570

clase window

 

  

Date Posted: September 12, 2001

Airports to Remain Closed, Mineta Says
——
Secretary of Transportation Norman Y. Mineta has announced the
Federal Aviation Administration will allow a limited reopening of the
nation’s commercial airspace system in order to allow flights that
were diverted yesterday to continue to their original destinations.

The Secretary also announced that the FAA is temporarily
extending the ground stop order imposed yesterday while
additional security measures are being completed.

“Safety is always of paramount importance, and in these
extraordinary times we intend to be vigilant,” Mineta said. “We
remain committed to resuming commercial flights as soon as
possible.

“As the President said last night, these despicable terrorist attacks
have shaken the foundation of our greatest buildings, but have
not shaken the foundation of this great nation,” the Secretary
said.

 

“As America watches the efforts of our heroic emergency
responders and rescue personnel, we keep the victims and their
families in cur prayers,” he also said.

Mineta said the FAA would permit flights today only in special
limited circumstances. Flights diverted as a result of yesterday's
order will be allowed to continue to their original destination under
vastly tightened security guidelines. Only passengers on the
original flights will be allowed to re-board, and only after airports
and airlines have implemented strict screening measures. Airlines
will also be allowed to reposition empty aircraft, he said.

Mineta said a variety of stepped-up security measures will be
instituted at the airports once they re-open. These measures
include:

- A thorough search and security check of all airplanes and
airports before passengers are allowed to enter and board aircraft.

- We will discontinue curbside check-in at the airport. We would
ask that all passengers go to the ticket counters to check in.

- We will also discontinue off-airport check in. We can no longer
allow passengers to check in for their flights at hotels or other
venues. Passengers must check in at the airports.

- We must reserve boarding areas for passengers only. Only
ticketed passengers will be allowed to proceed past airport
screeners to catch their flights.

- Vehicles near airport terminals will be monitored more closely.

ittp://www.faa.gov/apa/pr/pr.cfm?id=1406 5/12/2004
Airports to Remain Closed, Minet3 88¥8 3-RIJ Document 38-4009 Filed 05/27/04 Page 328 of 338° 2 °F?

“| Know all Americans want us to move as quickly and prudently
as possible to return our transportation system to normal,” Mineta
said, “and we will as soon as we can do so safely.”

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Questions About This Page

http://www. faa.gov/apa/pr/pr.cfm?id=1406 5/12/2004
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; News
U8. Department of Transportation

 

Spee

Thursday, September 13, 2001]
Contact: Chet Lunner

Tel.: 202/366-4570

DOT: 96-01

Statement of U.S. Secretary of Transportation Norman Y. Mineta

Secretary of Transportation Norman Y. Mineta has ordered the national airspace system re-opened to
commercial aviation, effective at 11 am. Eastern time Thursday.

The Secretary’s decision was made after a series of meetings throughout the day and night Wednesday
with White House and Cabinet officials, Federal Aviation Administration Administrator Jane Garvey,
aviation industry leaders, as weil as intelligence and law enforcement representatives.

“The re-opening of our national airspace is good news for travelers, for the airlines and for our
economy,” Secretary Mineta said. “But I must caution everyone that a system as diverse and complex as
ours cannot be brought back up instantly. We will re-open airports and resume flights on a case-by-case
basis, only after they implement our more stringent levels of security. This phased approach will assure
the highest levels of safety, which remains our primary goal.

“Anyone planning on flying should check with their airline regarding the level of service and flight
schedules, and be sure to allow plenty of time to deal with our new security procedures. There will be
some inconveniences, but safety will be the first element of our system to be restored,” the Secretary
said.

On Wednesday, Secretary Mineta had approved a limited re-opening of the system, allowing aircraft
diverted during Tuesday’s terrorist attacks to continue to their destinations or be repositioned in
anticipation of today’s decision.

At the same time, he announced a series of heightened security measures, including a ban on curbside
tuggage check-in and off-airport passenger check-in. Before being allowed to re-open, airports must
clear their terminals of people and conduct thorough searches. Once re-opened, airports will feature an
increased presence of law enforcement officers, restricted access beyond the screening area and other
restrictions.

AHH

 

EXHIBIT

Bnefing Room

 

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Las Vegas # McCarran International Airport

NEWS RELEASE

Clark County Department of Aviation - Randall H. Walker, Director

JAS VISTAS & VirCALRAEE &

       

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CONTACT: HILARIE GREY FOR IMMEDIATE RELEASE
SEPTEMBER 13, 2001

(702) 261-3094

McCARRAN AIRPORT OPEN;
FLIGHTS RESUME ON LIMITED BASIS

Passengers Advised to Call Airline Before Coming to the Airport

McCarran Airport is currently open, having been certified by the FAA to be in compliance with all current
security directives.

The FAA Air Traffic Control system is now releasing flights on a case-by-case basis. Our local airline
operators anticipate that it may take several days to resume full flight schedules.

We are advising all travelers to continue to contact their airline customer service number for the latest
information on specific flights before coming to the airport.

We have the following information to report from some of our local airline offices regarding schedules:

The following airlines have canceled all scheduled flights for today — Thursday, September 13:
Southwest, Continental, American Trans Air

Southwest is planning to resume service at 9 AM Pacific Time on Friday, September 14. Initial
schedules may be limited — Passengers should call the airline for confirmation before coming to the
airport.

Continental anticipates operating a limited schedule on Friday, September 14, estimating that about
half of its Las Vegas departures will occur. Passengers should call the airline for confirmation before
coming to the airport.

America West is currently flying a reduced schedule, and advises passengers to contact their
reservation center for information about specific flights.

Alaska Airlines has resumed limited service and would like passengers to know specifically that their
5:30 PM departure to Seattle will be operating. Call for further details on other flights.

Allegiant Airlines is at this point operating its regular schedule.
(continued)

P.O. Box 11005 # Las Vegas, NV 89111-1005 # 702-261-3094 4 Fax 702-261-5645
E-Mail: webmaster2@mccarran.com

 
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Clark County Department of Aviation
McCarran International Airport — status update
Thursday, Septernber 13, 2001

Additional information from the FAA:

e General Aviation activity (including flights at Henderson Executive Airport and North Las Vegas Airport)
is grounded for today with the exception of some authorized emergency flights.

« Grand Canyon tour flights considered “air taxis” / commercial carriers, and may operate with clearance
from the FAA, determined on a case-by-case basis.

e Once passengers receive confirmation from their airline that their flight is departing, they can
anticipate additional security procedures at the airport. They should allow additional time.

o No curb-side or off-airport check in: all passengers checking baggage must proceed to
the ticket counter.

o Travelers MUST bring photo identification and any documentation related to their flight -—
printed ticket, e-ticket receipt, printed itinerary etc. Upon arrival at the airport,
passengers should consult the information displays to determine whether they need to
proceed to the ticket counter or the security checkpoint.

o Parents of unaccompanied minors, caregivers for disabled passengers and
interpreters/guides for tour groups must check in at the ticket counter to receive
documented authorization to proceed through the security checkpoint.

o As much as possible, to accommodate security protocols, please limit airport access to
actual travelers. Please limit friends & family and greeters.

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Case 2:02-cv-01258-KJD-RJJ Document 38-4009 Filed 05/27/04 Page 332 of 352

 

        
 
  

 
 

 

     

 

 

 

 

 

 

 

 

  

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~ Department of Aviation |

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- Lieya’ WwW. Cutler, CPCU | :
Kellogg, cutler, Yenchek, LaDuke, Holmes
Insurance Services: .

330 E. Charleston Blvd.
Las Vegas, NV 89104 -

Dear Lloyd:

. (As you are aware the Clark : Couaty Airport System, including McCarran inten: ional Airport, the North Las
Vegas Airport.and the Henderson Executive Airport, was closed by the Federat Aviation Administration for
about two and a half days due to the aviation related terrorist attacks in New Yc rk and Washington, DC on
September 11, 2001. This event has caused a significant interruption z and reduction in the number of passengers

. and. airport revenue generating activities for the foreseeable future...

Please-see the. attached graph of Total Monthly Passengers. by Fiscal Year. The decrease i in passengers from
September 2000 is 28. 3%; however, the decréase from September 2001 project: xl passengers (2000p) is 31.1%. .

~. Tris the intention of the. Clark County Department of Aviation (CCDOA) to file a loss‘claim under the Business
Interruption clauses of the Factory Mutual (FM) Global Insurance Policy in effect at the time. Currently the -
extent of-loss is not known as ‘airport tenants Yeport activity and revenue up to tv0. months subséquent: to their
activity; therefore, it may be necessary for the CCDOA to request.an extension of time, in addition to the 90 day
limit outlined in the policy, i in order to accurately calculate the related loss of mvenue and additional expense
related’ to this: interruption.

) Your guidance in filing an accurate and complete claim with FM Global will-be: dincerely. appreciated. Please
‘feel free to call Marc Traasdahl at 261-5 1 13 or Gwya Taylor at 261-5182 with any questions.

”

Sincerely,

 

Attachment

ce: Rosemary Vassiliadis
R. Ross Johnson -
Marc Traasdahl |

“ Gwyn Taylor

Dario Herrera, Chairman + Myrna Wiliams, Viee Chan;
‘Yvonne Atkinson Gates - Erin Keriny’ ~ Mary I Kincaid - Chio Maxfield - Brave 1. Woodbury

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Lioyd Cutler _

To: randyweimecairan.com

Ce: Gwyn Taylor, Marc Traasdahl: rosemaryv@mecairan.co 7; rossj@mecarran.com
Subject: Business Interruption CCDOA 9/11/01

Dear Randy,

I am in receipt of your letter outlining a claim to be presentec for the above captioned.
We are forwarding the information this day to FM Global in order co initiate the process.

It is my expectation that there is great detail to be involved in gathering ail the
relevant information for this very comprehensive situation.

Unless 1 hear otherwise, we are designating Marc Traasdahl] and Gwyn Taylor to be the
primary contacts for FM Global, as they deem necessary. Me are advising FM Global of your
request for time needed to get everything in order.

Please understand that it is my intent for all parties, to see this through to a good
conclusion on behalf of all concerned, and it is a pleasure to be of service. I will
maintain an up to date data base on this claim and remain at your disposal at all times
for any need you may have.

Vary truly yours:

niloyd Cutler

FM-C 00487
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Sau? | Y UNITED STATES DISTRICT CouRT

DISTRICT OF NEVADA

COUNTY OF CLARK, a political
subdivision of the State of
Nevada, on behalf of CLARK
COUNTY DEPARTMENT OF AVIATION,

Plaintiff,

FACTORY MUTUAL INSURANCE
COMPANY, a Rhode Island
corporation, and Does 1-10,

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Vs. yNO. CV-S-02-1258-KJID-RJJ
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Defendants. )
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VIDEOTAPED DEPOSITION OF LLOYD W. CUTLER
Taken on Tuesday, April 13, 2004
2:13 p.m.

At McCarran International Airport

5757 Wayne Newton Boulevard
Las Vegas, Nevada

Reported by: Michelle ¢c. Johnson, CCR 771, RPR-CRR

 

WESTERN REPORTING SERVICES, INC,
Las Vegas, Nevada (702) 474-6255

 
Case 2:02-cv-01258-KJD-RJJ Document 38-4009 Filed 05/27/04 Page 337 of 352

 

2

1 APPEARANCES:

2 For the Plaintiff:

3 STEPHEN Vv. MASTERSON, Attorney at Law
HOWREY, SIMON, ARNOLD & WHITE LLP

4 550 South Hope Street, Suite 1100
Los Angeles, California 90071-2627

5

6 For the Defendant:

7 SCOTT G. JOHNSON, Attorney at Law
ROBINS, KAPLAN, MILLER & CIREST LLP

8 2800 LaSalle Plaza
800 LaSalle Avenue

9 Minneapolis, Minnesota 55402-2015

10

Also Present: Becky Ulrey, Certified Legal Videography

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Las Vegas, Nevada (702) 474-6255

 
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WITNESS

LLOYD W. CUTLER

EXAMINATION

BY MR. JOHNSON

INDEX

EXHIBITS

NUMBER DESCRIPTION

PAGE

MARKED FOR ID

Cutler
1 4/15/02 LegalTimes article, "Terrorism 13
Insurance"
2 3/22/02 letter to Casillas from Johnson, 46
with attachments {(FM-C 00145 ~- 162)
3 8/7/02 handwritten document (FM-C 00088) 49

 

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Las Vegas,

Nevada

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474-6255

 
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4
THE VIDEOGRAPHER: This is the beginning of the

deposition of Lloyd Cutler. Today's date is April 13th,
2004, and the time on the video monitor is 2:12 p.m.
We're at the administration offices at McCarran
International Airport in Las Vegas, Nevada.

And this case is in the United States District
Court, District of Nevada, Case
No. CV-S-02-1258-KJD-RJuJ, entitled County of Clark, a
political subdivision of the State of Nevada, on behalt
of Clark County Department of Aviation versus Factory
Mutual Insurance Company, et al.

My name is Becky Ulrey, a certified legal
videographer, and the court reporter is Michelle
Johnson, from Western Reporting Services, Incorporated.

Will counsel please identify yourselves for
voice identification.

MR. JOHNSON: Scott Johnson, representing
Factory Mutual Insurance Company.

MR. MASTERSON: Steve Masterson, from Howrey,
Simon, Arnold «& White, representing Clark County
Department of Aviation.

THE VIDEOGRAPHER: The reporter will please
administer the oath.

LLOYD W. CUTLER,

having been first duly sworn, was

 

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examined and testified as follows:
EXAMINATION

BY MR. JOHNSON:

Q. Could you please state your full name.

A. Lloyd Wendell Cutler.

Q. What is your current business address?

A. 330 East Charleston, Las Vegas, Nevada, 39104.

Q. How long have been at that business address?

A. Ten years.

Q. Do you have any plans to --

A. 11 years.

Q. Do you have any plans to move from that
address?

A. No,

Q Have you had your deposition taken before?

A. Never.

Q Let me then give you a few of the ground rules

that we'll want you to adhere to during the course of
the deposition. I'll be asking you some questions. If
at any time one of my questions isn't clear to you,
please let me know, and I'1l try to rephrase the
question for you. All right?

A. Yes.

Q. And if you don't, I'll have to assume that you

understood my question. All right?

 

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related losseg?

A. No.

Q. Did you ever hear that the City of Chicago
submitted a claim to Factory Mutual for its airport's

September 11, 2001 related losses?

A. I read about it.

Q. Where did you read about it?

A. I think in the newspaper. I'm not sure,
though. I'm really not sure. It might have been an
insurance trade journal. Might have been an aviation
trade journal. I read constantly.

Q. Do you know what happened in that case?

A. I have no idea.

Qo. You're not aware that the federal District

Court in Illinois granted summary judgment in favor of
Factory Mutual and against the City of Chicago?
A. Not aware of it.
©. If you could, Mr. Cutler, take a look at
Exhibit 6, Walker Exhibit 6.
MR. MASTERSON: Let me grab that door because I
think we're picking up some office sound.
THE WITNESS: That looks familiar.
BY MR. JOHNSON:
Q. Walker Exhibit 6 looks Familiar?

A. It does.

 

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Q. At least the first page you prepared, right?

A, I did.

Q. And the first page of Exhibit 6 is dated
November 7, 2001, right?

A, Yes.

Q. Why did you wait until November 7, 2001 to
notify Factory Mutual?

A. I'm not the one that waited. 1 functioned
under direction of the airport in filing the claim.

Q. Do you have any understanding of why the Clark
County Department of Aviation waited nearly two months
after 9/11 to notify Factory Mutual?

A. I don't know. I do see under Exhibit 6 that
they explain to me in a letter what their -- what their
position was. Maybe -- you're calling for speculation.
Do I get involved in speculation?

Q. No, we don't want you to guess. If you know,
please tell us.

A. I don't know.

Q. Okay.

A. I believe that research was provided and the
Claim was filed in a timely fashion, according to the
policy language. It's not like an automobile accident.

QO. Going back to the first page of Walker Exhibit
6. Under a description of the loss and damage, it says,

 

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Nous? | Y UNITED STATES DISTRICT couURT

DISTRICT OF NEVADA

COUNTY OF CLARK, a political
subdivision of the State of

Nevada,

on behalf of CLARK

COUNTY DEPARTMENT OF AVIATION,

FACTORY
COMPANY,

Plaintiff,

MUTUAL INSURANCE
a Rhode Island

corporation, and Does 1-10,

)
)
}
)
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}
}
vs. JNO. CV-S-02-1258-KIJD-RJg
)
)
)
)
)
Defendants, )
)

 

VIDEOTAPED DEPOSITION OF R. ROSS JOHNSON
Taken on Wednesday, April 14, 2004
2:03 p.m.

At McCarran International Airport

5757 Wayne Newton Boulevard
Las Vegas, Nevada

Reported by: Michelle c. Johnson, CCR 771, RPR-CRR

 

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1 APPEARANCES :

2 For the Plaintiff and the Witness:

3 STEPHEN V. MASTERSON, Attorney at Law
HOWREY, SIMON, ARNOLD & WHITE LLP

4 5950 South Hope Street, Suite 1100
Los Angeles, California 90071-2627

5

6 For the Defendant:

7 SCOTT G. JOHNSON, Attorney at Law
ROBINS, KAPLAN, MILLER & CIRESI LLP

8 2800 LaSalle Plaza
800 LaSalle Avenue

9 Minneapolis, Minnesota 55402-2015

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Also Present: Becky Ulrey, Certified Legal Videography

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WITNESS

R. ROSS JOHNSON

EXAMINATION

NUMBER
Johnson

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3
INDEX
PAGE
BY MR. JOHNSON 5
EXHIBITS
DESCRIPTION MARKED FOR ID
"Declaration of R. Ross Johnson in 10
Support of Motion for Partial Summary
Judgment of Plaintiff County of Clark,
a Political Subdivision of the State of
Nevada, on Behalf of Clark County
Department of Aviation," with attachments
4/30/02 letter to Casillas from Johnson a9
(FM-C 00108 - 110)
5/28/02 letter to Johnson from Casillas, 40
with attachment (FM-C 00100 - 103)
6/19/02 letter to Casillas from Johnson 42
{FM-C 00097 - 099)
7/11/02 letter to Johnson from Casillas 43

{FM-C 00090 - 093)

 

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THE VIDEOGRAPHER: Good afternoon. This is the

beginning of the deposition of R. Ross Johnson. Today's
date is April 14th, 2004. And the time on the video
monitor is 2:06 p.m. We are at the administrative
offices of McCarran International Airport, in Las Vegas,
Nevada.

And this case is in the United States District
Court, District of Nevada, Case No.
CV-S-02-1258-KJD-RJJ, entitled County of Clark, a
political subdivision of the State of Nevada, on behalf
of Clark County Department of Aviation versus Factory
Mutual Insurance Company, et al.

My name is Becky Ulrey, from Certified Legal
Videography. And the court reporter is Michelle
Johnson, from Western Reporting Services, Incorporated.

Will counsel please identify yourselves for
voice identification.

MR, JOHNSON: Scott Johnson, representing
Factory Mutual Insurance Company.

MR. MASTERSON: Steve Masterson, from Howrey,
Simon, Arnold & White, representing Clark County
Department of Aviation and Mr. Johnson.

THE VIDEOGRAPHER: The court reporter will now

administer the oath.

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R. ROSS JOHNSON,
having been first duly sworn, was
examined and testified as follows:

EXAMINATION

BY MR. JOHNSON:

Q.

A.

Could you please state your full name.
R. Ross Johnson.

What is your current address?

MR. MASTERSON: Business address.

MR. JOHNSON: Business address is fine.

THE WITNESS: Corner of Paradise and Twain.

3720 Howard Hughes Parkway, Suite 200.

BY MR. JOHNSON:

Q.

Oo Ff ©

before?

> Oo » Oo Pp

In Las Vegas?

Las Vegas, Nevada.
And the ZIP code?
89109.

Mr. Johnson, have you had your deposition taken

Yes.

On how many occasions?

Probably two.

When was the most recent of those?
Oh, six, seven years ago.

You're probably familiar with the process, at

 

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Did you prepare this letter?

I'm not sure what you mean, Prepare the letter.
Did you write it?

I did not personally write the letter.

Who did?

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This is a letter that was part of the group

effort, including some consultants.

Q. When you say it was a group effort, who was
involved -- who comprised that group?

A, Ross Johnson, Marc Traasdahl, and then our
consultants.

Q. What consultants?

A. The letter is copied to Mr. Thomas Mury, of

Deloitte & Touche; and a Mr. Lloyd Cutler, of Cutler,
Kellogg, Yenchek, LaDuke, Holmes Insurance Services,

Q. Can you tell me what portions of Walker Exhibit
11 that you actually wrote?

A. My name.

Q Was that it?

A Yeah.

Q. That's a yes?

A Yes.

Q. In the second paragraph of the letter, there's
a reference to a number of different provisions in the

Factory Mutual policy, right?

 

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A. Yes.

Q. There's the Protection and Preservation of
Property section, right?

A. Yes.

Q. The Contingent Time Element Extension section,
right?

A. Yes.

Q. And the Ingress/Egress Time Element Extension,
right?

A. Yes.

Q. Were there any other provisions under which

Clark County Department of Aviation believed there was
coverage?

MR. MASTERSON: Objection, calls for
speculation.

THE WITNESS: I'm not -- [I don't know.

BY MR. JOHNSON:

QO. Are you aware of any others?

A. You know, right now, I'm not.

Q. Are you familiar with those coverages?

A. I was familiar with them at the time.

Q. What was the Protection and Preservation of

Property section?
MR. MASTERSON: Objection, compound, calls for

speculation.

 

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Las Vegas, Nevada (702) 474-6255

 
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Facsimile: (612) 339-4181

Attorneys for Defendant FACTORY
MUTUAL INSURANCE COMPANY

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEVADA

COUNTY OF CLARK, a political Case No: CV-S-02-1258-KJD-RJJ
subdivision of the State of Nevada, on
behalf of Clark County Department of {e ROPOSE Dt ORDER ON
Aviation, ACTORY MUTUAL INSURANCE
— COMPANY’S MOTION FOR
Plaintiff, SUMMARY JUDGMENT

VS.

FACTORY MUTUAL INSURANCE
COMPANY, a Rhode Island
Corporation, and DOES 1-10,

Defendant.

 

Defendant FACTORY MUTUAL INSURANCE COMPANY’s Motion for
Summary Judgment came on regularly for hearing before this Court. After
considering the moving and opposition papers, arguments of counsel and all other
matters presented to the Court,

IT IS HEREBY ORDERED THAT FACTORY MUTUAL INSURANCE
COMPANY’s Motion for Summary Judgment is GRANTED.

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ASe 2:02-cv-01258-KJD-RJJ Document 38-4009 Filed 05/27/04 Page 351 of 352

THEREFORE, Judgment is entered in favor of FACTORY MUTUAL
INSURANCE COMPANY.

Dated:

 

 

Honorable Kent J. Dawson
United States District Judge

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Case 2:02-cv-01258-KJD-RJJ Document 38-4009 Filed 05/27/04 Page 352 of 352
PROOF OF SERVICE

Tam employed in the county of Hennepin, state of Minnesota. I am over the age of 18
and not a party to the within action; my business address is 800 LaSalle Avenue, Suite 2800,
Minneapolis, Minnesota 55402.

On May 26, 2004 I served the following documents described as: Defendant Factory Mutual
Insurance Company’s Notice of Motion and Motion for Summary Judgment; Supporting
Memorandum of Points and Authorities; Statement of Uncontroverted Facts in Support of
Its Motion for Summary Judgment; Affidavit of Scott G. Johnson and proposed Order

by placing true copies hereof enclosed in a sealed envelope addressed as follows:

Stephen Masterson, Esq.

Howrey, Simon, Arnold & White
550 South Hope Street, Suite 1400
Los Angeles, California 90071-2627

BY MAIL: I caused such envelope to be deposited in the mail at Minneapolis, Minnesota..
This envelope was mailed with postage thereon fully prepaid. | am readily familiar with this
firm’s practice of collection and processing correspondence for mailing. Under that practice it
would be deposited with U.S. postal service on that same day with postage thereon fully prepaid
at Minneapolis, Minnesota in the ordinary course of business. [ am aware that on motion of the
party served, service is presumed invalid if postal cancellation date or postage meter date is more
than one day after date of deposit for mailing in affidavit.

I declare that I am employed in the office of a member of the bar of this court at whose direction
the service was made.

Executed on May 26, 2004 at eapolis, Minnesota.

   

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